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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


ALPHA PHI ALPHA FRATERNITY                      CIVIL ACTION FILE
INC., et al.,
 Plaintiffs,                                    No. 1:21-CV-05337-SCJ

v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,
 Defendant.
____________________________________
COAKLEY PENDERGRASS et al.,                     CIVIL ACTION FILE
 Plaintiffs,
                                                No. 1:21-CV-05339-SCJ
v.

BRAD RAFFENSPERGER et al.,
 Defendants.
____________________________________
ANNIE LOIS GRANT et al.,                        CIVIL ACTION FILE
 Plaintiffs,
                                                No. 1:22-CV-00122-SCJ
v.

BRAD RAFFENSPERGER et al.,
Defendants.
                                             OPINION AND MEMORANDUM
                                                    OF DECISION
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              OPINION AND MEMORANDUM OF DECISION

      The right to vote “is regarded as a fundamental political right, because [it

is] preservative of all rights.” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886).

             The voting rights act has proven the most successful civil
             rights statute in the history of the nation because it has
             reflected the overwhelming consensus in this nation that
             the most fundamental civil right of all citizens-- the right
             to vote-- must be preserved at whatever cost and through
             whatever commitment required of the federal
             government.

S. REP. 97-417, 111, 1982 U.S.C.C.A.N. 177, 282. This past summer, Chief Justice

Roberts confirmed that “the essence of a § 2 claim . . . [is] where an electoral

structure operates to minimize or cancel out minority voters’ ability to elect their

preferred candidates. Such a risk is greatest where minority and majority voters

consistently prefer different candidates and where minority voters are

submerged in a majority voting population that regularly defeat[s] their choices.”

Allen v. Milligan, 599 U.S. 1, 17–18 (2023) (citing Thornburg v. Gingles, 478 U.S.

at 30, 47–49 (1986)) (cleaned up).




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       In the three cases before the Court, 1 each set of Plaintiffs argues that their

voting rights have been violated by the redistricting plans recently adopted by

the State of Georgia in the wake of the 2020 Census. The Court thus approaches

these cases “with caution, bearing in mind that these circumstances involve ‘one

of the most fundamental rights of . . . citizens: the right to vote.’” Ga. State Conf.

of NAACP v. Fayette Cnty. Bd. of Comm’rs, 775 F.3d 1336, 1345 (11th Cir. 2015)

(citations omitted).

       After conducting a thorough and sifting review of the evidence in this case,

the Court finds that the State of Georgia violated the Voting Rights Act when it

enacted its congressional and legislative maps. The Court commends Georgia for

the great strides that it has made to increase the political opportunities of Black

voters in the 58 years since the passage of the Voting Rights Act of 1965. Despite

these great gains, the Court determines that in certain areas of the State, the

political process is not equally open to Black voters. For example, in the past




1 In the interest of judicial economy, and to avoid confusion, the Court issues a single

order that will be filed by the Clerk in each of the above-stated cases. Although the Court
issues a single order, the Court has evaluated the merits of each case independently and
reached its conclusions as follows.
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decade, all of Georgia’s population growth was attributable to the minority

population, however, the number of majority-Black congressional and legislative

districts remained the same. 2 In light of this fact and in conjunction with all of the

evidence and testimony in this case, the Court determines that Georgia’s

congressional and legislative maps violate Section 2 of the Voting Rights Act and

enjoins their use in any future elections.

I.     FINDINGS OF FACT

       Having considered the evidence at trial, the Parties’ presentations

(pursuant to Federal Rule of Civil Procedure 52(c)), and closing arguments, this

Court makes the following findings of fact. 3




2 This finding in no way requires that the number of majority-Black congressional or

legislative district be proportionate to the Black population.
3 The Court has used the term “findings of fact” for simplicity’s sake, but the Court notes

that some of the foregoing findings are also conclusions of law. Similarly, the
“conclusions of law” section contains some findings of fact.
                                          10
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         The Court divides it discussion of the factual findings into four parts. First,

the Court explains the procedural history of the three cases and describes the

named Parties. Second, the Court considers the history of race and voting in

Georgia and its changing demographics. Third, the Court explains its findings of

fact about the creation of the 2021 congressional, Senate, and House districting

plans based on the testimony and evidence introduced at a coordinated trial of

these actions. Fourth, the Court sets forth its findings regarding the Illustrative

Plans.

         For reference, the following citations are used for support for each of the

findings below:



                  Citation 4                   Document Type
             APA Doc. No. [ ]      Docket entry from Alpha Phi Alpha

             Grant Doc. No. [ ]    Docket entry from Grant

             Pendergrass Doc.      Docket entry from Pendergrass
             No. [ ]




4 All citations are to the electronic docket unless otherwise noted, and all page numbers

are those imprinted by the Court’s docketing software.
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           Tr.                    Transcript of the trial hearing held
                                  September 5–14, 2023 in all three
                                  cases. 5

           PI Tr.                 APA Doc. Nos. [106]–[117];
                                  Pendergrass Doc. Nos. [73]–[85];
                                  Grant Doc. Nos. [68]–[79]

           DX                     Defendants’ Exhibits

           APAX                   Alpha Phi Alpha Plaintiffs’ Exhibits

           GX                     Grant Plaintiffs’ Exhibits

           PX                     Pendergrass Plaintiffs’ Exhibits

           JX                     Joint Exhibits

           Stip.                  Stipulations filed at APA Doc. No.
                                  [280], Attach. E.; Grant Doc. No.
                                  [243], Attach. E.; Pendergrass Doc.
                                  No. [231], Attach. E.

           Jud. Not.              Court’s Order taking judicial notice
                                  at APA Doc. No. [284], Grant Doc.
                                  No. [246], Pendergrass Doc. No.
                                  [234]




5 The Court cites to the Official Certified Hearing Transcript for the Trial provided by

the court reporter. This transcript has not yet been filed on the docket.
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      A.    Procedural History

            1. Initial Filings

      On December 30, 2021, Plaintiffs in the Alpha Phi Alpha case filed their

Complaint against Brad Raffensperger, in his official capacity as Secretary of

State of Georgia. APA Doc. No. [1]. On that same date, Plaintiffs in the

Pendergrass case filed their Complaint against Raffensperger and the members

of the State Election Board (the “SEB”). Pendergrass Doc. No. [1]. On

January 11, 2022, Plaintiffs in the Grant case filed their Complaint against

Raffensperger and the SEB. Grant Doc. No. [1]. All three Complaints alleged

violations of Section 2 of the Voting Rights Act, as amended 52 U.S.C. § 10301.

      On January 7, 2022, Plaintiffs in Alpha Phi Alpha Plaintiffs filed their

Motion for a Preliminary Injunction. APA Doc. Nos. [26], [39]. 6 Pendergrass

Plaintiffs filed their Motion for a Preliminary Injunction on January 12, 2022

(Pendergrass Doc. No. [32]) and the following day, the Grant Plaintiffs filed their

Motion for Preliminary Injunction (Grant Doc. No. [19]).




6 Alpha  Phi Alpha Plaintiffs filed a renewed Motion for Preliminary Injunction on
January 13, 2023. Doc. No. [39].
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      On January 14, 2022, Defendant Raffensperger filed his Motion to Dismiss

the Alpha Phi Alpha Complaint (APA Doc. No. [43]) and Defendants

Raffensperger and the State Election Board members filed their Motions to

Dismiss the Pendergrass and Grant Complaints (Pendergrass Doc. No. [38],

Grant Doc. No. [23]). Defendants’ motions primarily advanced two arguments:

(1) Section 2 did not create a private right of action, therefore, Plaintiffs could not

bring their claims and (2) 28 U.S.C. § 2284(a) required the Alpha Phi Alpha and

Grant Plaintiffs’ claims be heard by a three-judge court. Id. The Parties then

briefed the Motions to Dismiss and for Preliminary Injunction on an expedited

basis (APA Doc. Nos. [45]–[47], [58], [59], Pendergrass Doc. Nos. [39], [40], [44],

[45], Grant Doc. Nos. [24]–[25], [35], [37]).

      The Court denied Defendants’ Motions to Dismiss. APA Doc. No. [65],

Pendergrass Doc. No. [50], Grant Doc. No. [43]. The Court concluded that the text

of Section 2284 does not require a plaintiff to request a three-judge court for

purely statutory challenges to the apportionment of congressional districts and

statewide legislative bodies. Id. The Court further concluded that Plaintiffs could

assert their claims because, for the past forty-five years, the Supreme Court and


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lower courts have allowed private individuals to assert challenges under

Section 2 of the Voting Rights Act. Id.

             2. Preliminary Injunction

      After denying the motions to dismiss, in February 2022, the Court

convened a coordinated hearing on the motions for preliminary injunction. APA

Doc. No. [127], Pendergrass Doc. No. [90], Grant Doc. No. [84].

      On the first day of the preliminary injunction hearing, the United States

Supreme Court granted the State of Alabama’s motion to stay a three-judge

district court’s order granting a preliminary injunction in favor of a challenge to

Alabama’s congressional map under Section 2. Merrill v. Milligan, 142 S. Ct. 879

(2022). The Supreme Court then accepted certiorari and placed the case on its

October 2022 term calendar. Id. Justice Kavanaugh, joined by Justice Alito, wrote

separately to concur in the stay. See generally id. at 879–82. In his concurrence,

Justice Kavanaugh first emphasized that the stay was not a ruling on the merits,

but followed Supreme Court election-law precedent that established that federal

courts generally “should not enjoin state election laws in the period close to an

election.” Id. at 879 (citing Purcell v. Gonzalez, 549 U.S. 1 (2006)) (per curiam)).


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      The Court allowed the Parties in the cases sub judice to submit briefing and

oral argument on the effect of the Milligan stay order. APA Doc. Nos. [97],

[127]–[131], Pendergrass Doc. Nos. [65], [91]–[95], Grant Doc. Nos. [59], [85]–[89].

The Court thereafter decided to proceed with the preliminary injunction hearing.

Over the course of the six-day preliminary injunction hearing—February 7

through February 14, 2022—the Court admitted various pieces of evidence and

heard testimony from a variety of expert and fact witnesses. Id.

      On February 28, 2022, the Court issued its Preliminary Injunction Order.

The Court found a substantial likelihood of success on the merits in that

additional majority-Black districts should have been drawn. The General

Assembly should have drawn an additional majority-Black congressional district

in the west-metro Atlanta (Pendergrass Plaintiffs); two additional majority-Black

State Senate districts in south-metro Atlanta (Grant); two additional majority-

Black State House districts in the south-metro Atlanta (Grant), and one additional

majority-Black State House district in southwestern Georgia (Alpha Phi Alpha).

Alpha Phi Alpha Fraternity, Inc. v. Raffensperger, 587 F. Supp. 3d 1222, 1243–320




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(N.D. Ga. 2022). 7 In light of the Supreme Court’s decision to stay the Milligan

case, the Court ultimately denied the preliminary injunction finding that the

balance of harms and public interest weighed against granting the injunction. Id.

at 1321–27. Specifically, the Court found based upon the evidence presented that

“the public interest of the State of Georgia would be significantly undermined by

altering the election calendar and unwinding the electoral process” as of the date

of its ruling. Id. at 1324.

       Pursuant to Federal Rule of Civil Procedure 65(a)(2), certain evidence that

was received on the preliminary injunction motions (in a format admissible at

trial) has become a part of the trial record.




7 The Court did not find it necessary to rule on the substantial likelihood of success as

to the Alpha Phi Alpha Plaintiffs’ Illustrative Senate Districts 17 and 28 and Illustrative
House Districts 73, 110, and 111. Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1267–
68. The Court also did “not find that the Grant and Alpha Phi Alpha Plaintiffs ha[d]
established that they have a substantial likelihood of succeeding on the merits of their
claims that a third State Senate District should have been drawn in the Eastern Black
Belt or that additional House Districts should have been drawn in the western Atlanta
metropolitan area, central Georgia, or in the Eastern Black Belt.” Id. at 1271 n.23.
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            3. Discovery and Summary Judgment

      Following the preliminary injunction hearing, all Plaintiffs amended their

complaints and engaged in a nine-month discovery period. APA Doc. Nos. [133],

[141], Pendergrass Doc. Nos. [96], [120], Grant Doc. No. [90], [96]. Following

discovery, Defendants filed Motions for Summary Judgment in all three cases.

APA Doc. No. [230], Pendergrass Doc. No. [175], Grant Doc. No. [190]. The

Pendergrass and Grant Plaintiffs also filed Motions for Summary Judgment.

Pendergrass Doc. No. [173], Grant Doc. No. [189]. On May 18, 2023, the Court

heard argument on the pending motions. APA Doc. No. [260], Pendergrass Doc.

No. [209], Grant Doc. No. [224]. At the conclusion of the hearing, the Court

informed the Parties that it would not rule on the motions for summary judgment

until after the Supreme Court issued its opinion for the Allen case.

      On June 8, 2023, the Supreme Court issued a 5-4 decision in Allen, 599 U.S.

1, affirming the three-judge court’s Grant of the preliminary injunction. 8 Chief




8 The procedural history for the Allen case shows that the case name changed from

Merrill v. Milligan to Allen v. Milligan based upon the expiration of the term of
Alabama’s Secretary of State and the swearing in of the successor.
                                      18
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Justice Roberts, writing for the majority, upheld the existing three-part

framework developed in Gingles, 478 U.S. at 30 and found under a clear error

review that the three-judge district court did not err in finding a substantial

likelihood of success on a Section 2 violation. Id. 9

      Following the Supreme Court’s Allen decision, the Parties provided

supplemental briefing. APA Doc. Nos. [263], [264], Pendergrass Doc. Nos. [212],

[214], Grant Doc. Nos. [227], [228]. The Court then denied all pending motions

for summary judgment. APA Doc. No. [268], Pendergrass Doc. No. [215], Grant

Doc. No. [229]. In all three cases, the Court found that issues of fact and credibility

remained on all three Gingles preconditions as well as the totality of the

circumstances. Id.

             4. Trial

      The Parties then proceeded to trial on the merits of Plaintiffs’ claims and

Defendants’ affirmative defenses. Although the Court did not consolidate the

three cases, at the trial, the Court heard all three cases at once (utilizing




9 For a thorough discussion of the Supreme Court’s Allen decision, see APA Doc.

No. [268].
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coordinated hearing procedures). For the sake of clarity, the Court required the

Parties to clearly state on the Record which testimony and which pieces of

evidence were attributed to which case. APA Doc. No. [286], Pendergrass Doc.

No. [236], Grant Doc. No. [248]. Over the course of the eight-day trial—spanning

from September 5, 2023 through September 14, 2023—the Court heard from

20 live witnesses and accepted testimony from 22 witnesses via deposition (APA

Doc. No. [292], Pendergrass Doc. No. [243], Grant Doc. No. [254]).

      At the conclusion of all three Plaintiffs’ presentations of evidence,

Defendants moved for Judgment on Partial Findings of Fact pursuant to Federal

Rule of Civil Procedure 52(c). APA Doc. No. [305], Pendergrass Doc. No. [255],

Grant Doc. No. [264]. The Court verbally denied the motion. APA Doc. No. [306],

Pendergrass Doc. No. [257], Grant Doc. No. [266]. Defendants then proceeded to

present their case-in-chief. The Court heard closing arguments and took the

matter under advisement. APA Doc. No. [308], Pendergrass Doc. No. [259], Grant

Doc. No. [268].




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             5. Post-Trial Proceedings

      Following the trial, all Parties submitted proposed findings of fact and

conclusions of law for the Court’s consideration. APA Doc. Nos. [317], [318],

Pendergrass Doc. Nos. [268], [269], Grant Doc. Nos. [277], [278]. 10 The Court has

adopted and rejected portions of the Parties’ submissions.

      B.     The Named Parties

             1.     Alpha Phi Alpha Plaintiffs

                     a)     Alpha Phi Alpha Fraternity, Inc.

      Alpha Phi Alpha Fraternity, Inc. is the first intercollegiate Greek-letter

fraternity established for Black men. Stip. ¶ 51. Alpha Phi Alpha has programs to

raise political awareness, register voters, and empower Black communities. Stip.

¶ 53. Alpha Phi Alpha has thousands of members throughout Georgia. Stip. ¶ 52.




10 Under the Local Rules, counsel are “directed to submit a statement of proposed

Findings of Fact and Conclusions of Law in nonjury cases.” LR 16.4(B)(25), NDGa. The
Court does not view these proposals as evidence or post-trial briefs. To the extent that
any Party raised an argument in their Proposed Findings of Fact and Conclusions of
Law that was not raised in the Pretrial Order or at trial, that argument will be
disregarded.
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      Under the Enacted Legislative Plans, Alpha Phi Alpha has members who

live in State Senate Districts 16, 17, and 23 and State House Districts 74, 114, 117,

128, 133, 134, 145, 171, and 173. Id. Harry Mays is a member of Alpha Phi Alpha

Fraternity, Inc. Doc. No. [94], at 2 ¶ 4; Stip. ¶ 54. Mr. Mays resides in House

District 117 under the State’s 2021 House Plan, and under Plaintiffs’ illustrative

maps would reside in a new majority-Black House District. Id. ¶¶ 55–56.

                      b)    Sixth District African Methodist Episcopal Church

      The Sixth District of the African Methodist Episcopal Church (“Sixth

District AME”) is a nonprofit religious organization. Stip. ¶ 57. The Sixth District

AME is one of twenty districts of the AME Church and covers all of Georgia. Stip.

¶ 58. One of its core tenets is encouraging and supporting civic participation

among its members through voter registration, transporting churchgoers to the

polls, hosting “Get Out the Vote” efforts, and providing food, water and

encouragement to people waiting in lines at the polls. Stip. ¶ 62.

      Under the Enacted Legislative Plans, member-churches of the Sixth District

AME are located in State Senate Districts 16, 17, and 23 and State House Districts

74, 114, 117, 128, 133, 134, 145, 171, and 173. Stip. ¶ 61. Plaintiff Phil S. Brown is a


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member of the Lofton Circuit AME Church in Wrens, Georgia, and Plaintiff

Janice Stewart is a member of the Saint Peter AME Church in Camilla, Georgia.

Stip. ¶¶ 63–64.

                     c)     Individually-named Plaintiffs in the APA case

      Eric T. Woods is a Black resident of Tyrone, Georgia. Stip. ¶¶ 65, 66. Under

the Enacted Legislative Plans, Mr. Woods is a registered voter in State Senate

District 16. Stip. ¶¶ 67, 68. Katie Bailey Glenn is a Black resident of McDonough,

Georgia. Stip. ¶¶ 70, 71. Under the Enacted Legislative Plans, Ms. Bailey is a

registered voter in State Senate District 17. Stip. ¶¶ 72, 73. Phil S. Brown is a Black

resident of Wrens, Georgia. Stip. ¶¶ 75, 76. Under the Enacted Legislative Plans,

Mr. Brown is a registered voter in State Senate District 23. Stip. ¶¶ 77, 78. Janice

Stewart is a Black resident of Thomasville, Georgia. Stip. ¶¶ 80, 81. Under the

Enacted Legislative Plans, Ms. Stewart is a registered voter in State House

District 173. Stip. ¶¶ 82, 83.

             2.     Pendergrass Plaintiffs

      Coakley Pendergrass is a Black resident of Cobb County, Georgia. Stip.

¶¶ 1, 2. Under the Enacted Congressional Plan, Mr. Coakley is a registered voter

in Congressional District 11. Stip. ¶ 3. Triana Arnold is a Black resident of
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Douglas County, Georgia. Stip. ¶¶ 4, 5. Under the Enacted Congressional Plan,

Ms. Arnold is a registered voter in Congressional District 3. Stip. ¶ 6. Elliott

Hennington is a Black resident of Cobb County, Georgia. Stip. ¶¶ 7, 8. Under the

Enacted Congressional Plan, Mr. Hennington is a registered voter in

Congressional District 14. Stip. ¶ 9. Robert Richards is a Black resident of Cobb

County, Georgia. Stip. ¶¶ 10, 11. Under the Enacted Congressional Plan, he is a

registered voter in Congressional District 14. Stip. ¶ 12. Jens Rueckert is a Black

resident of Cobb County, Georgia. Stip.          ¶¶ 13, 14. Under the Enacted

Congressional Plan, Mr. Rueckert is a registered voter in Congressional District

14. Stip. ¶ 15. Ojuan Glaze is a Black resident of Douglas County, Georgia. Stip.

¶¶ 16, 17. Under the Enacted Congressional Plan, Mr. Glaze is a registered voter

in Congressional District 13. Stip. ¶ 18.

             3.    Grant Plaintiffs

      Annie Lois Grant is a Black resident of Union Point, Georgia. Stip. ¶¶ 19,

20. Under the Enacted Legislative Plans, Ms. Grant is a registered voter in State

Senate District 24 and State House District 124. Stip. ¶ 20. Quentin T. Howell is a

Black resident of Milledgeville, Georgia. Stip. ¶¶ 21, 22. Under the Enacted


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Legislative Plans, Mr. Howell is a registered voter in State Senate District 25 and

State House District 133. Stip. ¶ 23. Elroy Tolbert is a Black resident of Macon,

Georgia. Stip. ¶¶ 24, 25. Under the Enacted Legislative Plans, Mr. Tolbert is a

registered voter in State Senate District 18 and State House District 144. Stip. ¶ 26.

Triana Arnold James is a Black resident of Villa Rica, Georgia. Stip. ¶¶ 27, 28.

Under the Enacted Legislative Plans, Ms. James is a registered voter in State

Senate District 30 and State House District 64. Stip. ¶ 29. Eunice Sykes is a Black

resident of Locust Grove, Georgia. Stip. ¶¶ 30, 31. Under the Enacted Legislative

Plans, Ms. Sykes is a registered voter in State Senate District 25 and State House

District 117. Stip. ¶ 33. Elbert Solomon is a Black resident of Griffin, Georgia. Stip.

¶¶ 33, 34. Under the Enacted Legislative Plans, Mr. Solomon is a registered voter

in State Senate District 16 and State House District 117. Stip. ¶ 35.

      Dexter Wimbish is a Black resident of Griffin, Georgia. Stip. ¶¶ 36, 37.

Under the Enacted Legislative Plans, Mr. Wimbish is a registered voter in State

Senate District 16 and State House District 74. Stip. ¶ 38. Garrett Reynolds is a

Black resident of Tyrone, Georgia. Stip. ¶¶ 39, 40. Under the Enacted Legislative

Plans, Mr. Reynolds is a registered voter in State Senate District 16 and State


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House District 68. Stip. ¶ 41. Jacqueline Faye Arbuthnot is a Black resident of

Powder Springs, Georgia. Stip. ¶¶ 42, 43. Under the Enacted Legislative Plans,

Ms. Arbuthnot is a registered voter in State Senate District 31 and State House

District 64. Stip. ¶ 44. Jacquelyn Bush is a Black resident of Fayetteville, Georgia.

Stip. ¶¶ 45, 46. Under the Enacted Legislative Plans, Ms. Bush is a registered

voter in State Senate District 16 and State House District 74. Stip. ¶ 47. Mary Nell

Conner is a Black resident of Henry County, Georgia. Stip. ¶¶ 48, 49. Under the

Enacted Legislative Plans, Ms. Conner is a registered voter in State Senate

District 25 and State House District 117. Stip. ¶ 50.

             4.    Defendants

                     a) Brad Raffensperger

      Brad Raffensperger is the Georgia Secretary of State. Stip. ¶ 85. The

Secretary of State is a constitutional officer elected by Georgia voters every four

years. Ga. Const. Art. 5, § 3, par. 1. Under Georgia law, the Secretary of State is

required:

             (1) [t]o determine the forms of nomination petitions,
             ballots, and other forms;
             ....


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              (6) [t]o receive from the superintendent the returns of
              primaries and elections and to canvass and compute the
              votes cast for candidates and upon questions;
              ....
              (13) [t]o prepare and furnish information for citizens on
              voter registration and voting; and
              ....
               (15) [t]o develop, program, building, and review
              ballots for use by counties and municipalities on voting
              systems in use in the state.

O.C.G.A. § 21-2-50(a).

                      b)      The State Election Board 11

       The State Election Board (“SEB”) was created by legislation codified in the

Georgia’s Election Code, O.C.G.A. § 21-2-30(a). It consists of five members,

including a representative of each of the two major political parties. Id. § 21-2-




11 The Court notes for the record that Defendant Raffensperger is sued in his official

capacity in all three lawsuits, the members of the SEB are sued in their official capacities
in Pendergrass and Grant. As will be discussed below, the Court finds that the
Pendergrass and Grant Plaintiffs did not introduce any evidence about the SEB’s ability
to redress their injuries or that the injury is traceable to it. Thus, the Court ultimately
finds that the Pendergrass and Grant Plaintiffs lack standing to sue the SEB. See Section
II(A)(1)(b) infra. However, throughout this Opinion and Memorandum, the Court will
collectively refer to all Defendants, even though the SEB is ultimately dismissed and
was not sued by the Alpha Phi Alpha Plaintiffs. However, any relief will be directed to
Secretary of State Raffensperger.
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30(c). Sarah Tindall Ghazal, Janice Johnston, Edward Lindsey, and Matthew

Mashburn serve as members of the SEB. Stip. ¶¶ 86–89. 12

       Under Georgia law, moreover, the SEB has a statutory duty to “formulate,

adopt, and promulgate such rules and regulations, consistent with law, as will be

conducive to the fair, legal, and orderly conduct of primaries and elections.”

O.C.G.A. § 21-2-31(2). Georgia law also tasks the SEB with “investigat[ing] or

authoriz[ing] the Secretary of State to investigate, when necessary or advisable[,]

the administration of primary and election laws and frauds and irregularities in

primaries and elections and to report violations of the primary and election laws

either to the Attorney General or the appropriate district attorney . . . .” Id. § 21-

2-31(5). Furthermore, the SEB is “vested with the power to issue orders, after the

completion of appropriate proceedings, directing compliance with [the Election




12 Defendants have filed a notice indicating that on September 1, 2023, the Honorable

William S. Duffey, Jr., stepped down as a chair of the State Election Board. Pendergrass
Doc. No. [270], Grant Doc. No. [279]. Because Duffey was sued in his official capacity,
this resignation does not abate the action, but does lead to Duffey being terminated as
a named-party under the applicable rules of civil procedure. See Fed. R. Civ. P. 21; 25(d).
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Code] or prohibiting the actual or threatened commission of any conduct

constituting a violation . . . . ” Id. § 21-2-33.1(a).

       Additionally, Georgia law tasks the SEB with oversight authority over the

counties. See O.C.G.A. § 21-2-31(1) (“It shall be the duty of the [SEB] . . . [t]o

promulgate rules and regulations so as to obtain uniformity in the practices and

proceedings of superintendents, registrars, deputy registrars, poll officers, and

other officials, as well as the legality and purity in all primaries and elections[.]”);

id. at § 21-2-31(2) (“[t]o formulate, adopt, and promulgate such rules and

regulations, consistent with law, as will be conducive to the fair, legal, and

orderly conduct of primaries and elections”); id. at § 21-2-31(5) (“[t]o investigate,

or authorize the Secretary of State to investigate, when necessary or advisable the

administration of primary and election laws and frauds and irregularities in

primaries and elections and to report violations of the primary and election laws

either to the Attorney General or the appropriate district attorney who shall be

responsible for further investigation and prosecution.”).




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      C.     History of Race and Voting in Georgia

      In 1965, Congress passed the Voting Rights Act (“VRA”). While the VRA

has been amended several times, as originally adopted, Section 2 prohibited

practices that denied or abridged the right to vote “on account of” race or color.

See Allen, 599 U.S. at 11 n.1 (citing 42 U.S.C. § 1973 (1970 ed.)).

      The Act was amended in 1982. Id. at 11. Section 4 of the VRA (the “coverage

formula”) determined which jurisdictions were “covered” and were required to

submit new voting procedures or practices for prior approval (“preclearance”)

by the Department of Justice or a district court panel of three judges, pursuant to

Section 5. See James D. Wascher, Recognizing the 50th Anniversary of the Voting

Rights Act, Fed. Law., May 2015, at 41 (hereinafter, “Wascher”). The VRA thus

“employed extraordinary measures to address an extraordinary problem.”

Shelby Cnty. v. Holder, 570 U.S. 529, 534 (2013). Georgia was a covered

jurisdiction because in the 1960s and early 1970s, the whole state had low voter

registration or turnout and maintained tests or devices as prerequisites to voting

(i.e., poll taxes, literacy tests, and grandfathering rules). Id. at 536–37 (28 C.F.R.

pt. 51, App. (2012)).


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       During Georgia’s last redistricting cycle in 2011, which was subject to

preclearance under Section 5 of the Voting Rights Act, the Department of Justice

(“DOJ”) precleared Georgia’s proposed State Senate, State House, and

Congressional Plans. See Jud. Not. 13

       Following those determinations, in 2013, the Supreme Court held that the

coverage formula was no longer constitutional because it had not been

reformulated since 1975. Shelby Cnty., 570 U.S. at 538, 556–57. As a result, the

State of Georgia is no longer a covered jurisdiction and is no longer required to

send district plans or any proposed voting practices or procedural changes to the

DOJ for preclearance. The 2020 redistricting cycle is the first in which Georgia

was not required to seek preclearance before adopting its new congressional and

legislative plans.




13 The precleared plans were utilized in the 2012 election and will hereinafter be referred

to as the “2012 Plans.”
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       D.     Georgia’s Changing Demographics

              1. Georgia’s Total Population

       Between 2000 and 2010, Georgia’s population increased by a little over

1.5 million people (from 8,186,453 to 9,687,653), which marked a population

growth rate of 18.34%. PX 1, fig.3. The growth of the minority population

accounted for approximately 14.85% of this growth rate, the Any-Part Black (“AP

Black”) 14 population alone accounted for 8.07%, and the white population

accounted for approximately 3.48% of Georgia’s growth rate. Id. During this time,

the minority population increased by 1,215,941 people and had a growth rate of

34.66%. PX 1, fig.3. The AP Black population increased by 660,673 people and had

a growth rate of 27.60%. Id. Meanwhile, Georgia’s white population grew by

285,259 people and had a growth rate of 5.56%. Id. Following the 2010 Census, as

a result of population growth, Georgia was apportioned a 14th Congressional




14 “AP Black” is defined as the combined total of all persons who are single-race Black

and persons who are two or more races and one of them is Black. Stip. ¶ 95. “[I]t is
proper to look at all individuals who identify themselves as [B]lack” in their census
responses, even if they “self-identify as both [B]lack and a member of another minority
group,” because the inquiry involved is “an examination of only one minority group’s
effective exercise of the electoral franchise.” Georgia v. Ashcroft, 539 U.S. 461, 473 n.1
(2003).
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District. Stip. ¶ 94. During this time, the growth of the minority population

outpaced the white population by approximately 6 times and the Black

population outpaced the white population by approximately 5 times.

      In 2020, the United States Census Bureau conducted the 2020 Census. The

Census results were provided to Georgia on August 21, 2021. Stip. ¶ 92. Between

2010 and 2020 Georgia’s total population increased by over a million people to

10,711,908, which marked a population growth rate of 10.57%. Id. ¶ 93; PX 1, fig.3;

Tr. 718:4–6. The growth of the minority population accounted for approximately

11.11% of this growth rate, the AP Black population alone accounted for 5.00%,

and the white population accounted for approximately -0.53% of Georgia’s

growth rate. Id. Meaning, all of Georgia’s population growth during the past

decade is attributable to the growth of the minority population. PX 1 ¶ 14, fig.1,

Tr. 718:7–15. During this time, the minority population increased by 1,076,019

people and had a growth rate of 25.18%. PX 1, fig.3. The AP Black population

increased by 484,048 people and had a growth rate of 15.85%. Id. Meanwhile,

Georgia’s white population decreased by 51,764 people and had a negative

growth rate of –0.9%. Id. Over the past two decades, Georgia’s Black and


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minority populations continued to have a double-digit rate of growth; whereas,

in the last decade, the white population has begun to decline in Georgia.

      In total numbers, Georgia’s AP Black population increased by 484,048

people since 2010. Stip. ¶ 95; PX 1 ¶ 14, fig.3. Between 2010 and 2020 the AP Black

population accounted for 47.26% of Georgia’s total population growth. Stip.

¶¶ 96, 102; PX 1 ¶ 14 & fig.1. And the proportion of the AP Black population

overall increased from 31.53% to 33.03% over the same period. Stip. ¶ 102; PX 1

¶ 16. Meanwhile, Georgia’s single-race white population decreased by 51,764

people and makes up 50.06% of Georgia’s population, which is a razor thin

majority of Georgia’s population. Stip. ¶¶ 99, 102. Georgia’s minority population

now totals 49.94%. PX 1 ¶ 14 & fig.1.

             2. Metro Atlanta

      The Atlanta Metropolitan Statistical Area (“Atlanta MSA”) 15 had a

population growth of 803,087 persons between 2010 and 2020, which accounts



15 The Atlanta MSA consists of the following 29 counties: Barrow, Bartow, Butts, Carroll,

Cherokee, Clayton, Cobb, Coweta, Dawson, DeKalb, Douglas, Fayette, Forsyth, Fulton,
Gwinnett, Haralson, Heard, Henry, Jasper, Lamar, Meriwether, Morgan, Newton,



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for approximately 78.41% of Georgia’s total population growth. Stip. ¶ 107; PX .

1 ¶ 14 & fig.1; id. ¶ 30 & fig.5. The AP Black population accounted for 409,927 of

those persons, which amounts to 51.04% of the population growth in Atlanta and

40.02% of Georgia’s population growth. Id. The AP Black population is 35.91% of

the Atlanta MSA, which was an increase from 33.61% in 2010. Stip. ¶ 108. The AP

Black population accounts for 34.86% of the Atlanta MSA’s total voting age

population. Stip. ¶ 110.

      According to the 2020 Census, the Atlanta MSA has a total voting-age

population of 4,654,322 persons, of whom 1,622,469 (34.86%) are AP Black. Stip.

¶ 110. The non-Hispanic white voting-age population is 4,342,333 (52.1%). PX 1

¶ 31 & fig.6. And, the 11 ARC counties account for more than half (54.7%) of the

statewide Black population. PX 1 ¶ 28.

      Based on the 2020 Census, the combined Black population in Cobb, Fulton,

Douglas, and Fayette Counties is 807,076 persons, more than necessary to




Paulding, Pickens, Pike, Rockdale, Spalding, and Walton. Stip. ¶ 106. The Atlanta
Regional Commission (“ARC”) is comprised of 11 core counties within the Atlanta
MSA: Cherokee, Clayton, Cobb, DeKalb, Douglas, Fayette, Forsyth, Fulton, Gwinnett,
Henry, and Rockdale. Stip. ¶ 111.
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constitute an entirely AP Black congressional district 16 —or a majority in two

congressional districts. PX 1 ¶ 42 & fig.8. The population is 100,000 people more

than needed to constitute an entirely AP Black Senate district 17 in this area, and

nearly 5 entirely AP Black House Districts. 18 More than half (53.27%) of the total

population increase in these four counties since 2010 can be attributed to the

increase in the Black population. PX 1 ¶ 43.

       The southeastern metro-Atlanta area has experienced similar growth

patterns. In 2000, 18.51% of the population in the five-county Fayette-Spalding-

Henry-Rockdale-Newton area was Black. Stip. ¶ 114; APAX 1, 25 & fig.7. By 2010,

the Black population in that area more than doubled to reach 36.70% of the

overall population, then grew to 46.57% in 2020. Id. Between 2000 and 2020, the

Black population in this five-county South Metro Atlanta area quadrupled, from

74,249 to 294,914. Stip. ¶ 115. This area is now plurality Black. APAX 1, 25 & fig.7.

Fayette and Spalding Counties have seen Black population increases of 54.5%




16 The ideal population size of a congressional district is 765,136 people. Stip. ¶ 197.

17 The ideal population size for a Senate district is 191,284 people. Stip. ¶ 277

18 The ideal population size for a House district is 59,511 people. Stip. ¶ 278.


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and 18.7%, respectively, since 2010. APAX 1, at 40 ¶ 97. Henry County’s Black

population has increased by 39.3% in the last decade, and Henry County is now

plurality Black. Id. ¶ 102. As Mr. Cooper explained, in the 1990s, Henry County

was not even “10 percent Black” but the county has “change[d] over time.”

Tr. 116:17–18.

      Meanwhile, under the 2000 Census, the population in the 29-county

Atlanta MSA was 60.42% non-Hispanic white, decreased to 50.78% in 2010, and

decreased further to 43.71% in 2020. PX 1 ¶ 25 & fig.4. Between 2010 and 2020,

the non-Hispanic white population in the Atlanta MSA decreased by 22,736

persons. Stip. ¶ 112; PX 1 ¶ 25 & fig.4; Tr. 721:19–23.

             3. The Black Belt

      The Black Belt refers to an area that runs across the southeastern United

States. Stip. ¶ 118. The Black Belt, is in part, characterized by significant Black

populations and a shared history of antebellum slavery and plantation

agriculture. Id. Georgia’s portion of the Black Belt runs across the middle of the

State between Augusta and Southwest Georgia. Stip. ¶ 119. Unlike, the Atlanta

MSA, it is not comprised of a specific set of whole counties.


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                    a) Eastern Black Belt Region

      The Georgia Department of Community Affairs (“GDCA”) has prepared

regional commission maps, including of the Central Savannah River Area region.

APAX 1, 13 ¶ 26; id. at 118-119, Ex. F. The Central Savannah River Area Counties

include: Jenkins, Burke, Richmond, Jefferson, McDuffie, Wilkes, Taliaferro,

Glascock, Warren, Washington, and Hancock. Ten of these 11 contiguous

counties—excluding Glascock—are identified as part of Georgia’s Black Belt by

the Georgia Budget and Policy Institute. APAX 1, 13–14 ¶ 27; DX 22, at 20–25;

Stip. ¶¶ 120–123. Mr. Cooper defined this set of 11 counties as part of the

“Eastern Black Belt.” APAX 1 ¶ 24. These same counties are consistent with

Mr. Esselstyn’s understanding of the eastern portion of the Black Belt. GX 1 ¶ 19

& fig.1.

      According to Mr. Cooper’s analysis, between 2000 and 2020, the total

population in the Eastern Black Belt has remained relatively constant. APAX 1

¶ 58 & fig.8. And, at least 40% of these eleven counties are AP Black and over the

past two decades, their share of the population increased from 50.66% to 54.62%.

Stip. ¶¶ 120, 122. Meanwhile, the white population decreased from 45.61% to


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38.17% of the population over the same period. Stip. ¶ 123. In other words, the

Black population in this area has become more concentrated over time, and now

comprises a majority.

                    b)    Metro-Macon Region

      Metropolitan Macon is a seven-county region in Middle Georgia defined

by the combined Metropolitan Statistical Areas (“MSAs”) of Macon-Bibb and

Warner Robins. Stip. ¶ 124; APAX 1, at 15–16 ¶ 33. The Macon-Bibb MSA

includes the counties of Twiggs, Macon-Bibb, Jones, Monroe, and Crawford. Stip.

¶ 124; APAX 1, at 16 n.14. The adjacent Warner Robins MSA encompasses

Houston and Peach Counties. Stip. ¶ 124; APAX 1, 16 n.14. Three of the

Macon-area counties are “identified as part of Georgia’s Black Belt”—Macon,

Bibb, Peach, and Twiggs, encompassing about 59% of the Black population

(177,269) in the seven-county region. APAX 1, 29; GX 1 ¶ 19 & fig.1. Between 2000

and 2020, the AP Black population increased from 36.89% to 41.67% of the Macon

MSA. Stip. ¶ 126. Meanwhile, the white population decreased from 59.40% to

49.10% of the Macon MSA. Stip. ¶ 127.




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                       c)        Southwestern Georgia Region

      The relevant counties in southwest Georgia include: Sumpter, Webster,

Stewart, Quitman, Clay, Randolph, Terrell, Calhoun, Dougherty, Early, Baker,

and Mitchell. Stip.         ¶¶ 128–132. Twelve of the thirteen counties in Senate

District 12—all but Miller County—are identified by the Georgia Budget and

Policy Institute as Black Belt counties. APAX 1, 15 ¶ 32; DX 22, at 20–25. At least

40% of this region is AP Black, and all but Miller County is at least 40% AP Black.

Stip. ¶ 128. Between 2000 and 2020, the population decreased in this area from

214,686 to 190,819 (11.12%). Stip. ¶ 130. While the AP Black and white

populations have decreased over the past two decades, the share of the AP Black

population increased from 55.33% to 60.6%, and the white population decreased

from 42.36% to 33.83%. Stip. ¶¶ 131, 132.

      E.        Georgia 2021 Enacted Plans

                1. The 2021 Redistricting Process

                       a) Legislative activities

      In the wake of the COVID-19 pandemic, the Georgia General Assembly

underwent the constitutionally required process of redistricting. Article One,

Section    2,    Clause      3   of   the   United   States   Constitution   provides:

                                            40
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“Representatives . . . shall be apportioned among the several States which may

be included within the Union, according to their respective Numbers . . . . The

actual Enumeration shall be made . . . every [ ] Term of ten Years, in such Manner

as they shall by Law direct.” U.S. Const. art. I, §2, cl. 3.

      In 2021 and prior to the public release of the redistricting plans, the House

Legislative and Congressional Reapportionment and Senate Reapportionment

and Redistricting Committees adopted guidelines. Stip. ¶¶ 134, 135. The general

principles for drafting plans for the House Legislative and Congressional

Reapportionment Committee are as follows:




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Stip. ¶ 134; JX 2, 3. The general principles for drafting plans for the Senate

Reapportionment and Redistricting Committee are as follows:




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Stip. ¶ 135; JX 1, 3.



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      The redistricting process consisted of the following actions. Beginning on

June 15, 2021 and between June and July of 2021, the Georgia General Assembly

held nine in-person and two virtual joint public hearing committees on

redistricting. Stip. ¶ 136. The joint redistricting committee released educational

videos about the redistricting process. Stip. ¶ 137. The Georgia General Assembly

created an online portal and received 1,000 comments from voters in 86 counties.

Stip. ¶ 138.

      On August 21, 2021, the Census Bureau released its detailed population

data gathered from its 2020 canvassing efforts. Stip. ¶ 140. On August 30, 2021,

the General Assembly’s joint redistricting committees held a meeting with

interest groups. Stip. ¶ 141. The National Conference of State Legislatures,

American Civil Liberties Union of Georgia, Common Cause, Fair Districts GA,

the   Democratic    Party   of   Georgia,   and   Asian-Americans     Advancing

Justice–Atlanta presented at the August 30, 2021 joint meeting. Stip. ¶ 142.

                    b)      Map drawing process

      Gina Wright, the Executive Director of the Georgia General Assembly’s

Office of Legislative and Congressional Reapportionment, testified at trial that


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she drew Georgia’s redistricting plans for Congress, State Senate, and State

House in 2021. Tr. 1605:14–16. As a fact witness, the Court found Ms. Wright to

be highly credible in her knowledge about Georgia’s map drawing process. The

Court also found Ms. Wright’s testimony about various areas of the state to be

credible and reliable.

      Ms. Wright testified that generally she began drafting the new legislative

plans by using blank maps, rather than starting from the existing plans.

Tr. 1622:11–17; 1642:7–14. She then put the ideal population size, using the

Census population, into the blank map. Tr. 1622:11–13. At times, she layered the

new maps with the former map to see if she retained core districts.

Tr. 1607:8–1621:18–22. Ms. Wright used the eyeball test and did not look at

compactness scores when she drew the congressional and legislative districts.

Tr. 1610:3–1611:12.

      Once she drew the blind map, she gave the map to the chairmen of the

House    Legislative     and   Congressional   Reapportionment    and    Senate

Reapportionment and Redistricting Committees. Tr. 1623:4–6. Ms. Wright then

made adjustments as requested by Senator Kennedy, chairman of the Senate


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Reapportionment and Redistricting Committee, Representative Bonnie Rich, a

former member of the House Reapportionment and Redistricting Committee,

and other members, if requested. Tr. 1626:10–1627:1; 1641: 24–1642:1. Ms. Wright

also incorporated the information she received from the public hearings when

drawing the plans. Tr. 1627:2–13.

      The Congressional map was drawn in a slightly different manner. Instead

of starting with a blank map, Ms. Wright testified that the chairman asked her to

draw a benchmark map that had a more specific framework than the State

legislative plans. Tr. 1666:5–11. There was no testimony or further explanation

about the specific framework that was requested to go into the benchmark map.

      The Proposed 2021 Senate and House Plans were first released on

November 2, 2021. Stip. ¶ 143. Following their release, the joint redistricting

committees received public comment on the proposed maps. Stip. ¶ 146. On

November 3, 2021, the General Assembly convened a special session, in part, to

consider the proposed Senate and House Plans. Stip. ¶ 144. The House and

Senate redistricting committees held multiple meetings during the special session.

Stip. ¶ 145. During this time, the House and Senate redistricting committees


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received public comment on the draft plans during their committee meetings.

Stip. ¶ 146.

      On November 12, 2021, the General Assembly passed the 2021 Senate and

House Plans (SB 1EX and HB 1EX, respectively) (collectively, the “Enacted

Legislative Plans,” individually, the “Enacted Senate Plan” and “Enacted House

Plan”). Stip. ¶ 147. On November 22, 2021, the General Assembly passed the 2021

Congressional Redistricting Plan (the “Enacted Congressional Plan”). Stip. ¶ 148.

No Democratic members of the General Assembly or Black representatives voted

in favor of the 2021 Enacted Congressional, Enacted Senate, or Enacted House

Plans (collectively “the Enacted Plans”). Stip. ¶¶ 150, 151. On December 30, 2021,

Governor Kemp signed the Enacted Plans into law. Stip. ¶ 149. The Enacted Plans

were used in the 2022 Elections. Stip. ¶ 152.

               2. Enacted Plan Statistics

                      a) Congressional Plan

                              (1)   2012 Congressional plan

      The 2012 Congressional Plan was precleared under Section 5 of the VRA

by the DOJ. See Jud. Not.; see also Attorney General Press Release,

https://law.georgia.gov/press-releases/2011-12-23/justice-approves-georgias-
                                       47
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redistricting-plans; Charles Bullock, The History of Redistricting in Georgia, 52

Ga. L. Rev. 1057, 1097–98 (Summer 2018).

       Pursuant to the population increase shown in the 2010 Census results, for

the first time, Georgia was apportioned an additional seat in the U.S. House of

Representatives, making Georgia’s U.S. House of Representative delegation a

total of 14 members. See United States Census Bureau, Historical Apportionment

Data    (1910-2020),     https://www.census.gov/data/tables/time-series/dec/

apportionment-data-text.html (last visited Sept. 15, 2023). 19

       The 2012 Congressional Plan contained four districts where the AP Black

Voting Age Population (“AP BVAP”) was in the majority. Stip. ¶ 160. Three of

those districts were located within the Atlanta MSA. Stip. ¶ 162. The 2012

Congressional Plan split 16 counties. Stip. ¶ 165. The average Reock Score 20 for




19 The Court takes judicial notice of the Decennial Census data. See United States v.

Phillips, 287 F.3d 1053, 1055 n.1 (11th Cir. 2002) (citing Hollis v. Davis, 941 F.2d 1471,
1474 (11th Cir. 1991) and Moore v. Comfed Savings Bank, 908 F.2d 834, 841 n.4 (11th Cir.
1990)) (taking judicial notice of the United States Census Bureau’s 1990 census figures);
Grant Doc. No. [229], at 9 n.10 (taking judicial notice of 2020 U.S. Census figures).
20 “The Reock test is an area-based measure that compares each district to a circle, which




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the 2012 Congressional Plan is 0.45 and the average Polsby-Popper Score 21 is 0.26.

Stip. ¶ 168; PX 1, Ex. L-2.

        District 22        2012 Congressional Plan        2012 Congressional Plan
                                 Reock Score                Polsby-Popper Score
            1                             0.40                        0.23
            *2                            0.44                        0.31
            3                             0.55                        0.28
            *4                            0.54                        0.27
            *5                            0.52                        0.37
            6                             0.49                        0.27
            7                             0.45                        0.26
            8                             0.33                        0.16
            9                             0.36                        0.30
           10                             0.52                        0.27
           11                             0.50                        0.28
           12                             0.41                        0.19
           *13                            0.38                        0.16
           14                             0.45                        0.31
          Mean                            0.45                        0.26
          Max:                            0.55                        0.37
          Min:                            0.33                        0.16




is considered to be the most compact shape possible. For each district, the Reock test
computes the ratio of the area of the district to the area of the minimum enclosing circle
for the district. The measure is always between 0 and 1, with 1 being the most compact.”
Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1275 n.24 (citation omitted).
21 “The Polsby-Popper test computes the ratio of the district area to the area of a circle

with the same perimeter: 4πArea/(Perimeter2). The measure is always between 0 and 1,
with 1 being the most compact.” Id. at 1275 n.26.
22 The asterisk (*) denotes a majority AP Black district. Stip.   ¶¶ 166, 167; Pendergrass
Doc. Nos. [174-1], 61; [174-2], 25, 69.
                                                 49
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                            (2)   Enacted Congressional Plan

      Pursuant to the 2020 Census, Georgia was apportioned 14 seats in the

U.S. House of Representatives. Stip. ¶ 94. A colorized version of the Enacted

Congressional Plan was introduced into evidence at trial and is below.




PX 1, Ex. G.

                                     50
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      The Enacted Congressional Plan contains four districts where the

non-Hispanic Department of Justice Black citizen voting age population (“NH

DOJ BCVAP”) 23 is in the majority—CD-2 (50.001%), CD-4 (58.46%), CD-5

(52.35%), and CD-13 (67.05%). Stip. ¶ 161; PX 1 ¶ 53 & fig.11. The AP BVAP,

however, only exceeds 50% in 2 districts CD-4 (54.54%) and CD-13 (66.75%). The

AP BVAP of CD-2 is 49.29% and CD-5 is 49.60%. PX 1, Ex. K-1. All but one of

those districts is contained in the Atlanta MSA. Stip. ¶ 166; PX 1, Ex. J-2. The

Enacted Congressional Plan splits 15 counties. Stip. ¶ 164. It also split 46 VTDs. 24

PX 1 ¶ 81. The average Reock Score for the 2021 Congressional Plan is 0.44 and

the average Polsby-Popper Score is 0.27. Stip. ¶ 168; PX 1, Ex. L-3.

      A table that shows the Reock and Polsby score comparisons is as follows:




23 The “NH DOJ Black CVAP” category includes voting age citizens who are either

NH single-race Black or NH Black and White. An “Any Part Black CVAP” category that
would include Black Hispanics cannot be calculated from the 5-Year ACS Census
Bureau Special Tabulation.” PX 1 ¶ 57 n.10.
24 “‘VTD’ is a Census Bureau term meaning ‘voting tabulation district.’ VTDs generally

correspond to precincts.” PX 1 ¶ 11 n.4.
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                 District 25 2021          2021
                             Congressional Congressional
                             Plan          Plan
                             Reock Score    Polsby-
                                           Popper Score
                     1            0.46          0.29
                    *2            0.46          0.27
                     3            0.46          0.28
                    *4            0.31          0.25
                    *5            0.51          0.32
                     6            0.42          0.20
                     7            0.50          0.39
                     8            0.34          0.21
                     9            0.38          0.25
                    10            0.56          0.28
                    11            0.48          0.21
                    12            0.50          0.28
                   *13            0.38          0.16
                    14            0.43          0.37
                 Mean             0.44          0.27
                 Max:             0.56          0.39
                 Min:             0.31          0.16

PX 1, Ex. L-3.
                       b)     State Senate Plan

       Under Georgia law, “[t]here shall be 56 members of the Senate. The

General Assembly shall by general law divide the state into 56 Senate districts




25 The asterisk (*) denotes a majority AP Black district.


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which shall be composed of a portion of a county or counties or a combination

thereof and shall be represented by one Senator elected only by the electors of

such district.” O.C.G.A. § 28-2-2; see also Ga. Const. art. III, § 2, ¶ I. The ideal

population for a Senate district in 191,284 people. Stip. ¶ 277.

      Below is the Enacted Senate Plan:




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APAX 1, Ex. L.

      Under the Enacted Senate Plan, the greatest population deviation is ±1.03%.

Id. The average population deviation is 0.53%. Id. The Enacted Senate Plan split

29 counties. APAX 1 ¶ 116; fig.21. It also split 40 VTDs. Id. The Enacted Senate

Plan did not pair any incumbents who were running for reelection. Stip. ¶ 175.

      The Enacted Senate Plan contains 14 Senate districts where the ABVAP is

the majority of the population, ten of the districts are fully within the Atlanta

MSA. Stip.     ¶¶ 176, 186; APAX 1, Ex. M-1. This is a reduction of one

majority-Black district in the Senate Plan as a whole. Stip. ¶¶ 173, 177 (indicating

that the 2014 Senate Plan contained 15 majority-Black Senate Districts with

10 wholly within the Atlanta MSA). The following is a Table depicting the

majority AP Black districts and the percentage of the districts that is AP BVAP.




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                       District          % AP BVAP
                         10                 71.46
                         12                 57.97
                         15                 54.00
                         22                 56.50
                         26                 56.99
                         34                 69.54
                         35                 71.90
                         36                 51.34
                         38                 65.30
                         39                 60.70
                         41                 62.61
                         43                 64.33
                         44                 71.34
                         55                 65.97
APAX 1, M-1.

      The Enacted Senate Plan has an average Reock score of 0.43 and Polsby-

Popper Score of 0.27. Stip. 189; APAX 1, Ex. S-2. The maximum and minimum

Reock scores are 0.68 and 0.14. Id. The maximum and minimum Polsby-Popper

scores are 0.62 and 0.11. Id. The compactness scores for the majority-Black

districts are as follows:




                                   55
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                     Districts      Reock Score    Polsby-Popper
                                                       Score
                           10           0.37            0.27
                           12           0.53            0.28
                           15           0.56            0.33
                           22           0.39            0.34
                           26           0.47            0.21
                           34           0.40            0.32
                           35           0.42            0.18
                           36           0.25            0.28
                           38           0.47            0.21
                           39           0.14            0.11
                           41           0.31            0.21
                           43           0.56            0.27
                           44           0.19            0.18
                           55           0.25            0.23
APAX 1, S-2.

                      c)        State House Plan

      Under Georgia law, “[t]here shall be 180 members of the House of

Representatives.” O.C.G.A. § 28-2-1(a)(1); see also Ga. Const. art. III, § 2, ¶ I. The

Georgia Code further provides that: “[t]he General Assembly by general law

shall divide the state into 180 representative districts which shall consist of either

a portion of a county or a county or counties or any combination thereof and shall

be represented by one Representative elected only by the electors of such district.”

O.C.G.A. § 28-2-1 (a)(1)–(2); Stip. ¶ 179. The ideal population for a House district

in 59,511. Stip. ¶ 278.

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      Below is the Enacted House Plan:




APAX 1, Ex. Y.

      Under the Enacted Plan, the greatest population deviation of any district

is ±1.40%. Stip. ¶ 186; APAX 1, 116. The Enacted House Plan contains 49 House

districts where the ABVAP is the majority of the population. Stip. ¶ 186; APAX
                                    57
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1, Ex. Z-1. Thirty-three of these districts are fully within the Atlanta MSA. Stip.

¶ 186; APAX 1, Exs. C,Y. This results in an addition of two majority-Black House

districts overall and two in the Atlanta MSA. Stip. ¶¶ 180, 183. The Enacted

House Plan split 69 Counties. APAX 1 ¶ 189; fig.37. It also split 179 VTDs. Id. The

Enacted House Plan paired four sets of incumbents who ran for reelection in 2022.

Stip. ¶ 182.

      The following is a Table depicting the majority AP Black districts and the

percentage of the districts that is AP BVAP.




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               District   %AP Black      District   %AP Black
                 38         54.23           90        58.49
                 39         55.29           91        70.04
                 55         55.38           92        68.79
                 58         63.04           93        65.36
                 59         70.09           94        69.04
                 60         63.88           95        67.15
                 61         74.29          113        59.53
                 62         72.26          115        52.13
                 63         69.33          116        58.12
                 65         61.98          126        54.47
                 66         53.41          128        50.41
                 67         58.92          129        54.87
                 68         55.75          130        59.91
                 69         63.56          132        52.34
                 75         74.40          137        52.13
                 76         67.23          140        57.63
                 77         76.13          141        57.46
                 78         71.58          142        59.52
                 79         71.59          143        60.79
                 84         73.66          150        53.56
                 85         62.71          153        67.95
                 86         75.05          154        54.82
                 87         73.08          165        50.33
                 88         63.35          177        53.88
                 89         62.54



APAX 1, Z-1.

     The Enacted House Plan has an average Reock score of 0.39 and Polsby-

Popper Score of 0.28. Stip. ¶ 189; APAX 1, AG-2. The maximum and minimum

                                    59
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Reock scores are 0.66 and 0.12. Id. The maximum and minimum Polsby-Popper

scores are 0.59 and 0.10. Id. The compactness scores for the majority-Black

districts are as follows:

   District       Reock     Polsby-        District   Reock      Polsby-
                  Score     Popper                    Score      Popper
                             Score                                Score
      38           0.59       0.58            90      0.36         0.29
      39           0.59       0.40            91      0.45         0.20
      55           0.18       0.16            92      0.36         0.20
      58           0.13       0.13            93      0.26         0.11
      59           0.12       0.11            94      0.31         0.15
      60           0.19       0.15            95      0.44         0.25
      61           0.25       0.20           113      0.50         0.32
      62           0.16       0.10           115      0.44         0.23
      63           0.16       0.14           116      0.41         0.28
      65           0.46       0.17           126      0.52         0.41
      66           0.36       0.25           128      0.60         0.32
      67           0.36       0.12           129      0.48         0.25
      68           0.32       0.17           130      0.51         0.25
      69           0.40       0.25           132      0.27         0.30
      75           0.42       0.28           137      0.33         0.16
      76           0.53       0.51           140      0.29         0.19
      77           0.40       0.21           141      0.26         0.20
      78           0.21       0.19           142      0.35         0.23
      79           050        0.21           143      0.50         0.30
      84           0.25       0.20           150      0.44         0.28
      85           0.36       0.32           153      0.30         0.30
      86           0.17       0.17           154      0.41         0.33
      87           0.26       0.24           165      0.23         0.16
      88           0.26       0.20           177      0.43         0.34
      89           0.14       0.10


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Stip. ¶¶ 186, 189; APAX 1, Ex. S-3.

      F.     Illustrative Plans

             1. Credibility Determinations

      The Court makes the following credibility determinations as it relates to

the Gingles preconditions experts.

                     a) Mr. William S. Cooper

      Both the Alpha Phi Alpha and the Pendergrass Plaintiffs engaged

Mr. Cooper as an expert. APAX 1, PX 1. The Court qualified Mr. Cooper as an

expert in redistricting demographics and use of Census data. Tr. 65:21–24,

67:10–11; 715:8–10, 717:3–4. Mr. Cooper earned his Bachelor of Arts in economics

from Davidson College. APAX 1, Ex. A. Since the late 1980s, Mr. Cooper has

testified as an expert trial witness on redistricting and demographics in federal

courts in about 55 voting rights cases. Tr. 62:11–14; see also APAX 1, Ex. A. Over

25 of the cases led to changes in local election district plans and five resulted in

changes to statewide legislative boundaries. APAX 1, Ex. A; see Rural West

Tennessee African-American Affairs Council, Inc. v. McWherter, 877 F. Supp.

1096 (W.D. Tenn. 1995); Old Person v. Brown, 182 F. Supp. 2d 1002 (D. Mont.

2002); Bone Shirt v. Hazeltine, 336 F. Supp. 2d 976 (D.S.D. 2004); Alabama
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Legislative Black Caucus v. Alabama, 231 F. Supp. 3d 1026 (M.D. Ala. 2017); and

Thomas v. Reeves, 3:18-CV-441-CWR-FKB, 2021 WL 517038 (S.D. Miss. Feb. 11,

2021).

         In Georgia alone, Mr. Cooper has testified as an expert on redistricting and

demographics in four other federal cases: Cofield v. City of LaGrange, 969 F.

Supp. 749 (N.D. Ga. 1997); Love v. Cox, No. CV 679-037, 1992 WL 96307 (S.D. Ga.

Apr. 23, 1992); Askew v. City of Rome, 127 F.3d 1355 (11th Cir. 1997); Woodard

v. Mayor and City Council of Lumber City, 676 F. Supp. 255 (S.D. Ga. 1987).

Mr. Cooper also filed expert declarations or depositions in the following Georgia

federal cases: Dwight v. Kemp, No. 1:18-cv-2869 (N.D. Ga. 2018); Georgia State

Conference of the NAACP v. Gwinnett County, No. 1:16-cv-02852-AT (N.D. Ga.

2016); Georgia State Conference of the NAACP v. Fayette County, 950 F. Supp.

2d 1294 (N.D. Ga. 2013); Knighton v. Dougherty County, No. 1:02-CV-130-

2(WLS) (M.D. Ga. 2002); Johnson v. Miller, 864 F. Supp. 1354 (S.D. Ga. 1994); Jones

v. Cook County, 7:94cv73 (M.D Ga. 1994). APAX 1, Ex. A.

         Following the 2020 Decennial Census, three local governments adopted

commission level plans that Mr. Cooper drafted. Id. And Jefferson County,


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Alabama, adopted his proposed school board plans. Id. Mr. Cooper testified in

seven redistricting trials or preliminary injunction hearings in 2022, including in

these Actions. Id. In one of those cases, the Supreme Court affirmed the district

court’s finding that his congressional maps were sufficient to show a substantial

likelihood of success on the first Gingles precondition. Allen, 599 U.S. at 12–24.

      Finally, Mr. Cooper was qualified as a redistricting and demographics

expert at the preliminary injunction hearing. Alpha Phi Alpha Fraternity, 587 F.

Supp. 3d at 1244. This Court found that “Mr. Cooper’s testimony [was] highly

credible . . . [and] that his methods and conclusions [we]re highly reliable, and

ultimately that his work as an expert on the first Gingles precondition [wa]s

helpful to the Court.” Id. at 1244–45.

      Mr. Cooper spent around six hours on the stand testifying as to his

Illustrative Plans, including over three hours of cross-examination. On voir dire,

Defense counsel questioned Mr. Cooper about his involvement in a 2012

Alabama redistricting case in which the three-judge court there stated in a 2017

memorandum of opinion and order that “plaintiffs’ mapmakers came

dangerously close to admitting that race predominated in at least some of the


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districts in their plans.” Ala. Legis. Black Caucus, 231 F. Supp. 3d 1026 at 1046.

Nevertheless, the three-judge court also “credit[ed] much of [Mr.] Cooper’s

testimony” in an earlier 2013 opinion. Ala. Legis. Black Caucus v. Alabama, 989

F. Supp. 2d 1227, 1271–72 (M.D. Ala. 2013), rev’d on other grounds, Ala. Legis.

Black Caucus v. Alabama, 575 U.S. 254 (2015).

      During Mr. Cooper’s time on the stand, the Court was able to question and

observe Mr. Cooper closely. Throughout his reports and hours of live testimony,

his opinions were clear, consistent, and forthright, and he had no difficulty

articulating the bases for his districting decisions. He was also forthright with the

Court when discussing the characteristics of his illustrative plans and admitted

that while the illustrative plans were acceptable for the first Gingles precondition,

there would be other ways to draw maps at the remedial stage. E.g.,

Tr. 235:24–25.

      Having reviewed Mr. Cooper’s expert report and evaluating his trial

testimony, the Court again finds that Mr. Cooper is highly credible. Mr. Cooper

has spent the majority of his career drawing maps for redistricting and

demographic purposes, and he has accumulated extensive expertise (more so


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than any other expert qualified in redistricting demographics in this case) in

redistricting litigation, particularly in Georgia.

                     b)     Mr. Blakeman B. Esselstyn

      The Grant Plaintiffs proffered and the Court qualified Mr. Esselstyn as an

expert    in   redistricting,   demography,          and   geographic     information

systems. Tr. 464:2–5, 466:19–20. Mr. Esselstyn earned his Bachelor’s degree in

geology & geophysics and international studies from Yale University and a

master’s degree in computer and information technology from University of

Pennsylvania. GX 1 ¶ 5. Mr. Esselstyn is the founder and principal of a

consultancy called Mapfigure Consulting, which provides expert services in the

areas of redistricting, demographics, and geographic information systems (GIS).

Id. ¶ 1. He has served as a consulting expert in four redistricting cases. Id. ¶ 3.

Mr. Esselstyn has developed 16 redistricting plans that have been enacted for use

in elections by jurisdictions at various levels of government. Id. ¶ 4.

      Mr. Esselstyn was a testifying expert witness in the following cases: Jensen

v. City of Asheville, (N.C. Super. 2009); Hall v. City of Asheville, (No. 05CV53804,

2007 WL 9210091 (N.C. Super. June 17, 2007); and Arnold v. City of Asheville,


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Buncombe Cnty., No. 02CV53945 (N.C. Super. Nov. 20, 2003). GX 1, Attach. A.

On voir dire, Mr. Esselstyn acknowledged that he has never drawn a statewide

map that was used in an election and that he has never drawn a map for any

jurisdiction in Georgia. Tr. 465:20–25.

      Following the 2020 Decennial Census, Mr. Esselstyn has been consulted as

an expert for the plaintiffs in League of United Latin American Citizens v. Abbott,

3:21-CV-00259-DCG-JES-JVB (W.D. Tex. Oct. 18, 2021) and Rivera v. Schwab, 315

Kan. 877, 512 P.3d 168 (2022). GX 1, Attach. A.

      Mr. Esselstyn was qualified as a redistricting and demographics expert at

the preliminary injunction hearing. Alpha Phi Alpha Fraternity, 587 F. Supp. 3d

at 1245-46. This Court found that “Mr. Esselstyn’s testimony [was] highly

credible . . . [and] that his methods and conclusions [we]re highly reliable, and

ultimately that his work as an expert on the first Gingles precondition [wa]s

helpful to the Court.” Id. at 1246.

      Having reviewed Mr. Esselstyn’s expert report and evaluating his trial

testimony, the Court again finds that Mr. Esselstyn is highly credible. The Court

does note that Mr. Esselstyn was less forthcoming on cross-examination in the


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trial than he was during the preliminary injunction hearing. However, the Court

finds that Mr. Esselstyn’s explanations were internally consistent and did not

falter. Accordingly, the Court will give great weight to Mr. Esselstyn’s testimony.

                    c)     Mr. John B. Morgan

      Defendant proffered and the Court qualified Mr. Morgan as its expert in

redistricting and the analysis of demographic data in all three cases. Tr. 1748:8–

11, 15–16. Mr. Morgan earned his Bachelor of Arts in history from the University

of Chicago. DX 1 ¶ 2. Mr. Morgan worked on redistricting plans in the

redistricting efforts and testified about demographics and redistricting following

the 1990, 2000, 2010, and 2020 Censuses. Id. Over the course of his career,

Mr. Morgan worked on statewide congressional and legislative redistrict plans

in the following states: Connecticut, Florida, Georgia, Indiana, Iowa, Kansas,

Michigan, Missouri, New Jersey, New Mexico, New York, North Carolina, Ohio,

Pennsylvania, Rhode Island, South Carolina, Virginia, and Wisconsin. DX 1. His

plans have been adopted in whole or in part by various jurisdictions. Id.

      Before this case, Mr. Morgan has provided expert reports and/or testified

in seven cases. Id. (citing Egolf v. Duran, D-101-CV-2011-02, 2011 WL 12523985


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(N.M. Dist. Dec. 28, 2011); Georgia State Conf. of NAACP v. Fayette Cnty. Bd. of

Comm’rs, 952 F. Supp. 2d 1360 (N.D. Ga. 2013); Page v. Va. Bd. of Elections,

3:13CV678, 2015 WL 3604029 (E.D. Va. June 5, 2015); Bethune-Hill v. Va. Bd. of

Elections, 114 F. Supp. 3d 323 (E.D. Va. 2015); Vesilind v. Va. Bd. of Elecions, 813

S.E.2d 739 (2018); and Georgia State Conf. of the NAACP v. Gwinnet Cnty. Bd.

of Elec.). 26

        Although Mr. Morgan has an extensive background in redistricting, the

Court finds that other courts, including this one, have called Mr. Morgan’s

credibility into doubt. Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1247–48.

Although, this Court’s ultimate determination as to Mr. Morgan’s credibility is

not dependent on the determinations made by its sister courts, or by its

determinations in the preliminary injunction hearing, the Court gives great

weight to the determinations made in those cases.

        In 2011, Mr. Morgan assisted Virginia with drawing its House of Delegates

maps; and in that case, “[Mr.] Morgan testified . . . that he played a substantial




26 Mr. Morgan’s report does not provide a full citation for the NAACP case.


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role in constructing the 2011 plan, which role included his use of the Maptitude

software to draw district lines.” Bethune-Hill v. Virginia State Bd. of Elections,

326 F. Supp. 3d 128, 151 (E.D. Va. 2018). Ultimately, a three-judge court found

that 11 of the House of Delegates districts were racial gerrymanders. Feb. 11, 2022,

Afternoon PI Tr. 184:1–6; see also Bethune-Hill, 326 F. Supp. 3d at 137, 181.

      Mr. Morgan served as both a fact and expert witness in Bethune-Hill. That

court ultimately found that Mr. Morgan’s testimony was not credible. That court

found that “Morgan’s testimony was wholly lacking in credibility. Th[is] adverse

credibility finding [ ] [is] not limited to particular assertions of [this] witness [ ],

but instead wholly undermine[s] the content of . . . Morgan’s testimony.”

Bethune-Hill, 326 F. Supp. 3d at 174; Tr. 2101:7–2102:10; 2109:17–2110:7.

Specifically, “Morgan testified in considerable detail about his reasons for

drawing dozens of lines covering all 11 challenged districts, including

purportedly race-neutral explanations for several boundaries that appeared

facially suspicious.” Bethune-Hill, 326 F. Supp.3d at 151. That court found:

“Morgan’s contention, that the precision with which these splits divided white

and black areas was mere happenstance, simply is not credible.” Id. “[W]e


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conclude that Morgan did not present credible testimony, and we decline to

consider it in our predominance analysis.” Id. at 152.

        Mr. Morgan also served as a testifying expert in Page v. Virginia State Bd.

of Elections, No. 3:13CV678, 2015 WL 3604029 (E.D. Va. June 5, 2015).

Tr. 2108:24–2109:11. That court found “Mr. Morgan, contends that the majority-

white    populations     excluded . . . were   predominately    Republican . . . . The

evidence at trial, however, revealed that Mr. Morgan’s analysis was based upon

several pieces of mistaken data, a critical error . . . Mr. Morgan’s coding mistakes

were significant to the outcome of his analysis[.]” Page, 2015 WL 3604029, at *15

n.25; Tr. 2108:24–2109:11. Mr. Morgan explained that his error was caused

because the attorneys asked him to produce an additional exhibit on the day of

trial. Tr. 2109:12–16.

        Additionally, in Georgia State Conf. of NAACP v. Fayette Cnty. Bd. of

Comm’rs, Mr. Morgan testified as an expert for the defense opposite Mr. Cooper,

who testified as an expert for the plaintiffs. 950 F. Supp. 2d 1294, 1310–11 (N.D.

Ga. 2013). In granting the motion for summary judgment, that court found that

the plaintiffs successfully asserted a vote dilution claim. Id. at 1326.


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      Finally, Mr. Morgan admitted that he drew some plans for the 2011 North

Carolina State Senate Maps. Tr. 2097:3–7. Ultimately, 28 districts in North

Carolina’s 2011 State House and Senate redistricting plans were struck down as

racial gerrymanders. Feb. 11, 2022, Afternoon PI Tr. 183:14–19; see also

Covington v. North Carolina, 316 F.R.D. 117 (M.D.N.C. 2016), aff’d North

Carolina v. Covington, 581 U.S.1015, (2017).

      At the preliminary injunction hearing in the cases sub judice, the Court

found that “Mr. Morgan’s testimony lack[ed] credibility, and the Court

assign[ed] little weight to his testimony.” Alpha Phi Alpha Fraternity, 587 F.

Supp. 3d at 1247–48. During the course of his testimony, Mr. Morgan was

impeached about reading Mr. Cooper’s reports before preparing his expert

report and he offered contradictory testimony when he testified that he watched

Mr. Cooper testify and then later testified that he was viewing exhibits for the

first time, even though they were in Mr. Cooper’s report and they were displayed

during Mr. Cooper’s testimony. Tr. 1959:5–1961:8; 2037:2–7.

      Having observed Mr. Morgan’s testimony and demeanor during the

course of the trial, the Court again assigns less weight to his testimony.


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                    d)     Dr. Maxwell Palmer

      The Grant and Pendergrass Plaintiffs proffered and the Court qualified

Dr. Palmer as an expert in redistricting and data analysis. Tr. 396:11–14, 397:8–9.

Dr. Palmer earned his Bachelor of Arts in mathematics and government and legal

studies from Bowdoin College. PX 2, 20. Dr. Palmer also earned his master’s and

doctorate in political science from Harvard University. Id. Dr. Palmer currently

serves as an associate professor at Boston University in the political science

department, where he has been teaching since 2014. Id. Dr. Palmer has

extensively published academic articles and books on a variety of topics,

including gerrymandering and redistricting. Id. at 20–22.

      Outside of this case, Dr. Palmer has offered consulting or expert testimony

in the following cases: Bethune-Hill v. Virginia, 3:14-cv-00852-REP-AWA-BMK

(E.D. Va. 2017); Thomas v. Bryant, 3:18-CV-411-CWR-FKB (S.D. Miss. 2018);

Chestnut v. Merrill, 2:18-cv-00907-KOB (N.D. Ala. 2019); Dwight v.

Raffensperger, 1:18-cv-2869-RWS (N.D. Ga. 2018); Bruni v. Hughs, 5:20-cv-35

(S.D. Tex. 2020); Caster v. Merrill, 2:21-cv-1536-AMM (N.D. Ala. 2021); Galmon

v. Ardoin, 3:22-cv-214-SDD-SDJ (M.D. La. 2022). Id. at 27–28.


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      In the preliminary injunction hearing, in the cases sub judice, Dr. Palmer

testified as an expert witness for the Grant and Pendergrass Plaintiffs. The Court

“f[ound] that his methods and conclusions [we]re highly reliable, and ultimately

that his work as an expert on the second and third Gingles preconditions [wa]s

helpful to the Court.” Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1304.

      Having reviewed Dr. Palmer’s demeanor and his testimony, Dr. Palmer’s

testimony was internally consistent, and he maintained a calm demeanor

throughout. The Court deems Dr. Palmer to be highly credible and his testimony

is extremely helpful to the Court. Thus, the Court assigns great weight to his

testimony.

                    e)    Dr. Lisa Handley

      The Alpha Phi Alpha Plaintiffs proffered and the Court qualified

Dr. Handley as an expert in racial polarization analysis, minority vote dilution,

and redistricting. Tr. 856:16–19, 861:11–12. Dr. Handley earned her doctorate in

political science from George Washington University. APAX 5, 47. Dr. Handley

serves as the president and co-founder of Frontier International Electoral




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Consulting LLC. Id. Dr. Handley has extensively published academic articles and

books on a variety of topics, including gerrymandering and redistricting. Id.

       Since 2000, Dr. Handley has served as a consultant and expert witness for

the following jurisdictions: Alaska, Arizona, Colorado, Connecticut, Florida,

Kansas, Louisiana, Massachusetts, Maryland, Michigan, New Mexico, New York,

and Rhode Island. Id. She has also served as a redistricting consultant for the

ACLU and provided expert testimony in an Ohio partisan gerrymander

challenge, Lawyers Committee for Civil Rights under Law in challenges to

judicial elections in Texas and Alabama, the Department of Justice in Section 2

and Section 5 cases. Id.

      Other than this case, Dr. Handley has been a testifying expert in the

following cases: In re: 2011 Redistricting Cases, No.4FA-11-2209CI (Alaska Super.

2013); Texas v. U.S., 11-1303 (TBG-RMC-BAH) (D.D.C. 2011); Jeffers v. Beebe,

2:12CV00016 JLH (E.D. Ark. 2012); Perry v. Perez, SA-11-CV0360 (W.D. Tex.

2011); Lopez v. Abbott, 2:16-CV-303 (S.D. Tex. 2016); Alabama State Conf. of the

NAACP v. Alabama, 2:16-CV-731-WKW (M.D. Ala. 2020); U.S. v. Eastpointe,

4:17-cv-10079 (E.D. Mich. 2017); New York v. U.S. Dep’t of Commerce, 18-CV-


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2921 (JMF), 18-CV-5025 (JMF) (S.D.N.Y. 2018); Ohio Phillip Randolph Inst. v.

Householder, 1:18-cv-357 (S.D. Ohio 2018); League of Women Voters of Ohio,

2021-1449 (Ohio 2021); League of Women Voters of Ohio v. Ohio Redistricting

Comm’n, 2021-1193 (Ohio 2021); Ark. State Conf. of the NAACP v. Ark. Bd. of

Apportionment, 4:21-cv-1239-LPR (E.D. Ark. 2021). Id.

      In the preliminary injunction hearing, in the cases sub judice, Dr. Handley

testified as an expert witness for the Grant and Pendergrass Plaintiffs. The Court

found that Dr. Handley’s testimony was truthful and reliable. Alpha Phi Alpha,

597 F. Supp. 3d at 1309.

      At the trial, Dr. Handley’s methodology and conclusions about the

existence of polarization were relatively unchallenged by Defendant. 27

Accordingly, the Court will rely on the findings in her report.



27 In Alabama State Conference of the NAACP, the court stated that “the parameters for

the elections [Dr. Handley] chose — only statewide elections with a black candidate
running against a white candidate — exclude other relevant elections, thereby
diminishing the credibility of her conclusions.” Ala. State Conf. of Nat’l Ass’n for
Advancement of Colored People v. Alabama, 612 F. Supp. 3d 1232, 1274 (M.D. Ala.
2020); Tr. 857:4–859:16. The Court agrees that Dr. Handley’s dataset may limit the
applicability and breadth of her conclusions, as Dr. Alford himself indicated. Tr. 2199.



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                     f)     Dr. John Alford

      Defendants proffered and the Court qualified Dr. Alford as an expert on

the second and third Gingles preconditions and Senate Factor Two. Tr. 2132:19–

21, 2133:1. Dr. Alford earned his Bachelor of Science and Master of Public

Administration from the University of Houston. DX 8, App. 1. He also achieved

his masters and doctorate in political science from the University of Iowa. Id.

Dr. Alford is a professor at Rice University of and has been teaching there since

1985. Id. Dr. Alford was an assistant professor at the University of Georgia

between 1981 and 1985. Id. Dr. Alford has published academic articles and books

on a variety of topics including voting. Id.

      Dr. Alford has worked with local governments on districting plans and on

VRA cases. Id. He has provided expert reports and testified as an expert witness

in a variety of court cases. Id. Sister courts have found that Dr. Alford’s

methodology was unreliable. See Lopez v. Abbott, 339 F. Supp. 3d 589, 610 (S.D.




The scope of Dr. Handley’s conclusions, however, is a question for the Court’s analysis
on the Gingles 2 and 3 preconditions and not a question of Dr. Handley’s credibility as
an expert witness. Accordingly, the Court relies on the findings in her report as they
have been largely unchallenged by Defendants.
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Tex. 2018) (crediting Dr. Handley’s testimony over Dr. Alford’s because

“Dr. Alford’s testimony . . . focused on issues other than the ethnicity of the

voters and their preferred candidates—which are the issues relevant to bloc

voting”); Texas v. U.S., 887 F. Supp. 2d 133, 146–47 (D.D.C. 2012), vacated on

other grounds, 570 U.S. 928 (2013) (critiquing Dr. Alford’s approach because he

used an analysis that “lies outside accepted academic norms among redistricting

experts[,]” and the Court, instead, relied heavily on Dr. Handley’s testimony),

vacated on other grounds, 570 U.S. 928 (2013).

      In the preliminary injunction hearing, in the cases sub judice, the Court

found that Dr. Alford was credible, however “his conclusions were not reached

through methodologically sound means and were therefore speculative and

unreliable.” Alpha Phi Alpha Fraternity, Inc, 587 F. Supp. 3 at 1305–06.

      The Court again finds that Dr. Alford was highly credible. However,

Dr. Alford’s testimony primarily relates to partisan polarization and not racial

polarization. Accordingly, the Court will give little weight to Dr. Alford’s

testimony with respect to the Gingles preconditions because it does not

effectively address that inquiry. The Court will give greater weight to


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Dr. Alford’s testimony with respect to Senate Factor Two, because there it is

appropriate to inquire about the non-racial reasons explaining racially polarized

voting.

             2.    Illustrative Congressional Plan

                    a)     First Gingles Precondition

      Based on Georgia’s demographics, Mr. Cooper concluded that “[t]he Black

population in metro Atlanta is sufficiently numerous and geographically

compact to allow for the creation of an additional majority-Black congressional

district anchored in Cobb, Douglas, and Fulton Counties (CD-6 in the illustrative

plan) consistent with traditional redistricting principles.” PX 1 ¶ 10; see also id.

¶¶ 42, 86. Defendants’ mapping expert Mr. Morgan agreed that his report “offers

no opinion to dispute” this conclusion. Tr. 1954:1–12. Mr. Cooper drew an

illustrative congressional plan (the “Illustrative Congressional Plan”) that

includes an additional majority-Black congressional district (“Illustrative CD-6”)

anchored in west-metro Atlanta. Stip. ¶ 190; PX 1 ¶ 55 & fig.12; Tr. 717:14–23.

                             (1)    Mr. Cooper’s process in drawing the maps

      At the preliminary injunction hearing, he testified that he was not asked to

either “draw as many majority black districts as possible” or “draw every
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conceivable way of drawing an additional majority black district.” Feb. 7, 2022,

Morning PI Tr. 98:17–24. And if in his expert opinion an additional majority-Black

district could not have been drawn, Mr. Cooper testified that he would have

reported that to counsel, as he has “done [] in other cases.” Id. 98:25–99:24.

      Mr. Cooper, in his report, declared that he analyzed population and

geographic data from the Decennial Census and the American Community

Survey (“ACS”). PX 1, Ex. B. He also used the geographic information system

software package called Maptitude for Redistricting (“Maptitude”) and the

geographic boundary files in Maptitude (created by the U.S. Census). Id. He

evaluated incumbent addresses, Georgia’s current and historical legislative plans,

Georgia’s 2000 House, Senate, and Congressional Plans. Id. The Court notes that

Mr. Cooper was able to review the Enacted Congressional Plan’s compactness

scores when he was drawing his Illustrative Congressional Plans. Id.

      When he began drawing the Illustrative Congressional Plan, for trial, he

testified that he started by using the plan he drew from the preliminary

injunction. Tr. 727: 20–23. He then stated that some of the map stayed very similar,

but when drawing his proposed Illustrative CD-6 he made specific changes


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because “some concerns were raised about going further north into Acworth.

And so for that reason, I’m taking local knowledge into account, I changed the

district a bit to push the district in Cobb County further south.” Tr. 729: 4–7. He

clarified that the local knowledge that he took into account was that of

Ms. Wright. Id. at 13–16.

      Mr. Cooper also testified that he considers race when creating an

illustrative plan that would satisfy the first Gingles precondition because “[t]hat’s

part of the inquiry.” Tr. 725:16–25. Specifically, when drawing the Illustrative

Congressional Plan, Mr. Cooper displayed dots showing him where precincts

with more than 30% Black population were located. Tr. 789:25–790:10, 823:25–

824:7. Mr. Cooper explained that he “need[s] to show that the district would be

over 50 percent Black voting age population, while adhering to traditional

redistricting principles.” Id.; see also Feb. 7, 2022, Morning PI Tr. 48:4–15

(Mr. Cooper testifying at the preliminary injunction hearing that race “is

something that one does consider as part of traditional redistricting principles”

because “you have to be cognizant of race in order to develop a plan that respects

communities of interest, as well as complying with the Voting Rights Act[,]


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because one of the key tenets of traditional redistricting principles is the

importance of not diluting the minority vote”).

      Mr. Cooper testified that race did not predominate in his drawing of the

Illustrative Congressional Plan because he merely considered it along with the

traditional redistricting principles that he was “constantly balancing.” Tr. 726:11–

727:16. Indeed, Mr. Cooper explained that “in drafting this plan, [he] . . .

attempted to balance all of the traditional redistricting principles so that no one

principle predominates.” Tr. 822:19–24.

      Mr. Cooper testified that he did not have election return data available to

him when drawing the Illustrative Congressional Plan and that he did not review

any public testimony from Georgia voters as part of the process for preparing the

Illustrative Congressional Plan. Tr. 524:24–25, 819:13–15.

                             (2)    Illustrative Congressional Plan

                                    (a)        Empirical Measures

      The Illustrative Congressional Plan contains an additional majority-Black

congressional district in west-metro Atlanta.




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PX 1, 82.




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                                          i)    numerosity

      Illustrative CD-6 is 50.23% AP BVAP. PX 1 ¶ 73 & fig.14. Under all metrics,

the Black voting age population of Illustrative CD-6 exceeded 50%. Id.




PX 1 ¶ 73 & fig.14.

                                          ii)   population     equality      and
                                                contiguity

      It is undisputed that the population in all districts in the Illustrative

Congressional Plan is plus-or-minus one person from the ideal district



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population of 765,136. Stip. ¶ 197. It is also undisputed that all districts in the

Illustrative Congressional Plan are contiguous. Stip. ¶ 198.

                                           iii)   Compactness scores

      The Illustrative Congressional Plan has comparable, or slightly better,

compactness scores as compared to the Enacted Congressional Plan. The mean

Reock score for the Illustrative Congressional Plan is 0.43 and is 0.44 on the

Enacted Plan. PX 1 ¶ 79 & fig.13. The mean Polsby-Popper scores are identical at

0.27. Id. Mr. Morgan does not dispute that the enacted and the illustrative plans

have similar mean Reock scores and identical mean Polsby-Popper scores.

Tr. 1948:22–1949:5.   Accordingly,   the    Court   finds   that   the   Illustrative

Congressional Plan is comparably as compact as the Enacted Congressional Plan.

      With respect to the majority-Black districts, the Court finds that the

Illustrative Congressional Plan scores generally fared better or were equal to the

Enacted Congressional Plan.




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                   Illustrative Plan                      Enacted Plan

       Districts      Reock            Polsby-       Reock          Polsby-
PX                                                                                   1,
                                       Popper                       Popper

Exs.     001           0.46             0.29          0.46           0.29         L-1,
         002*          0.46             0.27          0.46           0.27
L-3.
         003           0.39             0.24          0.46           0.28
         004*          0.28             0.22          0.31           0.25
         005*          0.51             0.32          0.51           0.32
         006 28        0.45             0.27          0.42           0.20
          007          0.50             0.39          0.50           0.39
          008          0.34             0.21          0.34           0.21
          009          0.40             0.32          0.38           0.25
          010          0.40             0.18          0.56           0.28
          011          0.40             0.19          0.48           0.21
          012          0.50             0.28          0.50           0.28
         013*          0.44             0.29          0.38           0.16
          014          0.48             0.34          0.43           0.37
        Mean:          0.43             0.27          0.44           0.27
         Max:          0.51             0.39          0.51           0.39
         Min:          0.28             0.18          0.31           0.16


Mr. Morgan’s report’s compactness measures are identical to Mr. Cooper’s. DX 4

¶ 22, chart 2. The districts that immediately surround Illustrative CD-6 are,



28 The bolded data is for the proposed additional majority-Black district that is not a

majority-Black district in the Enacted Congressional Plan. And any district that has an
asterisk (*) is a majority-Black district.


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Illustrative CD-3, 5, 11, and 13. PX 1, Ex. H-2. Of the surrounding districts

Illustrative and Enacted CD-5 have identical compactness scores, Illustrative CD-

3 and 11 fare worse on both compactness measures than Enacted CD-3 and 11,

and Illustrative CD-13 fares better on both compactness measures than Enacted

CD-13. The Court notes that CD-5 and 13 are majority-Black districts on both the

Enacted and Illustrative Congressional Plans, whereas CD-3 and CD-11 are

majority-white districts. PX 1, Ex. H-2. Thus, the Court finds that Mr. Cooper

lowered the compactness scores in neighboring majority-white districts when he

drew the Illustrative Congressional Plan.

      The Court concludes that the Illustrative Congressional Plan is comparably

as compact as the Enacted Congressional Plan. The Illustrative Congressional

Plan fares worse on the Reock measure by 0.01 points and had an identical

Polsby-Popper score. PX 1, Exs. L-1, L-3. The Court finds that overall, the Plans

are equivalently compact. With respect to the majority-Black districts, the Court

finds that two of the districts (CD-2, and 5) have identical compactness scores,

Illustrative CD-4 fares worse on both compactness scores by 0.03 points,

Illustrative CD-13 fares better on the Reock score by 0.06 points and Polsby-


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Popper by 0.13 points. Id. Finally, Illustrative CD-6 fares better on Reock by 0.03

points and 0.07 on Polsby-Popper. Id. The Court finds that that, generally, the

majority-Black districts are equivalently, if not slightly more compact than the

Enacted Congressional majority-Black districts.

                                            iv)   political subdivision splits

      The Illustrative Congressional Plan splits the same number of counties as

the Enacted Plan, but has fewer unique county splits, VTD splits, city and town

splits, and unique cities and town splits. PX 1 ¶ 81 & fig.14.




PX 1 ¶ 81 & fig.14.

      Neither Defendants nor their experts have meaningfully suggested that the

Illustrative Congressional Plan fails to respect city, town, and county lines. The


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Court notes that, as with compactness, Mr. Cooper was able to evaluate the

Enacted Congressional Plans political subdivision splits when he drew his

Illustrative Congressional Plan. PX 1, Ex. B. Accordingly, the Court finds that the

Illustrative Congressional Plan respected more political subdivisions than the

Enacted Congressional Plan.

                                              v)    findings of fact

      In sum, the Court finds that the Illustrative Congressional Plan meets or

exceeds the Enacted Congressional Plan on compactness scores and political

subdivision splits. The Illustrative Congressional Plan and the Enacted

Congressional Plan have identical Polsby-Popper scores and the Illustrative

Congressional Plan is 0.01 less compact on Reock than the Enacted Plan. PX 1

¶ 79 & fig.13.

                                   (b)        Core retention

      The Court also finds that the Illustrative Congressional Plan retained many

of the cores of the districts in the Enacted Congressional Plan. The General

Assembly did not enumerate core retention as a redistricting principle. JX 2. And

Ms. Wright testified that when she draws the new Plans, she starts with a blank

map and not from the existing Congressional Plan.
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            Generally, I like to create the new ideal size with the new
            census population that we have in the state. I plug that
            into a blank map. And then I just work with the data to
            create new districts. I don’t usually start from the old and
            try to change it, I start blank, because that way I feel like
            it’s easier for me to build a map rather than try to just
            move pieces that are already there.

            I do use the existing district layer if I need to as a
            reference, to see if I’m retaining core districts and things
            like that. But I build that map out just as a balanced map
            population-wise first as a draft and a blind map to start
            with.

Tr. 1622:11–22.

      Although not a requirement, the Court finds that the Illustrative

Congressional Plan does retain the majority of the core districts of the Enacted

Congressional Plan. DX 4, Ex. 7. Pursuant to the data provided by Mr. Morgan,

the Court finds that approximately 74.6% of individual’s district are unchanged

from the Enacted Congressional Plan and the Illustrative Congressional Plan. Id.;

Tr. 1944:22–1945:13; PX 1 ¶ 13. In other words, only 25.4% of Georgians would be

affected if the General Assembly were to enact the Illustrative Congressional Plan.

The following is a table derived from the data in Mr. Morgan’s report and that

exemplifies the number of individuals who remain in the same district under the


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Illustrative Congressional Plan. As an initial note, the population size of each

congressional district is either 765,137 or 765,136 persons. Stip. ¶ 197.

                      District       # of individuals whose
                                      district is unchanged
                           001          765,137
                           002          765,137
                           003          528,200
                           004          736,485
                           005          765,137
                           006          19,006
                           007          765,137
                           008          765,136
                           009          403,191
                           010          488,385
                           011          372,724
                           012          765,136
                           013          374,470
                           014          475,707
DX 4, Ex. 7.

      As the chart shows, in six of the district, no voter is impacted by the

Illustrative Congressional Plan’s changes (Illustrative CD-1, CD-2, CD-5, CD-7,

CD-8, CD-12). And of the remaining eight changed districts, in only three of those

districts (Illustrative CD-6, CD-11, and CD-13) does more than half of the

population have a changed district. Illustrative CD-6 is the new majority-

minority district and CD-11 and CD-13 are two districts that immediately

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surround Illustrative CD-6. Accordingly, the Court finds that Illustrative

Congressional Plan, does respect district cores from the Enacted Congressional

Plan.

                                    (c)        Racial predominance

        The Court further concludes that Mr. Cooper did not subordinate

traditional districting principles in favor of racial considerations. Mr. Cooper was

asked “to determine whether the African American population in Georgia is

‘sufficiently large and geographically compact’ to allow for the creation of an

additional majority-Black congressional district in the Atlanta metropolitan area.”

PX 1 ¶ 8 (footnotes omitted); Tr. 717:14–17. At the preliminary injunction hearing,

he testified that he was not asked to either “draw as many majority black districts

as possible” or “draw every conceivable way of drawing an additional majority

black district.” Feb. 7, 2022, Morning PI Tr. 98:17–24. And if in his expert opinion

an additional majority-Black district could not have been drawn, Mr. Cooper

testified that he would have reported that to counsel, as he has “done [] in other

cases.” Id. 98:25–99:24.




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      Mr. Cooper testified that he considers race when creating an illustrative

plan that would satisfy the first Gingles precondition because “[t]hat’s part of the

inquiry.” Tr. 725:16–25. Mr. Cooper explained that he “need[s] to show that the

district would be over 50 percent Black voting age population, while adhering to

traditional redistricting principles.” Id.; see also Feb. 7, 2022, Morning PI Tr. 48:4–

15 (Mr. Cooper testifying at the preliminary injunction hearing that race “is

something that one does consider as part of traditional redistricting principles”

because “you have to be cognizant of race in order to develop a plan that respects

communities of interest, as well as complying with the Voting Rights Act[,]

because one of the key tenets of traditional redistricting principles is the

importance of not diluting the minority vote”).

      Mr. Cooper testified that race did not predominate in his drawing of the

Illustrative Congressional Plan because he merely considered it along with the

traditional redistricting principles that he was “constantly balancing.” Tr. 726:11–

727:16. Indeed, Mr. Cooper explained that “in drafting this plan, [he] . . .

attempted to balance all of the traditional redistricting principles so that no one

principle predominates.” Tr. 822:19–24. Defendants’ expert does not even


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contend that race predominated in the Illustrative Congressional Plan.

Tr. 1952:23–1953:17; see generally DX 4.

      The Court finds that race did not predominate in the drawing of the

Illustrative Congressional Plan.

                    b)     Second and Third Gingles Preconditions

      The Court finds that that the minority group within Illustrative CD-6 is

politically cohesive. Both Pendergrass Plaintiffs’ expert, Dr. Palmer, and

Defendants’ expert, Dr. Alford, testified that ecological inference (“EI”) is a

reliable method for conducting the second and third Gingles preconditions

analyses. “Q. Dr. Alford, you agree that . . . the method of ecological inference

Dr. Palmer applied is the best available method for estimating voting behavior

by race; correct? A. Correct.” Tr. 2250:12–16; “Q. Do scholars and experts

regularly use EI to examine racially polarized voting? A. Yes?” Tr. 401: 7–9. EI

“estimates group-level preferences based on aggregate data.” PX 2 ¶ 13. The data

analyzed under EI also includes confidence intervals, which measure the

uncertainty of results. Id. at n. 12. “Larger confidence intervals reflect a higher




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degree of uncertainty in the estimates, while smaller confidence intervals reflect

less uncertainty.” Id.

      Dr. Palmer conducted a racially-polarized voting analysis of Enacted CD-

3, 6, 11, 13, and 14, both as a region (the “congressional focus area”) and

individually. Stip. ¶ 214; PX 2 ¶ 7; Tr. 413:18–414:5.




PX 2 ¶ 11 & fig.1.

      Dr. Palmer evaluated Black and white voters’ choices in the congressional

focus area for each candidate in 40 statewide elections between 2012 and 2022.

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Stip. ¶ 217; PX 2 ¶¶ 13, 15. Dr. Palmer’s EI analysis relied on precinct-level

election results and voter turnout by race, as compiled by the State of Georgia.

PX 2 ¶ 11; Tr. 403:2–13.

      Dr. Palmer first examined each racial group’s support for each candidate

to determine if members of the group voted cohesively in support of a single

candidate in each election. PX 2 ¶ 14. If a significant majority of the group

supported a single candidate, he then identified that candidate as the group’s

candidate of choice. Id. Dr. Palmer next compared the preferences of white voters

to the preferences of Black voters. Id. He concludes that racially polarized voting

existed when he found that Black voters and white voters support different

candidates. Id.

             3. Cooper Legislative Plans

                    a)     Mr. Cooper’s process in drawing the maps

      Mr. Cooper submitted an illustrative State Senate plan (the “Cooper Senate

Plan”) and an illustrative State House plan (the “Cooper House Plan”)

(collectively, the “Cooper Legislative Plans”) as a part of his expert report. APAX

1 ¶ 85 & fig.5; ¶ 151 & fig.27. When Mr. Cooper was retained as an expert, he was

asked “to determine whether the African-American population in Georgia is
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‘sufficiently large and geographically compact’ to allow for the creation,

consistent with traditional redistricting principles, of additional majority-Black

Senate and House districts[.]” APAX 1 ¶ 7; Tr. 67:23-68:1. At the preliminary

injunction hearing, he testified that he was not asked to either “draw as many

majority black districts as possible” or “draw every conceivable way of drawing

an additional majority black district.” Feb. 7, 2022, Morning PI Tr. 98:17–24. And

if in his expert opinion an additional majority-Black district could not have been

drawn, Mr. Cooper testified that he would have reported that to counsel, as he

has “done [] in other cases.” Id. 98:25–99:24.

      Mr. Cooper, in his report, declared that he analyzed population and

geographic data from the Decennial Census and the ACS. APAX 1, Ex. B. He also

used Maptitude and its geographic boundary files (created by the U.S. Census).

Id. He evaluated incumbent addresses, Georgia’s current and historical

legislative plans, Georgia’s 2000s House, Senate, and Congressional Plans. Id.

The Court notes that Mr. Cooper was able to review the Enacted Legislative

Plan’s compactness scores when he was drawing the Cooper Legislative Plans.

APAX 1, Ex. B ¶ 7.


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      Mr. Cooper specifically testified in detail about how he followed the

criteria in Georgia’s districting guidelines when drawing the Cooper Legislative

Plans. See, e.g., Tr. 89:15-91:9. Mr. Cooper testified that, with respect to Cooper

Legislative Plans, he balanced all of the traditional redistricting principles, and

that they “all went into the mix as I was drawing the [I]llustrative [P]lan.”

Tr. 90:16-19. He confirmed that he “balanced the traditional districting principles

in drawing [the] illustrative districts,” (Id. at 168:19-22), and he testified that none

of the factors predominated over any others. Id. at 90:16-19; see also Id. at 107:18-

20 (“Q. Mr. Cooper, did any factors get more weight than others when you were

drawing your [I]llustrative [P]lans? A. I don’t believe so.”); Tr. 367:5-7 (“you

really do have to balance, balance, balance. That’s the name of the game.”).

      Traditional redistricting principles, that he considered, include population

equality, compactness, contiguity, respect for political subdivision lines like

counties and voting tabulation districts (“VTDs,” otherwise known as precincts),

respect for communities of interest, and non-dilution of minority voting strength.

See, e.g., Tr. 90:2-91:9. Mr. Cooper also testified that avoiding pairing incumbents




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is a consideration that he takes into account, consistent with Georgia’s adopted

districting guidelines. See, e.g., Id. 128:5-7, 166:25:167:8, 225:15-24.

                     b)     Cooper Senate Plan

      The Cooper Senate Plan contains three additional majority-Black Senate

Districts, two in south-metro Atlanta and one in the Eastern Black Belt, anchored

in and around Augusta.




APAX 1 ¶ 85 & fig.15.


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                             (1)    Empirical measures

                                    (a)        numerosity

      The AP BVAP population for the additional districts are as follows: Cooper

SD-17 is 62.55%, SD-23 is 50.21%, SD-28 is 51.32%. APAX 1, Ex. O-1. All of

Cooper’s proposed illustrative Senate districts exceed 50% as do the districts that

are majority-Black under the Enacted Senate Plan.

               District      AP BVAP             District   AP BVAP
                 010           69.76%             028*          51.32%
                 012           57.97%              033          52.60%
                 015           54.00%              034          77.84%
                 016           56.52%              035          60.80%
                 017*          62.55%              036          51.34%
                 020           60.44%              038          54.25%
                 022           50.36%              041          64.57%
                 023*          50.21%              043          57.97%
                 026           52.81%              055          51.22%
                    (*) denotes a new majority-Black district
APAX 1, Ex. O-1.




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                                    (b)     population equality and contiguity

      It is undisputed that the population deviation for the Cooper Senate Plan

is ±1.00% from the ideal district population size of 191,284 people. Stip. ¶¶ 277,

301. This is lower than the Enacted Senate Plan, which has a deviation range of -

1.03% to +0.98%. Stip. ¶ 301. It is also undisputed that all districts in the Cooper

Senate Plan are contiguous. Stip. ¶ 300.

                                    (c)     compactness

      The Court finds that the Cooper Senate Plan and the Enacted Senate Plan,

on the whole, are comparable. Mr. Cooper explained, the Cooper Legislative

Plans “matched or beat the State’s plans on … compactness measures[.]”

Tr. 109:2-4. Mr. Cooper concluded that “[o]n balance, the Illustrative Senate Plan

and 2021 Senate Plan score about the same on the widely referenced Reock and

Polsby-Popper measures. If anything, the Illustrative Plan scores better inasmuch

as its least compact district by Reock scores [0].22, compared to [0].17 for the 2021

Senate Plan.” APAX 1 ¶ 114.

      Mr. Cooper’s expert report provided detailed compactness measures for

the Enacted Senate Plan as follows:


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APAX 1 ¶ 114 & fig.20.

      Dr. Morgan, Defendant’s mapping expert, concluded that the Cooper

Senate Plan “still has mean compactness scores close to the enacted plan, with

the mean compactness score on the Reock test higher and the mean compactness

score on the Polsby-Popper test lower.” DX 2 ¶ 18.

      The Court concludes that the Cooper Senate Plan is more compact than the

Enacted Senate Plan on Reock by 0.01 points and less compact by 0.01 on Polsby-

Popper. Id. Consistent with both Defendants’ and the Alpha Phi Alpha Plaintiffs’

experts, the Court finds that the compactness scores of the two plans are “similar.”

Accordingly, the Court finds that the Cooper and Enacted Senate Plans are

comparably compact with respect to the average and minimum scores.

      With respect to the majority-Black districts, the Court finds that the

additional majority-Black districts are all more compact than the least compact

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district in the Enacted Senate Plan. The following table is derived from the data

contained in Exhibits S-1 and S-3:

                    Enacted Districts                       Illustrative Districts

   Districts       Reock        Polsby-        Districts    Reock         Polsby-
                                Popper                                    Popper
     017            0.35         0.17            017         0.37          0.17
     023            0.37          0.16           023         0.37           0.16
     016 29         0.37          0.31           028         0.37           0.18



APAX 1, Exs. S-1, S-3.

      The Court finds that generally, the majority-Black Senate districts

performed identically to their corollary Enacted Senate Plan district, with the

exception of Cooper SD-28, which has a lower Polsby-Popper score by 0.13 points.

However, none of the compactness measures are below the least compact

district’s measures on the Enacted Senate Plan, in part because Cooper’s Enacted

Senate Plan’s has a higher minimum compactness score than the Enacted Senate

Plan. APAX 1 ¶ 114.




29 Mr. Cooper testified that Cooper SD-28 correlates with Enacted SD-16. APAX 1 ¶ 99.


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      In sum, the Court finds that on the empirical compactness measures, the

majority-Black districts in the Cooper Senate Plan are nearly identical to the

compactness scores on the Enacted Senate Plan.

                                   (d)     political subdivision splits

      The Cooper Senate Plan splits fewer political subdivisions than the

Enacted Senate Plan and performs better across all metrics. APAX 1 ¶ 116 & fig.21.




Id.

      Neither Defendants nor their experts have meaningfully suggested that the

Cooper Senate Plan fails to respect city, town, and county lines. Accordingly, the



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Court finds that the Cooper Senate Plan respected more political subdivisions

than the Enacted Senate Plan.

                                    (e)     findings of fact on empirical measures

      In sum, the Court finds that the Cooper Senate Plan meets or exceeds the

Enacted Senate Plan on population equality, compactness scores, and political

subdivision splits. The Cooper Senate Plan’s Reock score beats the Enacted

Senate Plan’s Reock score by 0.01 and the Enacted Senate Plan’s Polsby-Popper

score beats the Cooper Senate Plan’s Polsby-Popper score by the same amount.

APAX 1 ¶ 114 & fig.20. The Court thus finds that the compactness scores between

the two plans are virtually identical.

                             (2)    Core retention

      The Court also finds that the Cooper Senate Plan retained many of the

cores of the districts in the Enacted Senate Plan. Georgia’s Reapportionment

Guidelines do not identify preservation of existing district cores as a “General

Principles for Drafting Plans.” See JX 1, JX2. The Cooper Senate Plan kept 21

Senate districts the same as the Enacted Senate Plan. DX 2 ¶ 17. And, if the

General Assembly were to enact the Cooper Senate Plan, 82% of the Georgia


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population would remain in the same district in the Enacted Senate Plan.

Tr. 88:13-18.

                              (3)   Incumbent pairing

      Georgia’s redistricting guidelines provide that “efforts should be made to

avoid unnecessary incumbent pairings.” JX 1, 3; JX 2, 2. He testified that also

sought to avoid incumbent pairings. Tr. 236:1-2. He used official incumbent

address information that defense counsel provided in January 2022 and another

potential database of incumbent address information that followed the

November 2022 General Election. APAX 1 ¶ 12. Mr. Cooper testified, as he was

drawing the Cooper Legislative Plans, “always in the back of my mind [I] was

trying to avoid pairing incumbents.” Tr. 236:1-2. The Cooper Senate Plan pairs

six incumbents. The Enacted Senate Plan pairs four incumbents. DX 2 ¶ 16 &

chart 2. The Court finds that two additional pairs of incumbents are paired under

the Cooper Senate Plan than in the Enacted Senate Plan.

                              (4)   Racial considerations

      Georgia’s redistricting guidelines provide all plans must “comply with

Section 2 of the Voting Rights Act[,] as amended.” JX 1, at 3; JX 2, at 3. Mr. Cooper

testified that non-dilution of minority voting strength means that “as you’re
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drawing a plan, you should make a point of not excluding the Black population

in some areas where you might be able to draw a minority Black district or split

one somehow or another into districts that don’t necessarily have sufficient

minority population to elect a candidate of choice or to overconcentrate Black

voters in a single district when they could have been placed in two districts and

perhaps have an opportunity in two districts instead of just one.” Tr. 92:14-23.

      Mr. Cooper testified that for purposes of non-dilution, “you have to at least

be aware of where the minority population lives.” Tr. 92:14-15. However,

Mr. Cooper testified that while race is “out there and [he’s] aware of it, . . . it

didn’t control how [the Illustrative Plans] were drawn.” Tr. 108:7-11. He stated

that he did not aim to draw any maximum or minimum number of Black-

majority districts. Tr. 112:11-14; see also Tr. 197:23-24 (“My goal was not to draw

the maximum number of majority Black districts”). When asked whether he was

“trying to maximize the number of Black majority districts when [he] drew the

[I]llustrative [P]lans?” Mr. Cooper responded, “Not at all.” Tr. 358:9-12.

      Mr. Cooper testified that when he draws maps, he sometimes uses “a little

dot for precincts that are 30 percent or greater Black.” Tr. 200:11-15. He testified


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that he did not always use that feature. Tr. 93:23-94:2. Mr. Cooper repeatedly

testified that “race did not predominate” in his drawing of the Illustrative Plans.

Tr. 93:1, 108:4-11, 108:23-109:5, 168:15-18. When asked by the Court if race

predominated, Mr. Cooper responded, “No. Because I also had to take into

account these other factors, population equality, avoiding county splits, avoiding

splitting municipalities. So it’s out there and I’m aware of it, but it didn’t control

how these districts were drawn. Id. at 108:4-11.

         Particularly in light of Mr. Cooper’s extensive experience and his

testimony regarding the process he used in this case and his balancing of the

various considerations, the Court finds that race did not predominate over the

other traditional redistricting principles when he drew the Cooper Legislative

Plans.

                     c)     Cooper House Plan

         The Cooper House Plan contains five additional majority-Black House

Districts, two in south-metro Atlanta, one in the Eastern Black Belt, anchored in

and around Augusta, one in and around Macon-Bibb, and one in southwest

Georgia.


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APAX 1 ¶ 151 & fig.27.



                           (1)   Empirical measures

                                 (a)     numerosity

     The AP BVAP population for the additional districts are as follows: Cooper

HD-74 is 61.49%, HD-117 is 54.64%, HD-133 is 51.97%, HD-145 is 50.20%, and

HD-171 is 58.06%. APAX 1, Ex. AA-1. All of the districts in the Cooper House

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Plan exceed 50% as do the districts that are majority-Black under the Enacted

House Plan. Id.

                                    (b)     population equality and contiguity

      It is undisputed that the population deviations in all districts in the Cooper

House Plan are within ±1.49% of the ideal district population size of 59,511

people. Stip. ¶¶ 278, 302. This is higher than the Enacted House Plan, which has

a deviation range of -1.40% to +1.34%. Stip. ¶ 302. It is also undisputed that all

districts in the Cooper House Plan are contiguous. Stip. ¶ 300.

                                    (c)     compactness

      The Court finds that the Cooper House Plan and the Enacted House Plan,

on the whole, are comparable. Mr. Cooper explained, the Cooper Legislative

Plans “matched or beat the State’s plans on … compactness measures[.]”

Tr. 109:2-4. Mr. Cooper concluded that “[o]n balance, the Illustrative House Plan

and 2021 Senate Plan score about the same on the widely referenced Reock and

Polsby-Popper measures. If anything, the Illustrative Plan scores better inasmuch

as its least compact district by Reock scores [0].16, compared to [0].12 for the 2021

House Plan.” APAX 1 ¶ 187.


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      Mr. Cooper’s expert report provided detailed compactness measures for

the Enacted Senate Plan as follows:




      APAX 1 ¶ 187 & fig.36.

      Dr. Morgan, Defendant’s mapping expert, concluded that the average

compactness scores in the Cooper House Plan and the Enacted House Plan “are

similar.” DX 2 ¶ 47.

      The Court concludes that the Cooper and Enacted House Plans have

identical Reock scores, but the Cooper House Plan is less compact by 0.01 on

Polsby-Popper. Id. Consistent with both Defendants’ and the Alpha Phi Alpha

Plaintiffs’ experts, the Court finds that the compactness scores of the two plans

are “similar.” Accordingly, the Court finds that the Cooper and Enacted House

Plans are comparably compact, with respect to the average and minimum scores.

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      With respect to the additional majority-Black districts, the Court finds that

those districts are all more compact than the least compact district in the Enacted

House Plan. The following table is derived from the data contained in Exhibits

AG-1 and AG-2:

                            Enacted Districts   Illustrative Districts

                Districts   Reock    Polsby-    Reock       Polsby-

                                     Popper                 Popper

                  074        0.50      0.25      0.63         0.36
                  117        0.41      0.28      0.41         0.26
                  133        0.55      0.42      0.26         0.20
                  145        0.38      0.19      0.25         0.22
                  171        0.35      0.37      0.28         0.20



APAX 1, Exs. AG-1, AG-2.

      The Court finds that in the south metro-Atlanta districts, the majority-

Black districts in the Cooper House Plan are comparable. For example, Cooper

HD-74 beats Enacted HD-74 by 0.13 on Reock and 0.11 on Polsby-Popper. The

Court finds that for the districts outside of Atlanta, the majority-Black districts in

the Cooper House Plan generally fared worse than the Enacted House Plan’s

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majority-Black districts, with the exception of Cooper HD-145’s Polsby-Popper

score which is 0.03 more compact than Enacted HD-145. However, none of the

compactness scores are below the least compact district’s scores on the Enacted

House Plan. APAX 1 ¶ 187 & fig.36.

                                   (d)     political subdivisions

      The Cooper House Plan’s political splits are comparable to the Enacted

House Plan’s. APAX 1 ¶ 189 & fig.37. The Cooper House Plan splits one less

county. The plans have the same numbers of unique county and VTD splits. Id.

The chart below depicts the total findings on political subdivision splits:




Id.

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      Neither Defendant, nor his experts have meaningfully suggested that the

Cooper House Plan fails to respect city, town, and county lines. Accordingly, the

Court finds that the Cooper House Plan has comparable political subdivision

splits to the Enacted House Plan.

                                    (e)     findings of fact on the empirical
                                            measures

      In sum, the Court finds that the Cooper House Plan is comparable to the

Enacted House Plan on population equality, compactness scores, and political

subdivision splits.

                            (2)     Core retention

      The Court also finds that the Cooper House Plan retained many of the

cores of the districts in the Enacted House Plan. Georgia’s Reapportionment

Guidelines do not identify as a traditional districting principle the goal to

preserve existing district cores among “General Principles for Drafting Plans.”

See JX 1, JX2. The Cooper House Plan kept 87 House districts the same as the

Enacted House Plan. DX 2 ¶ 47. If the General Assembly were to enact the Cooper

House Plan, 86% of the Georgia population would remain in the same district in

the Enacted House Plan. Tr. 88:13-18.

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                               (3)   Incumbent pairings

      Georgia’s redistricting guidelines provide that “efforts should be made to

avoid unnecessary incumbent pairings.” JX 1, at 3; JX 2, at 3. Mr. Cooper testified

that he also sought to avoid incumbent pairings. Tr. 236:1-2. Mr. Cooper used

official incumbent address information that defense counsel provided in January

2022 and another potential database of incumbent address information that

followed the November 2022 General Election. APAX 1 ¶ 12. Mr. Cooper testified

that as he was drawing the Illustrative Plans, “always in the back of my mind [I]

was trying to avoid pairing incumbents.” Tr. 236:1-2. Cooper House Plans pairs

25 incumbents. The Enacted House Plan pairs 20 incumbents. Id. at 25.

Mr. Cooper paired five more incumbents than the Enacted House Plan.

                               (4)   Racial considerations

      The evidence regarding Mr. Cooper’s racial considerations when drawing

the Cooper House Plan is identical to the evidence regarding the drawing of the

Cooper Senate Plan. Accordingly, the Court incorporates by reference its analysis

of the Mr. Cooper’s racial consideration in the Cooper Senate Plan here. See

Section I(F)(3)(b)(4) supra.


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            4. Esselstyn Legislative Plans

                    a)     Mr. Esselstyn’s map drawing process

      As a part of his expert report, Mr. Esselstyn submitted an illustrative State

Senate Plan (“Esselstyn Senate Plan”) and an illustrative State House Plan

(“Esselstyn House Plan”) (collectively the “Esselstyn Legislative Plans”).

Mr. Esselstyn testified that he was asked whether “the Black population in

Georgia is sufficiently large and geographically compact to allow for the creation

of additional majority Black districts in the legislative maps relative to the

enacted maps while adhering to traditional redistricting principles.” Tr. 467: 11–

15. To accomplish this inquiry, Mr. Esselstyn used data from the Census Bureau’s

website,   the   Georgia    General    Assembly’s     Legislative   Congressional

Reapportionment Office’s website, and the Georgia General Assembly’s

Reapportionment Committees Guidelines. Id. ¶¶ 1–2. Mr. Esselstyn also drew

upon his knowledge as a geologist for determining where “fall line cities” were

located in Georgia. Tr. 529:12–530:1. Mr. Esselstyn did not have any political data

or election return information available when drawing the illustrative plans.

Tr. 524:19–25. He also did not review any public comments provided by

Georgians at public hearings until after he drew his preliminary injunction plans,
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and the Esselstyn Legislative Plans are very similar to his preliminary injunction

plans. Tr. 530:2–8.

      For the physical process of drawing his illustrative plans, Mr. Esselstyn

primarily used the mapping software Maptitude, the same software used by the

Georgia General Assembly. GX 2, Attach. B ¶ 4. Through Maptitude, he was able

to import Census Bureau data files and the Enacted Legislative Plans. Id.

      Maptitude shows statistics for the districts, such as compactness and

population deviation. Id. Maptitude allows the map drawer to shade the map for

racial demographics. Tr. 521:13–19. Mr. Esselstyn testified that “[a]t times” he

would use the racial information to “inform decisions that he made about which

parts of districts went in and out of a particular district.” Tr. 522:19–25. But, he

stated that he did not always have it on when drawing the Esselstyn Legislative

Plans. Tr. 587:18–24. He testified that the racial information “would have been

one factor that [he] was considering in addition to other factors.” Tr. 522:24–25.

Mr. Esselstyn testified that in determining where particular communities were

located, he primarily relied on visible features that were displayed in the

Maptitude software. Tr. 528:23–529:2.


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                     b)     Esselstyn Senate Plan

      Analyzing these demographics and the Enacted Senate Plan, Mr. Esselstyn

concluded that “[i]t is possible to create three additional majority-Black districts

in the State Senate plan . . . in accordance with traditional redistricting principles.”

GX 1 ¶ 13; Tr. 468:2–4. Two in south-metro Atlanta and one in the Eastern Black

Belt. GX 1 ¶ 13. Meaning, the Esselstyn Senate Plan has 17 majority-Black State

Senate districts using the AP BVAP metric. Stip. ¶ 231; GX 1 ¶ 27.




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GX 1 ¶ 27 & fig.4.

                            (1)   Empirical measures

                                  (a)     numerosity

      The Esselstyn Senate Plan contains 17 majority-Black districts. GX 1 ¶ 27 &

tbl. 1. The AP BVAP in all 17 districts exceed 50 percent. Id. Of the additional




majority-Black districts, the majority-Black population is 51.06%, 58.93%, and

57.28% respectively. Id.




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                                    (b)     population equality and contiguity

      It is undisputed that the districts in the Esselstyn Senate Plan are all

contiguous. Stip. ¶ 258.

      The overall deviation range on the Enacted Senate Plan is higher than the

overall deviation range on the Enacted Senate Plan. Tr. 527:11–15; DX 3, Chart 3.

However, the Court finds that the Esselstyn Senate Plan complies with the

General Assembly’s population equality guidelines. Under the General

Assembly’s redistricting guidelines “[e]ach legislative district of the General

Assembly shall be drawn to achieve a total population that is substantially equal

as practicable, considering the principles listed below.” JX 2, 2.

      Under the Esselstyn Senate Plan, all districts have a population deviation

between ±1 and 2%, with most within ±1%. GX 1 ¶ 34. The district with the

greatest deviation is + 1.90% and the district contains 194,919—3,635 persons

more than the ideal population. GX 1, Attach. E. The average population

deviation in Esselstyn’s Senate Plan is ±0.67%. Id. The Court finds that on average,

Mr. Esselstyn’s Senate Plan complies with the General Assembly’s guideline on

population equality.


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                                       (c)     Compactness scores

         The Court finds that the Esselstyn Senate Plan and the Enacted Senate Plan,

on the whole, are comparable. Mr. Esselstyn reported the average compactness

scores for both the Enacted and Esselstyn Legislative Plans using five measures—

Reock, Schwartzberg 30, Polsby-Popper, Area/Convex Hull 31, and Number of Cut

Edges 32. GX 1 ¶¶ 36, 57 & tbls.2, 6; see also Tr. 475:18–476:18 (Mr. Esselstyn’s

testimony describing common measures of compactness).




30 The  Schwartzberg test is a perimeter-based measure that compares a simplified
version of each district to a circle, which is considered to be the most compact shape
possible. For each district, the Schwartzberg test computes the ratio of the perimeter of
the simplified version of the district to the perimeter of a circle with the same area as
the original district. This measure is usually greater than or equal to 1, with 1 being the
most compact. GX 1, Attach. G.
31 The Area/Convex Hull test computes the ratio of the district area to the area of the

convex hull of the district (minimum convex polygon which completely contains the
district). The measure is always between 0 and 1, with 1 being the most compact. GX 1,
Attach. G.
32 The Cut Edges test counts the number of edges removed (“cut”) from the adjacency

(dual) graph of the base layer to define the districting plan. The adjacency graph is
defined by creating a node for each base layer area. An edge is added between two
nodes if the two corresponding base layer areas are adjacent—which is to say, they share
a common linear boundary. If such a boundary forms part of the district boundary, then
its corresponding edge is cut by the plan. The measure is a single number for the plan.
A smaller number implies a more compact plan. GX 1, Attach. G.


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Mr. Esselstyn concluded that the average compactness measures for the Enacted

and Esselstyn Senate Plans “are almost identical.” GX 1 ¶ 36 & tbl.2; see also Id.

at 79–91 (Mr. Esselstyn’s expert report providing detailed compactness measures

for Enacted and Esselstyn Senate Plans); Tr. 485:19–21 (Mr. Esselstyn’s testimony

describing compliance with compactness principle). Mr. Morgan agreed that the

mean compactness scores were “very close.” Tr. 1843:19–1844:2. Mr. Esselstyn

reported those measures as follows:




GX 1 ¶ 36 & tbl. 2.

      The Court concludes that the Esselstyn Senate Plan fares worse than the

Enacted Senate Plan by 0.01 points on four of the five measures and has 2 fewer

cut edges than the Enacted Senate Plan. Id. Consistent with both Defendants’ and

the Grant Plaintiffs’ experts, the Court finds that the compactness scores of the


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two plans are “very close.” Accordingly, the Court finds that the Esselstyn and

Enacted Senate Plans are comparably compact.

      The following chart is derived from the data in attachment H to

Mr. Esselstyn’s report and depicts the compactness scores for the minority-Black

districts in the Enacted and Esselstyn Senate Plans.

                      Enacted Senate Plan          Esselstyn Senate Plan

         District     Reock        Polsby-         Reock         Polsby-
                                   Popper                        Popper
           010         0.28         0.23            0.25          0.19
           012         0.62         0.39            0.62          0.39
           015         0.57         0.32            0.57          0.32
           022         0.41         0.29            0.33          0.32
          023*         0.37         0.16            0.34          0.17
          025*         0.39         0.24            0.57          0.34
           026         0.47         0.20            0.44          0.25
          028*         0.45         0.25            0.38          0.19
           034         0.45         0.34            0.31          0.21
           035         0.47         0.26            0.59          0.42
           036         0.32         0.30            0.32          0.30
           038         0.36         0.21            0.37          0.20
           039         0.17         0.13            0.18          0.13
           041         0.51         0.30            0.51          0.30
           043         0.64         0.35            0.49          0.25
           044         0.18         0.19            0.33          0.24
           045         0.35         0.30            0.35          0.30
          Mean:        0.41         0.26            0.41          0.27
          Max:         0.64         0.39            0.62          0.42
          Min:         0.17         0.13            0.18          0.13
        asterisk (*) denotes a new majority-Black district
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      With respect to the majority-Black districts, the Court finds that the

Esselstyn Senate Plan is equivalent if not better than the Enacted Senate Plan. On

average, the two plans have identical Reock scores and the Esselstyn Senate Plan

fares 0.01 better on the Polsby-Popper measure. GX 1, Attach. H.

      With respect to the maximum and minimum scores, the Enacted Senate

Plan has a district that is 0.02 better on Reock than the most compact district in

the Esselstyn Senate Plan. Id. Conversely, on the Polsby-Popper measure, the

Esselstyn Senate Plan’s most compact district is 0.03 points more compact than

the most compact district in the Enacted Senate Plan. Id. The least compact

districts in both plans have identical Polsby-Popper scores and the Esselstyn

Senate Plan’s least compact district is more compact by 0.01 points. Id.

      Finally, on the Reock measure, five of the majority-Black districts have

identical scores, five districts are more compact in the Esselstyn Senate Plan, and

seven districts are more compact in the Enacted Senate Plan. Id. On the Polsby-

Popper measure, six of the majority-Black districts have identical scores, six




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districts are more compact in the Esselstyn Senate Plan, and five are more

compact on the Enacted Senate Plan.

      In sum, the Court finds that on the empirical compactness measures, the

majority-Black districts in the Enacted and Esselstyn Senate Plans are comparably

compact.

                                   (d)     political subdivisions

      The Court finds that on the whole, the Esselstyn Senate Plan’s political

subdivision splits are comparable to the Enacted Senate Plan’s. The Esselstyn

Senate Plan splits more counties and VTDs than the Enacted Senate Plan.

Tr. 528:1–5; DX 3, Chart 3. Mr. Esselstyn noted that he split fewer counties than

in the 2014 Georgia Legislative Plans. Tr. 487:15–21; GX 1 ¶ 40 & tabl.4. He

reported the splits in the enacted and illustrative State Senate maps as follows:




GX 1, ¶ 40 & tbl.4.


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      Mr. Esselstyn concluded that “[w]hile the creation of three additional

majority-Black State Senate districts involved the division of additional counties

and VTDs, the differences are marginal.” GX 1 ¶ 40 & tbl.4; see also Id. at 92–103

(Mr. Esselstyn’s expert report providing political subdivision splits for enacted

and illustrative State Senate maps); Tr. 487:8–14 (Mr. Esselstyn’s testimony that

the number of political subdivision splits in the illustrative and enacted Senate

plans are “very similar”).

      Mr. Morgan’s report confirms that the Esselstyn Senate Plan split the same

counties as the Enacted Senate Plan. See DX 3 ¶ 35. Mr. Morgan also conceded

that the ways in which the Esselstyn Senate Plan splits counties, at times, affected

fewer people because he split smaller counties and united some of the bigger

counties. See Tr. 1887:21–1891:1. Out of 2,698 VTDs statewide, only 49 are split in

Esselstyn Senate Plan, and in only 18 of Georgia’s 159 counties. Doc. No. GX 1

¶ 40 & tbl.4; Mr. Esselstyn’s report included a histogram depicting the VTD splits

in the Esselstyn Senate Plan by county:




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GX 1 ¶ 40 & fig.10.

                                   (e)     findings of fact on the empirical
                                           measures

      In sum, the Court finds that the Esselstyn Senate Plan has greater

population deviations than the Enacted Senate Plan; however, the Esselstyn

Senate Plan has comparable compactness scores and political subdivision splits.

                            (2)    Core retention

      The General Assembly Guidelines did not include maintaining existing

State Senate district cores. JX 1, JX 2. Similarly, Ms. Wright testified that when

drafting the Enacted Senate Plan, she starts with a blank map and builds out from


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there. Tr. 1622:11–17; 1642:7–14. She does not start by using the most recent State

Senate map. Id. Although not an enumerated guideline, the Court finds that the

Esselstyn Senate Plan respects the core districts of the Enacted Senate Plan.

Mr. Esselstyn used the Enacted Senate Plan as a starting point, and many of the

districts are the same. Only 22 districts were modified, leaving the other 34

unchanged. Stip. ¶ 261; GX 1 ¶ 26; Tr. 485:3–5. As Mr. Morgan’s report confirms,

nearly 90% of Georgia’s population would remain in their same numbered State

Senate district under the Esselstyn Senate Plan. DX 3, Ex. 7. The Court finds that

the Esselstyn Senate Plan retained the majority of the core districts from the

Enacted Senate Plan.

                             (3)   Incumbent Pairings

      Based on the record, the Court concludes that the Esselstyn Senate Plan

complies with the districting criterion of avoiding unnecessary pairings of

incumbents. See JX1, JX2. At the preliminary injunction hearing, Mr. Esselstyn

submitted an illustrative State Senate plan that he created without knowledge of

incumbent addresses. GX 1 ¶ 42; Tr. 479:23–480:21. That plan paired two

incumbents in the State Senate.


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      The Esselstyn Senate Plan, submitted at trial, pairs fewer incumbents than

Mr. Esselstyn’s initial plans. Currently, no incumbent State Senators are paired.

GX 1 ¶ 42; Tr. 480:18–21.

      Accordingly, the Court finds that Esselstyn Senate Plan respects the

traditional redistricting principle of avoiding pairing incumbents because it

paired no incumbents.

                            (4)    Racial Considerations

      The Court further concludes that Mr. Esselstyn did not subordinate

traditional districting principles in favor of race-conscious considerations.

Mr. Esselstyn was asked “to determine whether there are areas in the State of

Georgia where the Black population is ‘sufficiently large and geographically

compact’ to enable the creation of additional majority-Black legislative districts

relative to the number of such districts provided in the enacted State Senate and

State House of Representatives redistricting plans from 2021.” GX 1 ¶ 9 (footnote

omitted); see also Tr. 467:8–15 (Mr. Esselstyn’s testimony confirming what he

was asked to do in this case). Mr. Esselstyn testified that he was not asked to




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maximize the number of majority-Black districts in the Enacted Legislative Plans.

Feb. 9, 2022, Afternoon PI Tr. 150:23–25.

      Mr. Esselstyn testified that it was necessary for him to consider race as part

of his analysis because “the Gingles 1 precondition is looking at whether majority

Black districts can be created. And in order to understand whether districts are

majority Black, one has to be able to look at statistics for those districts.” Tr. 471:9–

17. See Feb. 9, 2022, Afternoon PI Tr. 155:15–156:2. (Mr. Esselstyn testifying that,

under Section 2, “the key metric is whether a district has a majority of the Any

Part Black population. So that means it has to be over 50 percent. And that means

looking at a column of numbers in order to determine, to assess whether a district

has that characteristic. You have to look at the numbers that measure the

percentage of the population is Black.”).

      Mr. Esselstyn emphasized that he took other considerations into account

as well when drawing his illustrative plans, including population equality,

compliance with the federal and Georgia constitutions, contiguity, and other

traditional districting principles. Tr. 471:18–472:14.; Id. at 522:5–14 (“I’m

constantly looking at the shape of the district, what it does for population


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equality, . . . political subdivisions, communities of interest, incumbents, all that.

So while yes, at times [race] would have been used to inform a decision, it was

one of a number of factors.”).

      Mr. Esselstyn confirmed that race did not predominate when he drew the

Esselstyn Legislative Plans. Tr. 472:15–20. Although Mr. Morgan concluded that

Mr. Esselstyn’s changes from the Enacted Senate Plan indicate that he prioritized

race, the Court does not credit Mr. Morgan’s analysis or conclusions for several

reasons.

      First, Mr. Morgan conceded that he did not examine the extent to which

Mr. Esselstyn’s changes were designed to satisfy traditional districting criteria

like avoiding the unnecessary pairing of incumbents and preserving

communities of interest. Tr. 1897:11–1899:3, 1923:21–1924:16. Mr. Morgan’s

overarching conclusion about the prioritization of race over other factors is

difficult to square with his failure to actually examine all of the relevant factors

Mr. Esselstyn stated he considered in drawing his illustrative plans.

      Second, Mr. Morgan’s analysis is methodologically inconsistent. For

instance, the text of his expert report, which purports to compare the district in


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the Enacted and Esselstyn Senate Plans, contains compactness scores for the

enacted districts but makes no mention of the compactness scores for the

corresponding illustrative districts. Tr. 1854:5–12.

      Third, Mr. Morgan’s analysis of the new majority-Black districts is

incomplete. The text of Mr. Morgan’s expert report provides no description or

analysis whatsoever of Esselstyn SD-25, SD-28, HD-64, HD-117, HD-145 or HD-

149. Tr. 1846:10–1847:6; Tr. 1896:21–23, 1922:22–25, 1923:1–15.

      Fourth, Mr. Morgan’s conclusion regarding the role of race seems to fault

the Esselstyn Legislative Plans for taking the same approach as the Enacted

Legislative Plans. Specifically, Mr. Morgan criticizes Esselstyn Legislative Plans

for “elongating” various districts when creating new majority-Black districts, e.g.,

Tr. 1811:25–1812:18, but conceded that the Enacted Legislative Plans do the same

thing. Tr. 1927:4–1928:25. Ms. Wright also agreed that several districts in the

Enacted Legislative Plans, including EnactedSD-10, SD-44, HD-36, and HD-60,

are “elongated.” Tr. 1702:3–1704:1.

      For these reasons, the Court is not persuaded by Mr. Morgan’s testimony

and conclusions that race predominated when Mr. Esselstyn drew the Esselstyn


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Legislative Plans. The Court finds that Mr. Esselstyn consistently testified that

race did not predominate when he drew his plans. Rather, he made efforts to

balance traditional redistricting principles when he made districting decisions.

Thus, the Court finds that race did not predominate in the drawing of the

Esselstyn Legislative Plans.

                    c)    Esselstyn House Plan

      Mr. Esselstyn concluded that it was possible to drawn five additional

majority-Black House districts in accordance with traditional redistricting

principles. GX 1 ¶ 13.




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GX 1 ¶ 48 & fig.13.

                            (1)   Empirical measures

                                  (a)     numerosity

      Esselstyn’sThe Esselstyn House Plan contains 54 majority-Black districts.

GX 1 ¶ 48 & tbl. 5. The AP BVAP in all of these districts exceed 50 percent. Id.

The majority-Black population in the majority-Black districts is 50.24%, 53.94%,

51.56%, 50.38%, and 51.53% respectively. Id.



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GX 1 ¶ 48 & tbl. 5.

                                   (b)     population equality and contiguity

      It is undisputed that the districts in the Esselstyn House Plan are all

contiguous. Stip. ¶ 258.

      The Esselstyn House Plan’s overall population deviation is higher than the

deviation range in the Enacted House Plan’s. Tr. 527:11–15; DX 3, Chart 3.

However, the Court finds that the Esselstyn House Plan complies with the

General Assembly’s population equality guidelines. Under the General

Assembly’s redistricting guidelines state that “[e]ach legislative district of the

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General Assembly shall be drawn to achieve a total population that is

substantially equal as practicable, considering the principles listed below.” JX 2,

2.

      Under the Esselstyn House Plan, all districts have a population deviation

between -1.94% and +1.91%, with a mean deviation of +0.64%. GX 1, Attach. J.

The district with the greatest deviation is +1.91% and the district contains 58,358

people—1,153 persons less than the ideal population. GX 1, Attach. J.

Comparatively, the Enacted House Plan has a population deviation range of -1.40

to +1.34%. GX 1, Attach. I. The Court finds that the Esselstyn House Plan has a

greater deviation range than the Enacted House Plan, and on average,

Mr. Esselstyn’s House Plan complies with the General Assembly’s guideline on

population equality.

                                   (c)     compactness scores

      The Court finds that the Esselstyn House Plan and the Enacted House Plan,

on the whole, are comparable. Mr. Esselstyn reported the average compactness

scores for both the Enacted and Esselstyn House Plans using five measures—

Reock, Schwartzberg, Polsby-Popper, Area/Convex Hull, and Number of Cut


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Edges. GX 1 ¶¶ 36, 57 & tbls.2, 6; see also Tr. 475:18–476:18 (Mr. Esselstyn’s

testimony describing common measures of compactness).

      Mr. Esselstyn further concluded that the average compactness measures

for the Enacted and Esselstyn House Plans “are almost identical, if not identical.”

GX 1 ¶ 57 & tbl. 6; see also Id. at 135–65 (Mr. Esselstyn’s expert report providing

detailed compactness measures for enacted and illustrative House maps);

Tr. 492:17–22   (Mr. Esselstyn’s    testimony    describing    compliance     with

compactness principle). Mr. Esselstyn reported those measures as follows:




GX 1 ¶ 57 & tbl.6.

      Mr. Morgan characterized the overall compactness scores of the Enacted

and Esselstyn House Plans as “similar.” DX 3 ¶ 50. The Court concludes that the

Esselstyn House Plan is identical on Reock, Polsby-Popper, and Area/Convex




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Hull. Id. On the Schwartzberg measure, the Enacted Plan is 0.01 more compact

and the Enacted House Plan cut 339 fewer edges. GX 1 ¶ 57 & tbl.6

      Consistent with both Defendants’ and the Grant Plaintiffs’ experts, the

Court finds that the compactness scores of the two plans are “similar.”

Accordingly, the Court finds that the Esselstyn and Enacted House Plans are

comparably compact. With respect to the maximum and minimum scores, the

most compact district in the Enacted House Plan has a Reock score of 0.66 and

the least compact district has a Reock Score of 0.12. GX 1, Attach. L. And on the

Polsby-Popper measures, the most compact district has a score of 0.59 and the

least compact district has a score of 0.10.The Esselstyn House Plan has the same

metrics. Id.

               With respect to the additional majority-Black districts, the Court

finds that the additional majority-Black districts compactness scores all exceed

0.12 on Reock and 0.10 on Polsby-Popper, which are the lowest compactness

scores in the Enacted House Plan. Id.

      However, generally, the Court finds that the majority-Black House districts

performed worse than the districts in the Enacted House Plan. However, none of


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the compactness measures are below the least compact district’s measures on the

Enacted House Plan. The following table is derived from the data contained in

attachment L to GX 1:

                        Enacted House Plan     Illustrative House Plan

            Districts   Reock    Polsby-        Reock        Polsby-
                                  Popper                     Popper
              064       0.37       0.36          0.22          0.22
              074       0.50       0.25          0.30          0.19
              117       0.41       0.28          0.40          0.33
              145       0.38       0.19          0.34          0.21
              149       0.32       0.22          0.46          0.28



      In sum, the Court finds that on the empirical compactness measures, the

majority-Black districts in the Esselstyn House Plan fall within the compactness

score range of the Enacted House Plan.

                                   (d)     political subdivisions

      The Court finds that on the whole, the Esselstyn House Plan’s political

subdivision splits are comparable to the Enacted House Plan’s. The Enacted

House Plan splits more counties and precincts than the Enacted House Plan.

Tr. 528:1–5; DX 3, Chart 3.



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      Mr. Esselstyn concluded that “[w]hile the creation of three additional

majority-Black State House districts involved the division of additional counties

and VTDs, the differences are marginal.” GX 1 ¶ 39 & tbl.4; see also Id. at 92–103

(Mr. Esselstyn’s expert report providing political subdivision splits for the

Enacted and Esselstyn House Plans); Tr. 487:8–14 (Mr. Esselstyn’s testimony that

the number of political subdivision splits in the Esselstyn and Enacted House

Plans are “very similar”). He reported the splits in the Enacted and Esselstyn

House Plans as follows:




GX 1 ¶ 59 & tbl. 8.

      The Esselstyn House Plan splits one more county and VTD than the

Enacted House Plan. Notably, out of 2,698 VTDs statewide, only 186 are split in

Esselstyn House Plan, and in only 45 of Georgia’s 159 counties. GX 1 ¶ 59 & tbl.8;

Tr. 494:16–495:3. Mr. Morgan also found that the ways in which the Esselstyn

House Plan splits counties, at times, fewer people are affected because he split

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smaller counties and united some of the bigger counties. See Tr. 1887:21–1891:1.

Mr. Esselstyn’s report included a histogram depicting the VTD splits in the

Esselstyn House Plan by county:




GX 1 ¶ 59 & fig.18.

                                  (e)     findings of fact on the empirical
                                          measures

      In sum, the Court finds that the Esselstyn House Plan has a greater range

of population deviations than the Enacted House Plan; however, the Esselstyn

House Plan has comparable compactness scores and political subdivision splits.




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                            (2)   Core retention

      The General Assembly Guidelines did not include maintaining existing

State House district cores. JX 1, JX 2. Similarly, Ms. Wright testified that when

drafting the Enacted House Plan, she starts with a blank map and builds out from

there. 1622:11–17; 1642:7–14. She does not start by using the most recent State

House map. Id. Although not an enumerated guideline, the Court finds that the

Esselstyn House Plan respects the core districts of the Enacted House Plan.

Mr. Esselstyn used the Enacted House Plan as a starting point and many of the

districts are the same. Only 25 districts were modified, leaving the other 155

unchanged. Stip. ¶ 261; GX 1 ¶ 47; DX 3, Ex. 14. As Mr. Morgan’s report confirms,

nearly 94% of Georgia’s population would remain in their same numbered State

House district under the Esselstyn House Plan. DX 3, Ex. 7. The Court finds that

the Esselstyn House Plan retained the majority of the core districts from the

Enacted House Plan.

                            (3)   Incumbent Pairings

      Based on the record, the Court concludes that the Esselstyn House Plan

complies with the districting criterion of avoiding unnecessary pairings of

incumbents. See JX1, JX2. Mr. Esselstyn’s preliminary injunction State House
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plan was created without knowledge of incumbent addresses and paired 16

incumbents in the State House. GX 1 ¶ 61; Tr. 479:23–480:21.

      The Esselstyn House Plan, submitted in his December 2022 expert report,

pairs fewer incumbents than Mr. Esselstyn’s initial plans. The Esselstyn House

Plan would pair a total of eight incumbents in the same districts—the same

number of incumbents that the Enacted House Plan paired in the same districts.

GX 1 ¶ 61; Tr. 480:14–21.

      Accordingly, the Court finds that the Esselstyn House Plan pairs the same

number of incumbents as the Enacted House Plan; therefore, it complies with the

traditional redistricting principle of avoiding pairing incumbents.

                             (4)   Racial Considerations

      The evidence regarding the Esselstyn Senate and House Plans was

identical. Accordingly, the Court incorporates its racial predominance analysis

from the Esselstyn Senate Plan Section. See Section I(H)(4)(b)(4) supra.

      G.    Second and Third Gingles Preconditions

            1.     Pendergrass: Dr. Palmer’s methodology

      Dr. Palmer who served as Pendergrass and Grant Plaintiffs’ experts,

evaluated the Black population’s cohesion and white voter bloc voting using EI.
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PX 2, GX 2. Both Dr. Palmer and Defendants’ expert, Dr. Alford, testified that

ecological inference (“EI”) is a reliable method for conducting the second and

third Gingles preconditions analyses. “Q. Dr. Alford, you agree that . . . the

method of ecological inference Dr. Palmer applied is the best available method

for estimating voting behavior by race; correct? A. Correct.” Tr. 2250:12–16; “Q.

Do scholars and experts regularly use EI to examine racially polarized voting? A.

Yes?” Tr. 401: 7–9. EI “estimates group-level preferences based on aggregate data.”

PX 2 ¶ 13. The data analyzed under EI also includes confidence intervals, which

measure the uncertainty of results. Id. at n. 12.

      Dr. Palmer conducted a racially polarized voting analysis of Enacted CD-

3, 6, 11, 13, and 14, both as a region (the “congressional focus area”) and

individually. Stip. ¶ 214; PX 2 ¶ 7; Tr. 413:18–414:5.




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PX 2 ¶ 11 & fig.1.

      Dr. Palmer evaluated Black and white voters’ choices in the congressional

focus area that voted for each candidate in 40 statewide elections between 2012

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and 2022. Stip. ¶ 217; PX 2 ¶¶ 13, 15. Dr. Palmer’s EI analysis relied on precinct-

level election results and voter turnout by race, as compiled by the State of

Georgia. PX 2 ¶ 11; Tr. 403:2–13.

      Dr. Palmer first examined each racial group’s support for each candidate

to determine if members of the group voted cohesively in support of a single

candidate in each election. PX 2 ¶ 14. If a significant majority of the group

supported a single candidate, he then identified that candidate as the group’s

candidate of choice. Id. Dr. Palmer next compared the preferences of white voters

to the preferences of Black voters. Id. He concluded that evidence of racially

polarized voting is found when Black voters and white voters support different

candidates. Id.

            2.     Alpha Phi Alpha: Dr. Handley’s methodology

      Dr. Handley, Alpha Phi Alpha’s expert, analyzed voting patterns by race

in seven areas of Georgia where the Cooper Legislative Plans created additional

majority-Black districts. Tr. 861:21-25; APAX 5, 2; Stip. ¶ 307. As part of that

analysis, she considered whether Black voters had the opportunity to elect




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candidates of their choice in these areas under the Cooper Legislative Plans as

compared to the Enacted Legislative Plans. See Tr. 862:22-863:5; APAX 5, 2, 12.

      Dr. Handley stated that these seven areas in Georgia are where “districts

that offered Black voters opportunities to elect their candidates of choice could

have been drawn and were not drawn when you compare the illustrative to the

adopted plan.” Tr. 861:21-25. Dr. Handley named these seven areas the Eastern

Atlanta Metro Region, the Southern Atlanta Metro Region, East Central Georgia

with Augusta, the Southeastern Atlanta Metro Region, Central Georgia,

Southwest Georgia, and the Macon Region. See APAX 5, 8-9; Tr. 869:13-25.

      The first area Dr. Handley analyzed—the Eastern Atlanta Metro

Region—encompasses Cooper SD-10, SD-17, SD-43 and Enacted SD-10, SD-17,

SD-43 ( DeKalb, Henry, Morgan, Newton, Rockdale, and Walton Counties). Stip.

¶ 309; APAX 5, 8, 17-18. The second area—the Southern Atlanta Metro

Region—encompasses Cooper SD-16, SD-28, SD-34, and SD-39 and Enacted

SD-16, SD-28, SD-34, and SD-44 (Clayton, Coweta, Douglas, Fayette, Heard,

Henry, Lamar, Pike, and Spalding Counties). Stip. ¶ 310; APAX 5, 8, 19-20.




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      The third area—the East Central Georgia Region—encompasses Cooper

SD-22, SD-23, SD-26, and SD-44 and Enacted SD-22, SD-23, SD-25, and SD-26

(Baldwin, Bibb, Burke, Butts, Columbia, Emanuel, Glascock, Hancock, Henry,

Houston, Jasper, Jefferson, Jenkins, Johnson, Jones, Lamar, McDuffie, Monroe,

Morgan, Putnam, Richmond, Screven, Taliaferro, Twiggs, Walton, Warren,

Washington, Wilkes, and Wilkinson Counties). Stip. ¶ 311; APAX 5, 9, 21-22. The

fourth area—Southeastern Atlanta Metro Region—encompasses Cooper HD-74,

HD-75, HD-78, HD-115, HD-116, HD-117, HD-118, HD-134, and HD-135 and

Enacted HD-74, HD-75, HD-78, HD-115, HD-116, HD-117, HD-118, HD-134, and

HD-135 (Butts, Clayton, Fayette, Henry, Jasper, Lamar, Monroe, Pike, Putnam,

Spalding, and Upson Counties). Stip. ¶ 312; APAX 5, 9, 23-24. The fifth

area—Central Georgia—encompasses Cooper HD-128, HD-133, HD-144, and

HD-155 and Enacted HD-128, HD-133, HD-149, and HD-155 (Baldwin, Bibb,

Bleckley, Dodge, Glascock, Hancock, Jefferson, Johnson, Jones, Laurens,

McDuffie, Taliaferro, Telfair, Twiggs, Warren, Washington, Wilkes, and

Wilkinson Counties). Stip. ¶ 313; APAX 5, 9, 26-27.




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       The sixth area—Southwest Georgia—encompasses Cooper HD-152, HD-

153, HD-171, HD-172, and HD-173 and Enacted HD-152, HD-153, HD-171, HD-

172, and HD-173 (Colquitt, Cook, Decatur, Dougherty, Grady, Lee, Mitchell,

Seminole, Stewart, Terrell, Thomas, Tift, Webster, and Worth Counties). Stip.

¶ 314; APAX 5, 9, 28-29. The seventh area—the Macon Region—encompasses

Cooper HD-142, HD-143, and HD-145 and Enacted HD-142, HD-143, and HD-

145 (Bibb, Crawford, Houston, Peach, and Twiggs Counties). Stip. ¶ 315; APAX

5, 9, 30-31.

       Dr. Handley employed three commonly used, well-accepted statistical

methods to conduct her racially polarized voting analysis: homogeneous precinct




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analysis, 33 ecological regression 34, and EI. 35 Tr. 864:17-21, 868:10-12; APAX 5, 3-4;

Stip. ¶ 308. With these three statistical methods, she calculated estimates of the

percentage of Black and white voters who voted for candidates in recent

statewide general elections and State legislative general elections in the seven

areas. Tr. 863:21-864:25, 862:22-863:5. Dr. Handley uses homogeneous precinct

analysis and ecological regression to check the estimates produced by EI.

Tr. 868:7-9. When “they all come up with very similar estimates,” Dr. Handley

testified that she can be confident in those estimates. Id.




33 Homogeneous precinct analysis and ecological regression have been used for
approximately 40 years. Tr. 864:17-20. These analytic tools were employed by the
plaintiffs’ expert in Gingles and were accepted by the Supreme Court. APAX 5, 4;
Gingles, 478 U.S. at 52–53, 80.
34 Ecological regression (ER), uses information from all precincts, not simply the
homogeneous ones, to derive estimates of the voting behavior of minorities and whites.
If there is a strong linear relationship across precincts between the percentage of
minorities and the percentage of votes cast for a given candidate, this relationship can
be used to estimate the percentage of minority voters supporting the candidate. APAX
5, 3.
35 Dr. Handley used two forms of EI called “King’s EI” and “EI RxC.” Tr. 873:18-21.

APAX 5, 4-5. Defendant’s expert, Dr. John Alford, agrees that EI RxC is “the best of the
statistical methods for estimating voting behaviors.” Tr. 2215:23-25.
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      Dr. Alford has “no concerns with [Dr. Handley’s] use of EI RxC in her most

recent [December 23, 2022] report.” Tr. 2216:1-3. He “[does not] question her

ability,” and agrees that “her new report, most recent report, relies on methods

that . . . are acceptable.” Id. at 2220:21, 2216:13-17. Dr. Alford has “no concerns

about the data that went into Dr. Handley’s statistical analysis in this case[.]”

Tr. 2221:5-7.

      Dr. Handley evaluated 16 recent (2016-2022) general and runoff statewide

elections, including for U.S. Senate, Governor, School Superintendent, Public

Service Commission, and Commissioners of Agriculture, Insurance, and Labor.

APAX 5, 6; Stip. ¶¶ 316-317. She also looked at 54 recent (2016-2022) State

legislative elections in the areas of interest, including 16 State Senate contests and

38 State House contests. Tr. 890:2-12; APAX 5, at 7-8; Stip. ¶ 324. All 2022 State

legislative contests in the Enacted Legislative Plans identified as districts of

interest were analyzed, even if the contest did not include at least one Black

candidate. APAX 5, at 7-8. In addition, because there has only been one set of

State legislative elections (2022) under the Enacted Plans, Dr. Handley also

analyzed biracial State legislative elections conducted between 2016 and 2020 in


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the State legislative districts under the previous State House and State Senate

plans that are located within the seven areas of interest. Id.

         Dr. Handley also examined 11 statewide Democratic primaries. Tr. 879:25-

880:2. She examined those because “we have a two-part election system here and

you have to make it through the Democratic primary to make it into the general

election” and, in some jurisdictions, primaries are the operative barrier for Black-

preferred candidates, so Dr. Handley “would always look at both.” Id. at 892:22-

893:8. With regard to the areas of interest in this litigation, Dr. Handley

concluded that the Democratic primaries were “not a barrier” for Black-preferred

candidates to win elections, and Dr. Handley rested her opinions of racially

polarized voting in the areas of interest on the general elections. Id. at 894:13-22.

Dr. Handley did not evaluate whether Democratic primaries are the barrier to

electing Black-preferred candidates outside the areas of interest. Id. at 894:23-

895:1.


               3.    Grant: Dr. Palmer’s methodology

         Dr. Palmer, who served as the Pendergrass Plaintiffs’ expert on political

cohesion and voter polarization also served as the Grant Plaintiffs’ expert.

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Dr. Palmer used the same EI method as that used in Pendergrass. Tr. 418:21–25.

Dr. Palmer conducted a racially polarized voting analysis of five different

legislative focus areas. Stip. ¶ 262; GX 2 ¶ 10; Tr. 403:21–404:5. His EI analysis

relied on precinct-level election results and voter turnout by race, as compiled by

the State of Georgia. GX 2 ¶ 13; Tr. 403:2–13. Dr. Palmer analyzed two focus areas

for the Enacted Senate Plan.

      In the Black Belt, Dr. Palmer evaluated Enacted SD-22, SD-23, SD-24, SD-

25, and SD-26 (“Palmer’s senate Black Belt focus area”). These districts include

Baldwin, Burke, Butts, Columbia, Elbert, Emanuel, Glascock, Greene, Hancock,

Hart, Jasper, Jefferson, Jenkins, Johnson, Jones, Lincoln, Mcduffie, Oglethorpe,

Putnam, Richmond, Screven, Taliaferro, Twiggs, Warren, Washington, Wilkes,

and Wilkinson Counties and parts of Bibb, Henry, and Houston Counties.

Tr. 403:21–404:5; GX 2 ¶ 12; Stip. ¶ 265. In south-metro Atlanta Dr. Palmer

evaluated Enacted SD-10, SD-16, SD-17, SD-25, SD-28, SD-34, SD-35, SD-39, and

SD-44. These districts include Baldwin, Butts, Clayton, Coweta, Fayette, Heard,

Jasper, Jones, Lamar, Morgan, Pike, Putnam, and Spalding Counties and parts of




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Bibb, DeKalb, Douglas, Fulton, Henry, Newton, and Walton Counties.

Tr. 403:21–404:5; GX 2 ¶ 12; Stip. ¶ 265.




GX 2 ¶ 12 & fig.1.

      Dr. Palmer analyzed three focus areas for the State House Plan. In the Black

Belt, Dr. Palmer evaluated Enacted HD-133, HD-142, HD-143, HD-145, HD-147,

and HD-149. These districts include Bleckley, Crawford, Dodge, Twiggs, and

Wilkinson Counties and parts of Baldwin, Bibb, Houston, Jones, Monroe, Peach,

and Telfair Counties. Tr. 403:21–404:5; GX 2 ¶ 11; Stip. ¶ 264. In south-metro
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Atlanta, Dr. Palmer evaluated Enacted HD-69, HD-74, HD-75, HD-78, HD-115,

and HD-117. These districts include parts of Clayton, Fayette, Fulton, Henry, and

Spalding Counties. Tr. 403:21–404:5; GX 2 ¶ 11; Stip. ¶ 264. Finally, in west-metro

Atlanta, Dr. Palmer evaluated Enacted HD-61 and HD-64. These districts include

parts of Douglas, Fulton, and Paulding Counties. Tr. 403:21–404:5; GX 2 ¶ 11; Stip.

¶ 264.




GX 2 ¶ 12 & fig.1.




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      Dr. Palmer first examined each racial group’s support for each candidate

to determine if members of the group voted cohesively in support of a single

candidate in each election. GX 2 ¶ 16. If a significant majority of the group

supported a single candidate, he then identified that candidate as the group’s

candidate of choice. Id. Dr. Palmer next compared the preferences of white voters

to the preferences of Black voters. Id. He concluded that there was evidence of

racially polarized voting when he found that Black voters and white voters

support different candidates. Id. Defendants’ expert, Dr. Alford, did not contest

Dr. Palmer’s methodology. Tr. 2145:23–2146:1, 2215:17–25.

      H.    Georgia’s History of Voting and Recent Electoral Developments

            1. Credibility Determinations

      The Court makes the following credibility determinations as it relates to

the experts on the Senate Factors.




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                      a)     Dr. Orville Vernon Burton

       The Grant and Pendergrass Plaintiffs 36 proffered and the Court qualified

Dr. Burton as an expert on history of race discrimination and voting. Tr. 1419:14–

17, 1424:8–9. Dr. Burton earned his undergraduate degree from Furman

University in 1969 and his doctorate in American history from Princeton

University in 1976. PX 4, 5. Dr. Burton has taught American history at various

universities since 1971. Id. Currently, he serves as the Judge Matthew J. Perry

Distinguished Professor of History and Professor of Global Black Studies,

Sociology and Anthropology, and Computer Science at Clemson University. Id.

at 6. Dr. Burton is the author or editor of more than 20 books and 300 articles. Id.

Dr. Burton has received numerous awards based on his research. Id.

       Dr. Burton also has connections to the state of Georgia. He was born in

Madison County, Georgia and is a recognized authority on Morehouse College’s




36 The Parties consented to allow Dr. Burton’s trial testimony, the portions of his report

that were directly referenced in the trial, and PX 14, GX 15, DX 107 to apply across all
three cases. Tr. 1464:10–23, 1505:11–1506:1.


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former President Dr. Benjamin E. Mays. He has also written a book about an area

in South Carolina that has strong ties to the city of Augusta, Georgia. Id. 6.

      Dr. Burton has been retained as an expert witness and consultant in

numerous voting rights case over the past forty years. Id. 7. Specifically, he was

qualified as an expert on social and economic status, discrimination, historical

intent in voting rights cases, and group voting behavior. Id. His testimony has

been accepted and relied upon by various federal courts. Id. 7–8.

      At the preliminary injunction, the Court found “Dr. Burton to be highly

credible. His historical analysis was thorough and methodologically sound” and

his “conclusions [were found] to be reliable.” Alpha Phi Alpha Fraternity,

587 F. Supp. 3d at 1315. Having observed Dr. Burton’s demeanor and testimony,

the Court finds that Dr. Burton’s testimony is highly credible. Dr. Burton

answered all questions on direct-examination and cross-examination thoroughly.

Dr. Burton engaged in an extensive colloquy with the Court on the history of

voting and race that expounded upon information that was in his report.

Accordingly, the Court finds that his testimony is highly credible and extremely




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helpful to the Court. Thus, the Court will assign great weight to Dr. Burton’s

testimony.

                     b)     Dr. Loren Collingwood

      The Grant and Pendergrass Plaintiffs proffered and the Court qualified

Dr. Collingwood as an expert in political science, applied statistics, and

demography. Tr. 671:18–21, 673:5–7. Dr. Collingwood received his Bachelor of

Arts from California State University, Chico in 2002 and his Ph.D. in political

science with a concentration in political methodology and applied statistics from

the University of Washington in 2012. PX 5, 2. Currently, he serves as an associate

professor of political science at the University of New Mexico. Id. Previously, he

was an associate professor of political science and co-director of civic engagement

at the Center for Social Innovation at the University of California, Riverside. Id.

He has published two books, 39 articles, and nearly a dozen book chapters on

sanctuary cities, race/ethnic politics, election administration, and racially

polarized voting. Id. Dr. Collingwood has served as an expert witness in seven

redistricting cases. Id. He has also served as an expert witness in three other

voting related cases. Id.


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      In the preliminary injunction order, the Court found that Dr. Collingwood

was “qualified to opine as an expert on demographics and political science. The

Court f[ound] Dr. Collingwood to be credible, his analysis methodologically

sound, and his conclusions reliable.” Alpha Phi Alpha Fraternity, 587 F. Supp. 3d

at 1318.

      Having observed Dr. Collingwood’s demeanor and testimony, the Court

finds that his testimony was internally consistent and he was able to thoroughly

answer questions on direct and cross examination. Thus, the Court finds

Dr. Collingwood to be highly credible and will assign great weight to his

testimony.

                      c)     Dr. Adrienne Jones

      The Alpha Phi Alpha Plaintiffs 37 proffered and the Court qualified

Dr. Jones as an expert in history of voting rights, voting-related discrimination,

race and politics, and Black political development, but not various sections of the




37 The Parties consented to allow Dr. Jones’s trial testimony, the portions of her report

that were directly referenced in the trial, and APAX 31, 266, DX 59 to apply across all
three cases. Tr. 1244:10–1245:8, 1504:18–1505:10.
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Civil Rights Act. Tr. 1149:8–11, 1158:2–5.Dr. Adrienne Jones received her

Bachelor of Arts in Modern Culture and Media (Semiotics) from Brown

University, her Juris Doctor from the University of California at Berkley, her

Masters and Ph.D. in political science from City University of New York

Graduate Center. APAX 2, 4. Currently, Dr. Jones is an assistant professor of

political science at Morehouse College in Atlanta, Georgia where she teaches

political science and also serves as the Pre-Law Director. Id. at 4. Dr. Jones has

written a doctoral dissertation and two peer-reviewed articles on the Voting

Rights Act. Id. She is currently writing a book on the VRA. Id.

      In addition to this case, Dr. Jones served as an expert witness in Fair Fight

Action v. Raffensperger, 634 F. Supp. 3d. 1128 (N.D. Ga. 2022), which was

decided by this Court. In Fair Fight, the Court credited Dr. Jones’s testimony as

it related to the historical backdrop pertinent to Section 2 of the VRA. Id. at 1171.

The Court gave less weight to the testimony regarding matters that occurred after

1990 and present voting practices. Id.

      Having observed Dr. Jones’s demeanor and testimony, the Court finds that

her testimony was internally consistent and she was able to thoroughly answer


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questions on direct and cross examination that relate to the topics that she was

qualified. The Court notes that on voir dire, Dr. Jones’s testimony regarding

various aspects of the Civil Rights Act were inconsistent with current law.

Accordingly, the Court assigns little to no weight to testimony about the legal

requirements under the Civil Right Act, to which Dr. Jones was not qualified as

an expert. As to the portions of Dr. Jones’s testimony for which she was qualified

to testify, the Court finds it highly credible and will assign great weight to that

testimony.

                     d)    Dr. Traci Burch

      The Alpha Phi Alpha Plaintiffs proffered and the Court qualified Dr. Burch

as an expert on in political science, political participation and barriers to voting.

Tr. 1041:25-1042:2, 1046:9-13. Dr. Burch has been an associate professor of

political science at Northwestern University and a research professor at the

American Bar Foundation since 2007. Tr. 1035:4-9. Dr. Burch received her Ph.D.

in government and social policy from Harvard University, and her

undergraduate degree in politics from Princeton University. Tr. 1034:19-1035:3.




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      Dr. Burch has published numerous peer-reviewed publications and a book

on political participation, including publications focusing on Georgia, and she

teaches several courses related to voting and political participation. Tr. 1036:12-

18, 1037:15-1038:2. Dr. Burch has received several prizes and awards, including

national prizes, for her book and her dissertation. Tr. 1037:2-14. She has served

as a peer reviewer for flagship scholarly journals in her field of political science.

Tr. 1036:19-24. Dr. Burch’s research and writing involves conducting data

analysis on voter registration files and voter turnout data. Tr. 1038:8-1039:1.

      Dr. Burch has previously testified as an expert in six other cases, including

voting rights cases where she offered expert testimony relating to a Senate Factor

or the Arlington Heights framework. Tr. 1039:4-1040:23. Dr. Burch was qualified

to serve as an expert in all of the cases in which she has testified. Tr. 1040:24-

1041:1.

      In preparing her report, Dr. Burch relied on sources and methodologies

that are consistent with her work as a political scientist. Tr. 1047:23-1048:9; APAX

6, at 4. The Court finds Dr. Burch credible, her methodology sound, and her




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conclusions reliable. Accordingly, the Court credits Dr. Burch’s testimony and

conclusions.

                     e)    Dr. Jason Morgan Ward

      The Alpha Phi Alpha Plaintiffs proffered and the Court qualified Dr. Ward

as an expert in the history of Georgia and the history of racial politics in Georgia.

Tr. 1333:17-19, 1335: 3-7. Dr. Ward has been a professor of history and at Emory

University since 2018. Tr. 1331:1-4. He received his Ph.D., M.Phil, and M.A. in

history from Yale University, and his undergraduate degree in history with

honors from Duke University. Tr. 1330:17-19. Dr. Ward wrote his dissertation on

civil rights and racial politics during the mid-20th century. Tr. 1330:20-24.

      Dr. Ward has published numerous peer-reviewed publications and two

books about the history of racial politics and violence in the South, including

Georgia. Tr. 1332:17-1333:10; APAX 4, at 28-29. Dr. Ward has taught courses on

the history of the modern United States, civil rights, race and politics, political

violence and extremism, including courses that cover the history of racial politics

in Georgia. Tr. 1331:2 —1332:16.




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      In preparing his report, Dr. Ward relied on sources and methodologies that

he would typically employ as a historian undertaking a historical analysis.

Tr. 1335:17-1336:3. The Court finds Dr. Ward credible, his methodology for

historical analysis sound, and his conclusions reliable. Accordingly, the Court

credits Dr. Ward’s testimony and conclusions.

             2. Analysis

      Given the widely overlapping nature of the evidence adduced in the three

different cases and to avoid confusion about what evidence applies to which case,

the Court will address its factual findings as they relate to the Senate Factors and

the totality of the circumstances below in the conclusion of law section.

II.   CONCLUSIONS OF LAW

      A.     Jurisdictional Considerations

      In the Pretrial Order, Defendants raised affirmative defenses regarding

constitutional and statutory standing. APA Doc. No. [280] at 23; Grant Doc. No.

[243], 26; Pendergrass Doc. No. [231], 28. The Court now addresses these

affirmative defenses and determines that, with the exception of claims against

the SEB, Plaintiffs in all three cases have standing to bring these suits.



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             1.    Constitutional Standing

      Article III of the United States Constitution limits the courts to hearing

actual “Cases” and “Controversies.” U.S. Const. art. III, § 2; see also Lujan v.

Defenders of Wildlife, 504 U.S. 555, 559–60 (1992). Overall, the standing

requirement arising out of Article III seeks to uphold separation-of-powers

principles and “to prevent the judicial process from being used to usurp the

powers of the political branches.” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

408 (2013) (citations omitted).

      To establish standing, a plaintiff must show three things:

      First, the plaintiff must have suffered an injury in fact—an invasion
      of a legally protected interest which is (a) concrete and
      particularized, and (b) actual or imminent, not conjectural or
      hypothetical. Second, there must be a causal connection between the
      injury and the conduct complained of—the injury has to be fairly
      traceable to the challenged action of the defendant, and not the result
      of the independent action of some third party not before the court.
      Third, it must be likely, as opposed to merely speculative, that the
      injury will be redressed by a favorable decision.

Lujan, 504 U.S. at 560–61 (internal quotations, citations, and alterations omitted).

The standing challenges specifically identified by Defendant are as to (1) claims




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by Plaintiff Sixth District AME (in Alpha Phi Alpha), and (2) claims against

Defendant SEB (in Grant and Pendergrass).

                      a)    Claims by the Sixth District AME

         An organization may establish injury by invoking “associational standing,”

which is established by proof that the organization’s members “would otherwise

have standing to sue in their own right[.]” Friends of the Earth, Inc. v. Laidlaw

Env’t Servs. (TOC), Inc., 528 U.S. 167, 181 (2000). The Parties stipulate that the

Sixth District AME has more than 500 member-churches in Georgia and that the

member-churches of the Sixth District AME have tens of thousands of members

across Georgia. Stip. ¶¶ 59–60. Sixth District AME specifically has churches

located in Enacted SD- 16, SD-17, and SD-23 as well as in Enacted HD-74, HD-

114, HD-117, HD-128, HD-1h33, HD-134, HD-145, HD-171, and HD-173. Stip.

¶¶ 61.

         While the Defendant presented no argument on the associational standing

issue by motion or at trial, it did propose the following conclusion of law after

conclusion of the trial:

             This Court determines that Plaintiff Sixth District of the
             African Methodist Episcopal Church does not have

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             associational standing because it has not established that
             it has individual members who are voters impacted by
             the enacted redistricting plans, but rather its
             membership consists of member churches. Churches do
             not vote and thus cannot have an injury for the district in
             which the churches reside.

APA Doc. No. [317] ¶ 147. However, in that same filing, Defendant conceded that

Alpha Phi Alpha (as a named Plaintiff) has associational standing and that the

individual plaintiffs have standing as to the districts in which they reside. Id. ¶

145. Therefore, as a jurisdictional matter, it is unnecessary for the court to

determine whether Sixth District AME h has standing. See Vill. of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264 n.9 (1977) (“Because of the

presence of this plaintiff [who has demonstrated standing], we need not consider

whether the other individual and corporate plaintiffs have standing to maintain

the suit.”); Am. Civil Liberties Union of Ga. v. Rabun Cnty. Chamber of Comm.,

Inc., 698 F.2d 1098, 1108–09 (11th Cir. 1983) (“Because we have determined that

at least these two individuals have met the requirements of Article III, it is

unnecessary for us to consider the standing of the other plaintiffs in this action.”);

see also Town of Chester v. Laroe Estates, Inc., 581 U.S. 433, 439 (2017) (“At least



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one plaintiff must have standing to seek each form of relief requested in the

complaint.”).

       Here, it is unchallenged that the individual plaintiffs and Alpha Phi Alpha

have constitutional standing to challenge the districts at issue in this suit. Alpha

Phi Alpha Defendant’s single proposed conclusion of law regarding applicability

of associational standing to the final plaintiff, Sixth District AME, thereby is

insufficient for the Court to further consider Defendant’s affirmative defense as

to this one plaintiff.

                         b)   Claims against the SEB

       In moving for summary judgment, the Grant and Pendergrass Defendants

argued that the Grant and Pendergrass Plaintiffs’ injuries are not fairly traceable

to or redressable by the SEB. Grant Doc. No. [190-1], 17-19; Pendergrass Doc. No.

[175-1], 12-14. In denying the Motions for Summary Judgment, the Court

acknowledged that Pendergrass and Grants Plaintiffs failed to adduce facts to

support a finding of traceability of their injuries to the SEB. Nevertheless, when

taking all inferences in the light most favorable to the Pendergrass and Grant

Plaintiffs as nonmovants, the Court found that the broad language of the Georgia


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statutes delineating the SEB’s duties and roles in elections was sufficient to allow

them to proceed to trial against the SEB. Grant Doc. No. [229], 28; Pendergrass

Doc. No. [215], 26.

      At trial, despite bearing the burden of proof and the Court’s prompting in

the summary judgement orders, Pendergrass and Grant Plaintiffs presented no

evidence from which the Court could conclude that their injuries are traceable to

the SEB. 38 Therefore, the Court concludes that the Grant and Pendergrass

Plaintiffs lack standing to raise their claims against the SEB. 39




38 Unlike reliance on the standing of at least one other plaintiff to find that all named

Plaintiffs in Alpha Phi Alpha have standing, there is no authority to support reliance on
standing against one named defendant to support standing as to other defendants.
Therefore, the Court’s reasoning with regarding to claims by Sixth District AME in
Alpha Phi Alpha does not apply to claims brought against SEB in Grant and
Pendergrass.
39 Because the Secretary of State is a named defendant in both Grant and Pendergrass,

the absence of standing with regard to claims against the SEB does not alter the relief
available to Plaintiffs. The Secretary of State is responsible for administering the
elections, therefore, the Court can “enjoin the holding of elections pursuant to the
[Enacted] plan . . . and subsequently require elections to be conducted pursuant to a
[legal] apportionment system . . . .” Larios v. Perdue, 306 F. Supp. 2d 1190, 1199 (N.D.
Ga. 2003).
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             2.    Statutory Standing

      The question of statutory standing turns on whether the “statutory

provision on which the claim rests properly can be understood as granting

persons in the plaintiff’s position a right to judicial relief.” Warth v. Seldin,

422 U.S. 490, 500 (1975). The Supreme Court has clarified that the term “statutory

standing” is “misleading, since the absence of a valid . . . cause of action does not

implicate subject-matter jurisdiction, i.e., the court’s statutory or constitutional

power to adjudicate the case.” Lexmark Int’l, Inc. v. Static Control Components,

Inc., 572 U.S. 118, 128 n.4 (2014) (cleaned up). Under Lexmark, the question is

whether the plaintiff “has a cause of action under the statute.” Id. at 128. The

Court went on to explain that “a statutory cause of action extends only to

plaintiffs whose interests fall within the zone of interests protected by the law

invoked.” Id. at 129 (cleaned up).

      In the cases before the Court, Defendants have done nothing more than

assert an affirmative defense that Plaintiffs’ lack statutory standing. Because the

question of statutory standing is not jurisdictional, the Court has no obligation to


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delve into the issue without benefit of argument or evidence from Defendants.

Moreover, the Court has already determined that a private right of action under

Section 2 exists. See APA Doc. No. [65], 31–34; Grant Doc. No. [43], 30–33;

Pendergrass Doc. No. [50], 17–20; see also Allen, 599 U.S. Ct. at 41 (affirming a

preliminary injunction order, Singleton v. Merrill, 582 F. Supp. 3d 924,1031–32

(N.D. Ala. 2022), which analyzed whether Section 2 provided a private right of

action). Therefore, the Court has no difficulty concluding that Defendants have

failed to carry their burden of establishing their affirmative defense based on

statutory standing and rejects this affirmative defense.

      B.     Legal Standards

             1.     First Gingles Precondition

      Under the first Gingles precondition, Plaintiffs must prove that the

minority group exceeds 50% in the challenged area and that the minority group

is sufficiently compact to draw a reasonably configured district. Wisc. Legis. v.

Wisc. Elections Comm’n, 595 U.S. 398, 400, (2022). Ct. “A district will be

reasonably configured . . . if it comports with traditional districting criteria, such

as being contiguous and reasonably compact.” Allen, 599 U.S. at 18 (citing Ala.

Legis. Black Caucus, 575 U.S. at 272). To determine whether Plaintiffs have met
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the numerosity and compactness requirements, the Court must evaluate the

specific challenged district and not the state as a whole. Cf. Ala. Legis. Black

Caucus, 575 U.S. at 268 (“[T]he District Court’s analysis of racial gerrymandering

of the State, [under [the Equal Protection Clause], ‘as a whole’ was legally

erroneous.”). 40

             2.    Second and Third Gingles Precondition

      The second Gingles precondition requires the Plaintiffs to show that “the

minority group . . . is politically cohesive.” Gingles, 478 U.S. at 51. The third

Gingles precondition requires the Plaintiffs to show that “the white majority

votes sufficiently as a bloc to enable it—in the absence of special

circumstances . . . usually to defeat the minority’s preferred candidate.” Id.

             3.    Totality of the Circumstances: Senate Factors

      In a Section 2 case, after evaluating the Gingles preconditions, the final

assessment to determine whether vote dilution has actually occurred requires




40 Although Alabama Legislative Black Caucus concerned constitutional redistricting

challenges, the Supreme Court applied its analysis to a Section 2 challenge in Allen.
Allen, 143 S. Ct. at 1503, 1519.
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“assess[ing] the impact of the contested structure or practice on minority electoral

opportunities on the basis of objective factors.” Gingles, 478 U.S. at 44 (citations

omitted). To do so, the Court looks at the VRA’s 1982 Amendments’ Senate

Report, which specifies the factors relevant for a Section 2 analysis. “The totality

of circumstances inquiry recognizes that application of the Gingles factors is

‘peculiarly dependent upon the facts of each case.’” Allen, 599 U.S. at 19 (quoting

Gingles, 478 U.S. at 79). The totality of the circumstances’ inquiry is fact intensive

and requires weighing and balancing various facts and factors, which is generally

inappropriate on summary judgment. See Rose v. Raffensperger, 1:20-cv-2921-

SDG, 2022 WL 670080, at *2 (N.D. Ga. Mar. 7, 2022) (“[T]he Court . . . cannot

appropriately evaluate the totality of the circumstances before trial.”).

      C.     Congressional District

      The Court finds that Pendergrass Plaintiffs successfully carried their

burden in establishing that an additional majority-minority congressional district

could be drawn in the west-metro Atlanta.

             1.     First Gingles Precondition

      Pendergrass Plaintiffs have proven that they meet the first Gingles

precondition. The first Gingles precondition requires plaintiffs to prove that the
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“minority group [is] sufficiently large and [geographically] compact to constitute

a majority in a reasonably configured district.” Wisc. Legis., 595 U.S. at 402 (per

curiam) (citing Gingles, 478 U.S. at 50–51). “A district will be reasonably

configured . . . if it comports with traditional districting criteria, such as being

contiguous and reasonably compact.” Allen, 599 U.S. at 18 (citing Ala. Legis.

Black Caucus v. Alabama, 575 U.S., 254, 272 (2015). The first Gingles precondition

focuses on the “need[] to establish that the minority [group] has the potential to

elect a representative of [their] own choice in some single-member district.

Growe v. Emison, 507 U.S. 25, 40 (1993).

                     a)     Numerosity

      First, Pendergrass Plaintiffs have shown, both at the preliminary injunction

and trial that Georgia’s Black population is sufficiently large to constitute a

majority in an additional congressional district in west-metro Atlanta. “[A] party

asserting § 2 liability must show by a preponderance of the evidence that the

minority population in the potential election district is greater than 50 percent.”

Bartlett v. Strickland, 556 U.S. 1, 20 (2009).




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      Mr. Cooper drew an illustrative plan that contains an additional majority-

Black congressional district in west-metro Atlanta that balanced traditional

redistricting criteria. Mr. Cooper submitted a similarly configured district at the

preliminary   injunction. DX      154.    The   Court instantly      discusses   both

configurations for the purpose of showing that the population in this area of the

State is sufficiently numerous because a majority-Black congressional district can

be drawn in more than one way, contrary to Defendants submissions. See Feb. 7,

2022, Morning PI Tr. 21:5:8 (“[W]hile these are illustrative plans, the way they are

configured are so tight in terms of population, there’s not really a whole lot of

different ways to configure[.]”); Tr. 1806:2–19 (Mr. Morgan discussing that

various districts in the Illustrative Plans are barely over 50% and took population

from existing majority-Black districts to achieve the numerosity requirement).

Illustrative CD-6 submitted both at the preliminary injunction hearing and at the

trial (which was configured in Mr. Cooper’s December 5, 2022 Report) have an

AP BVAP of 50.23%. Stip. ¶ 192; DX 20, 51 fig.9; PX 1, 73, fig.14.




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     DX 154 ¶ 51 fig.9 (preliminary injunction).




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PX 1 ¶ 73 fig, 14 (trial plan).

       The fact that Mr. Cooper has now successfully created two districts in this

area exceeding 50% BVAP (one for the preliminary injunction hearing and one

for the trial) despite changing the boundaries of the illustrative district, 41

supports that the Black voting age population is sufficiently numerous in this

area. Compare DX 20 ¶ 51, fig.9 (BVAP is 50.23%), with PX 1 ¶ 73, fig.14 (BVAP

is 50.23%).




41  Although both maps are similar, the primary differences between the two
configurations of Illustrative CD-6 are that in the preliminary injunction map, (1)
Illustrative CD-6 did not keep Douglas County whole and (2) the southeastern part of
the district reached into Fayetteville. Compare DX 154, Ex. K, with PX 1, Ex. I-2.
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       DX 154, Ex. K (preliminary injunction).




PX 1, I-2 (trial).

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      Accordingly, the Court concludes that Plaintiffs have shown that Georgia’s

Black population is large enough to constitute a majority in an additional

congressional district in west-metro Atlanta.

                     b)     Compactness

      The Court further concludes that Pendergrass Plaintiffs have shown that

Georgia’s Black population in west-metro Atlanta is geographically compact to

comprise a majority of the voting age population in an additional congressional

district. Under the compactness requirement of the first Gingles precondition,

plaintiffs must show that it is “possible to design an electoral district[] consistent

with traditional redistricting principles[.]” Davis v. Chiles, 139 F.3d 1414, 1425

(11th Cir. 1998). The compactness inquiry “refers to the compactness of the

minority population, not . . . the compactness of the contested district.” League

of United Latin Am. Citizens v. Perry, 548 U.S. 399, 433 (2006) (hereinafter

“LULAC”) (citing Bush v. Vera, 517 U.S. 952, 997 (1996)).

      “A district that reaches out to grab small and apparently isolated minority

communities’ is not reasonably compact.” Id. (citing Vera, 517 U.S. at 979). The

relevant factors for compactness under the first Gingles precondition include:


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population equality, contiguity, empirical compactness scores, the eyeball test for

irregularities and contiguity, respect for political subdivisions, and uniting

communities of interest. See Wesberry v. Sanders, 376 U.S. 1, 18 (1964)

(population equality); LULAC, 548 U.S. at 433 (communities of interest); Vera,

517 U.S. at 959-60 (contiguity, eyeball test); Cooper v. Harris, 581 U.S. 285, 291,

312 (2017) (political subdivisions, partisan advantage, empirical compactness

measures).

                             (1)    Empirical measures

                                    (a)     population equality

      Article I § 2 of the Constitution “requires congressional districts to achieve

population equality ‘as nearly as is practicable.’” Abrams v. Johnson, 521 U.S. 74,

98 (1997) (quoting Wesberry, 376 U.S. at 7–8). This standard requires a mapmaker

to “make a good-faith effort to achieve precise mathematical equality.” Karcher

v. Daggett, 462 U.S. 725, 730 (1983) (internal quotation marks omitted) (quoting

Kirkpatrick v. Preisler, 394 U.S. 526, 530-31 (1969)). A congressional plan achieves

population equality when its districts are plus or minus one person. See Alpha

Phi Alpha Fraternity, 587 F. Supp. 3d at 1258 (finding that “Mr. Cooper’s

Illustrative Congressional Map complies with the one-person, one-vote principle”
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where he testified that “the districts are plus or minus one person” (internal

quotation marks omitted)). It is undisputed that Mr. Cooper’s Illustrative Plan

meets the population equality requirement and that the population deviations

are limited to plus or minus one person from the ideal district population of

765,136. Stip. ¶ 197. Accordingly, the Court concludes that the Illustrative

Congressional Plan achieves population equality.

                                    (b)     contiguity

      Similarly, an illustrative district should not disregard traditional

redistricting principles, such as contiguity. Allen, 599 U.S. at 18. A district is

contiguous when it consists of “a single connected piece.” Lopez, 339 F. Supp. 3d

at 607. As it is undisputed (Stip. ¶ 198), the Court concludes that all the districts

in the Illustrative Congressional Plan are contiguous.

                                    (c)     compactness scores

      The Court also finds that the Illustrative CD-6 is sufficiently compact using

empirical measures. One way in which courts assess the compactness of the

districts in an illustrative plan is by relying on “widely acceptable tests to

determine compactness scores,” including “the Polsby-Popper measure and the

Reock indicator,” Comm. for a Fair & Balanced Map v. Ill. State Bd. of Elections,
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835 F. Supp. 2d 563, 570 (N.D. Ill. 2011). Mr. Cooper’s Illustrative Congressional

plan compares favorably on the empirical compactness scores to the Enacted

Congressional Plan. The mean Reock score for the Illustrative Congressional Plan

is 0.43 and is 0.44 on the Enacted Congressional Plan. PX 1, ¶ 79, fig.13. The mean

Polsby-Popper score for the Illustrative Congressional Plan is 0.27 and the

Enacted Congressional Plan is 0.27. Id. The Illustrative and Enacted

Congressional Plans have identical Polsby-Popper scores and the Enacted

Congressional Plan is 0.01 more compact using the Reock metric. Defendants’

rebuttal mapping expert, Mr. Morgan, does not dispute that the Enacted and the

Illustrative Congressional Plans have similar mean Reock scores and identical

mean Polsby-Popper scores. Tr. 1948:22–1949:5. Accordingly, the Court finds that

the Illustrative Congressional Plan is comparably as compact as the Enacted

Congressional Plan.

      With respect to the majority-Black districts, the Court finds that the

Illustrative Congressional Plan compactness scores generally fared better or were

equal to the Enacted Congressional Plan.




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                            Illustrative Plan       Enacted Plan

                Districts   Reock    Polsby-     Reock      Polsby-
                                     Popper                 Popper

                   004       0.28      0.22       0.31        0.25
                   005       0.51      0.32       0.51        0.32
                   006*      0.45      0.27       0.42        0.20
                   013       0.44      0.29       0.38        0.16
                The asterisk (*) denotes the additional majority-Black
                district.



PX 1, Exs. L-1, L-3. Mr. Morgan’s report’s compactness measures are identical to

Mr. Coopers. DX 4 ¶ 22 & chart 2.

      The Court finds that Illustrative CD-6, the challenged district, is 0.03 more

compact on Reock and 0.07 more compact on Polsby-Popper. The Court finds

that Plaintiffs have sufficiently shown that the Illustrative CD-6 is slightly more

compact, on empirical measures than the Enacted CD-6. 42




42 Additionally, the Court finds that Illustrative CD-13 is 0.06 more compact on Reock

and 0.13 more compact on Polsby-Popper than Enacted CD-13. Illustrative CD-5 and
Enacted CD-5 have identical compactness scores and Enacted CD-4 is 0.03 more
compact than Illustrative CD-4 on both compactness measures. Thus, the challenged



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                                   (d)     political subdivisions

      The Court also finds that Illustrative CD-6 “respected existing political

subdivisions, such as counties, cities, and towns.” Allen, 599 U.S. at 20.

Illustrative CD-6 splits the same number of counties as the Enacted Plan, but has

fewer county, VTD, and city and town split. PX 1 ¶ 81 & fig.14.




PX 1 ¶ 81, fig.14.




district, and the other majority-Black districts are comparably compact if not more
compact than the Enacted majority-Black congressional districts.


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      Neither Defendants nor their experts have meaningfully suggested that the

Illustrative Congressional Plan fails to respect city, town, and county lines.

Accordingly, the Court finds that the Illustrative Congressional Plan respected

more political subdivisions than the Enacted Congressional Plan.



                               (2)   Eyeball test

      The Court finds that Illustrative CD-6 is also visually compact. The eyeball

test is commonly utilized to determine if a district is compact or not. See Allen,

599 U.S. at 60 n.10 (quoting Singleton, 582 F. Supp. 3d at 1011) (crediting the

district court’s findings that the illustrative maps were compact because they did

not contain “tentacles, appendages, bizarre shapes or any other obvious

irregularities”); Vera, 517 U.S. at 960 (crediting the district court’s finding that the

challenged district passed the eyeball test and was visually compact); Ala. State

Conf. of NAACP v. Alabama, 612 F.Supp.3d at 1265 (“District 1 is contiguous and

also passes the eyeball test for geographical compactness.”); Comm. for a Fair &

Balanced Map, 835 F. Supp. 2d at 571 (three-judge court) (stating that the district

“passe[d] muster under the ‘eyeball’ test for compactness”).


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       The Court finds that Illustrative CD-6 passes the eyeball test.




PX 1, Ex. I-2 (trial).

       The district includes all of Douglas County, and portions of southern

Fulton and southern Cobb Counties. Defendants’ mapping expert, Mr. Morgan,

does not dispute the visual compactness of Illustrative CD-6, nor did he testify

about the district’s visual compactness. DX 4. Unlike at the preliminary

injunction, where there was questioning regarding the “fingers” into Fayetteville

and Kennesaw to “pick-up” Black population, Illustrative CD-6 no longer reaches

into Fayetteville. Doc. No. [73] 82:21–83:1, 86:6–12. At the trial, Defendants

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elicited no testimony or questions about “fingers” branching off of Illustrative

CD-6.

        The Court finds that the district does not have any tentacles or appendages.

Illustrative CD-6 is about 40 miles from top to bottom (Tr. 835:19–20), is contained

in a relatively small area of the state and is completely within the metro-Atlanta

counties. Accordingly, it lacks any similarities to the map in Miller, which

spanned from metro Atlanta to Augusta, or LULAC, which stretched 300 miles

along the southern border of Texas. Miller v. Johnson, 515 U.S. 900, 909 (1995);

LULAC, 548 U.S. at 424. Thus, the Court finds that Illustrative CD-6 is visually

compact.

                              (3)    Communities of interest

        The Court also concludes Illustrative CD-6 respects communities of

interest. A district that “reaches out to grab small and apparently isolated

minority communities” is not reasonably compact. Vera, 517 U.S. at 979. Plaintiffs

“may not ‘assum[e] from a group of voters’ race that they think alike, share the

same political interests, and will prefer the same candidates at the polls.’”

LULAC, 548 U.S. at 433 (quoting Miller, 515 U.S. at 920; Shaw v. Reno, 509 U.S.


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630, 647 (1993)). LULAC instructs district courts to account for “the

characteristics, needs, and interests” of the minority community in the contested

area. Id. at 434.

       There is no bright line test for determining whether a district combines

communities with common interests or disparate communities. Ms. Wright, the

General Assembly’s map drawer testified that “[c]ommunities of interest are very

hard to measure.” Tr. 1617:8. They could include, “a school attendance zone, . . .

an incorporated city or town, . . . share[d] resources[,] . . . the same water

authority[,] . . . a religious community that attends one facility.” Id. at 1617:12–

1618:22. LULAC provides some guidance on what courts should consider.

“[R]ural and urban communities[ ] could share similar interests and therefore

form a compact district if the areas are in reasonably close proximity.” 548 U.S.

at 435. However, when “the only common index is race” this is not a Section 2

remedy. Id. In LULAC, the Supreme Court held that the challenged district did

not contain a community of interest because the district court found an enormous

geographical distance separated one portion of the district from the other and the

minority communities in the district had disparate needs and interests. Id.


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      In this case, the Court finds that there is sufficient evidence that Illustrative

CD-6 is made up of communities of interest and does not combine disparate

minority communities. Mr. Cooper testified that when he draws districts he

“ha[s] to look at communities of interest.” Tr. 726:19. He stated that he respects

communities of interest because he “look[s] at political subdivisions, particularly

towns and cities, and tr[ies] to keep those areas all together in one--in one district.”

Tr. 740:13–15. Specifically for Illustrative CD-6, he looked at the federally

described 29-county Atlanta MSA and the Georgia defined 11-county core

Atlanta area. Tr. 741:18–742:1. He further concluded that Illustrative CD-6 is a

community of interest because it is wholly contained in suburban Atlanta.

Tr. 799:2–7.

      Pendergrass Plaintiffs also submitted the testimonial evidence of former

General Assembly members Mr. Allen and Mr. Carter. The Court credits this

testimony with respect to communities of interest. Both witnesses have served as

representatives of metro Atlanta communities and Mr. Allen’s former district is

within Illustrative CD-6.




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      Mr. Allen, a former member of the Georgia House of Representatives and

a Smyrna resident, agreed that his neighbors, the Black residents of Illustrative

CD-6, face the same transportation-related challenges, specifically involving

“access, congestion, [and] infrastructure.” Tr. 1009:9–13. He testified that “[a]s a

resident of this area,” he knows that these communities rely on the same

interstates. Id. at 1009:4–8. Residents of these areas attend some of the same

places of worship. Id. at 1009:17–22. Mr. Allen also explained that the residents

of Illustrative CD-6 share an interest in receiving services from Grady Hospital,

the only Level One Trauma Center in Metro Atlanta. Id. at 1019:24–1020:3.

      Former Georgia State Senator and candidate for Governor Jason Carter

also testified that Illustrative CD-6 constitutes a community of interest. He stated

that all areas of the district can be described as suburbs of Atlanta. Tr. 966:11–19.

He testified that all parts of the district are within a 20-to-40-minute drive of

downtown Atlanta, without traffic. Tr. 967:22–968:5. It is an area that is growing

and increasingly diversifying. Tr. 967:13–17. The individuals in the area use

similar roadways and are impacted by Atlanta traffic patterns. Tr. 966:22–967:10.




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Finally, he testified that the Chattahoochee river runs through the middle of the

district.

       Neither Defendants’ experts nor Ms. Wright provided testimony disputing

that Illustrative CD-6 unites communities of interest. The Court finds that

Illustrative CD-6 combines areas of suburban metro Atlanta. The communities

are relatively close in proximity. They share traffic concerns and have a common

waterway. The Court finds that Illustrative CD-6 does not combine disparate

minority communities, like the challenged district in LULAC (which stretched

across 300 miles on the Texas border) or in Miller (which spanned from Augusta

to Atlanta). Accordingly, the Court finds that Illustrative CD-6 respects the

traditional districting principles of maintaining communities of interest.

                             (4)   Core retention

       Although not a typical traditional redistricting principle, the Court also

finds that the Illustrative Congressional Plan retained many of the cores of the

districts in the Enacted Congressional Plan. The Supreme Court recently called

into question the importance of core retention for Section 2 Plaintiffs. “[T]his

Court has never held that a State’s adherence to a previously used districting plan


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can defeat a § 2 claim. If that were the rule, a State could immunize from challenge

a new racially discriminatory redistricting plan simply by claiming that it

resembled an old racially discriminatory plan.” Allen, 599 U.S. at 22. Additionally,

Ms. Wright testified that when she draws the new Plans, she starts with a blank

map and not from the existing congressional plan, and then “work[s] with the

data to create new districts.” Tr. 1622:11–17. Ms. Wright admitted to using the

existing district “as a reference” for other measures, such as retaining core

districts. Tr. 1622:18–20.

      To the extent that core retention is relevant as a traditional redistricting

principle, the Court finds that the Illustrative Congressional Plan retains a

majority of the population’s districts. See generally DX 4. Pursuant to the data

provided by Mr. Morgan, the Court finds that approximately 74.6% of voters

would have the same congressional district as they do under the Enacted

Congressional Plan. Id. In other words, only 25.4% of Georgians would be

affected if Illustrative CD-6 were enacted into law. The following is a table is

derived from the data in Mr. Morgan’s Report and that exemplifies the number




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of individuals who remain in the same district under the Illustrative

Congressional Plan.

                  District      # of individuals        whose
                                district is unchanged

                       001                  765,137*
                       002                  765,137*
                       003                   528,200
                       004                   736,485
                       005                  765,137*
                       006                    19,006
                       007                  765,137*
                       008                  765,136*
                       009                   403,191
                       010                   488,385
                       011                   372,724
                       012                  765,136*
                       013                   374,470
                       014                   475,707
                  The asterisk (*) denotes a district unchanged
                  on the illustrative map



DX 4, Ex. 7.

      The ideal population size of a congressional district is 765,136 (plus or

minus one person). As the chart above shows, six of the districts remain

unchanged (Illustrative CD-1, CD-2, CD-5, CD-7, CD-8, CD-12). In the eight


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changed districts, only three districts (Illustrative CD-6, CD-11, and CD-13)

change more than half of the population’s congressional district. These changes

logically follow from the fact that Illustrative CD-6 is the new majority-minority

district and CD-11 and CD-13 are two districts immediately surrounding it.

Accordingly, the Court finds that the Illustrative Congressional Plan

substantially retains the Enacted Congressional Plan’s district cores.

                              (5)    Racial considerations

      Finally, the Court concludes that race did not predominate in the drawing

of the Illustrative Congressional Plan. Allen recognized that “[t]he question

whether additional majority-minority districts can be drawn . . . involves a

‘quintessentially race-conscious calculus.’” 599 U.S. at 31 (plurality opinion)

(quoting Johnson v. De Grandy, 512 U.S. 997, 1020 (1994)). Consequently, “[t]he

contention that mapmakers must be entirely ‘blind’ to race has no footing in our

§ 2 case law. The line that we have long since drawn is between consciousness

and predominance.” Id. at 33 (plurality opinion). Race does not predominate

when a mapmaker “adhere[s] . . . to traditional redistricting criteria,” testifies that

“race was not the predominant factor motivating his design process,” and


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explains that he never sought to “maximize the number of majority-minority”

districts. Davis, 139 F.3d at 1426; see also id. at 1425–26 (finding clear error with

the district court’s finding of racial predominance based on an expert’s testimony

that he was asked to draw additional majority-minority districts in an area with

a high concentration of Black citizens).

      During Defendants’ cross-examination of Mr. Cooper, questions were

asked about whether race predominated when drawing the Illustrative

Congressional Districts. Tr. 786:23–787:6. Mr. Cooper testified that he considered

race among other traditional redistricting principles, balancing all considerations

and did not allow any of them to predominate or subordinate the others. On this

point, Mr. Cooper’s testimony is well summarized by the following:

             I’m constantly balancing the traditional redistricting
             principles, which would include population equality,
             which must be plus or minus one or so in most states. I’m
             looking at the compactness of the district. The district has
             to be contiguous, it has to be connected with all parts. I
             have to look at communities of interest. I have to look at
             political subdivisions and try to keep those whole. And
             that’s sort of subsumed under communities of interest.
             And, finally, also I have to be cognizant of avoiding the
             dilution of the minority voting source.

Tr. 726:14–23.
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      As the Court noted above, Mr. Cooper’s testimony was highly credible.

Mr. Cooper expressly disclaimed that race predominated the drawing of any

district, let alone Illustrative CD-6. Tr. 1744–2129; PX 1. It does not appear from

the face of the Illustrative Congressional Plan that race predominated its creation.

Compare PX 1, Ex. I-2 (creating an additional majority-minority district that is

wholly contained within four counties), with Miller, 512 U.S. at 108–09 (a district

that stretched from Augusta, Georgia to Atlanta, Georgia). The Court finds that

the evidence shows that Mr. Cooper was aware of race when he drew the

Illustrative Congressional Plan, but that race did not predominate the

configuration of its districts. Accordingly, the Court finds that the Pendergrass

Plaintiffs have sufficiently proven that race did not predominate over the

drawing of the Illustrative Congressional Plan, or Illustrative CD-6.

                              (6)   Possible remedy

      In Nipper, the Eleventh Circuit held that “the first threshold factor of

Gingles [ ] require[s] that there must be a remedy within the confines of the state’s

judicial model that does not undermine the administration of justice.” Nipper v.

Smith, 39 F.3d 1494, 1531 (11th Cir. 1994). The Eleventh Circuit later clarified that


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“[t]his requirement simply serves ‘to establish that the minority has the potential

to elect a representative of its own choice from some single-member district.’”

Burton v. City of Belle Glade, 178 F.3d 1175, 1199 (11th Cir. 1999) (quoting Nipper,

39 F.3d at 1530). Additionally, “[i]f a minority cannot establish that an alternate

election scheme exists that would provide better access to the political process,

then the challenged voting practice is not responsible for the claimed injury.” Id.;

see also Brooks v. Miller, 158 F.3d 1230, 1239 (11th Cir. 1998) (holding that “[i]f

the plaintiffs in a § 2 case cannot show the existence of an adequate alternative

electoral system under which the minority group’s rights will be protected, then

the case ends on the first prerequisite”).

      Under Nipper, the question of remedy depends on whether the alternate

scheme is a “workable remedy within the confines of the state’s system of

government.” Nipper, 39 F.3d at 1533. For example, in Wright v. Sumter Cnty.

Bd. of Elections and Registration, 979 F.3d 1282, 1304 (11th Cir. 2020), the

Eleventh Circuit found that the first Gingles precondition had been met because

the special master’s maps showed that at least three majority-Black districts could

have been drawn in that area, meaning “that a meaningful remedy was available.”


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      The Court has already determined that there is Record evidence that the

minority population in Illustrative CD-6 is sufficiently compact. As is stated

above, the Court finds that Mr. Cooper’s Illustrative Congressional Plans, both

from the preliminary injunction hearing and the trial, prove it is possible to draw

an additional majority-Black congressional district in west-metro Atlanta. PX 1,

I-2, DX 154, Ex. K. The Illustrative Congressional Plan achieves population

equality and each district is plus or minus one person. PX 1 ¶ 48. All of the

districts are contiguous. Stip. ¶ 198. The Illustrative Congressional Plan is

comparably as compact as the Enacted Plan. PX 1 ¶ 81 & fig.14. Visually speaking,

Illustrative CD-6 is compact and does not contain any tentacles or appendages.

See Section II(D)(2)(b)(3) supra. The Illustrative Congressional Plan unites

communities of interest. See Section II(D)(2)(b)(4) supra. The Illustrative

Congressional Plan leaves approximately 75% of the Enacted Plan intact. DX 4 at

48–50; Tr. 1945:10–13. And there is substantial, unrebutted, evidence and

testimony that race did not predominate the creation of the Illustrative

Congressional Plan. Tr. 726:14–23.




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      Furthermore, Mr. Cooper testified that he used the General Assembly’s

guidelines to inform his decisions when drawing the Illustrative Congressional

Plan. Tr. 818:18–20. Thus, the Court finds that the General Assembly could

implement the Illustrative Congressional Plan, because Mr. Cooper used the

legislative guidelines.

      To the extent, that Defendants have argued that the General Assembly

would have been barred from implementing this map because it impermissibly

took race into consideration, the Supreme Court recently rejected this proposition.

Allen, 599 U.S. at 1512 (plurality opinion), 1518. The Eleventh Circuit, moreover,

has long held that the first Gingles precondition specifically requires that

Plaintiffs’ proposed maps consider race. 43 Davis, 139 F.3d at 1425–26.



43 Additionally, the Supreme Court has stated that upon showing of racial
predominance, the state must “satisfy strict scrutiny” by demonstrating that the race-
based plan “is narrowly tailored to achieve a compelling interest”). In this context,
narrow tailoring does not “require an exact connection between the means and ends of
redistricting,” but rather just “‘good reasons’ to draft a district in which race
predominated over traditional districting criteria.” Ala. Legis. Black Caucus, 231 F.
Supp. 3d at 1064 (quoting Ala. Legis. Black Caucus, 575 U.S. at 278). Miller, 515 U.S. at
920. The U.S. Supreme Court has “assume[d], without deciding, that . . . complying with
the Voting Rights Act was compelling.” Bethune-Hill v. Va. State Bd. of Elections, 580



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      Here, the Court found that race did not predominate the drawing of the

Illustrative Congressional Plan and therefore, the State could implement it

without violating the Constitution. Accordingly, the Court finds that the

Illustrative Congressional Plan satisfies Nipper’s remedial requirement.

                              (7)   Conclusions of law

      In sum, the Court concludes that the Illustrative Congressional Plan meets

or exceeds the Enacted Congressional Plan on all empirical measures.

Accordingly, the Court finds that on the objective comparable measures, the

Illustrative Congressional Plan is as compact as the Enacted Congressional Plan.

The Court also finds that the Illustrative Congressional Plan is compact on the

eyeball test, respects communities of interest, and retains the majority of the cores

from the Enacted Congressional Plan. Finally, the Court finds that the Enacted

Congressional Plan could be enacted as a possible remedy because it complies

with traditional redistricting principles and race did not predominate in its




U.S. 178, 193 (2017). Indeed, the redistricting guidelines adopted by the General
Assembly confirm that Georgia understands compliance with the Voting Rights Act to
be a compelling state interest. See JX1–2.
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creation. Accordingly, the Pendergrass Plaintiffs carried their burden in showing

that the minority community in west-metro Atlanta is sufficiently large and

compact to warrant drawing an additional majority-Black district. Accordingly,

the Court finds that Pendergrass Plaintiffs have successfully proven the first

Gingles precondition.

             2.    Second Gingles Precondition

      The Court turns to the second and third Gingles preconditions. As the

Court examined more thoroughly in its Order on the Pendergrass Motions for

Summary Judgment (Pendergrass, Doc. No. [215], 48–65), to satisfy the second

and third Gingles preconditions, plaintiffs must show (1) the existence of

minority voter political cohesion and (2) that the majority votes as a bloc, usually

to defeat the minority voter’s candidate of choice. As a part of these preconditions,

plaintiffs do not have to prove that race is the sole or predominant cause of the

voting difference between the minority and majority voting blocs, nor must

plaintiffs disprove that other race-neutral reasons, such as partisanship, are

causing the racial bloc voting.




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      The second Gingles precondition requires plaintiffs to show that “the

minority group . . . is politically cohesive.” Gingles. 478 U.S. at 51. “The second

[precondition], concern[s] the political cohesiveness of the minority group [and]

shows that a representative of its choice would in fact be elected.” Allen, 599 U.S.

at 19. Plaintiffs can establish minority cohesiveness by showing that “a significant

number of minority group members usually vote for the same candidates.”

Solomon v. Liberty Cnty., 899 F.2d 1012, 1019 (11th Cir. 1990) (Kravitch, J.,

specially concurring); see also Gingles, 478 U.S. at 56 (“A showing that a

significant number of minority group members usually vote for the same

candidates is one way of proving the political cohesiveness necessary to a vote

dilution claim, and, consequently, establishes minority bloc voting within the

context of § 2.” (internal citations omitted)). The Court finds that Pendergrass

Plaintiffs have successfully proven that the minority group in the challenged area

is politically cohesive.

      Courts generally rely on statistical analyses to estimate the proportion of

each racial group that voted for each candidate. See, e.g., Gingles, 478 U.S. at 52–

54; Nipper, 39 F.3d at 1505 n.20. Courts have recognized ecological inference


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(“EI”) as an appropriate analysis for determining whether a plaintiff has satisfied

the second and third Gingles preconditions. See, e.g., Rose v. Raffensperger, 584

F. Supp. 3d 1278, 1294 (N.D. Ga. 2022); Patino v. City of Pasadena, 230 F. Supp.

3d 667, 691 (S.D. Tex. 2017); Benavidez v. City of Irving, 638 F. Supp. 2d 709, 723–

24 (N.D. Tex. 2009); Bone Shirt, 336 F. Supp. 2d at 1003, aff’d 461 F.3d 1011 (8th

Cir. 2006). Both Drs. Palmer and Alford testified that EI is a reliable method for

conducting the second and third Gingles’ preconditions analyses. Tr. 2250:12–

16; 401: 7–9.

      Pendergrass Plaintiffs polarization expert, Dr. Palmer, concluded that in

the 40 statewide general elections examined, in both the congressional focus area

(i.e., Enacted CD-3, 6, 11, 13, and 14) and each congressional district, Black voters

had clearly identifiable candidates of choice. Stip. ¶¶ 218, 220–21; PX 2 ¶ 16, tbl.1

& figs.2–3, 5; Tr. 414:25–416:13, 417:16–418:4. On average, Black voters supported

their candidates of choice with 98.4% of the vote. Stip. ¶ 219; PX 2 ¶¶ 7,16.

Defendants’ rebuttal expert on racially polarized voting, Dr. John Alford, does

not dispute Dr. Palmer’s conclusions as to the second Gingles precondition. DX 8,

3; Tr. 2250:12–2251:9. Additionally, the Parties stipulated that “Black voters in


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Georgia are extremely cohesive, with a clear candidate of choice in all 40 general

elections Dr. Palmer examined.” Stip. ¶ 218.

      The Court finds that the second Gingles precondition is satisfied here

because Black voters in Georgia are extremely politically cohesive. See 478 U.S.

at 49. “Bloc voting by blacks tends to prove that the [B]lack community is

politically cohesive, that is, it shows that [B]lacks prefer certain candidates whom

they could elect in a single-member, [B]lack majority district.” Id. at 68.

Dr. Palmer’s analysis clearly demonstrates high levels of cohesiveness among

Black Georgians in supporting their preferred candidates, both across the

congressional focus area and in the individual districts that comprise it. In Allen,

the Supreme Court credited the lower court’s finding of “very strong” Black voter

cohesion in Alabama, with an average of 92.3%. 599 U.S. at 22. Here in Georgia,

Black voter cohesion is even stronger, with an average of 98.4%. 44 Stip. ¶¶ 218–19.




44 The record evidence does not dispute, and even reiterates, conclusions made in prior

cases about political cohesion among Black Georgians. See, e.g., Wright, 301 F. Supp. 3d
at 1313 (noting that, in ten elections for Sumter County Board of Education with Black
candidates, “the overwhelming majority of African Americans voted for the same



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Accordingly, the Court finds that Pendergrass Plaintiffs have successful carried

their burden and proven that Black voters in the challenged area are politically

cohesive.

             3.     Third Gingles Precondition

      The third Gingles precondition requires plaintiffs demonstrate that “the

white majority votes sufficiently as a bloc to enable it . . . usually to defeat the

minority’s preferred candidate.” Gingles, 478 U.S. at 51. “[A] white bloc vote that

normally will defeat the combined strength of minority support plus white

‘crossover’ votes rises to the level of legally significant white bloc voting.” Id. at

56. This precondition “establishes that the challenged districting thwarts a

distinctive minority vote at least plausibly on account of race.” Allen, 599 U.S. at

19 (cleaned up) (quoting Growe, 507 U.S. at 40). No specific threshold percentage

is required to demonstrate bloc voting. Gingles, 478 U.S. at 56 (“The amount of

white bloc voting that can generally ‘minimize or cancel’ black voters’ ability to




candidate”); Lowery v. Deal, 850 F. Supp. 2d 1326, 1329 (N.D. Ga. 2012) (“Black voters
in Fulton and DeKalb counties have demonstrated a cohesive political identity by
consistently supporting [B]lack candidates.”).
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elect representatives of their choice . . . will vary from district to district.” (citation

omitted)).

       Pendergrass Plaintiffs’ polarization expert, Dr. Palmer, demonstrated (and

the Parties have stipulated) that white voters in the congressional focus area

usually vote as a bloc to defeat Black-preferred candidates. Stip. ¶¶ 222–227. In

each congressional district examined and in the focus area as a whole, white

voters had clearly identifiable candidates of choice for every election examined.

Id. ¶ 223; PX 2 ¶ 17 & figs.2–4; Tr. 414:25–416:13, 417:16–418:4. In the 40 statewide

general elections examined, white voters were highly cohesive in voting in

opposition to the Black candidate of choice. Stip. ¶ 222. On average, Dr. Palmer

found that white voters supported Black-preferred candidates with an average

of just 12.4% of the vote. Id. ¶ 223. In other words, white voters on average

supported their preferred candidates with an estimated vote share of 87.6%. 45




45 The Court notes that the Black preferred candidate in all of the examined races was

the Democrat candidate and the white -preferred candidate was a Republican. Stip.
¶¶ 194, 215–16. The Court finds that the inquiry into whether partisanship is the
motivating factor behind the polarization is not relevant to the Gingles precondition
inquiry, but may be relevant to the overall totality of the circumstances. See Section
II(D)(4)(b), infra.
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      Overall, Dr. Palmer found “strong evidence of racially polarized voting

across the focus area” as a whole and in each individual congressional district he

examined. PX 2 ¶¶ 7, 19; Tr. 398:17–21, 418:5–8. As a result of this racially

polarized voting, candidates preferred by Black voters in the focus area have

generally been unable to win elections outside of majority-Black districts.

Tr. 419:11–420:2. Excluding the majority-Black Congressional District 13, white

bloc voting defeated Black-preferred candidates in all 40 elections in the focus

area that Dr. Palmer examined. Stip. ¶¶ 225, 227; PX 2 ¶ 22. Defendants have

offered no evidence suggesting that this is no longer the case. To the contrary,

just as with the second Gingles precondition, the parties have stipulated to

satisfaction of the third Gingles precondition. Stip. ¶ 225.

      The Court concludes that Dr. Palmer’s analysis demonstrates high levels

of white bloc voting in the congressional focus area and in the individual districts

that comprise it. The Court also finds that candidates preferred by Black voters

are almost always defeated by white bloc voting except in those areas where they

form a majority. The evidence of polarization is stronger in this case than it was

in Allen: in Georgia, only 12.4% of white voters support Black-preferred


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candidates, whereas in Alabama 15.4% of white voters supported Black-

preferred candidates. Allen, 599 U.S. at 22. There the Supreme Court affirmed

that there was “very clear” evidence of racially polarized voting. Id. Thus, this

Court likewise finds “very clear” evidence of racially polarized voting in the

challenged district. 46 Accordingly, the Court concludes that Pendergrass

Plaintiffs’ evidence demonstrates that white voters vote in opposition to and

typically defeat Black preferred candidates and thus Pendergrass Plaintiffs have

carried their burden as to the third Gingles precondition.

                                             ****




46 Again, the evidence in this case does not dispute, and even reiterates, conclusions

made in prior cases about racially polarized voting. See, e.g., Fair Fight Action, 634 F.
Supp. 3d at 1247 (finding racial polarization in Georgia voting); Whitest v. Crisp Cnty.
Bd. of Educ., No. 1:17-CV-109 LAG, 2021 WL 4483802, at *3 (M.D. Ga. Aug. 20, 2021)
(“African Americans in Crisp County are politically cohesive in elections for members
of the Board of Education, but the white majority votes sufficiently as a bloc to enable it
to defeat the candidates preferred by Black voters in elections for members of the Board
of Education.”); Wright, 301 F. Supp. 3d at 1317 (finding that “[t]he third Gingles factor
is satisfied” after concluding that “there can be no doubt black and white voters
consistently prefer different candidates” and that “white voters are usually able to the
defeat the candidate preferred by African Americans”).
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      The Court concludes that the Pendergrass Plaintiffs have carried their

burden in proving the three Gingles preconditions. Accordingly, the Court now

turns to the totality of the circumstances inquiry.

             4.    Totality of the Circumstances

      The Court must determine whether Georgia’s political process is equally

open to the affected Black voters. Wright, 979 F.3d at 1288 (“[I]n the words of the

Supreme Court, the district court is required to determine, after reviewing the

‘totality of the circumstances’ and, ‘based upon a searching practical evaluation

of the past and present reality, whether the political process is equally open to

minority voters.’” (quoting Gingles, 478 U.S. at 79)); Solomon v. Liberty Cnty.

Com’rs, 166 F.3d 1135, 1148 (11th Cir. 1999), vacated 206 F.3d 1054

(acknowledging that the Third, Fifth, and Tenth Circuits have found it to be

“unusual” or “rare” if a plaintiff can establish the Gingles preconditions, but fail

to establish a Section 2 violation on the totality of the circumstances (quoting

Jenkins v. Red Clay Consol. Sch. Dist. Bd. of Educ., 4 F.3d 1103, 1135 (3d Cir.

1993); Sanchez v. Colorado, 97 F.3d 1303, 1322 (10th Cir. 1996)) (citing Clark v.

Calhoun Cnty., 21 F.3d 92, 97 (5th Cir. 1994)).


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                     a)     Totality of circumstances inquiry: purpose and
                            framework

      For a Section 2 violation to be found, the Court must conduct “an intensely

local appraisal” of the electoral mechanism at issue, as well as a “searching

practical evaluation of the ‘past and present reality.’” Allen, 599 U.S. at 19 (citing

Gingles, 478 U.S. at 79). The purpose of this appraisal is to determine the

“essential inquiry” of a Section 2 case, which is “whether the political process is

equally open to minority voters.” Ga. State Conf. of the NAACP, 775 F.3d at 1342

(emphasis added) (quoting Gingles, 478 U.S. at 79). Put differently, the totality of

the circumstances inquiry ensures that violations of Section 2 may only be found

when “members of the protected class have less opportunity to participate in the

political process.” Chisom v. Roemer, 501 U.S. 380, 397 (1991) (emphasis added).

      Over the last fifty years Georgia has become increasingly more politically

open to Black voters and in recent elections Black candidates have enjoyed

success—five of Georgia’s representatives to the United States House of

Representatives and one of its Senators are Black. Although the Court commends

the progress that Georgia has made since 1965, when weighing the Senate Factors,

the Court finds that the Enacted Congressional Plan dilutes Black voting power

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in west-metro Atlanta. The Enacted Congressional Plan in west metro-Atlanta

has resulted in Black voters having less of an opportunity to participate equally

in the political process than white voters. Gingles, 478 U.S. at 79; Chisom, 501 U.S.

at 397. The whole of the evidence shows that the political process is not currently

equally to Black Georgians in west-metro Atlanta—Black voters still suffer from

less opportunity to partake in the political process in the area than white voters.

Thus, given the consideration of the factors named infra, the Court determines

that the totality of the circumstances inquiry supports finding a Section 2

violation in this case and that an additional majority-minority congressional

district must be drawn in the western-metro Atlanta area.

      Turning to the legal framework guiding the totality of the circumstances

inquiry: the totality inquiry focuses on a number of non-comprehensive and non-

exclusive Senate Factors. Ga. State Conf. of the NAACP, 775 F.3d at 1342. The

Senate Factors include: (1) “the history of voting-related discrimination in the

State or political subdivision”; (2) “the extent to which voting in the elections of

the State or political subdivision is racially polarized”; (3) “the extent to which

the State or political subdivision has used voting practices or procedures that


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tend to enhance the opportunity for discrimination against the minority group,

such as unusually large election districts, majority vote requirements, and

prohibitions against bullet voting”; (4) “the exclusion of members of the minority

group from the candidate slating processes”; (5) “the extent to which minority

group members bear the effects of past discrimination in areas such as education,

employment, and health, which hinder their ability to participate effectively in

the political process”; (6) “the use of overt or subtle racial appeals in political

campaigns”; and (7) “the extent to which members of the minority group have

been elected to public office in the jurisdiction.” Gingles, 478 U.S. at 44–45.

Furthermore, “[t]he [Senate] Report notes also that evidence demonstrating [8]

that elected officials are unresponsive to the particularized needs of the members

of the minority group and [9] that the policy underlying the State’s . . . use of the

contested practice or structure is tenuous may have probative value.” Gingles,

478 U.S. at 45.

      The Court now will consider and weigh each of these factors in addition to

the proportionality of Black citizens to majority-Black districts and the State’s

changing demographics. Again, the Court ultimately concludes that the totality


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of the circumstances’ inquiry weighs in favor of finding a Section 2 violation in

the Pendergrass Plaintiffs’ case. 47

                      b)      Senate Factor One and Three: historical evidence of
                             discrimination and State’s use of voting procedures
                             enhancing opportunity to discriminate

       The Court first turns to Georgia electoral practices, both past and present,

that bear on discrimination against Black voters under Senate Factors One and

Three. 48 Senate Factor One focuses on “the extent of any history of official

discrimination in the state . . . that touched the right of the members of the

minority group to register, to vote, or otherwise to participate in the democratic

process[.]” Gingles, 478 U.S. at 36-37. Senate Factor Three “considers ‘the extent

to which the State or political subdivision has used voting practices or procedures




47 Although Dr. Jones was solely retained as an expert in the Alpha Phi Alpha case, the

Court notes that at the trial, the Parties consented to adopt the testimony of Dr. Jones
into the Pendergrass Plaintiffs’ case-in-chief. Tr. 1244:10–1245:8, 1589:3–1591:21. Thus,
the Court may rely on Dr. Jones’s trial testimony any portions of her report that were
directly referenced at trial.
48 The Court considers both Senate Factors One and Three together because there is

significant overlap in the trial evidence for the two factors. Cf., e.g., Singleton, 582 F.
Supp. 3d at 1020, aff’d sub nom. Allen, 599 U.S. 1 (considering Senate Factors One, Three,
and Five together).
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that tend to enhance the opportunity for discrimination against the minority

group, such as unusually large election districts, majority vote requirements, and

prohibitions against bullet voting.’” Wright, 979 F.3d at 1295 (quoting Gingles,

478 U.S. at 44–45).

      The Court finds that Pendergrass Plaintiffs have shown evidence of both

past and present history in Georgia that the State’s voting practices

disproportionately affect Black voters. Per guidance from binding authorities, the

Court is careful in this analysis to assess both past and present efforts that have

caused a disproportionate impact on Black voters. Indeed, “past discrimination

cannot, in the manner of original sin, condemn governmental action that is not

itself unlawful.” Greater Birmingham Ministries v. Sec’y of State for Ala., 992 F.3d

1299, 1325 (11th Cir. 2021) (quoting Mobile v. Bolden, 446 U.S. 55, 74 (1980));

see also Abbott v. Perez, 585 U.S. ––––, 138 S. Ct. 2305, 2324 (2018) (explaining

that “the presumption of legislative good faith [is] not changed by a finding of

past discrimination”).

      While present evidence of disproportionate impact is necessary, the

Court’s reading of recent decisions is that past discrimination and


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disproportionate effects cannot be overlooked. To be sure, the Supreme Court

recently opined that Section 2 looks at both the past and present realities of

Georgia’s electoral mechanism by recounting Alabama’s history of past

discrimination from the Reconstruction Era. Allen, 599 U.S. at 19; see also id. at

14 (“For the first 115 years following Reconstruction, the State of Alabama elected

no [B]lack Representatives to Congress.”). In the wake of the Allen decision,

Chief Judge Pryor recently clarified that “[p]ast discrimination is relevant” even

if it is “one evidentiary source” that is “not to be overweighed.” League of

Women Voters of Fla. Inc. v. Fla. Sec’y of State, 81 F.4th 1328, 1332 (11th Cir. 2023)

(Pryor, C.J., concurring in denial of rehearing en banc) (emphasis added)

(quoting Abbott, 138 S. Ct. at 2325); see also id. (“Allen cited the ‘extensive history

of repugnant racial and voting-related discrimination’ in Alabama as relevant to

whether the political process today is ‘equally open’ to minority voters.” (quoting

Allen, 599 U.S. at 22)). Accordingly, the Court takes these cues from both recent

Supreme Court and Eleventh Circuit jurisprudence and evaluates Georgia’s

practices of discrimination past and present as relevant evidence in the totality of

the circumstances inquiry.


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                             (1)    Historical evidence of discrimination broadly

      “Georgia has a history chocked full of racial discrimination at all levels.

This discrimination was ratified into state constitutions, enacted into state

statutes, and promulgated in state policy. Racism and race discrimination were

apparent and conspicuous realities, the norm rather than the exception.” Wright,

301 F. Supp. 3d at 1310 (citation omitted). “African-Americans have in the past

been subject to legal and cultural segregation in Georgia[.]” Cofield, 969 F. Supp.

at 767. “Black residents did not enjoy the right to vote until Reconstruction.

Moreover, early in this century, Georgia passed a constitutional amendment

establishing a literacy test, poll tax, property ownership requirement, and a good-

character test for voting. This act was accurately called the ‘Disfranchisement Act.’

Such devices that limited black participation in elections continued into the

1950s.” Id.

      In this case, one of Pendergrass Plaintiffs’ expert witnesses opined that

“[t]hroughout the history of the state of Georgia, voting rights have followed a

pattern where after periods of increased nonwhite voter registration and turnout,

the state has passed legislation, and often used extralegal means, to


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disenfranchise minority voters.” PX 4, 10; Tr. 1428:3–24. Another expert witness

testified, Georgia has “used basically every expedient . . . associated with Jim

Crow to prevent Black voters from voting in the state of Georgia.” Tr. 1161:20–

1162:11.

       During the trial, Defendants stipulated “up until 1990 we had historical

discrimination in Georgia.” Tr. 1524:14–15. Thus, the unrebutted testimony and

the extensive accounts of Georgia’s history of discrimination in Pendergrass

Plaintiffs’   expert   reports        demonstrate   that     Georgia’s    discriminatory

history—including in voting procedures— spans from the end of the Civil War

onward and have uncontrovertibly burdened Black Georgians. See, e.g,

Tr. 1429:11–21.

                                (2)      Georgia practice from the passage of the VRA
                                         to 2000

       Congress enacted the Voting Rights Act of 1965 to address these

discriminatory practices. One of the Voting Rights Act’s provisions was the

preclearance      requirement     that     prohibited      certain   jurisdictions   with

well-documented practices of discrimination—including Georgia—from making



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changes to their voting laws without approval from the federal government. PX

4, 36; Tr. 1436:11–1437:6.

      The Voting Rights Act, however, “did not translate to instant success” for

Black political participation. PX 4, 36. Among states subject to preclearance in

their entirety, Georgia ranked second only to Alabama in the disparity in voter

registration between its Black and white citizens by 1976. Id.; Tr. 1437:10–1438:3.

These continued disparities following the VRA were at least caused because

“Georgia resisted the Voting Rights Act . . . [and] for a period, it refused to

comply[.]” Tr. 1163:9–1164:1. For example, a study found that local jurisdictions

in Georgia and Mississippi “went ahead with election changes despite a pending

preclearance request.” PX 4, 39. Even still, from 1965 to 1981, the Department of

Justice objected to more than 200 changes submitted by Georgia, more than any

other state in the country. Id.

      Georgia’s history of discrimination against Black voters did not end in 1981.

When the VRA was reauthorized in 1982, the Senate Report specifically cited to

Georgia’s discriminatory practices that diminished the voting power of Black




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voters. S. Rep. 97-417, at 10, 13 (1982). During the 1990 redistricting cycle, twice

the DOJ rejected the State’s reapportionment plans. PX 4, 42.

      During the process of reauthorization of the Voting Rights Act in 2006,

Georgia legislators “took a leadership position in challenging the reauthorization

of the [A]ct.” Tr. 1164:2–17. As Dr. Jones reminds us, “Georgia’s resistance to the

VRA is consistent with its history of resisting the expansion of voting rights to

Black citizens at every turn.” APAX 2, 9. Even following the 2000 Census, the

district court in the District of Columbia refused to preclear the General

Assembly’s Senate plan because the court found “the presence of racially

polarized voting” and that “the State ha[d] failed to demonstrate by a

preponderance of the evidence that the reapportionment plan for the State Senate

will not have a retrogressive effect.” Georgia v. Ashcroft, 195 F. Supp. 2d 25, 94

(D.D.C. 2002), affirmed by King v. Georgia, 537 U.S. 1100 (2003).

                             (3)    More recent voting practices with             a
                                    disproportionate impact on Black voters

      The Court concludes that Pendergrass Plaintiffs submitted evidence about

more recent practices in Georgia which disproportionately impact Black voters

and have resulted in a discriminatory effect. These practices include polling place

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closures, voter purges, and the Exact Match requirement. Pendergrass Plaintiffs’

also continually rely on the Georgia’s General Assembly passage of SB 202

following the 2020 presidential election as evidence of recent and present

discrimination disproportionally affecting Black voters. 49

       Following Shelby County and the end of pre-clearance, the U.S.

Commission on Civil Rights, found that Georgia had adopted five of the most

common restrictions that impose roadblocks to the franchise for minority voters:

(1) voter ID laws, (2) proof of citizenship requirements, (3) voter purges, (4) cuts

in early voting 50, and (5) widespread polling place closures. PX 4, 48–49 (citing




49 On the Record, Dr. Burton clearly stated and the Court would like to reiterate, this

Order, in no way states or implies that the General Assembly or Georgia Republicans
are racist. Tr. 1473:18–1474:9. As articulated by Dr. Burton, “[n]o. I’m not saying that the
legislature is [racist]—I am saying that some of the legislation that comes out has a
disparity—it affects Black citizens differently than white citizens to the disadvantage of
Black citizens, but I am not saying that they are racist. But the effect has a disparate
impact among whites and Blacks and other minorities.” Tr. 1474:4–9. Section 2 of the
VRA does not require the Court to find that the General Assembly passed the
challenged maps to discriminate against Black voters, or that the General Assembly is
racist in any way. Nothing in this Order should be construed to indicate otherwise.
50 While it may have been true at the time of this report that Georgia had made cuts to

early voting, the Court acknowledges Mr. Germany’s trial testimony was that SB 202
increased early voting opportunities by adding two mandatory Saturdays and expressly
permitted counties to hold early voting on Sundays, at their discretion. Tr. 2269:9–21.
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U.S. Commission on Civil Rights, An Assessment of Minority Voting Rights

Access in the United States: 2018 Statutory Enforcement Report (Washington,

2018), 369). No other State has engaged in all five practices. PX 4, 49.

       The Court ultimately weighs the evidence submitted and determines that

the present evidence of Georgia’s voting practices show they had a

disproportionately negative impact on Black voters. The Court proceeds by

assessing Pendergrass Plaintiffs’ evidence of (a) Georgia’s practice of closing

polling places, (b) Georgia’s Exact Match requirement and purging of its

registration lists, (c) the General Assembly’s passage of SB 202, and (d) the State’s

rebuttal evidence of open and fair election procedures. 51 The Court finally (e)

renders its conclusion of law on this Senate Factor.




51 The Court may evaluate statewide evidence to determine whether Black voters have

an equal opportunity in the election process. LULAC, 548 U.S. at 438 (2006) (“[S]everal
of the [ ] factors in the totality of circumstances have been characterized with reference
to the State as a whole.”); see also Allen, 599 U.S. at 22 (crediting the three-judge court’s
findings of lack of equal openness with respect to statewide evidence (citing Singleton,
582 F. Supp. 3d at 1018–1024); Gingles, 478 U.S. at 80 (crediting district court’s findings
of lack of equal opportunity that was supported by statewide evidence (citing Gingles
v. Edmisten, 590 F. Supp. 345, 359–75 (E.D.N.C. 1984)).
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                                    (a)     polling place closures

      The Court finds that there is compelling evidence that Georgia’s recent

closure of numerous polling places disproportionately impacts Black voters. In

the wake of the Supreme Court’s decision in Shelby County, “‘dozens of polling

places’ were ‘closed, consolidated, or moved.’” PX 4, 49 (citing Kristina Torres,

“Cost-Cutting Raises Voter Access Fears,” Atlanta Journal Constitution, (Oct. 13,

2016); Kristina Torres, “State Monitored For Voting Rights Issues,” Atlanta

Journal Constitution, (Jun. 20, 2016)).

      By 2019, the Leadership Conference Education Fund determined that

Georgia had closed over 200 polling locations since June of 2012, despite the

significant growth in Georgia’s population. PX 4, 50. “A 2020 study found that

‘about two-thirds of the polling places that had to stay open late for the June

primary to accommodate waiting voters were in majority-Black neighborhoods,

even though they made up only about one-third of the state’s polling places.’” Id.

(citing Stephen Fowler, “Why Do Nonwhite Georgia Voters Have to Wait in Line

for Hours? Their Numbers Have Soared, and Their Polling Places Have

Dwindled,”       ProPublica,       https://www.propublica.org/article/why-do-


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nonwhite-georgia-voters-have-to-wait-in-line-for-hours-their-numbers-have-

soared-and-their-polling-places-have-dwindled, (Oct. 17, 2020)).

      Specifically, in the challenged area (i.e., around Illustrative CD-6), “[i]n

2020, the nine counties in metro Atlanta that had nearly half of the registered

voters (and the majority of the Black voters in the state)[, but] had only 38% of

the state’s polling places.” PX 4, 51 (citing Fowler, “Why Do Nonwhite Georgia

Voters Have to Wait in Line for Hours?”). In 2020, Union City, which is within

Illustrative CD-6 and has a Black voting age population of 88%, had wait times

as long as five hours. PX 4, 51 (citing Mark Niesse and Nick Thieme, “Fewer Polls

Cut Voter Turnout Across Georgia,” Atlanta Journal Constitution (Dec. 15, 2009);

Fowler, “Why Do Nonwhite Georgia Voters Have to Wait in Line for Hours?”).

      At trial, Dr. Burton testified about his findings as to polling place closures

and his conclusion that they disproportionately impacted Black voters. Tr.

1432:21–25; 1441:2–21. These conclusions were not raised on cross examination.

Tr. 1465:6–1494:14.

      The Court concludes that Pendergrass Plaintiffs’ evidence of polling place

closures—and, notably, in west-metro Atlanta where Pendergrass Plaintiffs


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propose Illustrative CD-6 be drawn as an additional majority-minority

district—is recent evidence of a voting practice with a disproportionate impact

on Black voters.

                                    (b)     exact match and      registration list
                                            purges

      Pendergrass Plaintiffs’ evidence also shows Georgia’s voting practices

include roadblocks to the voting efforts of minority voters in the form of the Exact

Match system and the State’s purging of voter registration lists. PX 4, 49–51

(citing U.S. Commission on Civil Rights, An Assessment of Minority Voting

Rights Access in the United States: 2018 Statutory Enforcement Report

(Washington, 2018), 369).

      These practices, however, have been determined in prior decisions by the

Court to not be illegal under federal law. The prior decisions upholding the Exact

Match requirement and registration list purges certainly impact the weight to

afford these voting practices. However, in this case, the evidence shows—

without contradicting the prior legal determinations—that these practices have a

disproportionate effect on Black voters for purposes of the instant totality of the

circumstances inquiry. Specifically, when these prior decisions are considered in

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the light of the legal frameworks at issue, the Court finds that these practices can

be used as evidentiary support of a disproportionate discriminatory impact on

Black voters in Georgia without contradicting or minimizing the prior decisions

upholding Georgia’s laws.

      Specifically, Georgia’s Exact Match procedure was determined to not

violate VRA’s Section 2 because when the burden on voters, the disparate impact,

and the State’s interest in preventing fraud were considered together, the

weighing of these considerations counseled against finding a violation. Fair Fight

Action, 634 F. Supp. 3d at 1246. The Exact Match decision in Fair Fight relied on

the Brnovich decision and emphasized that “the modest burdens allegedly

imposed by [the Exact Match law], the small size of the disparate impact [on

Georgia voters as a whole], and the State’s justifications” did not support a

Section 2 violation. Id. at 1245 (citing Brnovich v. Democratic Nat’l Comm., 594

U.S. ----, 141 S. Ct. 2321, 2346 (2021)). Even without a Section 2 violation, however,

the Court found that the Exact Match requirement disproportionately impacted

Black voters given that: Black voters were a smaller portion of the electorate but

as of January 2020, 69.4% of individuals flagged as “missing identification


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required” were African American, and 31.6% of the voters flagged for pending

citizenship 31.6% were African American, whereas white voters only accounted

for 20.9%. Fair Fight Action, 634 F. Supp. 3d at 1160, 1162; Tr. 1283:3–10. The

Court’s decision in Fair Fight itself acknowledged that the Exact Match practice

in Georgia has a discriminatory impact on Black voters—the inquiry specifically at

issue here. When the Court considers Fair Fight’s determination in the light of

the Civil Rights’ Commission’s report that generally Exact Match practices are a

roadblock to minority voters, the Court concludes that this modern practice in

Georgia supports that Georgia’s modern voting practices have a discriminatory

effect on Black voters.

      The same Fair Fight case also resolved on summary judgment (in favor of

the State) claims that purges of voter registration lists violated the Constitution.

Fair Fight Action, Inc. v. Raffensperger, No. 18-cv-5391, 2021 WL 9553856 (N.D.

Ga. Mar. 31, 2021). The Anderson-Burdick framework governed this summary

judgment resolution and notably did not require any showing or determination

of racial discrimination. Id. Instead, the Court’s task was to balance the voter’s

burden with the State’s interest in complying with federal law (i.e., the National


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Voter Registration Act). 2021 WL 9553856, *at 15–18. The Court’s weighing of

these considerations does not instantly preclude a finding that Georgia’s voter

purges have a disproportionate impact on Black voters for purposes of the

totality of the circumstances inquiry here. This is especially the case in the light

of the expert evidence that these voter purses have minimized the “electoral

influence of minority voters and particularly of Black Georgians.” PX 4, 2. Thus,

the Court finds that, while not illegal under Anderson-Burdick, the voter purges

provide   some     evidence    of   modern      practices   with   disproportionate

discriminatory impact on Black voters in Georgia.

      Accordingly, while the Court is cognizant of the prior decisions upholding

the Exact Match and registration list purges in Georgia, the Court still finds that

these voting practices are some evidence indicating a disproportionate impact on

Black voters.

                                    (c)     SB 202’s disparate impact

      The Pendergrass Plaintiffs also cite to Georgia’s passage of SB 202 as

evidence of modern discrimination. The General Assembly passed SB 202

following the 2020 Presidential election. PX 4, 53–56; Tr. 1474:10–1481:1. A


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challenge to SB 202 is pending in the Northern District of Georgia and has not

been resolved at the time the Court enters this Order. 52 In re SB 202, 1:21-mi-55555

(N.D. Ga. Dec. 23, 2021). The Court acknowledges that the evidence presented in

that case is not presently before this Court. 53 Given this pending challenge to SB

202, the Court proceeds cautiously in an effort of judicial restraint, which

counsels against the Court preemptively making any findings that could lead to

inconsistent rulings or implicate the ultimate determination of the legality of SB

202.




52 The Court notes that on October 11, 2023, the district court hearing the case ruled on

a pending motion for preliminary injunction that involves Section 2 and constitutional
challenges to several provisions in SB 202. In re SB 202, 1:21-mi-55555, ECF No. 686 (N.D.
Ga. Oct. 11, 2023). The court denied the plaintiffs motions for preliminary injunction
and found that there was not a substantial likelihood of success on the merits of any of
their claims. Id. at 61. No rulings in that case are binding on this Court. McGinley v.
Houston, 361 F.3d 1328, 1331 (11th Cir. 2004) (“[A] a district judge’s decision neither
binds another district judge nor binds him”). However, the Court is cautious in its
discussion of SB 202 to avoid inconsistent rulings and creating confusion.
53 To be abundantly clear, this Court does not have a challenge to SB 202 before it.

Plaintiffs’ experts have provided evidence regarding potential motivations behind SB
202 and the impact that its passage had on Black voters. APAX 2; PX 4; GX 4. And
Defendants provided counter evidence. See Tr. 2261–2307 (testimony of Ryan Germany).
The Court evaluates solely the evidence adduced in this case.
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       With these qualifications in mind, the Court cannot ignore that evidence

on SB 202 has been presented by the Plaintiffs as proof of present discriminatory

practices in Georgia’s treatment of Black voters. PX 4, 53–55, Tr. 1474:10–1481:1. 54

Defendants likewise provided rebuttal testimony. See generally Tr. 2261–2307.

The Court, treading cautiously, tethers its findings regarding SB 202 to the

testimony and evidence provided by Pendergrass Plaintiffs’ experts for purposes

of the totality of the circumstances inquiry on the Senate Factors. Namely, the Court

considers the passage of SB 202, once again, as some evidence of practices with a

disproportionate impact on Black voters. This determination is made with the

conclusion of Dr. Burton, Pendergrass Plaintiffs’ expert, in mind: “[t]he history

of Georgia demonstrates a clear pattern” (PX 4, 4), where “periods of increased

nonwhite voter registration and turnout” have been followed by the state




54 Drs. Burton and Jones concluded that certain portions of SB 202 have an actual or

perceived negative impact on Black voters. See Tr. 1185:17–1186:16 (Dr. Jones opining
that Black voters increased use of absentee ballots and their use of drop boxes correlated
with the passage of SB 202); Tr. 1445: 1–25 (Dr. Burton opining that certain provisions
of SB 202 were put in place because of the gains made by Black voters in the electorate).
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[passing] legislation” to deter minority voters. PX 4, 10. Dr. Burton specifically

cites the passage of SB 202 as evidence of this pattern. PX 4, 10.

      Accordingly, the Court considers SB 202 as evidence of a current

manifestation of a historical pattern that following an election, the General

Assembly responsively passes voting laws that disproportionately impact Black

voters in Georgia.

                             (4)    Defendant’s rebuttal evidence

      The Court now turns to Defendants’ rebuttal evidence. To begin,

Defendants submit no rebuttal expert or report to Dr. Burton’s report and

testimony. Tr. 1425:8–16. In fact, Defendants do not affirmatively rebut the

aforementioned evidence with their own evidence. Instead, Defendants cross-

examined Dr. Jones on the prior legal determinations that the Exact Match and

list maintenance procedures utilized by Georgia. Tr. 1251:16–19. As the Court has

already determined, it considers these prior judicial decisions as part of its

weighing of this evidence. It also has assessed the basis for these prior decisions

and has determined that it is not inconsistent with these prior rulings to now find

that these voting practices have a discriminatory impact on Black voters for


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purposes of the instant totality of the circumstances. See Section II(C)(4)(b)(3)(b)

supra.

         Defendants also, through lay witness testimony, submitted that Georgia

has implemented legislation to make it easier for all voters to participate. 55 In

favor of Defendants on these factors, the Court considers Mr. Germany’s

testimony about SB 202 indicates that the motive for passing the law was to

alleviate stress on the electoral system and increase voter confidence. Tr. 2265:5–

23. Moreover, SB 202, among other things, expanded the number of early voting

days in Georgia. Tr. 1476:7–9. There’s evidence that Georgia employs no-excuse

absentee voting (Tr. 1476:10–13), automatic voter registration through the

Department of Driver Services (Tr. 2263:12–20) and voters to register the vote

using both paper registration and online voter registration (Tr. 2263:14–23).




55 The Court notes that on cross-examination Mr. Germany explained that SB 202
received numerous complaints; however, he is unable to quantify whether those
complaints primarily came from Black voters because the Secretary of State’s Office does
not analyze the impact of the legislation on particular categories of voters—i.e., white
voters v. Black voters. In his opinion, that analysis is not helpful to the overall goal to
“make it easy for everyone, regardless of race.” Tr. 2283:2–2285:5.
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Georgia offers free, state-issued, identification cards that voters can use to satisfy

Georgia’s photo ID laws. Tr. 2264:15–22.

        Additionally, the Court has also been presented with additional evidence

that immediately prior to Shelby County, the DOJ precleared Georgia’s 2011

Congressional Plan. Tr. 1471:14–17. Moreover, following the passage of SB 202,

Georgia experienced record voter turnout in the 2022 midterm election cycle.

Tr. 1480:3–9.

                              (5)    Conclusion on Senate Factors One and Three

        In sum, the majority of the evidence before the Court shows that Georgia

has a long history of discrimination against Black voters. This history has

persisted in the wake of the VRA and even into the present through various

voting practices that disproportionately effect Black voters. Pendergrass

Plaintiffs have provided concrete recent examples of the discriminatory impact

of recent Georgia practices, some specifically in the challenged area of Illustrative

CD-6.

        Defendants have submitted some recent evidence of Georgia increasing

the access and availability of voting. The evidence even shows that overall voter


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turnout has increased in the most recent national election. 56 These efforts are

commendable, and the Court is encouraged by these developments. In the

Court’s view, however, it is insufficient rebuttal evidence. Thereby, in toto, the

Court concludes that Georgia has a history—uncontrovertibly in the past, and

extending into the present—of voting practices that disproportionately impact

Black voters. Thus, Senate Factors One and Three, on the whole, weigh in favor

of finding a Section 2 violation.

                      c)     Senate Factor Two: racial polarization

      The second Senate Factor assesses “the extent to which voting in the

elections of the State or political subdivision is racially polarized.” Wright,

979 F.3d at 1305 (quoting LULAC, 548 U.S. at 426). As indicated in the

Pendergrass Summary Judgment Order (Doc. No. [215], 97), polarization is a

factor to be considered in the totality of circumstances inquiry, in addition to the

second and third Gingles preconditions. Pursuant to persuasive authority, the




56 As discussed in greater detail, infra, Black voter turnout rate decreased by 15 points

from the 2020 election cycle to the 2022 election cycle and recorded the lowest voter
turnout rate in a decade. See Section II(D)(4)(e)(1) infra.
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Court finds that when a Defendant has raised a race-neutral reason for the

polarization, the Court must look beyond the straight empirical conclusions of

polarization. See Nipper, 39 F.3d at 1524 (plurality opinion) (finding that

Defendants may rebut evidence of polarization by showing racial bias is based

on nonracial circumstances); Uno v. City of Holyoke, 72 F.3d 973, 983 (1st Cir.

1995) (stating that an inference of racial polarization “will endure unless and until

the defendant adduces credible evidence tending to prove the detected voting

patterns can most logically be explained by factors unconnected to the

intersection of race with the electoral system.”).

      Defendants have consistently argued that partisanship is a race-neutral

explanation for polarization of voters in Georgia. See, e.g., Tr. 2410:18–2411:14. In

an intentional discrimination context, the Eleventh Circuit cautioned courts

“against conflating discrimination on the basis of party affiliation on the basis of

race . . . . [e]vidence of race-based discrimination is necessary to establish a

constitutional violation.” League of Women Voters of Fla. Inc. v. Fla. Sec’y of

State, 66 F.4th 905, 924 (11th Cir. 2023) (emphasis in original) (citing Brnovich,

141 S. Ct. at 2349). However, Chief Justice Roberts recently confirmed that a


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Section 2 violation “occurs where an ‘electoral structure operates to minimize or

cancel out’ minority voters’ ‘ability to elect their preferred candidates.’ Such as

risk is greatest ‘where minority and majority voters consistently prefer different

candidates’ and where minority voters are submerged in a majority voting

population that ‘regularly defeat[s]’ their choices.” Allen, 599 U.S. at 1, 17–18.

      The Court acknowledges that whether voter polarization is on account of

partisanship and race is a difficult issue to disentangle. During an extended

colloquy with the Court, Dr. Alford testified that “voting behavior is complicated”

and that in his view democracy is about “voting for a person that follows their

philosophy or they think is going to respond to their needs.” Tr. 2182:4–5; 2183:4–

8. He went on to clarify that party identity and affiliation is exceptionally strong

this country and starts at a young age. Tr. 2183:8–2184:6.

      Dr. Alford concluded that, from the empirical evidence presented by

Pendergrass Plaintiffs, one cannot causally determine whether the data is best

explained by party affiliation or racial polarization. He specifically testified that:

             [T]he kind of data that we use here, which is, you know
             ecological and highly abstract data, cannot demonstrate
             cohesion in sort of its natural form.


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             Much of the work on things like individual-level surveys,
             exit polls, et cetera, also make it very difficult in a non-
             experimental setting to demonstrate causation. It really
             takes an experimental setting. So there is some work
             done in experimental settings, but this is not an area of
             inquiry that is—scientific causation in the social sciences
             is very difficult to establish. This is not an area where
             there has been any work that’s established that.

Tr. 2226:7–18.

      The Court is not in a position to resolve the global question of what causes

voter behavior. Such question is empirically driven, and one in which the expert

political scientists and statisticians did not agree. The Court can, however, assess

the evidence of polarization presented at trial. In doing so, the Court determines

that the Pendergrass Plaintiffs shown sufficient evidence of racial polarization in

Georgia voting.

      The Pendergrass Plaintiffs present Dr. Palmer’s report, indicating strong

evidence of racial polarization in voting. PX 2; see also Section II(C)(2)–(3) supra.

Plaintiffs also offered testimony about the strong connection between race and

partisanship as it currently exists in Georgia. Tr. 424:5–8 (affirming that “race and

party cannot be separated for the purpose of [Dr. Palmer’s] racial polarization

analysis”); 1460:11–15 (“[O]ne party is highly supporting . . . issues that are most
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important to minorities, particularly African Americans. And another party is not

getting a good grade on how they’re voting for them.”); PX 4, 74 (indicating the

“opposing positions that member’s of Georgia’s Democratic and Republican

parties take on issues inexplicably linked to race.”).

      Defendants also argued that there must be evidence that voter’s change

their behavior based on the candidate to show that the polarization is race-based.

Tr. 2409:25–2410:9. The Court finds that this is not a necessary precondition to

determining whether voting is polarized on account of race. Race of a candidate

is not dispositive for a polarization inquiry. DeGrandy, 512 U.S. at 1027 (“The

assumption that majority-minority districts elect only minority representatives,

or that majority-white districts elect only white representatives, is false as an

empirical matter. And on a more fundamental level, the assumption reflects the

demeaning notion that members of the defined racial groups ascribe to certain

minority views that must be different from those of other citizens.” (citation

omitted)). The Court, however, finds that an assessment of the success of Black

candidates in reference to different percentages of white voters, is good evidence

that partisanship is not the best logical explanation of racial voting patterns in


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Georgia. Cf. Johnson v. Hamrick, 196 F.3d 1216, 1221–22 (11th Cir. 1999) (“We do

not mean to imply that district courts should give elections involving [B]lack

candidates more weight; rather, we merely note that in light of existing case law

district courts may do so without committing clear error.”).

       Assuming arguendo that evidence of voter behavior in relation to the race

of the candidate were required, Pendergrass Plaintiffs have provided evidence

showing racial polarization based on the race of the candidate. Pendergrass

Plaintiffs offer the expert opinions and testimony of Dr. Burton, who assessed the

success of Black candidates in the light of the percentage of white voters in the

district.

       The following chart showcases his findings:




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PX 4, 56 (footnote content omitted).

      There is a meaningful difference in Black candidate success depending on

the percentage of white voters in a district. When the white voter percentage is

lowest, Black Democratic candidates have the most success. However, as the

percentage of white voters increases, Black elected officials decreased. Id. And,

when the white voter percentage reaches 47% (for the State Senate) or 55% (for

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the State House) of the electorate no Black candidates are elected, even though

white Democrats do achieve some success. PX 4, 56. These findings are consistent

with Dr. Palmer’s unrebutted findings about the challenged districts: Black

voters voted for the same candidate, on average, 98.4% of the time and white

voters voted for a different candidate, on average, 87.6% of the time. Stip. ¶ 223.

      In contrast to Pendergrass Plaintiffs’ evidence, Defendants’ expert,

Dr. Alford, rendered only descriptive conclusions based on Dr. Palmer’s data set

and, most importantly, did not offer additional support for a conclusion that

voter behavior was caused by partisanship rather than race. DX 8. To be sure,

Defendants did not offer any further evidence—quantitative or qualitative—in

support of their theory that partisanship, not race, is controlling voting patterns

in Georgia.

      While the Court acknowledges that the Black preferred candidate was the

Democrat in all elections reviewed, the Court also finds that there is not sufficient

evidence to show that Black people myopically vote for the Democrat candidate.

The Court specifically asked Dr. Alford, “[a]re you saying that whites folks will

vote for Republicans just because they’re Republicans, and Blacks folks will vote


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for Democrats just because they’re Democrat?” Tr. 2180:23–25. Dr. Alford

responded by answering, “I’ve spent a lifetime trying to understand voting

behavior and, I would never say something as simple as that. It’s much more

complicated than that.” Tr. 2181:1–3. The Court agrees that it is too simple to find

that partisanship is the moving force behind a Black voter’s choice of candidate.

The history provided to the Court shows the complicated history between the

current Republican Party and Black citizens. See Tr. 1444:23–1448:21 (explaining

the history of politics in Georgia, and nationwide, as it relates to race and partisan

affiliation).

       Finally, even Defendant’s expert agreed that candidate choices and Black

political alignment with the Democratic party is not just based on the party label.

                 The Court: So could it be said that voters are not
                             necessarily voting for the party; they’re
                             voting for a person that follows their
                             philosophy or they think is going to respond
                             to their needs?
                [Dr. Alford]: That’s -- with my view, that’s what
                             democracy is about. That’s what’s going on.
                             It is the case that in the United States, unlike
                             in most other democracies, party identity is
                             also really important, that we identify with a
                             party.


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Tr. 2183:4–12. Given all the evidence before the Court, the Court finds that there

is significant evidence that “minority and majority voters consistently prefer

different candidates”, and because “minority voters are submerged into a

majority voting population that ‘regularly defeat[s]’ their choice,” Georgia’s

“electoral structure operates to minimize or cancel out’ [Black] voters’ ‘ability to

elect their preferred candidates.’” Allen, 559 U.S. at 17–18.

      In light of the foregoing evidence, the Court finds that Senate Factor Two

weighs heavily in favor of finding a Section 2 violation.

                     d)      Senate Factor Five: 57 socioeconomic disparities

       Senate Factor Five considers socioeconomic disparities between Black and

white voters and these disparities’ impact on Black voter participation. The

Eleventh Circuit recognized in binding precedent that “disproportionate

educational, employment, income level, and living conditions arising from past

discrimination tend to depress minority political participation.’” Wright, 979 F.3d




57 Senate Factor 4—a history of candidate slating for congressional elections—is not at

issue because Georgia’s congressional elections do not use a slating process. Doc. No.
[173-1], 32; see also Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1317.
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at 1294 (quoting United States v. Marengo Cnty. Comm’n, 731 F.2d 1546, 1568

(1984)). “Where these conditions are shown, and where the level of [B]lack

participation is depressed, plaintiffs need not prove any further causal nexus

between their disparate socio-economic status and the depressed level of political

participation.” Id. (quoting Marengo Cnty., 731 F.2d at 1568-69); United States v.

Dallas Cnty. Comm’n, 739 F.2d 1529, 1537 (11th Cir. 1984) (“Once lower socio-

economic status of [B]lacks has been shown, there is no need to show the causal

link of this lower status on political participation.”)).

                              (1)    Black voter participation

      The Court finds that, as a quantitative matter, Black voters participate less

than white voters in Georgia’s elections. Pendergrass Plaintiffs’ expert,

Dr. Collingwood, in evaluating Black and white voter turnout used the data from

the Secretary of State’s website, which records the actual number of registrations

and votes cast by racial group. Tr. 684:2–10.

      Dr. Collingwood’s data shows that in the 2022 election cycle Black voters

had a 45% turnout rate and white voters had a 58.3% turnout rate—a 13.3% gap.

PX 6, 8. The 2020 election recorded similar results, where Black voter turnout was


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60% and white voter turnout was 72.6%, a 12.6% difference. Id. By contrast in

2018 Black voter turnout was 53.9% and white voter turnout was 62.2%, which is

only a 8.3% difference and 2012, which recorded the smallest gap, Black voters

turned out at 72.6% and white voters turned out at 75.7%. Id. Using the precinct

specific data, in 2020 white voters had a higher turnout in 79.2% of precincts and

in 2022 that increased to 81.0%. PX 6, 14. Based on this data, Dr. Collingwood

concluded that overall Black voter turnout has decreased over the last 6–8 years.

Id.; Tr. 684:23–25.

       Specifically, in the challenged district, Dr. Collingwood found that in the

2020 election, the percentage of Black voter turnout did not exceed the percentage

of white voter turnout in any county. 58 In the counties affected most by the

Illustrative Congressional Plan (Cobb, Fulton, Douglas, and Fayette), the

percentage of white voter turnout exceeded the percentage of Black voter turnout.

Id.; PX 6, 16.




58 In 2022 the percentage of Black voter turnout slightly exceeded white turnout in

Clayton, Henry, and Rockdale counties. PX 6, 16.
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       In addition to voter turnout rates, Dr. Collingwood provided statistical

evidence that white voters had higher participation rates in the political process

outside of casting a ballot more than Black voters. White voters had higher

participation than Black voters in attending local political meeting (5.92% of

white voters, 3.51% Black voters); putting up political signs (17.95% white voters,

6.46% Black voters), working for a candidate’s campaign (3.65% white voters,

1.84% Black voters); contacting a public official (21.01% white voters, 8.84% Black

voters), and donating money to political campaigns (24.36% white voters, 13.63%

Black voters). PX 6, 36–37, tbls. 4–6, 8, 9; Tr. 700:6–701:20, 702:8–24. Some of these

metrics present relatively comparable white voter participation and Black voter

participation (i.e., attending local political meetings, working for political

campaigns). Dr. Collingwood testified that under ordinary methods, these close

percentages still are statistically significant. 59 Tr. 700:11–15. The Court credits

Dr. Collingwood’s conclusions and finds that white voters tend to engage more

with the political process than Black voters across various metrics.




59 Defendants did not rebut these findings regarding Black voter participation in the

political process.
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      Defendants did not put forth rebuttal evidence contesting that Black voter

participation in the political process was lower than white voters. Defendants

also did not challenge or rebut the accuracy of Dr. Collingwood’s findings on

voter turnout, but rather questioned whether they were sufficient to prove lower

percentages of Black voter participation. Tr. 695:5–13; 700:6–704:10. Defendants

argue that voter turnout depends on voter mobilization, which can be explained

largely by the candidates on the ballot. See Tr. at 694:9–696:13. At the trial,

Defendants questioned Dr. Collingwood about the significance of particular

Black candidates appearing on the ballot—i.e., President Obama in 2012 and

Stacy Abrams in 2018. Tr. 695:5–21. Dr. Collingwood agreed that the particular

candidate on the ballot could have some effect. Tr. 695:5–21.

      The Court understands Defendants argument to be that voter turnout is

not suppressed because Black voters are actively choosing not to vote, unless an

“exciting” candidate is running for office. To prove this point, Defendants cited

to discrete elections of Black candidates where voter turnout was high for both




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Black and white voters. 60 However, Defendants provide no empirical evidence

to support this conclusion; rather, the only evidence on this point is a

hypothetical question asked to Pendergrass Plaintiffs’ expert. The Court is not

persuaded by this argument.

       Even assuming that Defendants’ theory of voter mobilization could be a

valid legal argument rebutting statistical evidence of suppressed Black voter

turnout, Defendants submitted little-to-no evidence connecting lower Black voter

turnout to a lack of motivation to vote. Some nonempirical testimonial evidence

on cross examination that the candidates on a ballot impact voter turnout is

insufficient to rebut the expert statistical evidence presented by Pendergrass

Plaintiffs that Black voter turnout is, on the whole and across elections,




60 To the extent that Defendants rely on the 2012 presidential election and the 2018

gubernatorial election because of the race of the candidate, the Court determines that
the whole of the evidence does not support that the race of the candidate explains voter
turnout. Specifically, in 2020, where the disparity in voter turnout was 12.6%, Senator
Warnock was running for the U.S. Senate and became the first Black Senator in Georgia’s
history. Jud. Not., 11. Similarly, in 2022, where the disparity in voter turnout was 13.3%,
Stacey Abrams ran for Governor and Senator Warnock ran against Herschel Walker for
U.S. Senate. Id. In both of the 2020 election contests, Black candidates were at the top of
the ballot, like in the 2012 and the 2018 elections, but turnout gap was greater than in
the preceding election.
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disproportionately lower than white voter turnout, and that Black voters

participate less in the political process than white voters. Thus, the Court

concludes that Pendergrass Plaintiffs submitted evidence that Black Georgians

participate in the political process, both generally and in voter turnout, less than

white voters.

                             (2)    Socio-economic disparities

      The Court also concludes that there is sufficient evidence in the Record to

show disproportionate educational, employment, income level, and living

conditions arising from past discrimination. Census estimates provide: the

unemployment rate among Black Georgians (8.7%) is nearly double that of white

Georgians (4.4%); white households are twice as likely as Black households to

report an annual income above $100,000; Black Georgians are more than twice as

likely—and Black children, in particular, are more than three times as likely—to

live below the poverty line; Black Georgians are nearly three times more likely

than white Georgians to receive SNAP benefits; Black adults are more likely than

white adults to lack a high school diploma (13.3% as compared to 9.4%); 35% of

white Georgians over the age of 25 have obtained a bachelor’s degree or higher,


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compared to only 24% of Black Georgians over the age of 25. PX 6, 4 & tbl.1; Stip.

¶ 342–347. Additionally, Black Georgians are more likely to report a disability

than white Georgians (11.8% compared to 10.9%) and are more likely to lack

health insurance (18.9% compared to 14.2%, among 19-to-64-year-olds). PX 6 at

4. Defendant did not meaningfully contest this evidence. Thereby, the Court

concludes that this evidence is more than sufficient to show socioeconomic

disparities exist between Black and white Georgians.

                            (3)    Conclusion on Senate Factor Five

      Under binding precedent, Pendergrass Plaintiffs have proven that rates of

Black voter political participation are depressed as compared to white voters

participation. The aforementioned evidence also shows that Black Georgians

suffer from significant socioeconomic disparities, including educational

attainment, unemployment rates, income levels, and healthcare access. When

both of these showings have been made, the law does not require a causal link be

proven between the socioeconomic status and Black voter participation. Wright,




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979 F.3d at 1294 (citing Marengo Cnty. Comm’n, 731 F.2d at 1568). 61 Accordingly,

the Court concludes that the socioeconomic evidence and the lower rates of Black

voter participation support a finding that Senate Factor Five weighs heavily in

favor of a Section 2 violation.

                      e)     Senate Factor Six: racial appeals in Georgia’s
                             political campaigns

       Senate Factor Six “asks whether political campaigns in the area are

characterized by subtle or overt racial appeals.” Wright, 979 F.3d at 1296 (quoting

Gingles, 478 U.S. at 45). Courts have continually affirmed district courts’ findings

of “overt and blatant” as well as “subtle and furtive” racial appeals. Gingles, 478

U.S. at 40; see also Allen, 599 U.S. at 22–23. However, in the Alabama district

court proceedings, which preceded the Allen appeal, the trial court had assigned

less weight to the evidence of racial appeals because the plaintiffs had only

shown three examples of racial appeals in recent campaigns, but did not submit




61 While not required as a matter of law, as a matter of social science, Dr. Collingwood’s

report indicates that the academic literature “demonstrates a strong and consistent link
between socioeconomic status [ ] and voter turnout.” PX 6, 7. He describes this link in
terms of resources causally driving behavior. Id. At trial, Dr. Collingwood also testified
to the same. Tr. 688:15–689:3.
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“any systematic or statistical evaluation of the extent to which political

campaigns are characterized by racial appeals” and thus the court could not

evaluate if these appeals “occur frequently, regularly, occasionally, or rarely.”

Singleton, 582 F. Supp. 3d at 1024.

       Similarly here, the Court finds that there is evidence of isolated racial

appeals in recent Georgia statewide campaigns. 62 However, there is no evidence

for the Court to determine if these appeals characterize political campaigns in

Georgia. Thus, while Pendergrass Plaintiffs submitted at least six instances 63 in



62 None of the evidence of racial appeals occurred in congressional races.

63 Pendergrass Plaintiffs have provided evidence of six racial appeals used in recent

Georgia elections across the past few election cycles:
       In the 2018 gubernatorial election, then-Secretary of State Kemp, (now twice-
elected Governor) used a social media campaign to associate Stacey Abrams with the
Black Panther Party and ran a commercial advertisement where he discussed rounding
up illegal immigrants in his pickup truck. PX 4, 67; Tr. 1364:12–16.
In the 2020 U.S. Senatorial election, then-Senator Kelly Loeffler ran an ad against “a
dangerous Raphael Warnock,” whose skin had been darkened, and who was also
associated with communism, protests, and civil unrest. Tr. 1193:19–1195:5; APAX 31;
APAX 2, 39.
      In 2022, during the senatorial race between Senator Warnock and Herschel
Walker, Mr. Walker ran an advertisement that aimed to distinguish “between the Black
candidate and himself” as the Republican candidate, in order to “associate himself with



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recent elections where racial appeals were invoked—which is some evidence of

political campaigns being characterized by racial appeals—the Court cannot

meaningfully evaluate whether these appeals “occur frequently, regularly,

occasionally, or rarely” and thereby does not afford great weight to this factor.

Singleton, 582 F. Supp. 3d at 1024.

                     f)      Senate Factor Seven: minority candidate success

       Senate Factor Seven “focuses on ‘the extent to which members of the

minority group have been elected to public office in the jurisdiction.’” Wright,

979 F.3d at 1295 (quoting LULAC, 548 U.S. at 426). Unlike the second and third

Gingles preconditions, the Court now must specifically look at the success of

Black candidates, not just the success of Black preferred candidates. Assessing the




the white voter [and] mak[e] the Black candidate look menacing and problematic . . . .”
Tr. 1198:1–1199:10; APAX 2, 43–44.
       Also in 2022, in the Republican primary for governor, former Senator David
Purdue stated in an interview, that Abrams was “demeaning her own race” and should
“go back where she came from.” PX 4, 70 (citing Ewan Palmer, “David Perdue Doubles
Down on ‘Racist’ Stacey Abrams Remarks in TV Interview,” Newsweek, (May 24, 2022),
https://www.newsweek.com/david-perdue-racist-stacey-abrams-go-back-georgia-
1709429.). Later, in the general gubernatorial election, Governor Kemp darkened
Abrams’s face in ads and repeatedly attacked Abrams in the general election as “upset
and mad,” evoking the trope and dog whistle of the “angry Black Woman.” PX 4, 70.
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results of Georgia’s recent elections, the Court finds that Black candidates have

achieved little success, particularly in majority-white districts.

      As a population, Black Georgians have historically been and continue to

be underrepresented by Black elected officials across Georgia’s statewide offices.

Georgia has never elected a Black governor (Stip. ¶ 349) and Black candidates

have otherwise only had isolated success in statewide partisan elections in the

last 30-years. Specifically, in 2000, David Burgess was elected Public Service

Commissioner, in 2002 and 2006 Mike Thurmond was elected to Labor

Commissioner, and in 1998, 2002, and 2006 Thurbert Baker was elected Georgia

Attorney General. 64 Stip. ¶361. Most recently, after 230 years of exclusively white

Senators, Senator Raphael Warnock was twice elected to U.S. Senate and in his

most recent election he defeated a Black candidate. Jud. Not., 11. Finally, nine




64 The Court takes judicial notice of the elections that each candidate successfully won.

See Scott v. Garlock, 2:18-cv-981-WKW-WC, 2019 WL 4200400, at *3 n. 4 (M.D. Ala. July
31, 2019) (taking judicial notice of the publicly filed election results).
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Black individuals have been elected to statewide nonpartisan office in Georgia. 65

Stip. ¶ 362.

       In Georgia’s congressional elections, only 12 Black candidates have ever

been elected to the Congress. Tr. 1201:1–5. Five Black individuals serve in the

United States House of Representatives from Georgia’s current congressional

districts. Stip. ¶ 359. Four of these Black congresspersons are elected in majority-

Black districts. PX 1, K-1. The other Black Representative, Congresswoman Lucy




65 The Court takes judicial notice of the following election results. Justice Robert Benham

was elected to Georgia Court of Appeals in 1984 and was re-elected to the Georgia
Supreme Court Justice five times following his 1989 appointment until his 2020
retirement. Justice Leah Ward-Sears was re-elected to the Georgia Supreme Court after
her appointment in 1992 and served until her retirement in 2009. Justice Harold Melton
was re-elected to the Georgia Supreme Court following his appointment in 2005 and
served until his retirement in 2021. Justice Verda Colvin was appointed to the Georgia
Supreme Court in 2021 and was re-elected in 2022. Judge John Ruffin was re-elected to
the Georgia Court of Appeals following his appointment in 1994 and served until his
retirement in 2008. Judge Clarence Cooper served as a judge on the Georgia Court of
Appeals from 1990 until 1994 when he was appointed to the Northern District of
Georgia. Judge Herbert Phipps was appointed to the Georgia Court of Appeals in 1999
and was re-elected twice before his retirement in 2016. Judge Yvette Miller was
appointed to the Georgia Court of Appeal is 1999, has been re-elected since and
continues to serve in this role. Judge Clyde Reese was appointed to the Georgia Court
of Appeals in 2016 and was re-elected in 2018, where he served until his death in 2022.
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McBath, represents Congressional District 7, which is a majority-minority district

where the white voting age population is 32.78%. 66 PX 1, Ex. G.

       In State legislative districts, the Georgia Legislative Black Caucus has only

14 members in the Georgia State Senate (25%) and 41 members in the Georgia

House of Representatives (less than 23%). 67 Stip. ¶ 348. As shown Section

II(C)(4)(f) supra, Pendergrass Plaintiffs’ expert, Dr. Burton, submits a chart

showing that in the 2020 and 2022 legislative elections, Black candidates had

little-to-no success when they did not make up the majority of a district. 68

Specifically, Black candidates in the 2020 legislative elections did not have any

success when they did not make up at least 45.1% of a House District or 53.8% of

a Senate District.




66 Congresswoman McBath first defeated white candidate Karen Handel in the 2018

Congressional District 6 election, in a district that had a white voting age population of
58.11%. Jud. Not., pp. 9–11; Stip. ¶ 167; PX 1, 64, Ex. F.
67 The Enacted Senate Plan contains 14 majority-Black districts. Stip. ¶ 186; APAX 1, M-

1. The Enacted House Plan contains 49 majority-Black districts. Stip. ¶¶ 183, 186, APAX
1, Z-1.
68 The Court notes that Erick Allen was elected to Georgia House District 40 in 2018 and

re-elected in 2020. Tr. 1012:2–12. House district 40 was not a majority-Black district in
2018 or 2020. Id.
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PX 4, 56.

      Although the Court finds that Black candidates have achieved some

success in statewide elections following 2000, the Court nonetheless finds that

this factor weighs heavily in favor of Pendergrass Plaintiffs. The Supreme Court

in Gingles, when discussing the success of a select few Black candidates,

cautioned courts in conflating the success of few as dispositive. Gingles, 478 U.S.

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at 76 (“Nothing in the statute or its legislative history prohibited the court from

viewing with some caution black candidates’ success in the 1982 election, and

from deciding on the basis of all the relevant circumstances to accord greater

weight to blacks’ relative lack of success over the course of several recent

elections.”).

       In short, since Reconstruction, Georgia has only elected four Black

candidates in statewide partisan elections: Mike Thurmond, Thurbert Baker,

David Burgess, and Raphael Warnock. Stip. ¶ 361. For statewide non-partisan

elections, Georgia has elected nine successful Black candidates: Robert Benham,

Leah Ward-Sears, Harold Melton, Verda Colvin, John Ruffin, Clarence Cooper,

Herbert Phipps, Yvette Miller, Clyde Reese. Stip. ¶ 362. Georgia has sent twelve

successful Black candidates to the U.S. House of Representatives. Tr. 1201:1–5.

Currently, the Georgia Legislative Black Caucus has 55 members in the Georgia

General Assembly (of 236 total members). Stip. ¶ 348.

       The Court concludes that these isolated successes of Black candidates show

that the Black population is underrepresented in Georgia’s statewide elected

offices. This conclusion is even stronger in majority-white districts.


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      To be sure, Dr. Burton acknowledged, that some academic scholarship

indicates “the future electoral prospects of African American statewide nominees

in growth states such as Georgia are indeed promising.” Tr. 1470:2–24. The Court

is likewise hopeful about the prospects of increased enfranchisement of all voters

and for the potential success of minority candidates in Georgia. However,

Dr. Burton also emphasized that, specifically in Georgia, dating back to

Reconstruction, “when these things happen, then you get more legislation from

whichever party is in power that works to sort of disenfranchise or at least dilute

or make the vote count less.” Tr. 1470:12–24. The optimism about Georgia’s

future elections does not rebut the contrary evidence of the present lack of success

of Black candidates; accordingly, the Court finds that Senate Factor Seven weighs

heavily in favor of finding a Section 2 violation.

                     g)      Senate Factor Eight: responsiveness to Black
                            residents

       Senate Factor Eight considers whether elected officials are responsive to

the particularized needs of Black voters. A lack of responsiveness is “evidence

that minorities have insufficient political influence to ensure that their desires are

considered by those in power.” Marengo Cnty. Comm’n, 731 F.2d at 1572. The

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Eleventh Circuit noted that “although a showing of unresponsiveness might

have some probative value a showing of responsiveness would have very little.”

Id. Pendergrass Plaintiffs’ expert, Dr. Collingwood, discussed the existence of

significant socioeconomic disparities between Black and white Georgians, which

he concluded contributed to the lower rates at which Blacks engage their elected

representatives. PX 5, 34, 37. He further explained, “such clear disadvantages in

healthcare, economics, and education” demonstrates that “the political system is

relatively unresponsive to Black Georgians.” Id. at 4; see also id. at 7 (“If the

[political] system did respond, we would expect to see fewer gaps in both health

and economic indicators and a reduction in voter turnout gaps.”); Tr. 675:14–24.

Dr. Collingwood also testified that lower Black voter turnout “typically means

that elected officials as a whole are going to be less responsive to you” and thus

perpetuates “these same gaps [i]n [] economic, health, [and] educational

outcomes.” Tr. 690:2–20.

      The Court finds that the arguments regarding socioeconomic disparities

are not particularly helpful in determining whether Georgia’s elected officials are

responsive to Black Georgians. At the trial, a number of Pendergrass Plaintiffs’


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lay witnesses testified about socioeconomic issues affecting Black voters, but also

admitted that these issues are not exclusive to the Black population. Tr. 657:23–

658:4; 1014:16–1015:4, 1016:1–8, 1016:18–24, 1016:25–1017:8; 639:24-640:25.

      Ultimately, there is an absence of evidence regarding the level of

responsiveness of Georgia’s elected representatives to Black voters and white

voters. Due to the lack of evidence, the Court finds that Senate Factor Eight does

not weigh in favor of finding a Section 2 violation. See Greater Birmingham

Ministries, 992 F.3d at 1334 (finding that failure to consider amendments to a

particular piece of legislation does not show that legislatures were unresponsive

to the needs of minority voters).

                    h)     Senate Factor Nine: justification for the Enacted
                           Congressional Plan

      The   Court    considers      Defendants’   justification   for   the   Enacted

Congressional Plan and finds that this factor weighs in favor of Defendants and

thus weights against finding a Section 2 violation. The “final Senate Factor

considers whether the policy underlying Georgia’s use of the voting standard,

practice, or procedure at issue is ‘tenuous.’” Rose v. Raffensperger, 619 F. Supp.

3d 1241, 1267 (N.D.2022) (quoting Senate Report at 29, 1982 USCCAN 207).

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“Under our cases, the States retain a flexibility that federal courts enforcing § 2

lack . . . deference is due to their reasonable fears of, and to their reasonable

efforts to avoid, § 2 liability.” Vera, 517 U.S. at 978.

      At the trial, Ms. Wright testified that the Enacted Congressional Plan began

with the creation of a blank map that largely balanced population that then could

be modified based on input from legislators. Tr. 1665:2–1666:14. Ms. Wright also

relied on information obtained from the public hearings on redistricting.

Tr. 1668:24–1670:5. Political performance was an important consideration in the

design of the Enacted Congressional Plan. Tr. 1668:20–23. In Enacted CD-6

specifically, Ms. Wright emphasized and explained that the four-way split of

Cobb Count was because Cobb County was better able to handle a split of a

congressional district than a smaller nearby county. Tr. 1671:5–1672:4. She further

testified that the inclusion of parts of west Cobb County in Enacted CD-14 was

because of population and political considerations, namely putting a democratic

area into District 14 instead of District 11 (which was more political competitive).

Tr. 1673:6–1674:2.




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       The Court finds that Defendants’ evidence that the Enacted Congressional

Plan was drawn to further partisan goals is a sufficient, non-tenuous justification

for this Senate Factor. The Supreme Court has held that partisan gerrymandering

is outside of the reach of the federal courts and “[f]ederal judges have no license

to reallocate political power between the two major political parties, with no

plausible Grant of authority in the Constitution, and no legal standards to limit

and direct their decisions.” Rucho v. Common Cause, 588 U.S. ----, 139 S. Ct. 2484,

2507 (2019). Accordingly, the Court finds that Defendants’ justification,

supported by Ms. Wright’s testimony, that the General Assembly drew the

congressional plan to capitalize on a partisan advantage is sufficient for Senate

Factor Nine to not weigh in favor of a Section 2 violation. 69

                      i)      Proportionality

       Finally, Defendants argued that Georgia’s Black congressional delegation

is proportional to Georgia’s Black voting age population, which shows that




69 Consistent with the operative legal standards, this factor must be accorded less weight

to Senate Factor Nine in a Section 2 case given that Section 2 is an effects test and that a
legislatures’ intent in drawing map is irrelevant.
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Georgia’s political process is equally open to Black voters. Tr. 52:16–17; 2392:12-

2393:1. However, De Grandy, the Supreme Court expressly rejected

proportionality as a safe harbor for Section 2 violations. De Grandy, 512 U.S.

at 1017–18 (“Proportionality . . . would thus be a safe harbor for any districting

scheme. The safety would be in derogation of the statutory text and its considered

purpose, however, and of the ideal that the Voting Right Act of 1965 attempts to

foster.”). De Grandy did find, however, that proportionality is helpful in

determining the “apparent[]” political effectiveness, based solely on an analysis

of district makeups. Id. at 1014.

         According to the 2020 Census population statistics, 70 under the Enacted

Congressional Plan, four of Georgia’s U.S. House Congressional districts are




70 The  Parties have stipulated to the data for the 2021 Enacted Plan contained in
Dr. Cooper’s report at Exhibit K-1. See PX 1, Exs. K-1. Exhibit K-1 reflects the 2020
Census population statistics. PX 1 ¶¶ 38, 62. The Court notes that under the various data
sets, the number of majority-Black districts fluctuates between 2 and 4 districts. Using
the NH DOJ CVAP and total AP Black numbers there are four majority-Black districts.
PX 1, Exs. G, K-1. However, using the AP BVAP percentages only two districts are
majority-Black CD-4 (54.52%), CD-13 (66.75%). PX 1, Ex. K-1. Enacted CD-2 has an AP
BVAP of 49.29% and CD-5 has an AP BVAP of 49.60%. Id.



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majority-Black districts, using the total AP Black population. (CD- 2, 4, 5, 13) (or

28.6% of the congressional districts 71 ) and one additional majority-minority

district (CD-7) (for, a total of 5 majority-minority districts, which is 35.7% of the




PX 1, Ex. K-1.
      The Parties have stipulated that the 2021 Enacted Plan contains 3 majority-Black
congressional districts in the Atlanta MSA. Stip. ¶ 162. Enacted CD-2 is not in the MSA,
but according to the Census data in the aforementioned exhibits, has an AP Black
population that exceeds 50%. See PX 1, Ex. K-1 (showing CD-2 with an AP Black of
51.39%) & Ex. G (showing CD-2 with a non-Hispanic Black population of 49.03%). For
purposes of this Order, the Court will use the total AP Black statistics for determining
whether a district is majority-Black, because these are the statistics that were seemingly
contemplated in the Parties’ stipulations.
71 4/14 is approximately 28.6%.


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congressional districts 72). See PX 1, Ex. K-1 (reproduced below). Thus, under the

Enacted Congressional Plan, 28.57% of Georgia’s Congressional Districts are




majority-Black and 35.71% are majority-minority, and 64.29% are majority-white.

Id.

       The Black voting age population in Georgia is 31.73%, total minority voting

age population is 47.18%, and the white voting age population is 52.82%. PX 1




72 5/14 is approximately 35.7%. Conversely, with the added majority Black district in

the Illustrative Congressional Plan, the proportion of majority-white districts drops to
approximately 64.3% (i.e., 9 of 14 districts), which is closer to the proportion of the white
population in Georgia (55.7%) (see PX 1 ¶ 18 & fig.2).
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¶ 18, fig.2. Under the Enacted Congressional Plan, the only group that has

representation that is equal to or exceeds their proportion of the State’s

population is white voters, who receive 64.29% of the districts, but only make up

55.7% of the electorate.

      The Illustrative Congressional Plan, however, reaches near proportional

representation. The addition of one majority-Black district brings the proportion

of Black congressional districts to 35.7% (i.e., 5 of 14 congressional districts),

which is close to the 33.3% AP Black voting age population in the State (PX 1 ¶ 18

& fig.2.). The additional Illustrative CD-6, moreover, brings the number of

majority-minority congressional districts to 6, which is approximately 42.9% of

the 14 congressional districts and close to the 44.3% of the total minority voting

age population (PX 1 ¶ 18 & fig.2). And 57.14% of Georgia’s congressional

districts will be majority-white districts and close to the 52.82% of the total white

voting age population. Id.

      The Court understands that Defendants are arguing that the recent election

of five Black Congresspersons to the U.S. House of Representatives (35.7% of

Georgia’s congressional delegation) is proportionate to the percentage of


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Georgia’s Black residents (33.03%); therefore, Georgia’s political system is

equally open to Black voters. As is clear from the text of Section 2, “nothing in

this section establishes a right to have members of a protected class elected in

numbers equal to their proportion in their population.” 52 U.S.C. § 10301(b).

Furthermore, it is abundantly clear that it is reversable error for the District Court

to attempt to maximize the number of majority-minority districts. DeGrandy, 512

U.S. at 1000; Miller, 515 U.S. at 926–27. However, the existence of near

proportional representation or a remedy that results in proportional

representation, in and of itself, is not reversible error because “proportionality is

not dispositive.” DeGrandy, 512 U.S. at 1000; see also Allen, 599 U.S. at 26–30, 42

(affirming three-judge court’s finding of a Section 2 violation, even though the

remedy would result in proportional representation). Having considered the

evidence provided in support of and to rebut the Senate Factors and after

conducting a “careful[] and searching review [of] the totality of the

circumstances,” the Court finds that Black voters do not have equal access to the

political process in the challenged area. DeGrandy, 512 U.S at 1026 (O’Conner, J.,

concurring).


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            The Supreme Court recently confirmed that:

            what must be shown to prove a § 2 violation[,] [ ] requires
            consideration of the totality of circumstances in each case
            and demands proof that the political processes leading to
            nomination or election in the State or political
            subdivision are not equally open to participation by
            members of a protected class in that its members have less
            opportunity than other members of the electorate to
            participate in the political process and to elect
            representatives of their choice.

Brnovich, 141 S. Ct. at 2332 (cleaned up) (emphasis in original). The Court has

reviewed all of the evidence before it, and even with Georgia’s election of five

Black congresspersons, the Black voters in the area of the challenged

congressional districts do not have an equal opportunity to participate. As Justice

O’Connor opined, “the presence of proportionality [does not] prove the absence

of dilution.” DeGrandy, 512 U.S. at 1026.

      This past summer, the Supreme Court was again confronted with the

question of proportionality. Allen, 599 U.S. at 26–30. In Justice Thomas’s dissent,

he opined that it is error to use proportionality as a benchmark for a Section 2

violation.” Allen, 599 U.S. at 71–73 (Thomas, J., dissenting). Justice Kavanaugh

specifically addressed this issue and explained that Gingles “does not mandate a


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proportional number of majority-minority districts.” Allen, 559 U.S. at 43

(Kavanaugh, J., concurring). Rather, a Section 2 violation occurs only when (1)

the redistricting maps split the minority community and (2) a reasonably

configured district could be drawn in that area. Id. He concluded that “[i]f

Gingles required proportional representation, then States would be forced to

group together geographically dispersed minority communities in unusually

shaped districts. Id. That is not the case here, as is evidenced above, Illustrative

CD-6 is more compact on objective measures than Enacted CD-6, and the district

is in a relatively small area of the State. See Section II(C)(1)(b)–(c) supra.

      Consistent with DeGrandy, Brnovich, and Allen, the Court finds that if

there is sufficient evidence of minority voter dilution under the totality of the

circumstances, taking into consideration the Senate Factors, then proportionality

cannot immunize the State from a Section 2 challenge. In other words,

proportionality is neither a benchmark for plaintiffs, nor a safe harbor for States.




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       Accordingly, the Court finds that proportionality neither weighs in favor

of Defendants, nor weighs against finding a Section 2 violation. 73

                       j)     Demographic Changes

       Finally, the Court considers Georgia’s demographic changes as part of its

totality of the circumstances analysis. See Singleton, 582 F. Supp. 3d at 977. The

greatest population growth since the last Decennial Census was in metro-Atlanta.

PX 1 ¶ 25 & fig.4. More than half (53.27%) of the population increase in the

counties included in Illustrative CD-6 results from the increased Black

population. Id. ¶ 42 & fig.8. And, in all but Fulton County, the Black population

accounts for most of the population changes. Id. The Enacted Congressional Plan

does not account for the growth in the Black population in this area.




73 Achieving proportional representation is not a factor to weigh against finding a

Section 2 violation. De Grandy was evaluating proportionality under the Enacted
Congressional Plan, not the remedial plan. Its statement that proportionality cannot
prove a Section 2 case does not readily extend to say that achieving proportionality
weighs against a Section 2 case. Id. at 1000. See Allen, 599 U.S at 26–30; see also id. at 71–
73 (Kavanaugh, J., concurring).
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PX 1 ¶ 42 & fig.8; Id. ¶ 43.

      In Allen, the three-judge court noted that, over the past decade, the Black

population grew by 6.53%, and the white population’s share of Alabama’s total

population decreased by 3.92%. Singleton, 582 F. Supp. 3d at 977. The Black

population’s growth in Georgia, as a whole, and in metro-Atlanta, specifically, is

greater than the demographic changes in Alabama. In fact, during the same

period, Georgia’s Black population grew by 15.84% and accounted for 5.00%

percent of Georgia’s population growth, while the white population’s share of

the State’s total population decreased by 5.82%. PX 1 ¶ 14 & fig.1. In metro-

Atlanta alone, the Black population is responsible for 51.04% of Atlanta MSA’s


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population growth, and their population share increased by 2.30%. PX 1 ¶ 30 &

fig.5. Conversely, the white population in the Atlanta MSA decreased by 2.83%,

their share of the population decreased by 7.08%. Id. Meaning, that the

demographic shifts in Georgia—as a whole and in the area where the proposed

majority-minority district is located—are greater than those in Alabama, where a

Section 2 violation was found and affirmed.

      Despite the growth in the Black population in the affected areas and the

voter polarization between white and Black Georgians, see Section II(C)(2)(4)(c)

supra, the Enacted Congressional Plan did not increase the number of majority-

Black districts in the Atlanta metro area. By failing to do so, the Enacted

Congressional Plan in effect dilutes and diminishes the Black population’s voting

power in that area of the State. Accordingly, the Court finds that the population

changes in metro-Atlanta weigh heavily in favor of finding a Section 2 violation.

            5. Conclusions of Law

      The Court finds that the Pendergrass Plaintiffs have met their burden in

establishing that (1) the Black community in the west-metro Atlanta metro area

is sufficiently numerous and compact to constitute an additional majority-Black


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district; (2) the Black community is politically cohesive; and (3) that the white

majority votes as a bloc to typically defeat the Black-preferred candidate. The

Court also finds that in evaluating the totality of the circumstances, Georgia’s

electoral system is not equally open to Black voters. Specifically, the Court finds

that Senate Factors One, Two, Three, Five, and Seven weigh in favor of showing

the present realities of lack of opportunity for Black voters. The Court also finds

that Senate Factor Six weighs slightly in favor finding a Section 2 violations.

Additionally, the growth of Georgia’s Black population in metro-Atlanta while

the white population decreased weighs in favor of a Section 2 violation.

      Only Senate Factors Four, Eight 74 and Nine do not weigh in favor of

finding a Section 2 violation. The Court also finds that proportionality does not

weigh against finding a Section 2 violation.

      In sum, the Court finds that the majority of the totality of the circumstances’

evidence weighs in favor of finding a Section 2 violation. Because Pendergrass




74 The Eleventh Circuit found that Senate Factor Eight is given little weight. Marengo

Cnty. Comm’n, 731 F.2d at 1572. And the Court gives less weight to Senate Factor Nine
because this is not an intentional discrimination case.
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Plaintiffs have carried their burden of proof on all of the legal requirements, the

Court concludes that SB 2EX violates Section 2 of the Voting Rights Act.

      D.     Legislative Districts

      The Court will now discuss the State legislative districts (i.e., State Senate

and State House districts). First, the Court will discuss the first Gingles

precondition for all illustrative legislative districts. This portion of the Section is

divided into different regions of the State (i.e., metro Atlanta, eastern Black Belt,

Macon-Bibb, and southwest Georgia). For the regions where both the Alpha Phi

Alpha Plaintiffs and the Grant Plaintiffs challenged districts, the Court will first

make its findings as to all of the Alpha Phi Alpha illustrative districts and will

then make findings as to all of the Grant illustrative districts. For the illustrative

districts that survive the first Gingles precondition, the Court will then evaluate

them under the second and third Gingles preconditions (Alpha Phi Alpha first

and then Grant). For the illustrative districts that survive all three Gingles

precondition, the Court will then turn and evaluate whether the political process

is equally open to Black voters in those areas (again, Alpha Phi Alpha first and

Grant second).


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            1.     First Gingles Precondition

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in proving the first Gingles precondition in three of the proposed district in

south-metro Atlanta (i.e., Cooper SD-17, SD-28, and HD-74). The Alpha Phi

Alpha Plaintiffs have not met their burden in proving the first Gingles

precondition in one of the House district in south-metro Atlanta, the districts in

the Eastern Black Belt, in and around Macon-Bibb, or southwest Georgia (Cooper

SD-23, HD-133, HD-117, HD-145, HD-171).

      The Court finds that the Grant Plaintiffs have met their burden in proving

the first Gingles precondition in the south-metro Atlanta Senate districts, two

House districts in metro Atlanta, and two House districts in the Macon-Bibb

region (i.e., Esselstyn SD-25, SD-28, HD-64, HD-117, HD-145, and HD-149). The

Grant Plaintiffs have not met their burden in proving the first Gingles

precondition as to the proposed district in the eastern Black Belt, or one proposed

district in south-metro Atlanta (Esselstyn SD-23, HD-74).

                    a)     Racial predominance

      The Court begins its discussion of the illustrative districts by finding that

race did not predominate in the drawing of either the Cooper or Esselstyn
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Legislative Plans. In a Section 2 case “the question [of] whether additional

majority-minority districts can be drawn . . . involves a ‘quintessentially race-

conscious calculus.” Allen, 599 U.S. at 31 (plurality opinion) (quoting DeGrandy,

512 U.S. at 1020). “The line that [has] long since [been] drawn is between

consciousness and predominance.” Id. at 33 (plurality opinion). Race does not

predominate when a mapmaker “adhere[s] . . . to traditional redistricting

criteria,” testifies that “race was not the predominate factor motivating his design

process,” and explains that he never sought to “maximize the number of

majority-minority” districts. Davis, 139 F.3d at 1426.

      Both Mr. Cooper and Mr. Esselstyn testified at the trial and preliminary

injunction that they were aware of race when drawing their illustrative legislative

plans, but that race did not outweigh any of the other traditional redistricting

principles. See Tr. 108:4–11 (Mr. Cooper testifying that he is “aware of [race], but

it didn’t control how these districts were drawn); Tr. 522:5–14 (“I’m constantly

looking at the shape of the district, what it does for population

equality, . . . political subdivisions, communities of interest, incumbents, all that.

So while yes, at time [race] would have been used to inform a decision, it was one


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of a number of factors.”); Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1244

(crediting Mr. Cooper’s testimony that race did not predominate when he drew

his illustrative maps); id. at 1245–46 (crediting Mr. Esselstyn’s testimony that race

was but one factor he considered when drawing his illustrative maps). The Court

again finds that Mr. Cooper and Esselstyn testified credibly that race did not

predominate when they drew their illustrative legislative plans. Accordingly, the

Court finds that race did not predominate in the creation of the Cooper

Legislative Plan or the Esselstyn Legislative Plan.

      The Court will now determine whether the Black community is sufficiently

numerous and compact in each of the proposed legislative districts.

                     b)    Metro Atlanta region

                              (1)   Alpha Phi Alpha

                                    (a)     numerosity

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in showing that the Black voting age population in metro Atlanta is large enough

to create two additional majority-Black Senate districts and two majority-Black

House districts in south-metro Atlanta. “[A] party asserting § 2 liability must



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show by a preponderance of the evidence that the minority population in the

potential election district is greater than 50 percent.” Bartlett, 556 U.S. at 20.

       It is undisputed that Cooper SD-17 and SD-28 have an AP BVAP of 62.55%

and 51.32%, respectively, both of which exceed the 50% threshold required by

Gingles. APAX 1, Ex. O-1. It is also undisputed that Cooper HD-74, and HD-117

have an AP BVAP of 61.49% and 54.64%, respectively. APAX 1, Ex. AA-1.

      Based on these numbers, the Court finds that the Alpha Phi Alpha

Plaintiffs have met their burden with respect to the numerosity prong of the first

Gingles precondition in all additional majority-Black districts that Mr. Cooper

proposed in metro Atlanta (i.e., SD-17, SD-28, HD-74, and HD-117).

                                     (b)     Compactness

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

to show that the minority community is sufficiently compact to warrant the

creation of two additional majority-Black State Senate (Cooper SD-17 and SD-28)

and one majority-Black House district (Cooper HD-74) in south-metro Atlanta.

      The standards governing the compactness inquiry for these additional

districts is the same as the compactness inquiry in the Pendergrass case. See


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Section II(C)(1)(b) supra. The Court must consider if the illustrative proposed

districts adhered to traditional redistricting principles, namely: population

equality, contiguity, empirical compactness scores, the eyeball test for

irregularities and contiguity, respecting political subdivisions, and uniting

communities of interest. See id.

                                          i)     Cooper SD-17

      The Court finds that Cooper SD-17 is reasonably compact. The Court notes

that Cooper SD-17 is in the same area as Enacted SD-17. APAX 1 ¶ 104 (“a

majority-Black Senate District 17 can be drawn in the vicinity of 2021 Senate

District 17”).

                                                 ((a)) empirical measures

                                                       ((1)) population equality

      The Court finds that Cooper SD-17 is not malapportioned. See Reynolds v.

Sims, 377 U.S. 533, 577 (1964) (requiring “an honest and good faith effort to

construct districts . . . of nearly equal population as practicable.”); Brown v.

Thomson, 462 U.S. 835, 842 (1983) (finding “minor deviations” do not violate the

Fourteenth Amendment). The General Assembly’s “General Principles for

Drafting Plans” specifies that “[e]ach legislative district . . . should be drawn to
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achieve a total population that is substantially equal as practicable.” Stip. ¶ 135;

JX 2, 2.

       The ideal population size of a State Senate district is 191,284. Stip. ¶ 277.

The General Assembly did not enumerate a specific deviation range that is

acceptable for the State Senate districts. However, relying on the Enacted Senate

Plan as a rough guide, an acceptable population deviation range is between

-1.03% and +0.98% is acceptable. APAX 1, Ex. M-1. Cooper SD-17 has a

population deviation of +0.002%, which is 35 people from perfect correlation.

APAX 1, Ex. O-1. Cooper SD-17 achieves better population equality than Enacted

SD-17, which has a population deviation of +0.67%. APAX 1, Ex. M-1. Thus, the

Court finds that Cooper SD-17 achieves population equality that is consistent

with the General Assembly’s Redistricting Guidelines and traditional

redistricting principles.

                                                        ((2)) contiguity

       The Parties stipulated that Cooper SD-17 is a contiguous district. Stip.

¶ 300. Hence, the Court finds that Cooper SD-17 complies with the traditional

redistricting principle of contiguity.


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                                                       ((3)) compactness scores

      The Court finds that Cooper SD-17 is more compact than Enacted SD-17.

In reaching this conclusion, the Court, as it did in the Pendergrass case, looks to

the objective compactness scores of the Polsby-Popper and the Reock indicatosr.

      Using the Reock measure, Cooper SD-17 is 0.37 compared with Enacted

SD-17, which is 0.35. GX 1, Attach. H. As such, Cooper SD-17 is 0.02 points more

compact under the Reock indicator. When using the Polsby-Popper measure,

Cooper SD-17 is 0.17 as is the Enacted SD-17, i.e., the two districts have identical

Polsby-Popper scores. Id. Hence, the Court finds that on the empirical

compactness measures, Cooper SD-17 fares better than or is identical to Enacted

SD-17. Accordingly, the Court finds that Cooper SD-17 is slightly more compact

when compared to Enacted SD-17.

                                                       ((4)) political
                                                             subdivisions

      The Court also finds that Cooper SD-17 generally respected political

subdivisions. That proposed district consists of portions of DeKalb, Henry, and

Rockdale Counties. APAX 1 ¶ 105 & fig.17D. Enacted SD-17 also split three

counties—Henry, Newton and Rockdale. APAX 1 ¶ 102 & fig.17C. Thus, the

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Court finds that both Cooper SD-17 and Enacted SD-17 split the same number of

counties. Although the county splits remain the same, the Court notes that

Cooper SD-17 splits more VTDs (4) than Enacted SD-17 (none). APAX 1, Exs. T-

1, T-3. There was no testimony that Cooper SD-17 split municipalities, even

though there was testimony regarding the municipalities that were included in

the district, such as McDonough in Henry County and Stonecrest in DeKalb

County. Tr. 117:5–11.

        Although Cooper SD-17 splits more VTDs, the Court finds that generally,

SD-17 respects political subdivisions because he split the same number of

counties and seemingly kept municipalities intact.

                                               ((b)) eyeball test

        The Court finds that Cooper SD-17 is visually compact under the eyeball

test:




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APAX 1 ¶ 105 & fig.17D.

      Moreover, using the mapping tool provided by Mr. Esselstyn, the Court

finds that the district at its most distant points is less than 30 miles in length. Id.

Cooper SD-17 has no appendages or tentacles. Id. And there is no contrary

evidence or testimony in the Record. In fact, Mr. Morgan testified that Cooper

SD-17 is “geographically more compact in the sense that it doesn’t go quite the

distance as the enacted District 17 . . . [g]eographically, generally, yes, it appears

more compact.” Tr. 2027:11–24. Accordingly, the Court finds that Cooper SD-17

is visually compact.
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                                                ((c))   communities of interest

      The Court finds that Cooper SD-17 respects communities of interest.

Cooper SD-17 includes neighboring parts of south DeKalb, Henry, and Rockdale

Counties, connecting the nearby communities of Stonecrest, Conyers, and

McDonough. APAX 1, 45-6 ¶¶ 104-5 & fig.17D. Both Cooper SD-17 and Enacted

SD-17 overlap in and around McDonough in Henry County. Id. at 44, 46.

      Mr. Cooper testified that he is familiar with this area of Georgia because

he has drawn districting maps for Henry County before, dating back to 1991 and

most recently in the 2018 Dwight v. Kemp case. Tr. 116:12–24. He also testified

that the communities in Cooper SD-17 are primarily suburban or exurban.

Tr. 116:6–8. And, the distance between the portions of the district in south DeKalb

and south Henry Counties are probably a 10-minute drive from one another.

Tr. 231:14–20. Furthermore, he testified that in configuring the district in this

manner, he was able to keep Newton County, whole (rather than split it, as the

Enacted Senate Plan does) and include it in Cooper SD-43, which is compact and

majority-Black. APAX 1, 48 & fig.17F.




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      Moreover, Mr. Cooper examined ACS data showing that the counties

included in Cooper SD-17 share certain socioeconomic characteristics, such as

similar educational attainment rates among Black residents in Henry, Rockdale,

and DeKalb Counties. APAX 1 ¶¶ 127-128 & Ex. CD at 21-22.

      The testimony of Mr. Lofton, who lives in McDonough, bolster’s Mr.

Cooper’s testimony. Mr. Lofton testified regarding the interconnectedness of the

different counties in south-metro Atlanta, including competing against one

another in sports. Tr. 1306:23-25 (“I visited Rockdale even from high school. We

used to compete against Rockdale County Heritage High School when I was in

high school. We were [in] the same region.”). Mr. Lofton testified about the

similarities and connections between DeKalb, Stonecrest, Conyers and

McDonough. Tr. 1308:16-22 (discussing the “major thoroughfares” connecting

DeKalb, Rockdale, and Henry Counties that people drive up and down “all

day.”); Id. at 1308:23-1309:8 (discussing travelling between McDonough,

Stonecrest, Conyers, and Covington for shopping and dining “because they’re

not terribly far out of the way.”). He also testified that Henry, Rockdale, and




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DeKalb Counties are getting more diverse and “on par” with one another. Id. at

1298:16-20, 1306:16-1307:8, 1308:4-7.

      In sum, the Court finds that Cooper SD-17 is a small district contained

wholly within metro Atlanta, unlike the districts in LULAC and Miller. There

was extensive testimony from Mr. Cooper and a resident of McDonough about

the interrelatedness of the communities in the district. Furthermore,

Mr. Cooper’s report details the shared socio-economic characteristics of the

voters living in the district. In all the Court finds that this testimony shows that

the district preserves existing communities of interest.

                                                 ((d)) conclusions of law

      The Court determines that the Alpha Phi Alpha Plaintiffs have carried their

burden in establishing that the Black community is sufficiently numerous and

compact in Cooper SD-17 to constitute an- additional majority-Black district. The

Court finds that Cooper SD-17 complies with the traditional redistricting

principles of population equality, contiguity, compactness, respect for political

subdivisions, and preservation of communities of interest. Additionally, when

visually inspecting the district, it is relatively small in size and does not contain


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any appendages or tentacles. Accordingly, the Court finds that the Alpha Phi

Alpha Plaintiffs have carried their burden in meeting the first Gingles

precondition in the area contained in Cooper SD-17.

                                           ii)    Cooper SD-28

      The Court finds also that the Alpha Phi Alpha Plaintiffs have shown that

it is possible to draw an electoral district consistent with traditional redistricting

principles in the area encompassed by Cooper SD-28. As an initial note,

Mr. Cooper explained that Cooper SD-28 is in the same general area as, and

correlates with, Enacted SD-16. APAX 1 ¶ 99 (“a majority-Black District 28 [ ] can

be drawn in the vicinity of 2021 Senate District 16”).

                                                  ((a)) empirical measures

                                                         ((1)) population equality

      The Court finds that Cooper SD-28 achieves relative population equality.

As stated above, the General Assembly did not enumerate a specific acceptable

deviation range for the State Senate Districts. However, relying on the Enacted

Plan as a guide, a population deviation range between -1.03% and +0.98% is

acceptable. APAX 1, Ex. M-1. In comparison, Cooper SD-28 has a population

deviation of -0.73%, which is within range of the population deviations in the
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Enacted Senate Plan. APAX 1, Ex. O-1. The Court finds that Cooper SD-28 is

consistent with the General Assembly’s Redistricting Guidelines, and traditional

redistricting principles.

                                                     ((2)) contiguity

      The Parties stipulated that Cooper SD-28 is a contiguous district. Stip.

¶ 300. Hence, the Court finds that Cooper SD-28 complies with the traditional

redistricting principle of contiguity.

                                                     ((3)) compactness scores

      The Court finds Cooper SD-28’s compactness scores are within the range

of compactness scores found in the Enacted Senate Plan. APAX 1, Exs. S-1, S-3.

Cooper SD-28 and Enacted SD-16 have identical Reock scores of 0.37. Enacted

SD-16 is more compact on the Polsby-Popper measure with a score of 0.31.while

Cooper SD-28 has a Polsby-Popper score of 0.18. APAX 1, Exs. S-1, S-3.

      Although Enacted SD-16 is more compact on the Polsby-Popper measure,

Cooper SD-28 is within the range of compactness scores found in the Enacted

Senate Plan. Specifically, the Enacted Senate Plan has a minimum Polsby-Popper

score of 0.13. APAX 1, Ex. S-3. Cooper SD-28’s Polsby-Popper score (0.18) exceeds

the minimum threshold Polsby-Popper score found in the Enacted Senate Plan.
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Id. Accordingly, the Court finds that Cooper SD-28 falls within the range of

compactness scores found in the Enacted Senate Plan and therefore constitutes a

compact district for purposes of the first Gingles precondition.

                                                        ((4)) political
                                                              subdivisions

      The Court finds that Cooper SD-28 generally respects political

subdivisions. The Court notes that Cooper SD-28 does have more political

subdivision splits than Enacted SD-16. Cooper SD-28 contains portions of Fayette,

Spalding, and Clayton Counties, resulting in three county splits. APAX 1 ¶ 99.

Enacted SD-16 splits only Fayette County, and keeps Spalding, Pike, and Lamar

Counties whole. Additionally, Cooper SD-28 splits two VTDs, whereas Enacted

SD-16 splits none. APAX 1, Exs. T-1, T-3. Mr. Cooper testified, “[y]ou can see that

I separated or made the boundary for District 28, which is the new majority Black

district, following the municipal lines of Griffin, which can be kind of odd shaped

in places.” Tr. 114:4-7; APAX 11, at 41 ¶ 99 & fig.17B; see also Id. Ex. T-1 (listing

a single split VTD in Fayette County and one in Spalding County).

       Although those increased splits do exist, Mr. Cooper testified that he was

able to keep municipalities whole. Specifically, when drawing these districts, he

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was able to keep the city of Griffin wholly within Cooper SD-28 and Peachtree

City was kept wholly within Cooper SD-39. APAX 1 ¶ 99 & fig.17A; Tr. 114:1–7,

238:4–7. Mr. Cooper explained that some of his mapping decisions, were made

to comply with population equality. See Tr. 238:23–239:3 (“once you pick up

Griffin and some of the area between Spalding and Fayetteville, there’s a lot of

population as you approach Fayetteville. So, from one person one voter

standpoint you could not include Peachtree City in District 28.”). The Court

credits Mr. Cooper’s testimony regarding decisions for drawing boundary lines.

Therefore, the Court finds that Cooper SD-28 respects political subdivisions.

                                               ((b)) eyeball test

        The Court finds that Cooper SD-28 is visually compact under the eyeball

test:




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APAX 1 ¶ 99 & fig.17A.

      Using the mapping tool, the Court finds that at its most distant points,

Cooper SD-28 is approximate 30 miles long. Id. Mr. Morgan testified that north

to south the district is 24 miles long. Tr. 1982:7–12. Cooper SD-28 does not contain

any tentacles or appendages. Mr. Cooper also testified that when looking at the

district, one can see that “[t]he towns and cities are—suburbs are all very close

together.” Tr. 113:18–21. The Court agrees with Mr. Cooper’s assessment, the

district itself visually encompasses a small geographic area. Defendant submits

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no evidence or testimony in the Record suggesting that Cooper SD-28 is not

visually compact. See generally DX 1; Tr. 1896:13-23. Accordingly, the Court

concludes that Cooper SD-28 is visually compact.

                                                ((c))   communities of interest

       Mr. Cooper testified that the areas of Fayette and Spalding County that he

included in Cooper SD-28 are growing, becoming more diverse and suburban,

and thus more similar to Clayton County. Tr. 113:6-114:18; see also Tr. 242:15-24.

He noted that these parts of Spalding and Fayette Counties are experiencing

population growth and change as well as suburbanization, which warranted

grouping them with Clayton County. Tr. 113:6-114:18. Moreover, he explained

that the areas he connected are similarly suburban and exurban in nature, in

comparison to the more rural and predominantly white Pike and Lamar Counties,

which were not included in Cooper SD-28. Tr. 113:24-25 (“Yes. This area is

predominantly a suburban/exurban. So the area matches up socioeconomically,

I believe.”).




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         Mr. Cooper also explained why it made sense to not include western

Fayette County in Illustrative District 28, highlighting the differences between

Peachtree City and Griffin. Tr. 114:19-115:5

              THE COURT:  What are the commonalities of the
                          people in Griffin and Peachtree City?
             THE WITNESS: Well, the -- Griffin and Peachtree City
                          are quite different, frankly.
             THE COURT:   They are.
             THE WITNESS: Peachtree City is predominantly
                          white. Just kind of sprung up there I
                          think in the 1980s. They drive around
                          in golf carts. I mean, that’s --.
             THE COURT:   Yeah.
             THE WITNESS: Yeah. And so it doesn’t really fit with
                          Griffin exactly, which is one of the
                          reasons why I didn’t include it in
                          District 28. It is the western part of
                          Fayette County.
Tr. 1311:21-1312:13.

         Additionally, Mr. Cooper examined ACS data showing that the counties

included in Cooper SD-28—namely, Fayette, Spalding, and Clayton—share

socioeconomic commonalities. Specifically, Fayette, Spalding, and Clayton

Counties share certain socioeconomic characteristics, as all have a relatively high

proportion of Black residents in the labor force. APAX 1, at 56 ¶ 125, Ex. CD, at

53-55.
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      The testimony of Mr. Lofton, a lifelong metro Atlantan, and a long-time

resident of Henry County with connections in Fayette, Clayton, and DeKalb

Counties, was consistent with Mr. Cooper’s. Mr. Lofton attested to the

interconnectedness of the communities included in Cooper SD-28. For example,

as Mr. Lofton explained, if you visit shopping centers in Griffin you will see

Fayette and Clayton car tags. Tr. 1302:9-11. Mr. Lofton also testified that areas

covered by Cooper SD-28 share common places of worship and that Black

communities in the area share certain socioeconomic characteristics, like similar

educational attainment. Id. at 1309:25-1310:9. Gina Wright, who testified that she

was familiar with the area, agreed that the area of South Clayton County that is

included in Cooper SD-28 is suburban. Id. at 1685:2-20.

      Thus, the Court finds that Cooper SD-28 is a small district contained

wholly within metro Atlanta and has no resemblance to the districts in LULAC

and Miller. Mr. Cooper testified extensively about the communities that are

contained within the district, the shared socio-economic factors, and the

characteristics that unite them. Additionally, Mr. Lofton, with his lifelong

experience as a resident in the area, explained how the communities interact with


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one another. The Court finds that the size of the district coupled with the witness

testimony shows Cooper SD-28 preserves communities of interest.

                                                  ((d)) conclusions of law

      The Court finds that the Alpha Phi Alpha Plaintiffs have carried their

burden in establishing that the Black community is sufficiently numerous and

compact in Cooper SD-28 to constitute an additional majority-Black district. The

Court finds that Cooper SD-28 complies with the traditional redistricting

principles of population equality, contiguity, compactness, respect for political

subdivisions, and preservation communities of interest. Additionally, when

visually inspecting the district, it is relatively small in size and does not contain

any appendages or tentacles. Accordingly, the Court finds that the Alpha Phi

Alpha Plaintiffs have carried their burden on the first Gingles precondition in the

area encompassed by Cooper SD-28

                                           iii)   Cooper HD-74

      The Court finds that Cooper HD-74 is reasonably compact. The Court notes

that Cooper SD-17 is in the area of Enacted HD-74. APAX 1 ¶ 162.




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                                                   ((a)) empirical measures

                                                          ((1)) population equality

      The Court finds that Cooper HD-74 is not malapportioned. See Reynolds,

377 U.S. at 577 (requiring “an honest and good faith effort to construct

districts . . . of nearly equal population as practicable.”); Brown, 462 U.S. at 842

(finding “minor deviations” are not violative of the Fourteenth Amendment).

The General Assembly’s “General Principles for Drafting Plans” specifies that

“[e]ach legislative district . . . should be drawn to achieve a total population that

is substantially equal as practicable.” Stip. ¶ 135; JX 2, 2.

      The ideal population size of a State House District is 59,511. Stip. ¶ 278.

The General Assembly did not enumerate the deviation range for State House

Districts. However, relying on the Enacted House Plan as a rough guide, a

population deviation range between -1.40% and +1.34% is acceptable. APAX 1,

Z-1. Cooper HD-74 has a population deviation of +0.78%. APAX 1, Ex. AA-1.

Cooper HD-74 achieves better population equality than Enacted HD-74, which

has a population deviation of -0.93%. APAX 1, Ex. M-1. Thus, the Court finds that

Cooper HD-74 achieves population equality that is consistent with the General

Assembly’s Redistricting Guidelines and traditional redistricting principles.
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                                                       ((2)) contiguity

      The Parties stipulated that Cooper HD-74 is a contiguous district. Stip.

¶ 300. Hence, the Court finds that Cooper HD-74 complies with the traditional

redistricting principle of contiguity.

                                                       ((3)) compactness scores

      The Court finds that Cooper HD-74 is more compact than Enacted HD-74.

In reaching this conclusion, the Court, as it did in the Pendergrass case, looks at

the objective compactness scores of the Polsby-Popper and Reock measures.

      Using the Reock indicator, Cooper HD-74 measures 0.63 as compared to

Enacted HD-74 which measures 0.50. APAX 1, Exs. AG-1, AG-2. This means that

on the Reock measure, Cooper HD-74 is 0.13 points more compact than Enacted

HD-74. Id. Using the Polsby-Popper measure, Cooper HD-74 has an 0.11

compactness advantage: Cooper HD-74 is 0.36 and Enacted HD-74 is 0.25. Id.

Hence, the Court finds that on the empirical compactness scores, Cooper HD-74

fares better than Enacted HD-74.

      Accordingly, the Court finds that Cooper HD-74 is more compact when

compared to Enacted HD-74.


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                                                        ((4)) political
                                                              subdivisions

        The Court also finds that Cooper HD-74 exhibits respect for political

subdivisions more so than Enacted HD-74. Cooper HD-74 consists of portions of

Clayton, Henry and Spalding Counties. APAX 1 ¶ 164 & fig.29. Enacted HD-74

also split three counties—Fayette, Harris, and Spalding. APAX 1 ¶ 162 & fig.28.

Yet Cooper HD-74 split fewer VTDs than Enacted HD-74. Enacted HD-74 split

five VTDs while Cooper HD-74 split only two. APAX 1, Exs. AH-1, AH-3. There

is no testimony or opinion that Cooper HD-74 split municipalities. In fact,

Mr. Morgan, Defendant’s mapping expert, agreed that it includes the “panhandle

of Clayton, which is not included in the enacted District 74.” Tr. 2049: 10–12. Thus,

the Court finds that Mr. Cooper respected political subdivisions when drawing

Cooper HD-74.

                                                 ((b)) eyeball test

        The Court finds that Cooper SD-17 is visually compact under the eyeball

test:




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APAX 1 ¶ 164 & fig.29.

      Using the mapping tool provided by Mr. Esselstyn, the Court finds that the

district at its most distant points is less than 15 miles in length. Id. Cooper HD-74

has no appendages or tentacles. Id. Mr. Cooper testified that the district “couldn’t

be more compact.” Tr. 122:18. And, Mr. Morgan testified that Cooper HD-74 is

“a smaller geographic area and it contains the panhandle of Clayton, which is not

included in the enacted District 74.” Tr. 2027:11–24. The Court agrees with both

mapping experts, Cooper HD-74 is a very compact district, visually. Accordingly,

the Court finds that Cooper HD-74 passes the eyeball test.


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                                                ((c))   communities of interest

      The Court finds that Cooper HD-74 respects communities of interest.

Cooper HD-74 unites nearby, adjacent communities on either side of the line

between south Clayton and Henry Counties. APAX 1 ¶ 198. As Mr. Cooper

testified, “the distance[] there to get from one part of the district to the other

are . . . maybe a 20-minute drive at most, unless you’re going during rush hour

traffic or something.” Tr. 272:24-273:2.

      Mr. Cooper testified that the communities included in the district are

“largely suburban” in nature. Tr. 273:17-22. Consistent with that, Mr. Cooper’s

examination of the ACS data shows that the counties included in Cooper HD-74

share a similar proportion of population in the labor force (71.0%, 58.2%, and

69.5% respectively). APAX 1 ¶ 198. Mr. Lofton’s testimony was consistent,

testifying that Black communities in south-metro Atlanta are “middle class,

upper middle class, professional, college educated. A lot of families, single

families.” Tr. 1309:25-1310:4.

      The Court finds that Cooper HD-74 complies with the traditional

redistricting principle of preserving communities of interest. Defendant’s expert


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admitted that Mr. Cooper’s district is geographically compact. This district in no

way resembles the districts in Miller and LULAC that stretched across large

swaths of their respective States. There is unrebutted testimony that the voters in

this area have similar socio-economic characteristics. Accordingly, the Court

finds that Cooper HD-74 complies with the traditional redistricting principle of

preserving communities of interest.

                                                ((d)) conclusions of law

      The Court determines that the Alpha Phi Alpha Plaintiffs have carried their

burden in establishing that the Black community is sufficiently numerous and

compact in Cooper HD-74 to constitute an additional majority-Black district. The

Court finds that Cooper HD-74 complies with the traditional redistricting

principles of population equality, contiguity, compactness scores, respect for

political subdivisions, and preservation of communities of interest. Additionally,

when visually inspecting the district, it is relatively small in size and does not

contain any appendages or tentacles. Accordingly, the Court finds that the Alpha

Phi Alpha Plaintiffs have carried their burden in meeting the first Gingles

precondition as to the area contained in Cooper HD-74.


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                                        iv)    Cooper HD-117

      The Court next finds that the Alpha Phi Alpha Plaintiffs have not shown

that it is possible to draw an electoral district consistent with traditional

redistricting principles in the area encompassed by Cooper HD-117. As an initial

note, Mr. Cooper explained that Cooper HD-117 is in the same general area, and

correlates with, Enacted HD-117. APAX 1 ¶ 165 (“another majority-Black House

District can be drawn around where District 117 in the 2021 House Plan is

drawn”).

                                              ((a)) empirical measures

                                                     ((1)) population equality

      The Court finds that Cooper HD-117 is not malapportioned. As stated

above, the General Assembly did not enumerate the deviation range for the State

Senate Districts. However, using the Enacted House Plan as a guide a population

deviation range of ±1.40% is acceptable. Stip. ¶ 302. In comparison, Cooper SD-

28 has a population deviation of -1.38%, which is within the deviation found in

the Enacted House Plan. APAX 1, Ex. AA-1. The Court does note that Enacted

HD-117 has a lower population deviation--+1.04%. The population deviation of

Cooper HD-117 is higher than its enacted corollary, and it is barely within the
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range of population deviations approved by the Georgia General Assembly

when it passed the Enacted House Plan. Although the Court finds that Cooper

HD-117 is not malapportioned, the Court also finds that it respects the traditional

redistricting principle of population equality less than Enacted HD-117.

                                                       ((2)) contiguity

      The Parties stipulated that Cooper HD-117 is a contiguous district. Stip.

¶ 300. Hence, the Court finds that Cooper HD-117 complies with the traditional

redistricting principle of contiguity.

                                                       ((3)) compactness scores

      The Court finds Cooper HD-117’s compactness scores are either identical

or very close to the compactness scores found in the Enacted House Plan. APAX

1, Exs. AG-1, AG-2. Cooper HD-117 and Enacted HD-117 have identical Reock

scores of 0.41. Id. Enacted HD-117 is slightly more compact on the Polsby-Popper

measure with a score of 0.28 while Cooper HD-117 has a Polsby-Popper score of

0.26. APAX 1, Exs. AG-2, AG-3. In sum, , the districts have identical Reock scores,

but Enacted HD-117 is slightly more compact on the Polsby-Popper measure.

      Despite a disadvantage of 0.02 points on the Polsby-Popper measure,

Cooper HD-117 is well within the range of compactness scores of the Enacted
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House Plan. Specifically, the Enacted Senate Plan has a minimum Polsby-Popper

score is 0.10. APAX 1, Ex. AG-2. Cooper HD-117’s Polsby-Popper score (0.26) far

exceeds the lowest threshold Polsby-Popper score found in the Enacted House

Plan. Id. Accordingly, the Court finds that Cooper HD-117 has identical or near

identical compactness scores as Enacted HD-117, and Cooper HD-117 falls

comfortably within the range of compactness scores in the Enacted House Plan.

Therefore, Cooper HD-117 constitutes a compact district for purposes of the first

Gingles precondition.

                                                     ((4)) political
                                                           subdivisions

      In considering respect for the preservation of political subdivisions,

Cooper HD-117 fares worse than Enacted HD-117. For example, Cooper HD-117

has more political subdivision splits than Enacted HD-117. Both districts split

Henry and Spalding Counties. APAX 1 ¶ 165 & fig.29A; ¶ 167 & fig.29C. But,

Cooper HD-117 splits six VTDs, while Enacted HD-117 splits only one. APAX 1,

Exs. AH-1, AH-3. Mr. Cooper testified, “[y]ou can see that I separated or made

the boundary for District 28, which is the new majority Black district, following

the municipal lines of Griffin, which can be kind of odd shaped in places.”

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Tr. 114:4-7; APAX 11, at 41 ¶ 99 & fig.17B; see also id. at T-1 (listing a single split

VTD in Fayette County and one in Spalding County). Mr. Cooper also testified

that he did not keep the cities of Griffin or Locust Grove intact. Tr. 276:22–277:1.

The Court finds that on balance, Cooper HD-117 reflects less respect for political

subdivisions than Enacted HD-117.

                                                  ((b)) eyeball test

        The Court finds that Cooper HD-117 is visually compact under the eyeball

test:




APAX 1 ¶ 198, Ex. AC-1.


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      Using the mapping tool, the Court finds that at its most points, Cooper

HD-117 is less than 20 miles long. Id. Cooper HD-117 does not contain any

tentacles or appendages. Defendant’s own mapping expert agreed that Cooper

HD-117 and Enacted HD-117 are both fairly compact. Tr. 2051:20-2052:1. (“Q.

And illustrative 117 and enacted 117 are similarly compact? A. On compactness

scores or just looking at it? Q. Both. A. I mean, it’s hard to say whether it would

be that way on compactness scores. But looking at it, they’re both fairly compact,

yes. They’re not a great distance between anything.”). Consistent with

Defendant’s mapping expert, the Court concludes that Cooper HD-117 is visually

compact.

                                                ((c))   communities of interest

      Cooper HD-117 unites communities that are geographically proximate to

one another. Cooper HD-117 is in an area that includes adjacent portions of South

Henry County around Locust Grove and a portion of Spalding County, including

much of Griffin (Spalding County’s seat and largest city) which is majority-Black.

APAX 1 ¶ 198 & Ex. AC-2.




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      Mr. Cooper testified that “everyone” in Cooper HD-117 “lives close by.”

Tr. 123:17. Again, Defendant’s mapping expert agreed, testifying that Griffin and

Locust Grove are “close.” Tr. 1794:23. When specifically asked about the

connection between Griffin and Locust Grove, Mr. Cooper testified that “they are

in an exurban area of Metro Atlanta.” Tr. 277:25. Further Mr. Cooper noted that

the area has a “somewhat younger population” (Tr. 123:24) and has a similar

Black labor force participation rate. APAX 1 ¶ 198.

      Mr. Lofton’s testimony was consistent with respect to the proximity and

connections between the communities in Cooper HD-117. For example, he

testified about the shared commercial centers used by residents of the area, such

as Tanger Outlets, and about how Highways 138 and 155 are important

transportation corridors that unite the district. Tr. 1308:20-1309:8.

      Thus, the Court finds that Cooper HD-117 is a small district contained

wholly with metro Atlanta and has no resemblance to the districts in LULAC and

Miller. Mr. Cooper testified about the communities that are contained within the

district, the shared socio-economic factors, and the characteristics that unite them.

Additionally, Mr. Lofton, with his lifelong experience as a resident in the area,


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explained how the communities interact with one another. The Court finds that

the size of the district coupled with the witness testimony shows Cooper HD-117

preserves communities of interest.

                                               ((d)) conclusions of law

      The Court finds that the Alpha Phi Alpha Plaintiffs have not carried their

burden in establishing that the Black community is sufficiently compact in

Cooper HD-117 to constitute an additional majority-Black district. Although

Cooper HD-117 complies with the traditional redistricting principles of

contiguity, compactness scores, and preservation of communities of interest, the

Court finds that it split more political subdivisions than Enacted HD-117.

Additionally, the district’s population deviation is both higher than Enacted HD-

117 and is barely within the range of the Enacted House Plan’s population

deviations.




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      Although there is no requirement that an illustrative district match or

perform better than the correlating enacted district, 75 the Court finds that the

higher deviation coupled with the splitting of an additional four VTDs as well as

two municipalities leads to a finding that the district could not be drawn in

accordance with traditional redistricting principles.

      Accordingly, the Court finds that the Alpha Phi Alpha Plaintiffs have not

carried their burden on the first Gingles precondition in the area encompassed

by Cooper HD-117.

                               (2)    Grant

      The Court finds that the Grant Plaintiffs have met their burden in proving

the three Gingles preconditions in relation to the challenged Senate districts in

metro Atlanta and two of the challenged House districts in metro Atlanta.




75 See Wright v. Sumter Cnty. Bd. of Elections & Registration, 301 F. Supp. 3d 1297, 1326

(M.D. Ga. 2018), aff’d, 979 F.3d 1282 (11th Cir. 2020) (opining that an illustrative plan
can be “far from perfect” in terms of compactness yet satisfy the first Gingles
precondition).
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                                    (a)     numerosity

      The Court finds that Grant Plaintiffs have met their burden in showing that

the Black voting age population in metro Atlanta is large enough to create two

additional majority-Black Senate districts, two majority-Black House districts in

south metro Atlanta, and one additional majority-Black House district in western

metro Atlanta. “[A] party asserting § 2 liability must show by a preponderance

of the evidence that the minority population in the potential election district is

greater than 50 percent.” Bartlett, 556 U.S. at 20.

       It is undisputed that Esselstyn SD-25 and SD-28 have an AP BVAP of

58.93% and 57.28%, respectively, both of which exceed the 50% threshold

required by Gingles. GX 1 ¶ 27 & tbl.1; Stip. ¶ 234.




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      It is also undisputed that Esselstyn HD-64, HD-74, and HD-117 have an AP

BVAP of 50.24%, 53.94%, and 51.56%, respectively. Stip. ¶ 239, GX 1 ¶ 48 & tbl.5.




      Based on these numbers, the Court finds that the Grant Plaintiffs have met

their burden with respect to the numerosity prong of the first Gingles

precondition in all additional majority-Black districts that Mr. Esselstyn

proposed in metro Atlanta (i.e., SD-25, SD-28, HD-64, HD-74, and HD-117).

                                  (b)     compactness

      The Court finds that the Grant Plaintiffs have also met their burden to

show that the minority community is sufficiently compact to warrant the creation

of two additional majority-Black State Senate districts in south-metro Atlanta.

They have also met their burden in showing that one additional compact
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majority-Black district can be drawn in south metro Atlanta and one can be

drawn in west-metro Atlanta. The Grant Plaintiffs have not met their burden with

respect to Esselstyn HD-74, in south-metro Atlanta.

         The standards governing the compactness inquiry for these additional

proposed State Senate Districts is the same as the compactness inquiry

undertaken in the Pendergrass case. See Section II(C)(1)(b) supra. The Court must

consider if the illustrative proposed districts adhered to traditional redistricting

principles, namely: population equality, contiguity, empirical compactness

scores, the eyeball test for irregularities and contiguity, respect for political

subdivisions, and preserving communities of interest. See Section II(C)(1)(b)

supra.

                                           i)     Esselstyn SD-25 76

         The Court finds that the minority community in Esselstyn SD-25 is

sufficiently compact.




76 Esselstyn’s State Senate districts in metro-Atlanta do not correlate to any of the
enacted State Senate districts. Compare GX 1 ¶ 27 & fig. 4, with GX 1, attach D.
Accordingly, the Court will compare the Esselstyn State Senate districts t the overall
Enacted Senate Plan’s statistics.
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                                                  ((a)) empirical measures

                                                         ((1)) population equality

      The Court finds that Esselstyn SD-25 is not malapportioned. See Reynolds,

377 U.S. at 577 (requiring “an honest and good faith effort to construct

districts . . . of nearly equal population as practicable.”); Brown, 462 U.S. at 842

(“minor deviations” are not violative of the Fourteenth Amendment). The

General Assembly’s “General Principles for Drafting Plans” specifies that “[e]ach

legislative district . . . should be drawn to achieve a total population that is

substantially equal as practicable.” Stip. ¶ 135; JX 2, 2.

      The ideal population size of a State Senate District is 191,284. Stip. ¶ 277.

The General Assembly did not enumerate a specific acceptable deviation range

for the State Senate Districts. However, using the Enacted Plan as a rough guide,

a population deviation range between -1.03% and -0.98% is acceptable. GX 1,

Attach. E. Esselstyn SD-25 has a population deviation of +0.74%. GX 1, Attach. F.

This deviation falls squarely within the range of deviations in the Enacted Senate

Plan. Thus, the Court finds that Esselstyn SD-25 achieves population equality that

is consistent with the General Assembly’s Redistricting Guidelines and

traditional redistricting principles.
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                                                       ((2)) contiguity

      The Parties stipulated that Esselstyn SD-25 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn SD-25 complies with the traditional

redistricting principle of contiguity.

                                                       ((3)) compactness scores

      The Court finds that Esselstyn SD-25 is more compact than Enacted SD-25.

In reaching this conclusion, the Court, as it did in the Pendergrass case, looks at

the objective compactness scores of the Polsby-Popper measure and Reock

indicator.

      Using the Reock indicator, Esselstyn’s SD-25 is 0.57 as compared to the

Enacted Senate Plan, which has an average Reock score of 0.42. GX 1, Attach. H.

Thus, under the Reock measure, Esselstyn SD-25 is 0.15 points more compact

than Enacted Senate Plan’s average Reock score. Under the Polsby-Popper

measure, Esselstyn’s SD-25 is 0.34, and the Enacted Senate Plan has an average

score of 0.29, a 0.05 point advantage for Esselstyn’s SD-25 on this measure. Id.

Hence, the Court finds that upon application of the empirical compactness

measures, Esselstyn SD-25 fares better than the Enacted Senate Plan’s average

compactness scores.
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      The State’s mapping expert, Mr. Morgan, agreed that Esselstyn SD-25 is

significantly more compact than Enacted SD-25. Tr. 1850:8–11. Mr. Morgan

conceded, furthermore, that Esselstyn SD-25 is more compact on the Reock and

Polsby-Popper scale than all of the districts implicated by in the Enacted Senate

Plan, except for one with an identical Polsby-Popper score. Tr. 1895:17–1896:1.

      In sum, the Court finds that Esselstyn SD-25 is sufficiently compact w.

                                                      ((4)) political
                                                            subdivisions

      The Court also finds that in creating Esselstyn SD-25, Mr. Esselstyn

respected political subdivisions. Esselstyn SD-25 consists of portions of Henry

and Clayton Counties. GX 1 ¶ 30 & fig.6. Additionally, Esselstyn SD-25 does not

split any VTDs. GX 1 ¶ 40 & fig.10. See below for a graphic depiction of the

Esselstyn Senate Plan’s VTD splits:




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GX 1 ¶ 40 & fig.10.

        Mr. Esselstyn also testified that he made an effort to keep municipalities

intact. Tr. 544:8–12 (testifying that McDonough is mostly intact, and that Locust

Grove, Hampton, Bonanza and Lovejoy are kept intact). Accordingly, the Court

finds that Esselstyn SD-25 reflects a respect for political subdivisions.

                                                 ((b)) eyeball test

        The Court finds that Esselstyn SD-25 is visually compact under the eyeball

test:




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GX 1 ¶ 30 & fig.6.

      Using the mapping tool provided by Mr. Esselstyn, the Court finds that the

district at its most distant points is approximately 20 miles in length. Id. Esselstyn

SD-25 has no appendages or tentacles. Id. There is no contrary evidence or

testimony in the Record. In fact, Mr. Morgan’s report includes no analysis on the

visual compactness of Esselstyn SD-25. Accordingly, the Court finds that

Esselstyn SD-25 is visually compact.



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                                                 ((c))   communities of interest

      The Court finds that Esselstyn SD-25 demonstrates respect for

communities of interest. Mr. Esselstyn testified that the district is in metro

Atlanta. Tr. 484:5–9. He also explained that he combined Henry and Clayton

Counties because they are adjacent to one another. Tr. 544:1–7.

      On cross-examination, Mr. Esselstyn admitted that he was unable to

articulate a community of interest that connects south Clayton County with

Locust Grove. Tr. 546:16–21. the Grant Plaintiffs, however, supplemented this

testimony with testimony from Jason Carter, a former member of the State Senate

and 2014 candidate for Governor of Georgia. Mr. Carter noted that

Mr. Esselstyn’s districts in south metro Atlanta are “suburban and exurban,”

“clearly [] fast-growing, . . . Atlanta commuter communit[ies] that ha[ve] all of

the traffic concerns and the concerns of . . . expanding schools and massive

population boom.” Id. at 953:20–954:3. See also id. at 958:9–19 (similar); id. at

959:6–19 (similar); id. at 962:1–965:17 (similar). Addressing their shared interests,

Mr. Carter explained that residents of these areas need their government officials

to be responsive to their “transportation, education, [and] healthcare” needs. Id.


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at 955:7–21. In the same vein, Eric Allen, 2020 candidate for Lt. Governor, testified

that the residents of Esselstyn SD-25 share similar entertainment districts,

hospitals, transit systems, education systems, employment, and all travel on I-75,

I-285, I-20, and I-85. Tr. 1000:18–1001:2. In fact, the State’s own map drawer, Ms.

Wright, testified in connection with Enacted SD-28 and said that it was important

to keep the city of Locust Grove wholly within that district (Tr. 1634:3–6), which

Mr. Esselstyn accomplished (Tr. 546:16–21).

      In sum, the Court finds that Esselstyn SD-25 is a small district contained

wholly within metro Atlanta. It is comprised of two adjacent counties. The

communities share the same concerns with transportation routes and have both

experienced recent major population growth. Additionally, the Court finds that

this district is not long and sprawling, like the districts in LULAC and Miller that

stretched across large portions of the States and combined disparate minority

populations. Rather, as is evidenced by the size of the district and the trial

testimony, Esselstyn SD-25 preserves communities of interest.




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                                                       ((d)) conclusions of law

       The Court determines that the Grant Plaintiffs have carried their burden in

establishing that the Black community is sufficiently numerous and compact in

Esselstyn SD-25 to constitute an additional majority-Black district. The Court

finds that Esselstyn SD-25 complies with the traditional redistricting principles

of population equality, contiguity, compactness, respect for political subdivisions,

and preservation of communities of interest. Additionally, when visually

inspecting the district, it is relatively small in size and does not contain any

appendages or tentacles. Accordingly, the Court finds that the Grant Plaintiffs

have carried their burden in meeting the first Gingles precondition in the area

contained in Esselstyn SD-25.

                                                 ii)   Esselstyn SD-28 77

       The Court finds also that Grant Plaintiffs have shown that it is possible to

draw a reasonably compact electoral district consistent with traditional

redistricting principles in the area encompassed by Esselstyn SD-28.




77 As stated supra, the Court compares Esselstyn SD-28 to the Enacted Senate Plan as a

whole. See Section II(D)(1)(b)(2)(b)(i) supra.
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                                                ((a)) empirical measures

                                                       ((1)) population equality

      The Court finds that Esselstyn SD-28 achieves relative population equality.

As stated above, the General Assembly did not enumerate a specific acceptable

deviation range for the Enacted Senate Plan. However, using the Enacted Plan as

a guide, a population deviation range between -1.03% and -0.98% is acceptable.

GX 1, Attach. D. Accordingly, the Court finds that Esselstyn SD-28 is within the

acceptable range of population deviations approved by the Georgia General

Assembly when it passed the Enacted Senate Plan. Thus, it achieves population

equality that is consistent with the Enacted Senate Plan, the General Assembly’s

Redistricting Guidelines, and traditional redistricting principles.

                                                       ((2)) contiguity

      The Parties stipulated that Esselstyn SD-28 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn SD-28 complies with the traditional

redistricting principle of contiguity.

                                                       ((3)) compactness scores

      The Court finds Esselstyn SD-28’s compactness scores, while lower on a

side-by-side comparison with the Enacted Senate Plan, are within the acceptable

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range of compactness scores found in the Enacted Senate Plan. GX 1, Attach. H.

Esselstyn SD-28 has a Reock score of 0.38 and a Polsby-Popper score of 0.19. Id.

The Enacted Senate Plan has an average Reock score of 042 and Polsby-Poppper

score of 0.29. Accordingly, the Enacted Senate Plan’s average compactness scores

beats Esselstyn SD-28 on all empirical measures—0.05 points on Reock and 0.10

on Polsby-Popper.

      Despite a lower compactness score under both empirical measures,

Esselstyn SD-28 is within the range of compactness scores found in the Enacted

Senate Plan. Specifically, the Enacted Senate Plan has a minimum Reock score of

0.17. GX 1, Attach. H. Esselstyn SD-28’s Reock score (0.38) far exceeds that

minimum threshold Reock score in the Enacted Senate Plan. Id. Similarly, the

Enacted Senate Plan’s minimum Polsby-Popper score is 0.13. Id. Esselstyn SD-

28’s Polsby-Popper score (0.19) exceeds, albeit slightly, the minimum threshold

Polsby-Popper score in the Enacted Senate Plan. Id. Accordingly, the Court finds

that Esselstyn SD-28 falls within the range of compactness scores in the Enacted

Senate Plan and therefore constitutes a compact district for purposes of the first

Gingles precondition.


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                                                     ((4)) political
                                                           subdivisions

      The Court finds that Esselstyn SD-28 exhibits respect for political

subdivisions. Esselstyn SD-28 contains portions of Clayton, Coweta, Fayette, and

Fulton Counties. GX 1 ¶ 31.




GX 1 ¶ 40 & fig.10. As this chart shows, the only county that is included within

Esselstyn SD-28 with VTD splits is Fulton County. Put differently, Esselstyn SD-

28 does not split any VTDs in Coweta, Clayton, and Fayette Counties, which

make up the majority of the district. Id.; at ¶ 31 & fig.7. Even though Esselstyn

SD-28 splits the city of Newnan, 90% of the city is contained within a single




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district. Tr. 549:2-5, 550:25-551:9. Esselstyn, moreover, did not split any VTDs in

Newnan, which is in Coweta County, itself. GX 1 ¶ 40 & fig.10.

        Based on the foregoing, the Court finds that Esselstyn SD-28 exhibits a

respect for political subdivisions.

                                                ((b)) eyeball test

        The Court finds that Esselstyn SD-28 is visually compact under the eyeball

test:




GX 1 ¶ 31 & fig.7.



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      Using the mapping tool, the Court finds that at its most distant points,

Esselstyn SD-28 is approximate 25 miles long. Id. Esselstyn SD-28 does not

contain any tentacles or appendages. Defendants submit no evidence or

testimony in the Record suggesting that Esselstyn SD-28 is not visually compact.

See generally DX 3; Tr. 1896:13-23. Accordingly, the Court concludes that

Esselstyn SD-28 is visually compact.

                                                 ((c))   communities of interest

      The Court finds that Esselstyn SD-28 respects communities of interest.

Because Esselstyn SD-25 and SD-28 are in close proximity to one another, much

of the testimony adduced about SD-28 was also discussed in relation to Esselstyn

SD-25. See Tr. 484:5–9 (Mr. Esselstyn testimony); see also generally id. 953:20–

965:17 (Mr. Carter testimony). The Court thereby incorporates its general

analysis on communities of interest in south-metro Atlanta from Esselstyn SD-25

above into this section on Esselstyn SD-28. See Section II(D)(1)(2)(b)(i)(c) supra.

      Specific to Esselstyn SD-28, Mr. Esselstyn testified that he drew the district

to best keep together municipalities in Fulton County, and specifically to keep

90% of Newnan intact. Tr. 548:20–549:24. Similar to Locust Grove, Mr. Esselstyn


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admitted that he was unable to articulate a community of interest that connects

the city of Newnan with Fulton and Clayton Counties (Tr. 548:20–549:1). Again,

however, the Grant Plaintiffs’ supplemented this testimony with testimony from

Mr. Allen, who testified that all of Esselstyn SD-28 is within metro Atlanta.

Tr. 1002:18–20. He also mentioned that the area was serviced by the same

healthcare systems (i.e., Emory Hospital and Grady Hospital) and relied on the

same interstates for transportation. Id. at 1002:21–1003:5. Additionally, the State’s

map drawer, Ms. Wright, who is herself a resident of nearby Henry County

(Tr. 1653:17–21), testified about the general communities in this area. In reference

to the Enacted Senate Plan, Ms. Wright testified that it makes sense to group

Coweta and Fayette Counties in a single district because the counties “are

commonly sharing resources and things like that.” Tr. 1656:18–21.

      Thus, the Court finds that Esselstyn SD-28 is a small district contained

wholly within metro Atlanta. Its communities share the same concerns with

transportation routes and have experienced recent major population growth.

Additionally, the Court finds that this district is not long and sprawling, like the

districts in LULAC and Miller that stretched across large portions of their


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respective States and combined disparate minority populations. Rather, as is

evidenced by the size of the district and the trial testimony, Esselstyn SD-28

preserves communities of interest.

                                                  ((d)) conclusions of law

      The Court finds that the Grant Plaintiffs have carried their burden in

establishing that the Black community is sufficiently numerous and compact in

Esselstyn SD-28 to constitute an additional majority-Black district. The Court

finds that Esselstyn SD-28 complies with the traditional redistricting principles

of population equality, contiguity, compactness scores, respect for political

subdivisions, and preservation of communities of interest. Additionally, when

visually inspecting the district, it is relatively small in size and does not contain

any appendages or tentacles. Accordingly, the Court finds that the Grant

Plaintiffs have carried their burden on the first Gingles precondition in the area

encompassed by Esselstyn SD-28.

                                           iii)   Esselstyn HD-64

      The Court finds that the Grant Plaintiffs have shown that it is possible to

draw a State House district consistent with traditional redistricting principles in

the area encompassed by Esselstyn HD-64.
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                                               ((a)) Empirical measures

                                                     ((1)) population equality

      The Court finds that Esselstyn HD-64 achieves better population equality

than Enacted HD-64. Enacted HD-64 has a population deviation of -0.88%,

whereas Esselstyn HD-64 has a population deviation of +0.23%. GX 1, attachs. I,

J. Accordingly, Esselstyn HD-64 achieves population equality consistent with the

General Assembly’s Guidelines and traditional redistricting principles.

                                                     ((2)) contiguity

      The Parties stipulated that Esselstyn HD-64 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn HD-64 complies with the traditional

redistricting principle of contiguity.

                                                     ((3)) compactness scores

      The Court finds that Esselstyn HD-64’s compactness score is within the

range of scores achieved by the Enacted House Plan. Esselstyn HD-64 has a

compactness measure of 0.22 on both metrics. GX 1, Attach. L. Enacted HD-64

has a Reock score of 0.38 and Polsby-Popper score of 0.36. Id. While Esselstyn

HD-64 is less compact than Enacted HD-64 using empirical measures, the

proposed district is still within the range of acceptable range of compactness

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scores found in the Enacted House Plan (i.e., a minimum Reock score of 0.12 and

a minimum Polsby-Popper score of 0.10). Id. Accordingly, the Court finds that

Esselstyn HD-64 is reasonably compact in terms of empirical scoring.

                                                             ((4)) political
                                                                   subdivisions

       The Court finds that Esselstyn HD-64 respects political subdivisions.

Esselstyn HD-64 consists of portions of Douglas, Fulton, and Paulding Counties.

GX 1 ¶ 49. Esselstyn HD-64 splits one more county than Enacted HD-64, which

includes only portions of Douglas and Paulding Counties. GX 1, Attach. I. When

comparing the VTD splits in Enacted HD-64 and Esselstyn HD-64, they both split

only one VTD (in Paulding County). GX 1, Attach. L. 78 Additionally,

Mr. Esselstyn testified he was able to keep Lithia Springs intact, which is an

incorporated community. Tr. 562:4-13.

       Defendants’ mapping expert, Mr. Morgan, did not opine about Esselstyn

HD-64 in his report. DX 3. However, at the trial, he testified that Esselstyn HD-




78 The statistics for the VTD splits can be found on page 14 of subdivision of the Political

Subdivisions Chart entitled GA House Enacted and page 14 of Political Subdivisions
Chart entitled GA House Illustrative. GX 1, Attach. L.
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64 contains the same Fulton and Douglas County precincts as Enacted HD-61.

Tr. 1826:17–21. Outside of this testimony, Mr. Morgan offered no opinion about

whether Esselstyn HD-64 exhibited respect for existing political subdivisions.

      The Court finds that not only are Esselstyn HD-64 subdivision splits

consistent with Enacted HD-64, but Esselstyn HD-64 on the whole respects

political subdivisions.

                                               ((b)) eyeball test

      The Court finds that Esselstyn HD-64 is visually compact:




GX 1 ¶ 49 & fig.14.



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      Mr. Esselstyn testified that he modeled the shape of Esselstyn HD-64 on

the shape of Enacted HD-61. Tr. 560:14–24. Visually, the Court finds that

Esselstyn HD-64 does not have appendages or tentacles. Esselsyn HD-64 is

relatively small in size. In fact, when measured with the mapping tool, it is less

than 20 miles at its most distant points. GX 1 ¶ 49 & fig.14.

      Because of these considerations and the fact that Defendants do not

meaningfully dispute the visual compactness of this district, the Court finds that

Esselstyn HD-64 is visually compact.

                                                 ((c))   communities of interest

      The Court finds that Esselstyn HD-64 preserves communities of interest

and does not combine disparate communities. As an initial note, the Court finds

that Esselstyn HD-64 is in the same relative area as Illustrative CD-6. Both

proposed districts combine areas in-and-around Fulton and Douglas Counties. 79

GX 1 ¶ 49. As the Court stated above, it found that Illustrative CD-6 preserved

communities of interest. See Section II(C)(1)(b)(3) supra.




79Esselstyn HD-64 also contains parts of Pauling County, and Illustrative CD-6
combines areas in Cobb and Fayette Counties.
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      Specific to Esselstyn HD-64, Mr. Allen explained that the residents of this

west-metro Atlanta district have shared interests. Tr. 1004:1–10. They rely on the

same roadways and face many of the same transportation-related challenges. Id.

at 1004:11–22. They rely on the same healthcare systems and share an interest in

preserving access to Grady Hospital, the only Level One Trauma Center in the

metro area. Id. at 1005:1–24. Accordingly, the Court finds that Esselstyn HD-64

preserves existing communities of interest.

                                                 ((d)) conclusions of law

      The Court finds that the Grant Plaintiffs have carried their burden in

establishing that the Black community is sufficiently numerous and compact in

Esselstyn HD-64 to constitute an additional majority-Black district. The Court

finds that Esselstyn HD-64 complies with the traditional redistricting principles

of   population   equality,   contiguity,    compactness,   respect   for   political

subdivisions, and preservation of communities of interest. Additionally, when

visually inspecting the district, it is relatively small in size and does not contain

any appendages or tentacles. Accordingly, the Court finds that the Grant




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Plaintiffs have carried their burden in meeting the first Gingles precondition in

the area encompassed by Esselstyn HD-64.

                                            iv)    Esselstyn HD-74

      The Court finds that Grant Plaintiffs have not shown that it is possible to

draw a legislative district consistent with traditional redistricting principles in

the area encompassed by Esselstyn HD-74.

                                                  ((a)) empirical measures

                                                         ((1)) population equality

      The Court finds that Esselstyn HD-74’s population deviation of -1.84% is

greater than any district in the Enacted House Plan (-1.40% and +1.34%).

Esselstyn HD-74 is nearly one point greater than the deviation of Enacted HD-74

(-0.93%). GX 1, attachs. J, I. ; Stip. ¶ 278. Mr. Esselstyn admitted that it was one of

the most underpopulated districts on his House Plan. Tr. 567:23–568:6.“[T]he

Equal Protection Clause requires that a State make an honest and good faith effort

to construct districts, in both houses of its legislature, as nearly of equal

population as practicable.” Reynolds, 377 U.S. at 577.

             [M]inor deviations from mathematical equality among
             State legislative districts are insufficient to make out a
             prima      facie    case . . . under     the    Fourteenth
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           Amendments . . . . Our decisions have established, as a
           general matter, that an apportionment plan with a
           maximum population deviation under 10% falls within
           this category of minor deviations.
Brown, 462 U.S. at 842 (quoting Reynolds, 377 U.S. at 577) (quotation marks

omitted). More recently, the Supreme Court held that population deviations that

are below 10 percent are not entitled to a safe harbor. Cox v. Larios, 542 U.S. 947,

949 (2004). Specifically, “the equal-population principle remains the only clear

limitation on improper districting practices, and we must be careful not to dilute

its strength.” Id. at 949–50. In 2004, that three-judge court noted that with

technology it is possible to have perfect population equality. Larios v. Cox, 300 F.

Supp. 2d 1320, 1341 (N.D. Ga. 2004). In 1991, a court in the Northern District of

Illinois similarly remarked that “[t]he use of increasingly sophisticated

computers in the congressional map drawing process has reduced population

deviations to nearly infinitesimal proportions.” Harstert v. State Bd. of Elections,

777 F. Supp. 634, 643 (N.D. Ill. 1991).

      Although perfect population deviation is not a requirement by the

Supreme Court or the Georgia General Assembly, “[e]ach legislative district of

the General Assembly shall be drawn to achieve a total population that is


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substantially equal as practicable, considering the principles listed below.” JX 2,

2. The Court finds that Esselstyn HD-74 achieves population equality less so than

Enacted HD-74. Using the Georgia Enacted House Plan as a guide, the accepted

population deviation range is ±1.40%. Esselstyn HD-74, at -1.84%, is significantly

greater than that range.

                                                       ((2)) contiguity

      The Parties stipulated that Esselstyn HD-74 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn HD-74 complies with the traditional

redistricting principle of contiguity.

                                                       ((3)) compactness scores

      The Court finds that the Esselstyn HD-74’s compactness scores are within

the acceptable range of compactness scores on the overall Enacted House Plan.

Esselstyn HD-74 has a Reock score of 0.30 and a Polsby-Popper score of 0.19. GX

1, Attach. L. The Court notes that Enacted HD-74 performs better on the Reock

measure (0.50) as well as the Polsby-Popper measure (0.25). Id. The Court notes

Esselstyn HD-74’s scores do not fall below the minimum compactness scores for

the Enacted Plan—0.12(on Reock) and 0.10 (on Polsby-Popper). Id. In sum, the

Court finds that Esselstyn HD-74 is less compact than Enacted HD-74.
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                                                       ((4)) political
                                                             subdivisions

      The Court finds that Esselstyn HD-74 generally exhibited respect for

       communities of interest. The Court notes that Esselstyn HD-74 splits one

less county than Enacted HD-74. GX 1 ¶ 50 & fig.15 (Esselstyn HD-74 is contained

in Clayton and Fulton Counties); GX 1, Ex. I (Enacted HD-74 is contained in

Fayette, Henry, and Spalding Counties).

      However, at the trial Mr. Esselstyn testified that he split Peachtree City.

Tr. 567:6–13; 1657:22–23. It is worth noting that the Enacted House Plan also split

Peachtree City. Id. Esselstyn HD-74 testified that he was able to keep the

communities of Irondale, Brooks, and Woolsey “if not entirely intact, almost

entirely intact,” but conceded that Irondale is not an incorporated municipality.

Tr. 566:22–567:5.




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       Finally, Esselstyn HD-74 split fewer VTDs than Enacted HD-74. Enacted

HD-74 split four VTDs, one in Fayette and three in Spalding Counties (GX 1, Ex.

L), 80 whereas Esselstyn HD-74 split only one VTD in Clayton County (id.).

       Based on the foregoing, the Court finds that Esselstyn HD-74 reflects

respect for political subdivisions.

                                                    ((b)) eyeball test

       The Court finds that Esselstyn HD-74 is visually compact:




80 The statistics for the VTD splits can be found on pages 11 and 15 of subdivision of the

Political Subdivisions Chart entitled GA House Enacted and page 2 of Political
Subdivisions Chart entitled GA House Illustrative. GX 1, Attach. L.
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GX 1 ¶ 50 & fig.15.

      Esselstyn HD-74 does not have appendages or tentacles. Using the

mapping tool, Esselstyn HD-74 is approximately 20 miles in length at its most

distant points.

      Defendants do not meaningfully dispute the visual compactness of this

district. Accordingly, the Court finds that Esselstyn HD-74 is visually compact.

                                                ((c))   communities of interest

      The Court finds that Esselstyn HD-74 combines rural, urban, and suburban

populations. In fact, Mr. Esselstyn testified that the proposed district contained
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rural, urban, and suburban populations. Tr. 566:22–24. Mr. Carter’s testimony

about the communities of interest in this district was generally the same as his

testimony about the communities of interest in Esselstyn HD-117, SD-25, and SD-

28 because they are in the same relative region of the state. However, on cross-

examination, Mr. Carter agreed that the parts of south Fayette County included

in Esselstyn HD-74 were exurban, if not rural, compared with other parts of the

district. Tr. 987:2–16.

      The Court finds that the testimony specific to Esselstyn HD-74 shows that

it combined widely diverse communities into a district. Accordingly, the Court

finds that Esselstyn HD-74 combines disparate communities into one district.

                                               ((d)) conclusions of law

      The Court has determined that the Grant Plaintiffs have not carried their

burden in establishing that the Black community in Esselstyn HD-74 is

sufficiently numerous and compact to constitute an additional majority-Black

district. Although the Black population in Esselstyn HD-74 exceeds 50%, the

Court finds that it does so by having one of the most underpopulated districts in

the Esselstyn House Plan. Tr. 567:23–568:6. Additionally, the Court finds that


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although the district is visually compact, it is significantly less compact than

Enacted HD-74 in other ways. Furthermore, Mr. Esselstyn admitted and

Mr. Carter agreed that the district combines urban, suburban, and rural

communities. Neither witness was able to explain the commonalities that the

voters in Esselstyn HD-74 share, except for the general commonalities that all

metro Atlanta voters share. Accordingly, the Court concludes that the Grant

Plaintiffs have not carried their burden in meeting the first Gingles precondition

in the area drawn by Esselstyn HD-74.

                                          v)    Esselstyn HD-117

      The Court finds that the Grant Plaintiffs have shown that it is possible to

draw a legislative district consistent with traditional redistricting principles in

the area encompassed by Esselstyn HD-117.

                                                ((a)) Empirical measures

                                                       ((1)) population equality

      The Court finds that Esselstyn and Enacted HD-117 have comparable

population deviations. Esselstyn HD-117 has a population deviation of +1.06%

whereas Enacted HD-117 has a population deviation of +1.04%. GX 1, Attachs. I,

J. The Court finds that the difference in population deviations between the two
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districts is not legally significant. Additionally, the Court finds that Esselstyn

HD-117’s population deviation is within the range of population deviations

found in the Enacted House Plan (-1.40% and 1.34%). Id. at Attach. I. Accordingly,

the Court finds that Esselstyn HD-117 complies with traditional redistricting

principle of population equality.

                                                      ((2)) contiguity

      The Parties stipulated that Esselstyn HD-117 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn HD-117 complies with the traditional

redistricting principle of contiguity.

                                                      ((3)) compactness scores

      The Court finds that Esselstyn and Enacted HD-117 are comparably

compact. Esselstyn HD-117 has a Reock score of 0.40 and a Polsby-Popper score

of 0.33. GX 1, Attach. L. Enacted HD-117 has a Reock score of 0.41 and a Polsby-

Pooper score of 0.28. Id. Thus, Enacted HD-117 is more compact on the Reock

measure (by 0.01 points), and Esselstyn HD-117 is more compact on the Polsby-

Popper score (by 0.05 points). Generally, however, the two districts are roughly

equal in terms of objective compactness scores. The Court also finds that

Esselstyn HD-117 performs better than the Enacted House Plan’s average
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compactness scores (0.39 on Reock and 0.28 on Polsby-Popper). Id. Accordingly,

the Court finds that Esselstyn HD-117 is compact as compared to Enacted HD-

117 and overall qualifies as a compact district.

                                                            ((4)) political
                                                                  subdivisions

       The Court finds that Esselstyn HD-117 demonstrates respect for political

subdivisions. Esselstyn HD-117 is wholly within Henry County, meaning it does

not split any counties (GX 1 ¶ 50 & fig.15), whereas Enacted HD-117 consists of

Henry and Spalding Counties (GX 1, Ex. I). Accordingly, Esselstyn HD-117 splits

one less county than Enacted HD-117.

       Conversely, however, Mr. Esselstyn split the city of McDonough, even

though he kept the core of the city whole. Tr. 571:19–25. Mr. Esselstyn also split

the city of Locust Grove, by using I-75 as a boundary. 81 Tr. 571:16–21. Finally,




81 Mr. Esselstyn, however, crossed over I-75 in another district. Tr. 571:16–21


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Esselstyn HD-117 splits two VTDs in Henry County, whereas the Enacted HD-

117 split only one VTD in Henry County. GX 1, Ex. L. 82

       Given the above evidence, the Court finds that Mr. Esselstyn, generally,

respected political subdivisions in creating Esselstyn HD-117.

                                                     ((b)) Eyeball test

       The Court finds that Esselstyn HD-117 is visually compact:




82 The statistics for the VTD splits can be found on page 13 of subdivision of the Political

Subdivisions Chart entitled GA House Enacted and page 13 of Political Subdivisions
Chart entitled GA House Illustrative. GX 1, Attach. L.
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GX 1 ¶ 50 & fig.15.

      Esselstyn HD-117 does not have appendages or tentacles. Using the

mapping tool, Esselstyn HD-117 is approximately 15 miles at its most distant

points. Defendants do not meaningfully dispute the visual compactness of this

district. Accordingly, the Court finds that Esselstyn HD-117 is visually compact.

                                                   ((c))   Communities of interest

      The Court finds that Esselstyn HD-117 respects communities of interest.

The testimony about HD-117 is virtually identical to the testimony regarding

Esselstyn HD-74 because both districts are relatively close in proximity. See

Section II(D)(1)(b)(2)(i)(c), id. at (ii)(c), id. at (iii)(c) supra (HD-74 and in Senate

districts for south metro). There is no evidence or testimony opining or showing

that Esselstyn HD-117 includes disparate communities.

      The Court does not find Mr. Esselstyn’s split of McDonough and Locust

Grove to constitute a failure in preserving communities of interest. Mr. Esselstyn

testified that when drawing the district, he made his best effort to keep the core

of McDonough whole and only the “fringes of McDonough [ ] are outside of

District 117.” Tr. 570: 22–25. And Locust Grove is divided based on the I-75


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boundary. Tr. 571:16–19. The Court credits Mr. Esselstyn’s explanations for the

reasons why McDonough and Locust Grove were not kept intact and finds that

they are sufficient for purposes of showing that Mr. Esselstyn preserved

communities of interest.

      In sum, the Court finds that Esselstyn HD-117 is a small district contained

wholly within metro Atlanta. The communities share the same concerns with

transportation routes and have experienced recent major population growth.

Additionally, the Court finds that this district is not long and sprawling, like the

districts in LULAC and Miller that stretched across large portions of their

respective States and combined disparate minority populations. Rather, as is

evidenced by the size of the district and the trial testimony, Esselstyn HD-117

preserves communities of interest.

                                                 ((d)) Conclusions of law

      The Court finds that the Grant Plaintiffs have carried their burden in

establishing that the Black community is sufficiently numerous and compact in

Esselstyn HD-117 to constitute an additional majority-Black district. The Court

finds that Esselstyn HD-117 complies with the traditional redistricting principles


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of population equality, contiguity, compactness, respect for political subdivisions,

and preservation of communities of interest. Additionally, when visually

inspecting the district, it is relatively small in size and does not contain any

appendages or tentacles. Accordingly, the Court finds that the Grant Plaintiffs

have carried their burden in meeting the first Gingles precondition in the area

drawn by Esselstyn HD-117.

                     c)    Eastern Black Belt region

                             (1)    Alpha Phi Alpha

      The Court finds that the Alpha Phi Alpha Plaintiffs have not met their

burden in establishing that the Black community in the eastern Black Belt

sufficiently large and geographically compact to constitute an additional

majority-Black Senate or House district.

                                    (a)     numerosity

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in showing that the Black voting age population in the eastern Black Belt is large

enough to constitute an additional majority-Black district. Bartlett, 556 U.S. at 20

(“[A] party asserting § 2 liability must show by a preponderance of the evidence



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that the minority population in the potential election district is greater than 50

percent.”).

      Cooper SD-23 has an AP BVAP of 50.21%, which slightly exceeds the 50%

threshold required by Gingles. APAX 1, 227 & Ex. O-1. As the Court discusses

further below, it is significant that Mr. Cooper removed Black population from

SD-22 to create SD-23, which resulted in two underpopulated districts that meet

the 50% majority-Black threshold by only slight margins. Tr. 257:1-4.

      The Black voting age population in the eastern Black Belt is also large

enough to constitute an additional majority-Black House district. Cooper HD-133

has an AP BVAP of 51.97%, which exceeds the 50% threshold required by Gingles

APAX 1, Ex. AA-1. Thus, Cooper HD-133 meets the first Gingles precondition’s

numerosity requirement.

                                   (b)     compactness

      The Court concludes that neither Cooper SD-23 nor Cooper HD-133 are,

on the whole, compact pursuant to the standards for the first Gingles

precondition in the Alpha Phi Alpha Plaintiffs’ case.




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                                          i)     Cooper SD-23

                                                 ((a)) empirical measures

                                                       ((1)) population equality

      The ideal population size of a State Senate District is 191,284 people. Stip.

¶ 277. Cooper SD-23 has a population of 190,081 people, which constitutes a

population deviation of -0.63%. APAX 1, Ex. O-1. The neighboring majority-Black

district, SD-22, is also underpopulated—its population is 189,518, which

constitutes a population deviation of -0.92%. APAX 1, Ex. O-1. Conversely,

Enacted SD-23 is slightly underpopulated with a population of 190,344, with a

population deviation of only -0.49%. APAX 1, Ex. M-1. For its part, Enacted SD-

22 is overpopulated with a population of 193,163 and a population deviation of

+0.98%. Id.

      The Supreme Court has indicated a strong preference for “population

equality with little more than de minimis variation.” Connor v. Finch, 431 U.S. 407,

414 (1977) (internal quotation mark omitted) (quoting Chapman v. Meier, 420 U.S.

1, 27 (1975)). While the Equal Protection Clause does not require that Legislative

Districts meet perfect population deviations, with the advent of technology, it

seems that ±10% deviation is no longer a safe harbor for proposed districts. See
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Section II(D)(1)(b)(2)(b)(iii)(a)(1) supra (Esselstyn HD-74); see also JX 2, 2 (stating

a guideline that “[e]ach legislative district of the General Assembly shall be

drawn to achieve a total population that is substantially equal as practicable,

considering the principles listed below.”).

      The Court finds that Cooper SD-23 itself is not malapportioned. To create

the district, however, Mr. Cooper reduced the population in SD-22 to nearly the

lowest deviation on the Cooper Senate Plan. Tr. 254:14-255:3, 1783:10-14.

Therefore, the Court concludes it is significant that Mr. Cooper’s creation of SD-

23 required creating increasing the population deviation in SD-22, so that it is

barely within Mr. Cooper’s ±1.00% deviation guidepost. Stop. ¶ 301, APAX 1 ¶

111. Moreover, even though the General Assembly did not enumerate a specific

population deviation range for the Legislative Districts, the Court finds Cooper

SD-23 performs worse on the population equality metric than Enacted SD-23. JX

2, 2; APAX 1, Exs. O-1, M-1. Accordingly, the Court finds that the evidence shows

that Cooper SD-23 achieves the traditional redistricting principle of population

equality less so than Enacted SD-23.




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                                                      ((2)) contiguity

      The Parties stipulated that Cooper SD-23 is a contiguous district. Stip.

¶ 300. Therefore, the Court finds that Cooper SD-23 complies with the traditional

redistricting principle of contiguity.

                                                      ((3)) compactness scores

      Under the objective Reock and Polsby-Popper measures, Cooper SD-23

and Enacted SD-23 are comparably compact. In fact, they achieve the same

scores: Enacted SD-23 has a Reock score of 0.37 and a Polsby-Popper score of 0.16.

APAX 1, Ex. S-3. Likewise, Cooper’s SD-23 has a Reock score 0.37 and a Polsby-

Popper 0.16. Id., Ex. S-1. Thus, the Court considers Cooper’s SD-23 to be

comparably compact to Enacted SD-23.

                                                      ((4)) political
                                                            subdivisions

      Both Enacted SD-23 and Cooper SD-23 split two counties: Enacted SD-23

splits Richmond and Columbia Counties while Cooper SD-23 splits Richmond

and Wilkes Counties. Tr. 119: 4-13. However, Cooper SD-23 splits the City of

Washington (Tr. 258:24 – 259:2), whereas Enacted SD-23 does not. APAX 1 ¶ 107

& fig.18 (the city of Washington is in Wilkes County and all of Wilkes County is


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within Enacted SD-24). Additionally, Cooper SD-23 splits two VTDs in Wilkes

County, whereas Enacted SD-23 splits none. APAX 1, Exs. T-1, T-3. Thus, the

Court concludes that Cooper SD-23 does not exhibit respect for political

subdivisions as well as Enacted SD-23.

                                             ((b)) eyeball test

      The Court concludes that Cooper SD-23 does not pass the eyeball test for

visual compactness:




APAX 1 ¶ 108 & fig.19A.




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      Cooper SD-23 is an oddly shaped, sprawling district that spans north to

south from Wilkes County to Jenkins County and east to west from Twiggs

County to Burke County. APAX Ex. 1, fig.19A. Milledgeville in Baldwin County

(western part of the district) is more than 100 miles from Augusta in Richmond

County (eastern part of the district). DX 2 ¶ 36. Based on the foregoing, Cooper

SD-23 is not visually compact.

      Admittedly, Enacted SD-23 is also large and sprawling, albeit in a different

way than Cooper SD-23. However, as a majority-white district, Enacted SD-23 is

not subject to Gingles’ compactness requirements. LULAC, 548 U.S. at 430–31

(“[T]here is no § 2 right to a district that is not reasonably compact, the creation

of a noncompact district does not compensate for the dismantling of a compact

opportunity district.” (citing Abrams, 521 U.S. at 91–92)). In other words, the

large and sprawling nature of Enacted SD-23 does not alleviate the concerns with

the shape and size of Cooper SD-23. Moreover, plaintiffs, who have alleged a

Section 2 violation, have the burden to show that the minority community is

sufficiently compact to create the proposed majority-minority district. Based on




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the foregoing, the Court concludes Alpha Phi Alpha Plaintiffs have not met their

burden to show visual compactness.

                                                ((c))   communities of interest

      The Court furthermore finds that the Alpha Phi Alpha Plaintiffs have not

carried their burden in showing that Cooper SD-23 unites communities of interest.

Mr. Cooper stated that the “Black Belt” formed a community of interest in

relation to Cooper SD-23. Tr. 267:12–22. But when asked to define the factors that

unite the Black communities in Cooper SD-23, Mr. Cooper only vaguely

referenced “cultural and historical factors,” a response the Court finds

unpersuasive. First, the Black Belt is a wide region that “stretches from one side

of the State to another and “that is a pretty significant amount of distance to

define as one community.” Tr. 1619:6-9.




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APAX 1 ¶ 18 & fig.1.

      Ms. Wright, the State’s map drawer, testified that there is a natural barrier

in the area of the Ogeechee River that runs through Warren, Glascock, and

Jefferson Counties, which runs through the center of Cooper SD-23. Tr. 1639:12-

1640:1. She also testified that Augusta is a more urban area, whereas the

surrounding counties are rural. Tr. 1639:12-14; 1695:25-1696:8.

      With respect to the demographic makeup of the district, Mr. Morgan,

Defendant’s mapping expert, described Cooper SD-23 as a district that “connects
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separate enclaves of Black population.” DX 2 ¶ 35. The Court agrees. For example,

Cooper SD-23 links Black population from Milledgeville in Baldwin County to

the Black population residing more than 100 miles away in Augusta. Id.

Furthermore, Mr. Cooper conceded that Cooper SD-23 includes counties from

different regions and splits a regional commission. Tr. 260:23–261:13.




DX 2 ¶ 34 & Ex. 23.

      The Court finds that, although communities of interest are hard to define,

the distance between the Black population in Cooper SD-23 coupled with the


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sprawling geographic nature of the district indicates that there is not a unified

community of interest in Cooper SD-23. Mr. Cooper’s vague reference to shared

historical and cultural similarities of the Black Belt is insufficient to establish

communities of interest. The Black Belt runs across the southeastern United

States, and in Georgia, it spans from Augusta, near the South Carolina border to

the southwest corner of the State near Alabama and Florida. Stip. ¶ 118; GX 1

¶ 19 & fig.1. The Court finds that portions of Cooper SD-23 are both urban and

rural and that a river divides the proposed district.

      The Court also finds that the lay witness testimony does not sufficiently

prove that Cooper SD-23 preserves communities of interest. Dr. Diane Evans,83

who lives in Jefferson County—at the heart of Cooper SD-23—testified about

communities in the proposed district that share numerous interests. She said that

Black residents in the eastern section of the Black Belt attend the same houses of

worship and share church leadership. Tr. 627:19-628:6. She identified other

common interests shared by the Black residents in the area such as sports, and




83 The Court granted Plaintiffs’ motion to incorporate Dr. Evans’s testimony as part of

the Alpha Phi Alpha record. Tr. 633:18-634:10.
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farming; she said they also have similar policy concerns regarding high school

dropout rates and education. Id. at 625:3-8, 629:22-630:13.

      While the Court finds Dr. Evans to be highly credible, the Court also finds

that the evidence presented at trial is not enough to show that the Black

communities in Esselstyn SD-23 are part of a community of interest. Although

there is some evidence of shared concerns over high rates of gun violence and

low high school graduation rates, it is unclear how these commonalities unite the

widely dispersed Black communities in the proposed district. Additionally, given

the widely dispersed nature of the pockets of high concentration of Black people,

the evidence is insufficient to show that all of the communities in this area share

these same concerns.

      Although the three-judge court in Singleton found a community of interest

in Alabama’s Black Belt, the evidence in this case differs. There, the three-judge

court found that “Black voters in the Black Belt share common ‘political beliefs,

cultural values, and economic interests.’” Singleton, 582 F. Supp. 3d at 953. The

Court finds that there is not sufficient evidence in the Record for it to conclude

that the Black community in this region constitutes a community of interest.


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Accordingly, the Court finds that Cooper SD-23 does not preserve communities

of interest.

                                                 ((d)) conclusions of law

       The Court concludes that the Black community is not sufficiently compact

in Cooper SD-23. This conclusion is based on (a) the underpopulation of Cooper

SD-23 (and its ripple effect of reducing the population in Cooper SD-22),

(b) Cooper SD-23’s treatment of political subdivisions, (c) a lack of visual

compactness, and (d) Cooper SD-23’s unification of geographically distant

disparate black populations without preserving articulable communities of

interest.

       Accordingly, the Court finds that the Alpha Phi Alpha Plaintiffs have not

carried their burden in meeting the first Gingles precondition as to Cooper SD-

23. The three Gingles requirements are necessary preconditions, intended “to

help courts determine which claims could meet the totality-of-the-circumstances

standard for a § 2 violation.” Bartlett, 556 U.S. at 21. Failure to prove any one of

the preconditions is fatal to a plaintiff’s Section 2 claim. Greater Birmingham

Ministries, 992 F.3d at 1332. Because the Alpha Phi Alpha Plaintiffs have not


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successfully carried their burden in establishing that the Black community in the

eastern Black Belt is sufficiently compact, they have failed to demonstrate that

the Enacted Senate Plan violates Section 2 with respect to the area of Cooper SD-

23.

                                          ii)    Cooper HD-133

      As with Cooper SD-23, the Court concludes, based on the following

measures of compactness, that Cooper HD-133 does not satisfy the first Gingles’

precondition’s compactness requirement either.

                                                ((a)) empirical measures

                                                       ((1)) population equality

      The ideal population size of a State House District is 59,511 people. Stip.

¶ 278. Cooper HD-133 and Enacted HD-133 have identical population deviations

of -1.33%. APAX 1, Exs. Z-1, AA-1. Accordingly, the Court finds that the

population of Cooper HD-133 complies with the General Assembly’s guidelines

and the traditional redistricting principle for population equality.




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                                                     ((2)) contiguity

      The Parties stipulated that Cooper HD-133 is a contiguous district. Stip.

¶ 300. Therefore, the Court finds that Cooper HD-133 complies with the

traditional redistricting principle of contiguity.

                                                     ((3)) compactness scores

      Under the Reock and Polsby-Popper measures, Cooper HD-133 is much

less compact than Enacted HD-133: Enacted HD-133 has a Reock score of 0.55

and a Polsby-Popper score of 0.42, whereas Cooper’s HD-133 has a Reock score

0.26 and a Polsby-Popper 0.20. DX 2, 25 & Chart 7. Accordingly, the Court

concludes that Cooper HD-133 is not comparably compact to Enacted HD-133.

The Court does note, however that both of these compactness scores are within

the range of compactness scores found in the Enacted House Plan, i.e., minimum

Reock score is 0.12 and minimum Polsby-Popper score is 0.10. APAX 1, Ex. AG-

2. Although Cooper HD-133 exceeds the minimum threshold, the Court finds

that, compared to Enacted HD-133, it performs far worse on compactness

measures.




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                                                       ((4)) political
                                                             subdivisions

      Evidence at trial established that Mr. Cooper sacrificed preservation of

political subdivisions, including counties and precincts, in creating Cooper HD-

133. Mr. Cooper testified that there are more splits in this area of the Cooper

House Plan than in other illustrative plans he has drawn. Tr. 282:3-4. Also,

Cooper HD-133 split nine precincts—again, more than any other district on the

Cooper House Plan. DX 2 ¶ 62; APAX 1, T-1, T-3. Furthermore, to create Cooper

HD-133, Mr. Cooper made changes to Enacted HD-128—a majority-Black

district—that resulted in additional split counties in that area. Tr. 282:13–19.

Likewise, the creation of Cooper HD-133 required changes to Enacted HD-126

that resulted in additional county splits in that district. Tr. 283:23–284:11. Thus,

the Court determines that Cooper HD-133 does not respect political subdivisions,

either itself in the proposed district, or in the districts experiencing the ripple

effect of Mr. Cooper’s changes to the area.

                                                 ((b)) eyeball test

      The Court concludes that Cooper HD-133 does not pass the eyeball test:




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APAX 1 ¶ 169 & fig.31.

      Cooper HD-133 is a long district that stretches from Wilkes County in the

north, narrows around Milledgeville, and then widens out to Wilkinson County

in the south. DX 2, 75 fig.31. According to Mr. Morgan, Defendants’ mapping

expert, Cooper HD-133 stretches north to south for 90 miles to pick up Black

population from Milledgeville. DX 2 ¶ 61. In these ways, Cooper HD-133 stands

in stark contrast to Enacted HD-133, which covers a much smaller geographic

area. See DX 2, 74 fig.30. Thus, the Court concludes that Cooper HD-133 is not

visually compact.

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                                                 ((c))   communities of interest

      Finally, the Court finds that the Alpha Phi Alpha Plaintiffs have not carried

their burden in showing that Cooper HD-133 unites communities of interest.

Mr. Cooper identified the “Black Belt” as a community of interest that joined the

various counties within Cooper HD-133. Tr. 280:23 – 25. He further stated that

the counties in Cooper HD-133 are rural in nature, and with the exception of

Glascock County, are significantly Black. Id. at 281:3-8.

      The Court finds that, although communities of interest are hard to define,

Alpha Phi Alpha Plaintiffs have not produced sufficient evidence show that this

90-mile district preserves communities of interest as opposed to combining

disparate communities. This is true even in light of Dr. Evan’s testimony, which

is incorporated here (see Section II(D)(1)(c)(1)(b)(i)(c) supra). Without more, the

Court cannot conclude that Cooper HD-133 preserves communities of interest.

                                                 ((d)) conclusions of law

      The Court concludes that the Black community is not sufficiently compact

in Cooper HD-133. This conclusion is based on the following findings of fact:

compared to Enacted HD-133 Cooper HD-133 splits more VTDs, and added

numerous county splits in the area. Additionally, the creation of Cooper HD-133
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led to increased VTD splits in neighboring districts. Cooper HD-133, moreover,

is not visually compact and unites Black populations whose only commonalities

are being in the Black Belt in mostly rural areas—an insufficient showing of

communities of interest.

      Accordingly, the Court concludes that the Alpha Phi Alpha Plaintiffs have

not carried their burden in meeting the first Gingles precondition as to Cooper

HD-133. Like with Cooper SD-23, supra, failure to prove any one of the

preconditions is fatal to Plaintiffs’ Section 2 claim. Greater Birmingham

Ministries, 992 F.3d at 1332. Accordingly, Alpha Phi Alpha Plaintiffs have failed

to demonstrate that the Enacted House Plan violates Section 2 with respect to that

area of the State.

                             (2)    Grant: Esselstyn SD-23

      The Court finds that the Grant Plaintiffs failed to prove that the Black

community is not sufficiently compact to constitute an additional majority-Black

Senate district in the Eastern Black Belt region.

                                    (a)     numerosity

      The Court finds that the Grant Plaintiffs have met their burden in showing

that the Black voting age population in the eastern Black Belt is large enough to
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constitute an additional majority-Black district. It is undisputed that Esselstyn

SD-23 has an AP BVAP of 51.06%, which exceeds the 50% threshold required by

Gingles. GX 1 1 ¶ 27 & tbl.1; Stip. ¶ 234.

                                    (b)      compactness

      Based on a review of traditional redistricting principles, the Court finds

that the minority community is not sufficiently compact to warrant the creation

of an additional majority-Black district in the eastern Black Belt as found in

Esselstyn SD-23. Additionally, Esselstyn SD-23 fails to respect the other

traditional redistricting principles (visual compactness and preservation of

communities of interest).

                                             i)   empirical measures

                                                  ((a)) population equality

      The Court finds that Esselstyn SD-23 is not malapportioned. Nevertheless,

as explained below, the Court finds that Esselstyn SD-23 has the greatest

population deviation of any district in the Esselstyn and Enacted Senate Plans.

      The ideal population size of a State Senate District is 191,284 people. Stip.

¶ 277. Esselstyn SD-23 has a population of 188,095 people, which amounts to a

population deviation of -1.67%. GX 1, attach E. Esselstyn SD-23 is the most
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underpopulated district in either the Esselstyn or Enacted Senate Plan.

Additionally, the Court finds that neighboring majority-Black district, SD-22 is

underpopulated under the Esselstyn Senate Plan. Esselstyn SD-22 has a

population of 188,930, which is a population deviation of -1.23%. GX 1, attach E.

In the Enacted Senate Plan, conversely, Enacted SD-23 is slightly underpopulated

with a population of 190,344 (a population deviation of -0.49%), and Enacted SD-

22 is overpopulated with a population of 193,163 (a population deviation of

+0.98%). GX 1, Attach. D.

      Although the General Assembly did not enumerate a specific deviation

range for the Legislative Districts, the Court finds that the population of Esselstyn

SD-23 does not comply with the guideline that “[e]ach legislative district of the

General Assembly shall be drawn to achieve a total population that is

substantially equal as practicable, considering the principles listed below.” JX 2,

2. Additionally, in creating Esselstyn SD-23, Mr. Esselstyn did not keep his

deviations within the range of the Enacted Senate Plan, which is ±1.03%. Cf. Stip.

¶ 301 (indicating the 2021 Senate Plan’s population deviation range in

comparison to Mr. Cooper’s population deviation range). Thereby, for all these


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reasons, Esselstyn SD-23 fails to achieve population equality to the same degree

as any district in the Enacted Senate Plan.

                                               ((b)) contiguity

      The Parties stipulated that Esselstyn SD-23 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn SD-23 complies with the traditional

redistricting principle of contiguity.

                                               ((c))   compactness scores

      Under the Reock and Polsby-Popper measures, Esselstyn SD-23 and

Enacted SD-23 are comparably compact. Enacted SD-23 has a Reock score of 0.37

and a Polsby-Popper score of 0.16. GX 1, Attach. H. Esselstyn SD-23 has a Reock

score 0.34 and a Polsby-Popper 0.17. Id. Thus, Enacted SD-23 is 0.03 points more

compact on the Reock measure, but Esselstyn SD-23 is 0.01 points more compact

on Polsby-Popper. On the whole, the Court finds that the Enacted and Esselstyn

SD-23 are comparably compact.

                                               ((d)) political subdivisions

      The Court finds that Esselstyn SD-23 split more counties than Esselstyn

SD-23. Enacted SD-23 splits Richmond and Columbia Counties but otherwise

keeps nine counties whole. DX 3 ¶ 31. Meanwhile, Esselstyn SD-23 split more
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counties than any other district on the Esselstyn Senate Plan. DX 3 ¶¶ 33, 36.

Specifically, Esselstyn SD-23 splits Richmond, McDuffie, Wilkes, Greene, and

Baldwin Counties. GX 1 ¶ 29; Tr. 536:22–237:5, 1818:7–13. As part of Esselstyn

SD-23’s ripple effect, Esselstyn SD-22 includes more counties than Enacted SD-

22. DX 3 ¶ 31. Enacted SD-22, which is a majority-Black district, is wholly within

Richmond County. Id. Under the Esselstyn Senate Plan, however, Esselstyn SD-

22 includes parts of Richmond and Columbia Counties. Based on the foregoing,

the Court overall finds that it does not respect political subdivisions.

                                           ii)   eyeball test

      The Court finds that Esselstyn SD-23 is not visually compact and does not

pass the eyeball test:




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GX 1 ¶ 29 & fig.5.

      Esselstyn SD-23 is a long sprawling district that spans from Wilkes and

Greene counties in the north, down to Screven County in the south. DX 3, 16.

Additionally, Esselstyn SD-23 starts in Augusta in the east and stretches to

Milledgeville in the west. GX 1 ¶ 29 & fig.5. From the Augusta portion of the

district to Milledgeville, the district is approximately 80 miles using the mapping

tool. Tr. 1854:18–22. It is more than 100 miles from Greene County to Screven

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County. GX 1 ¶ 29 & fig.5. The Court finds that Esselstyn SD-23 it is not visually

compact.

      As with the Alpha Phi Alpha case’s proposed Senate district in this area,

the Court acknowledges that Enacted SD-23 is also large and sprawling. GX 1

¶ 29 & fig.2. However, for purposes of a Section 2 violation, the large and

sprawling nature of Enacted SD-23, a non-remedial district, does not alleviate the

concerns with the shape and size of Esselstyn SD-23. See LULAC, 548 U.S. at 430–

31. Enacted SD-23 is a majority-white district that was not required to comply

with Gingles’ compactness requirements. The Grant Plaintiffs, who have alleged

a Section 2 violation, however, must show that the minority community is

sufficiently compact to create a majority-minority district. Upon review of

Esselstyn SD-23, the Court finds that the proposed district is not visually compact.

                                          iii)   communities of interest

      The Court finds that the Grant Plaintiffs have not carried their burden in

showing that Esselstyn SD-23 unites communities of interest. Rather, the

evidence shows that the areas of high Black concentration in Esselstyn SD-23 are




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spread out across the district and have large areas of intervening white

population.

      Mr. Esselstyn was unable to identify any community of interest shared by

the counties and portions of counties in Esselstyn SD-23. Tr. 539:11–23. The

district combines geographically separate Black populations in McDuffie and

Wilkes Counties and in Milledgeville. Tr. 540:15–541:13.




DX 3, Ex. 29.

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      Esselstyn SD-23’s disparate Black population, moreover, is separated by an

intervening white population. The Black population is concentrated in distinct

areas of Augusta, the middle of Burke County, south Jefferson County, Hancock

and Warren Counties, Milledgeville, and north Wilkes County. Id. As the map

shows, between those pockets within the district, the Black population ranges

between 0 and 35%. Id. Thereby, the concentrations of Black population in

Esselstyn SD-23 are not in close proximity to one another.

      In defining what constitutes a community of interest, Mr. Esselstyn

explained, “[t]here’s not a simple definition for communities of interest in my

mind because they can vary a lot. They can be made up of a large number of

counties. Like the Black Belt could be considered a community of interest.”

Tr. 479:19-23. Ms. Wright testified that she does not consider the Black Belt to be

a community of interest, however, because it stretches from one side of the State

to the other and “that is a pretty significant amount of distance to define as one

community.” Tr. 1619:6-9.

      The Court finds that Mr. Esselstyn’s definition that the “Black Belt” alone

is insufficient to constitute a community of interest. There is not a unified


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community of interest in Esselstyn SD-23 given the distance separating the Black

populations in Esselstyn SD-23 and the large distance the district spans. As

discussed above, the Court also does not find that Dr. Evan’s testimony

sufficiently establishes that there is a unified community of interest in the area

drawn by Esselstyn SD-23. See Section II(D)(1)(b)(1)(b)(iii) supra. The Black Belt

runs across the southeastern United States, and in Georgia, it spans from Augusta,

near the South Carolina border, and to the southwest corner of the State near

Alabama and Florida. Stip. ¶ 118; GX 1 ¶ 19 & fig.1. Tr. 1639:12-1640:1; 1695:25-

1696:8.

      Again, although the counties in this region do share commonalities, such

as high rates of gun violence and low high school graduation rates, it is unclear

how these commonalities unite the widely dispersed Black communities in the

proposed district. Furthermore, the State’s map drawer, Ms. Wright testified

about geographic boundaries in this region and said that portions of the region

are urban, portions are rural, and portions are more suburban. Tr. 1640:12–1641:1.




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      Pursuant to the evidence presently before this Court, it finds that Esselstyn

SD-23 does not preserve communities of interest, but rather unites distinct Black

communities within the eastern portion of the Black Belt.

                                          iv)    conclusions of law

      The Court finds that the Black community is not sufficiently compact in

Esselstyn SD-23. The Court finds that Esselstyn SD-23 is underpopulated and has

the greatest population deviation of any district in either the Enacted or Esselstyn

Senate Plans. Esselstyn SD-23 does not respect political subdivisions, and its

creation accounts for the increased county splits in the Esselstyn Senate Plan as a

whole. The district is not visually compact and unites disparate Black

populations with intervening white populations.

      Accordingly, the Court finds that the Grant Plaintiffs have not carried their

burden in meeting the first Gingles precondition in the area drawn by Esselstyn

SD-23. Failure to prove any one of the preconditions is fatal to plaintiffs’ Section

2 claim. Because the Grant Plaintiffs have not successfully carried their burden in

establishing that the Black community is sufficiently compact to warrant the




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creation of an additional majority-Black State Senate district in the eastern Black

Belt, the Court concludes there is no Section 2 violation in this region.

                     d)    Macon-Bibb region

                             (1)    Alpha Phi Alpha: Cooper HD-145

      The Court finds that the Alpha Phi Alpha Plaintiffs have not met their

burden in establishing that an additional majority-Black House district can be

drawn in or around Macon-Bibb.

                                    (a)     numerosity

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in showing that the Black voting age population in and around Macon-Bibb is

large enough to create a majority-Black House districts. “[A] party asserting § 2

liability must show by a preponderance of the evidence that the minority

population in the potential election district is greater than 50 percent.” Bartlett,

556 U.S. at 20.

       It is undisputed that Cooper HD-145 has an AP BVAP of 50.20%. APAX 1,

AA-1. Accordingly, the Court finds that Black population is sufficiently

numerous in Cooper HD-145.



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                                   (b)     compactness

      The Court finds, however, that the Alpha Phi Alpha Plaintiffs have not

shown that it is possible to draw an electoral district consistent with traditional

redistricting principles in the area encompassed by Cooper HD-145. As an initial

note, Mr. Cooper explained that Cooper HD-145 is in the same general area, and

correlates with, Enacted HD-145. APAX 1 ¶ 181–82 & fig.34.

                                           i)   empirical measures

                                                ((a)) population equality

      The Court finds that Cooper HD-145 is not malapportioned, but Cooper

HD-145’s population deviation is double the deviation of Enacted HD-145. As

stated above, the General Assembly did not enumerate an acceptable deviation

range for State Senate Districts. However, using the Enacted House Plan as a

guide, a population deviation range between ±1.40% is acceptable. Stip. ¶ 302. In

comparison, Cooper SD-28 has a population deviation of +1.18%. APAX 1, Ex.

AA-1. The Court does note that Enacted HD-145’s population deviation is half

that at +0.59%. APAX 1, Ex. Z-1. Thus, the Court finds that this district does not

comply with the traditional redistricting principle of population equality as well

as Enacted HD-145.
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                                               ((b)) contiguity

      The Parties stipulated that Cooper HD-145 is a contiguous district. Stip.

¶ 300. Hence, the Court finds that Cooper HD-145 complies with the traditional

redistricting principle of contiguity.

                                               ((c))   compactness scores

      The Court finds Cooper HD-145’s compactness scores are comparable to

Enacted HD-145. APAX 1, Exs. AG-1, AG-2. Enacted HD-145 has a higher Reock

Score (0.38) than Cooper HD-145 (0.25), but Cooper HD-145 has a higher Polsby-

Popper Score (0.22) than Enacted HD-145 (0.19). Id.

      Although Enacted HD-145 is more compact on the Reock measure, Cooper

HD-145 is well within the range of compactness scores of the Enacted House Plan.

Specifically, the Enacted House Plan has a minimum Reock score of 0.12. APAX

1, Ex. AG-2. Cooper HD-145’s Reock score (0.25) far exceeds the minimum

threshold Reock score. Id. Accordingly, the Court finds that Cooper HD-145

constitutes a compact district for purposes of the first Gingles precondition,

though, less so than Enacted HD-145.




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                                               ((d)) political subdivisions

      The Court finds that Cooper HD-145 demonstrates a respect for political

subdivisions more so than Enacted HD-145. Cooper HD-145 is contained within

portions of two counties—Bibb and Monroe. APAX 1 ¶ 183 & fig.35, Ex. AH-1.

Meanwhile, Enacted HD-145 contains portions of Bibb, Houston, Monroe,

Paulding Counties, and all of Crawford County. APAX 1 ¶ 181–82 & fig.34, Ex.

AH-3. Thus, Cooper HD-145 splits half of the Counties that Enacted HD-145

splits. Both districts split the same number of VTDs, three. APAX 1, Exs. AH-1,

AH-3. Mr. Cooper testified that in Monroe County he followed county and VTD

lines. Id. at 167:10-12. Accordingly, the Court finds that Cooper HD-145 exhibits

respect for political subdivisions more so than Enacted HD-145.

                                         ii)   eyeball test

      The Court finds that Cooper HD-145 is not visually compact under the

eyeball test:




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APAX 1 ¶ 198 & fig.35.

      Using the mapping tool, the Court finds that at its most distant points,

Cooper HD-145 is less than 30 miles long. Id. Despite its small size, the district

does contain a tentacle. The majority of the district is contained within the

western half of Bibb County, but one thin line extends into Monroe County. Id.

When asked why the district extended into Monroe County, Mr. Cooper

explained that his decision to include portions of Monroe County was because it

has “a very small population. And [he] made that decision to make sure we has




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a district that was within plus or minus 1.5 percent, taking into account where

incumbents live in Macon-Bibb.” Id. 16–19.

      Although the Court credits Mr. Cooper’s testimony regarding the reasons

for extending the district in this manner, the Court still finds that the district does

not pass the eyeball test.

                                            iii)   communities of interest

      Mr. Cooper testified that Cooper HD-145 stays entirely within the Macon-

Bibb MSA. Tr. 166:19-20. Mr. Cooper’s report also demonstrated commonalities

shared by the portion of the district that is within Bibb County. About 91% of all

persons and 96% of Black persons in Cooper HD-145 are Macon-Bibb residents.

APAX 1 ¶ 201. One-third of the Black population and nearly half (47.5%) of Black

children in Macon-Bibb live in poverty. Id. By contrast, 11.6% of the white

population in Macon-Bibb and 14.1% of white children live in poverty. Id. The

Court finds that there is evidence in the Record of the commonalities in the

communities in Bibb County, but there is nothing about Monroe County.

      On cross-examination, Mr. Cooper was unable to provide an explanation

of the connections between the communities in downtown Macon and Monroe


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County. Tr. 288:13–15. The Court credits Mr. Cooper’s non-racial reasons for

extending the district into Monroe County (population equality, incumbency

protection, and avoidance of VTD splits). The Court finds, however, that this

testimony does not remedy the lack of evidence about the commonalities

between Monroe County and the rest of the district (even if that portion is only a

small part of the districts composition).

      Accordingly, the Court finds that Cooper HD-145 does not comply with

the traditional redistricting principle of preserving communities of interest.

                                            iv)   conclusions of law

      The Court finds that the Alpha Phi Alpha Plaintiffs have carried their

burden in establishing that the Black community is sufficiently numerous to

constitute an additional majority-Black district. The proposed district is not

compact, however. Although, Cooper HD-145 complies with traditional

redistricting principles of contiguity, empirical compactness scores, and respect

for political subdivisions, the Court finds that the district fails to comply with

population equality to the same degree as Enacted HD-145, and it united

disparate communities. Additionally, the Court finds that the district is not


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visually compact, it contains a tentacle that stretches into Monroe County, and

the Record is devoid of any evidence showing a connection between this portion

of the district and Bibb County. Accordingly, the Court finds that the Alpha Phi

Alpha Plaintiffs have not carried their burden on the first Gingles precondition

in the area encompassed by Cooper HD-145.

                             (2)   Grant

      Based on the following analysis, the Court finds that the Grant Plaintiffs

have met their burden in establishing that the Black community was sufficiently

numerous and compact to create two additional majority-Black districts in the

Macon-Bibb region.

                                   (a)     numerosity

      The Court finds that the Grant Plaintiffs have met their burden in showing

that the Black voting age population in the area around Macon-Bibb is large

enough to create two majority-Black House districts in the region. Bartlett, 556

U.S. at 20 (“[A] party asserting § 2 liability must show by a preponderance of the

evidence that the minority population in the potential election district is greater

than 50 percent.”). It is undisputed that the proposed House districts—Esselstyn


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HD-145 and HD-149—have AP BVAP of 50.38% and 51.53%, respectively. Stip.

¶ 239, GX 1 ¶ 48 & tbl.5.




      Thus, the Court finds that the Grant Plaintiffs have met their burden with

respect to the numerosity prong of the first Gingles precondition for the

additional two majority-Black House districts that Mr. Esselstyn proposed in the

Macon-Bibb region.

                                    (b)      compactness

      The Court also finds that Mr. Esselstyn drew two additional majority-Black

districts in the Macon-Bibb region that are sufficiently compact and that comply

with traditional redistricting principles.



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                                           i)   Esselstyn HD-145

      The Court finds that the Grant Plaintiffs have shown that it is possible to

draw a legislative district consistent with traditional redistricting principles in

the area encompassed by Esselstyn HD-145.

                                                ((a)) empirical measures

                                                       ((1)) population equality

      The Court finds that Esselstyn HD-145 achieves population equality better

than Enacted HD-145. Esselstyn HD-145 has a population deviation of -0.26%,

whereas Enacted HD-145 has a population deviation of +0.59%. GX 1, attachs. I,

J. Accordingly, the Court finds that Esselstyn HD-145 achieves relative

population equality better than the Enacted HD-145 and complies with the

General Assembly’s population equality guidelines and traditional redistricting

principles.

                                                       ((2)) contiguity

      The Parties stipulated that Esselstyn HD-145 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn HD-145 complies with the traditional

redistricting principle of contiguity.



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                                                     ((3)) compactness scores

      The Court finds that Enacted HD-145 and Esselstyn HD-145 are

comparably the same under empirical compactness measures. Enacted HD-145

has a Reock score of 0.38 and a Polsby-Popper score of 0.19. GX 1, Attach. L.

Esselstyn HD-145 has a Reock score of 0.34 and a Polsby-Popper score of 0.21. Id.

Accordingly, Enacted HD-145 performs better on the Reock measure (by 0.04

points) and Esselstyn HD-145 performs better on the Polsby-Popper measure (by

0.02 points). The Court finds that Enacted HD-145 and Esselstyn HD-145 are

therefore comparably compact based on these objective compactness measures.

                                                     ((4)) political
                                                           subdivisions

      The Court finds that Esselstyn HD-145 demonstrates respect for political

subdivisions. Esselstyn HD-145 contains portions of Bibb and Houston Counties.

GX 1 ¶ 51 & fig.16. Enacted HD-145 contains portions of Bibb, Houston, Monroe,

and Peach Counties. GX 1, Ex. L. As such, Esselstyn HD-145 contains two fewer

county splits than Enacted HD-145. Moreover, Esselstyn HD-145 splits two VTDs




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(one in Houston and one in Bibb Counties) 84 while Enacted HD-145 splits four

VTDs (one in Bibb and three in Houston Counties). GX 1, Ex. L. Accordingly,

Esselstyn HD-145 splits fewer VTDs than Enacted HD-145, a factor that supports

a finding that Esselstyn HD-145 exhibits respect for political subdivisions based

on objective metrics.

                                                    ((b)) eyeball test

      The Court finds that Esselstyn HD-145 is visually compact:




84 The statistics for the VTD splits can be found on pages 7 and 13 of subdivision of the

Political Subdivisions Chart entitled GA House Enacted and pages 8 and 13 of Political
Subdivisions Chart entitled GA House Illustrative. GX 1, Attach. L.
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GX 1 ¶ 51 & fig.16.

      Esselstyn HD-145 does not have appendages or tentacles. Vera, 517 U.S. at

962–63. Using the mapping tool, Esselstyn HD-145 is less than 20 miles in length

at its most distant points. There is no evidence in the Record that suggests that

Esselstyn HD-145 is not visually compact. Accordingly, the Court concludes that

Esselstyn HD-145 is visually compact.




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                                                 ((c))   communities of interest

         The Court also finds that Esselstyn HD-145 demonstrates respect for

communities of interest. Mr. Esselstyn testified that HD-145 preserves

communities of interest because it combines populations from adjacent counties

in communities that are highly developed. Tr. 578:22–579:10. For example,

Esselstyn HD-145 keeps an entire Air Force base intact. Tr. 578:4–7.

         Commenting on Mr. Esselstyn’s HD-145, Ms. Fenika Miller, a lifelong

Houston County resident and community organizer, identified several needs

and interests shared by the Black residents in this area. Tr. 644:3–646:3. Ms. Miller

observed that North Houston County and South Bibb County both lack certain

public services and accommodations. Tr. 654:16–655:6. North Houston County

has one grocery store, no public transportation, and lacks parks and recreation

services. Tr. 654:16–22. “And for South Bibb, that would be the same . . . It used

to be a thriving community and now most of those businesses have shuttered.

And, typically, most of the shopping and the growth have moved.” Tr. 654:23–

655:2.




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      The Court finds that Esselstyn HD-145 is a small district contained in and

around Macon. The communities share the same infrastructural concerns.

Additionally, the Court finds that Esselstyn HD-145 is not long and sprawling,

and, as is evidenced by the size of the district and the trial testimony, preserves

communities of interest.

                                                 ((d)) conclusions of law

      The Court finds that the Grant Plaintiffs have carried their burden in

establishing that the Black community is sufficiently numerous and compact in

Esselstyn HD-145 to constitute an additional majority-Black district. The Court

finds that Esselstyn HD-145 complies with the traditional redistricting principles

of population equality, contiguity, compactness scores, respect for political

subdivisions, and preservation of communities of interest. Additionally, when

visually inspecting the district, it is relatively small in size and does not contain

any appendages or tentacles. Accordingly, the Court finds that the Grant

Plaintiffs have carried their burden in meeting the first Gingles precondition in

the area drawn by Esselstyn HD-145.




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                                           i)   Esselstyn HD-149

      The Court finds that the Grant Plaintiffs have shown that it is possible to

draw a legislative district consistent with traditional redistricting principles in

the area of Esselstyn HD-149.

                                                ((a)) empirical measures

                                                       ((1)) population equality

      The Court finds that Esselstyn HD-149 performs significantly better on

population equality than Enacted HD-149—Esselstyn HD-149’s population

deviation is -0.20%, whereas Enacted HD-149’s population deviation is -1.04%.

GX 1 ¶¶ 46, 53 & attachs. I, J. Thus, the Court finds that Esselstyn HD-149

complies with the principle of population equality.

                                                       ((2)) contiguity

      The Parties stipulated that Esselstyn HD-149 is a contiguous district. Stip.

¶ 258. Hence, the Court finds that Esselstyn HD-149 complies with the traditional

redistricting principle of contiguity.

                                                       ((3)) compactness scores

      Esselstyn HD-149 is also more compact on both compactness measures

than Enacted HD-149. Esselstyn HD-149 has a Reock score of 0.44 and a Polsby-

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Popper score of 0.28. GX 1, Attach. L. Enacted HD-149 has a Reock score of 0.32

and a Polsby-Popper score of 0.22. Id. Accordingly, the Court finds that Esselstyn

HD-149 is reasonably compact as it compares to Enacted HD-149 under the

objective compactness measures.

                                                         ((4)) political
                                                               subdivisions

      The Court finds that Esselstyn HD-149 respects political subdivisions.

Esselstyn HD-149 includes all of Twiggs and Wilkinson Counties and portions of

Baldwin and Bibb Counties 85. GX 1 ¶ 51 & fig.16. Enacted HD-149 includes all of

Wilkinson, Twiggs, Bleckley, and Dodge Counties and a portion of Telfair

County. GX 1, Attach. I. Thus, both plans are primarily made up of whole

counties—Esselstyn HD-149 splits two counties and Enacted HD-149 splits one.

      However, Esselstyn HD-149 has more VTD splits than Enacted HD-149—

Esselstyn HD-149 splits three VTDs in Baldwin and one in Bibb, whereas there




85 The Court notes that although Esselstyn HD-149 splits Bibb County, this split does

not show less respect for communities of interest than the Enacted House Plan. Both the
Enacted and Esselstyn House Plans split Bibb County four ways (Enacted HD-142, Hd-
143, HD-144, and HD-145) and (Esselstyn HD-142, HD-143, HD-145, and HD-149). GX
1, Attach. L.
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are no VTD splits in Enacted HD-149. GX 1, Attach. L. 86 Mr. Esselstyn testified

that these splits can be partially explained by his decision to keep Mercer

University mostly intact (with an exception for one portion excluded because it

would have split another VTD), as well as keeping the core of Milledgeville,

Georgia College, and a Native American historical site intact. Tr. 491:3–13, 580:7–

11. Although Esselstyn HD-149 contains more VTD splits than Enacted HD-149,

the Court finds Mr. Esselstyn’s explanations for keeping other specific

subdivisions intact (i.e., colleges, landmarks, the cores of towns) to be credible.

Accordingly, the Court finds that Mr. Esselstyn generally respected political

subdivisions when he drafted Esselstyn HD-149.

                                                   ((b)) eyeball test

      The Court also finds that Esselstyn HD-149 is visually compact:




86 The statistics for the VTD splits can be found on pages 7–8 of Political Subdivisions

Chart entitled GA House Illustrative.
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GX 1 ¶ 51 & fig.16.

      Visually, the Court finds that Esselstyn HD-149 does not have appendages

or tentacles. Using the mapping tool, Esselstyn HD-149 is approximately 50 miles

long at its most distant points. Although generally a larger district than others at

issue in this Order, Esselstyn HD-145 is still significantly smaller than Enacted




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HD-149, which is, at its most distant points, approximately 80 miles apart. GX 1,

Attach. I. 87

       There is no evidence in the Record disputing the visual compactness of

Esselstyn HD-149 and thereby the Court finds Esselstyn HD-149 is visually

compact.

                                                  ((c))   communities of interest

       The Court finds that Esselstyn HD-149 respects communities of interest.

Mr. Esselstyn testified that one commonality between all the individuals in

Esselstyn HD-149 is that they are within the same Enacted Senate District

(Enacted SD 25). Tr. 582:9–16. Additionally, a prior State House candidate from

the area, Ms. Miller, testified that Esselstyn HD-149 contains rural communities

that have few shopping areas, food security concerns, and no hospitals

(individuals have to drive to either Macon or Milledgeville to go to the hospital).




87 The Court measured the distance using the diagonal beginning at the top of Wilkinson

County to the portion of Telfair County that borders Ben Hill County. GX 1, Attach. I.
This measurement cuts across part of Laurens County in the neighboring district,
Enacted HD-155. If the Court were to take the same measurement and avoid cutting
across Enacted HD-155, however, the length of Enacted HD-149 would be longer.
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Tr. 653:18–25. This district also contains two places of higher education: Mercer

University at one end of the district (in Bibb County) and Georgia College at the

other (in Baldwin County, i.e., Milledgeville). Tr. 491:3–7, 579:21–58:7; see also

Tr. 1898:2–16.

      The Court finds that Esselstyn HD-149 adequately preserves communities

of interest. The majority of the district is rural and shares the same infrastructure

concerns. The district is not long and sprawling. Accordingly, Esselstyn HD-149

preserves communities of interest for purposes of the first Gingles precondition.

                                                 ((d)) conclusions of law

      The Court finds that the Grant Plaintiffs have carried their burden in

establishing that the Black community in Esselstyn HD-149 is sufficiently

numerous and compact to create an additional majority-Black district. The Court

finds that Esselstyn HD-149 complies with the traditional redistricting principles

of population equality, contiguity, compactness, respect for political subdivisions,

and preservation of communities of interest. Additionally, when visually

inspecting the district, does not contain any appendages or tentacles.




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Accordingly, the Court finds that the Grant Plaintiffs have carried their burden

in showing the first Gingles precondition in the area drawn by Esselstyn HD-149.

                     e)     Southwest Georgia region

                              (1)    Alpha Phi Alpha: Cooper HD-171

      The Court finds that Alpha Phi Alpha Plaintiffs have not carried their

burden with respect to establishing that an additional compact majority-Black

district in southwest Georgia could be drawn. To begin, the Court notes that

following the preliminary injunction hearing, the Court concluded that the Alpha

Phi Alpha Plaintiffs had a substantial likelihood of success in proving a Section 2

violation in this area of the State. Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at

1293–1302. “A substantial likelihood of success on the merits requires a showing

of only likely or probable, rather than certain success.” Schiavo Ex. rel. Schindler

v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005). At trial, conversely, the plaintiffs

have the higher burden of proving every aspect of their case by a preponderance of

the evidence. See Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist.,

894 F.3d 924, 930 (8th Cir. 2018).

      In conducting a thorough and sifting analysis of the evidence provided at

the trial, the Court finds that while the Alpha Phi Alpha Plaintiffs met the lower
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threshold of proof at the preliminary injunction phase, they were unable to clear

the hurdle of preponderance of the evidence at the trial. Accordingly, the Court

finds that with the evidence currently before it, Alpha Phi Alpha Plaintiffs were

unable to show by a preponderance of the evidence that an additional compact

majority-Black district could be drawn in southwest Georgia.

                                   (a)     numerosity

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in showing that the Black voting age population in southwest Georgia is large

enough to create an additional majority-Black House district It is undisputed that

Cooper HD-171 has an AP BVAP of 58.06%. APAX 1, AA-1. Accordingly, the

Court finds that the Black population is sufficiently numerous to constitute an

additional majority-Black district in southwest Georgia.

                                   (b)     compactness

      The Court finds that the Alpha Phi Alpha Plaintiffs have not shown that it

is possible to draw an additional majority-Black House district in the area drawn

by Cooper HD-171 consistent with traditional redistricting principles. As an

initial note, Mr. Cooper explained that the district is drawn in the same general

area as Enacted HD-153 and HD-171. APAX 1, ¶ 176 & fig.32. This differs from
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the preliminary injunction, where it was only compared to House District 153.

Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1295–96. Thus, the Court considers

the differences between the districts proposed by the Alpha Phi Alpha Plaintiffs

in its instant compactness analysis.

                                          i)    empirical measures

                                                ((a)) population equality

      The Court finds that Cooper HD-171 achieves relative population equality.

As stated above, the General Assembly did not enumerate the deviation range

for the State House Districts. However, using the Enacted House Plan as a guide,

the Enacted House Plan has a population deviation range between ±1.40%. Stip.

¶ 302. In comparison, Cooper HD-171 has a population deviation of +1.38%,

which is within the population deviation of the Enacted House Plan. APAX 1, Ex.

AA-1. However, of any of Mr. Cooper’s illustrative districts, this district departs

the most from the population deviation in the Enacted Plan. Enacted HD-171 has

a population deviation of -0.46%, meaning that it is almost 1 percentage point

closer to achieving perfect population deviation than Cooper HD-171. APAX 1,

Ex. Z-1. Although Cooper HD-171’s population deviation is within the acceptable


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range of, the Court finds that its wide disparity in comparison to the Enacted Plan

is of concern.

      Thus, while HD-171 district is consistent with the population deviations in

Enacted House Plan, the Court finds that is does not respect population equality

nearly to the same degree as Enacted HD-171.

                                                ((b)) contiguity

      The Parties stipulated that Cooper HD-171 is a contiguous district. Stip.

¶ 300. Hence, the Court finds that Cooper HD-171 complies with the traditional

redistricting principle of contiguity.

                                                ((c))   compactness scores

      The Court finds that Enacted HD-171 performs better on both compactness

measures than Cooper HD-171. Enacted HD-171 has a Reock score of 0.35 and a

Polsby-Popper score of 0.37. APAX 1, Ex. AG-2. Cooper HD-171 has a Reock score

of 0.28 and a Polsby-Popper score of 0.20. APAX 1, Ex. AG-1.

      At the preliminary injunction, the Court found that. Mr. Cooper’s

illustrative district in this region had comparable compactness scores to its

corollary. Alpha Phi Alpha Fraternity, 587 F. Supp. 3d at 1296. However, at the

preliminary injunction, Mr. Cooper submitted an illustrative district that
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compared to Enacted HD-153, not HD-171. Id. Enacted HD-153 has a Reock score

of 0.30 and a Polsby-Popper score of 0.30, which are higher, but much closer to

Cooper HD-171’s scores of 0.28 and 0.20, respectively. Id., APAX 1, Exs. AG-1,

AG-2. However, Mr. Cooper has now changed the configuration of his

illustrative district in this region, and now it correlates with Enacted HD-171,

which has higher compactness scores in comparison.

      Accordingly, the Court finds that Cooper HD-171 is not as compact as

Enacted HD-171, nor are the compactness scores as comparable to its corollary

district as they were on the preliminary injunction evidence.

                                               ((d)) political subdivisions

      The Court finds that Cooper HD-171 does not respect political subdivisions

as well as Enacted HD-171. Cooper HD-171 splits two counties (Dougherty and

Thomas) and keeps Mitchell County whole; whereas, Enacted HD-171 only splits

Grady County and keeps Decatur and Mitchell Counties whole. APAX 1 ¶¶ 175,

177 & figs.32, 33. Cooper HD-171 splits seven VTDs, but Enacted HD-171 splits

only one. APAX 1, Exs. AH-1, AH-3. Additionally, in drawing Cooper HD-171,




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Mr. Cooper created a split in neighboring Lee County, which was kept whole in

the Enacted House Plan. Tr. 290:23–291:12. 88

        Accordingly, the Court finds that Cooper HD-171 fails to respect political

subdivisions as well as Enacted HD-171.

                                             ii)    eyeball test

        The Court finds that Cooper HD-171 is visually compact under the eyeball

test:




88 Mr. Cooper testified that the split of Lee County was to eliminate a four way split of

Dougherty County. Tr. 290:10–12. Under the Cooper House Plan, Dougherty County is
split between three districts (Cooper HD-153, HD-154, and HD-171).
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APAX 1 ¶ 177 & fig.33.

      Using the mapping tool, the Court finds that at its most distant points,

Cooper HD-171 is less than 60 miles long, which is consistent with the

surrounding districts in the Enacted House Plan. Id. Ms. Wright testified that

because of the decreases in population in the southern portion of the State, the

map drawers had to collapse (i.e., consolidate) the prior districts to account for

the population changes. Tr. 1623:17–12.

      Cooper HD-171 does not contain any tentacles or appendages. In

reviewing Cooper HD-171 the Court finds that it is visually compact, and thus

passes the eyeball test.

                                          iii)   communities of interest

      The Court finds Cooper HD-171 preserves communities of interest.

Mr. Cooper offered extensive testimony regarding the connections between the

communities included in Cooper HD-171, and the Court also received

documentary evidence on point. Mr. Cooper pointed out that US-19 and the

historic Dixie Highway run as a corridor through Mitchell County between

Albany and Thomasville. APAX 1 ¶ 178. The communities along that corridor,


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such as Albany, Camilla, Pelham, Meigs, and Thomasville, work together under

the auspices of the Southwest Georgia Regional Commission, including to

designate the Dixie Highway as a state-recognized scenic byway. Tr. 128:18-

129:19, 294:23–295:4; APAX 54 (Corridor Management Plan); APAX 325

(Designation of Historic Dixie Highway Scenic Byway).

      Mr. Cooper testified further about the connection between Thomasville

and Albany: “there are commonalities between the Black population in

Thomasville and the Black population in Albany. The two towns are only about

60 miles apart. It takes you about an hour to get there along Highway 9. They’re

in the same high school football leagues.” Tr. 128:22-129:1. Bishop Reginald T.

Jackson of the Sixth District AME also testified that Dougherty, Mitchell, and

Thomas Counties—all included in Cooper HD-171—share certain similarities,

including more “rural and agrarian” communities, similar education attainment

levels, and income levels “at the lower end of middle class.” Tr. 382:12–19,

383:11–384:2. Further evidencing the connections between the communities in

Cooper HD-171, Plaintiff Janice Stewart lives in Thomasville, but attends church




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at Saint Peter AME Church in Camilla, Georgia (in Mitchell County). Stip. ¶¶ 64,

80-81.

         Thus, the Court finds that there is sufficient testimony and evidence to

show the Black community in Cooper HD-171 interacts with one another and

shares a number of similar concerns. Mr. Cooper testified extensively about the

communities that are contained within the district, the shared socio-economic

factors, and the characteristics that unite them and Plaintiffs submitted lay

witness testimonial evidence of the same. Accordingly, the Court finds that

Cooper HD-171 preserves communities of interest.

                                           iv)    conclusions of law

         Ultimately, the Court concludes that the Alpha Phi Alpha Plaintiffs have

not met their burden in showing that a compact majority-Black district could be

drawn in southwest Georgia. Although the Alpha Phi Alpha Plaintiffs were able

to show that the district preserved communities of interest and was visually

compact, the district fared far worse on all the objective measures of compactness

than Enacted HD-171. Cooper HD-171 had the greatest population deviation

disparity of any of Mr. Cooper’s illustrative districts. The district is significantly


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less compact on both compactness measures. Additionally, the district split more

counties than Enacted HD-171 and had the most political subdivision splits of

any of Mr. Cooper’s new majority-Black districts.

      Of all of the illustrative districts submitted in these cases, no other

illustrative district performed worse on all objective measures. Even Esselstyn

HD-74 and Esselstyn SD-23, in the companion Grant case, and Cooper SD-23,

Cooper HD-133, and Cooper HD-145 performed equally or better on at least one

objective measure. Moreover, the disparity in the performance on objective

measures is stark here and does not lend to a finding that Cooper HD-171 is a

reasonably compact district, consistent with traditional redistricting principles.

Accordingly, the Court concludes that in southwest Georgia, the Alpha Phi

Alpha Plaintiffs did not meet their burden under the first Gingles precondition.

                                      ****

      In sum, the Court makes the following conclusions with respect to the first

Gingles preconditions.

      The Alpha Phi Alpha Plaintiffs have proven by a preponderance of the

evidence that Black community is sufficiently numerous and compact to create:


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   • Two additional majority-Black Senate districts in south-metro Atlanta, and

   • One additional majority-Black House district in south-metro Atlanta, in the

      area depicted in Cooper HD-74.

      The Grant Plaintiffs have proven by a preponderance of the evidence that

the Black community is sufficiently numerous and compact to create:

   • Two additional majority-Black Senate districts in south-metro Atlanta,

   • One additional majority-Black House district in south-metro Atlanta, in the

      area depicted in Esselstyn HD-117,

   • One additional majority-Black House district in west-metro Atlanta, and

   • Two additional majority-Black house districts in the Macon-Bibb region.

      Conversely, the Alpha Phi Alpha Plaintiffs have NOT proven by a

preponderance of the evidence that the Black community is sufficiently

numerous and compact to create:

   • One additional majority-Black Senate district in the eastern Black Belt

      region,

   • One additional majority-Black House district in south-metro Atlanta, in the

      area depicted in Cooper HD-117,

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   • One additional majority-Black House district in the eastern Black Belt

      region,

   • One additional majority-Black House district around the Macon-Bibb

      region, or

   • One additional majority-Black district in southwest Georgia.

      The Grant Plaintiffs have NOT proven by a preponderance of the evidence

that the Black community is sufficiently numerous and compact to create:

   • One additional majority-Black Senate district in the eastern Black Belt

      region, or

   • One additional majority-Black House district in south-metro Atlanta, in the

      area depicted in Esselstyn HD-74.

      The Court now determines whether the Alpha Phi Alpha and Grant

Plaintiffs have satisfied the remaining two Gingles preconditions, in the areas

where they successfully proved the first Gingles precondition.




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             2. Second Gingles Precondition

      The Court finds that the Alpha Phi Alpha and Grant Plaintiffs have each

proven the second Gingles precondition for all their remaining proposed

majority-Black districts.

                     a)     Alpha Phi Alpha

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in establishing the second Gingles precondition in the relevant areas.

Dr. Handley evaluated 16 recent (2016-2022) general and runoff statewide

elections, including for U.S. Senate, Governor, School Superintendent, Public

Service Commission, and Commissioners of Agriculture, Insurance, and Labor.

APAX 5, 5; Stip. ¶¶ 316-317. She also looked at 54 recent (2016-2022) State

legislative elections in the areas of interest, including 16 State Senate contests and

38 State House contests. Tr. 890:2-12; APAX 5, 7-8; Stip. ¶ 324.

      All 2022 State legislative contests in the Enacted Plans identified as districts

of interest were analyzed, even if the contest did not include at least one Black

candidate. APAX 5, 7–8. In addition, because there has only been one set of State

legislative elections under the Enacted Plans (in 2022), Dr. Handley also analyzed

biracial State legislative elections held between 2016 and 2020 in the State
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legislative districts under the previous State House and State Senate plans in the

seven areas of interest. Id.

      Dr. Handley focused on elections that include at least one Black candidate,

an approach that multiple courts have endorsed in other cases because they are

the most probative for measuring racial polarization. Tr. 871:3-6, 872:11-14;

see also id. at 871:10-14 (“[I]f I have enough contests that include Black candidates,

I focus on those, because the courts have made it clear and because we want to

make sure that Black voters are able to elect Black candidates of choice and not

just white candidates of choice, if that’s what they choose to do.”); Robinson, 605

F. Supp. 3d at 801 (crediting Dr. Handley’s opinion that “courts consider election

contests that include minority candidates to be more probative than contests with

only White candidates, because this approach recognizes that it is not sufficient

for minority voters to be able to elect their preferred candidate only when that

candidate is White”); United States v. City of Eastpointe, 378 F. Supp. 3d 589, 610

(E.D. Mich. 2019) (“These [white-only] elections are, however, less probative

because the fact that black voters also support white candidates acceptable to the

majority does not negate instances in which a white voting majority operates to


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defeat the candidate preferred by black voters when that candidate is a

minority.”); United States v. City of Euclid, 580 F. Supp. 2d 584, 598 (N.D. Ohio

2008) (“These contests are probative of racial bloc voting because they . . .

featured African–American candidates.”).

      Courts, including the Eleventh Circuit, agree that reviewing biracial

elections is probative of the polarization inquiry. Davis, 139 F.3d at 1417 n.5

(“[E]vidence drawn from elections involving black candidates is more probative

in Section Two cases[.]”); Wright, 301 F. Supp. 3d at 1313 (“While still relevant,

elections without a black candidate are less probative in evaluating the Gingles

factors.”); see also Tr. 871:5-6; Tr. 2222:11-15. However, the Court wants to make

clear, that a Section 2 violation does not require Black voters to vote for Black

candidates and white voters to vote in opposition to Black candidates. See

DeGrandy, 512 U.S. at 1027 (explaining that this assumption is empirically false).

      As the Court addressed in its credibility determinations, the Court agrees

with the Alabama State Conference of the NAACP court that although elections

with Black and white candidates may be the most helpful in determining

polarization, the manner in which Dr. Handley chose her data set makes her


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findings less reliable. Ala. State Conf. of NAACP, 612 F. Supp. 3d at 1274.

However, the Court notes that the Parties stipulated to her findings and

Defendants’ expert did not take issue with her data set. Stip.         ¶¶ 318–341;

2199:11–2200:4

      That Black voters in the seven areas of interest are politically cohesive is

not contested. In fact, Defendant stipulated that in the 16 recent statewide general

and general runoff elections from 2016-2022, Black voters were “highly cohesive”

in their support for their preferred candidate. Stip. ¶¶ 320 (“In these 16 statewide

general and general runoff elections from 2016-2022, Black voters were highly

cohesive in their support for their preferred candidate.”), 330 (“In the seven areas

of interest, Black voters were very cohesive in supporting their preferred

candidates in general elections for statewide offices.”). As Dr. Handley

concluded and Defendant stipulated, Black-preferred candidates typically

received 96.1% of the Black vote in statewide races in these areas and only 11.2%

of the White vote. Stip. ¶¶ 321, 322.

      Dr. Handley’s analysis of State legislative general elections in the areas of

interest also found “starkly racially polarized” voting. Tr. 862:4-6; APAX 5, 7. As


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with the statewide general elections, “Black voters were very cohesive in support

of their preferred candidates and white voters bloc voted against these

candidates.” Tr. 890:19-21. Again, this is not contested—the Parties stipulated

that, in State legislative general elections, Black voters were highly cohesive in

their support for their preferred candidate. Stip. ¶¶ 326 (“In these 54 State

legislative elections, Black voters were highly cohesive in their support for their

preferred candidates.”), 335 (“In the seven areas of interest, Black voters exhibit

cohesive support for a single candidate in State legislative general elections.”).

      In all but one of the 54 State legislative elections that Dr. Handley analyzed

(i.e., 98.1%) were starkly racially polarized, with Black candidates receiving a

very small share of the white vote and the overwhelming support of Black voters.

See Tr. 890:16-21; APAX 5, 7. As Dr. Handley concluded and the Parties

stipulated, on average, over 97% of Black voters supported their preferred Black

State Senate candidates and over 91% supported their preferred Black State

House candidates. Stip. ¶ 327.

      Defendant’s expert, Dr. Alford, agreed “with [Dr. Handley’s] analysis that

Black voters in general elections in the areas of Georgia that she analyzed are very


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cohesive in their support for a single preferred candidate.” Tr. 2224:14-18.

Consistent with the uncontested evidence, the Court finds that Black voters in

the seven areas of Georgia that Dr. Handley analyzed are highly cohesive in

supporting a single preferred candidate. 89 Moreover, the Black voter cohesion is

stronger in the relevant areas (between 91 and 98%) than in the voter cohesion in

Alabama (92.3%), which the Supreme Court agreed with the three-judge court

was “very clear.” Allen, 599 U.S. at 22. Accordingly, the Alpha Phi Alpha

Plaintiffs have satisfied the second Gingles precondition in the relevant areas.

                     b)     Grant

      The Court finds that the Grant Plaintiffs have proven the second Gingles

precondition as well. The Grant Plaintiffs’ expert in racial polarization,

Dr. Palmer, determined that Black voters had a clearly identifiable candidate of




89 The Court notes that Dr. Alford opined that the Black preferred candidate was always

the Democrat. See, e.g., Tr. 2144:11–25; see also Stip. ¶¶ 319, 325, 331. As noted above
and in the Court’s summary judgment order (APA Doc. No. [268]), the Court found that
partisan affiliation is not relevant to the second and third Gingles preconditions.
Accordingly, Dr. Alford’s conclusions regard partisanship are not relevant, here.
However, the Court will consider his conclusions as a part of Senate Factor Two. See
Section (D)(4)(b)(3) infra.
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choice in every election examined, across the focus areas and in each State Senate

and House district. Stip. ¶¶ 268, 270; GX 2 ¶ 18, tbl.1 & figs.2–4. On average,

Black voters supported their candidates of choice with 98.5% of the vote. Stip.

¶ 269; GX 2 ¶ 18.




GX 2 ¶ 18 & tbl. 1.




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GX 2 ¶ 18 & fig.2.

      Defendants’ racially polarized voting expert, Dr. Alford, does not dispute

Dr. Palmer’s conclusions as to the second Gingles precondition. DX 8, 2–5;

Tr. 2251:2–5. However, Dr. Alford notes that in all of the races examined by

Dr. Palmer, the Black voters’ candidate of choice was the Democrat candidate.

DX 8, 4. As the Court discussed extensively in its Order on the cross-motions for

summary judgment, the second and third Gingles preconditions are results based

inquiries that do not require plaintiffs to prove that race cause the polarization or
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disprove that party caused the polarization. See Grant Doc. No. [229], 51–57. Thus,

Dr. Alford’s suggestions about the cause and effect of racial polarization are not

persuasive for the Gingles preconditions.

      As the data above shows, Black voters in south-Metro and west-Metro

Atlanta support the same candidate more than 98% of the time and in the Macon-

Bibb region, Black voters supported the same candidate 98.1% of the time. GX 2

¶ 18 & tbl.1. “Bloc voting by [B]lacks tends to prove that the [B]lack community

is politically cohesive, that is, it shows that [B]lacks prefer certain candidates

whom they could elect in a single-member, [B]lack majority district.” Gingles,

478 U.S. at 68. As was noted above, Dr. Palmer’s data shows that Black voter

cohesion is greater in these areas than it is in Alabama (92.3%), where the

Supreme Court credited the lower court’s finding of “very strong” Black voter

cohesion. Allen, 599 U.S. at 22. Accordingly, the Court finds that the Grant

Plaintiffs have satisfied their burden on the second Gingles precondition. Based

on the stipulated facts, expert reports, and testimony provided in this case, the

Court concludes that Black voters in the focus areas are politically cohesive.




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             3. Third Gingles Precondition

      The Court also finds that the Alpha Phi Alpha and Grant Plaintiffs have

proven the third Gingles precondition for all the legislative districts remaining.

                     a)       Alpha Phi Alpha

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in establishing the third Gingles precondition in their remaining proposed

legislative districts. Dr. Handley concluded that the starkly racially polarized

voting in the areas that she analyzed “substantially impedes” the ability of Black

voters to elect candidates of their choice to the Georgia General Assembly unless

districts are drawn to provide Black voters with this opportunity. See APAX 5,

22; see also Tr. 892:15-21.

      Specifically, in the seven areas of interest, white voters consistently bloc

voted to defeat the candidates supported by Black voters. See APAX 5, 21–22.

Indeed, Dr. Handley testified that, in general elections, due to White bloc voting,

candidates preferred by Black voters were consistently unable to win elections

and will likely continue to be unable to win elections outside of majority-Black

districts. See Tr. 890:16-21 (noting that in 53 out of 54 State legislative contests,

“Black voters were very cohesive in support of their preferred candidates and
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white voters bloc voted against these candidates); cf. Tr. 863:9-11 (“In each of the

areas, the districts that provided Black voters with an opportunity to elect were

districts that were at least 50 percent Black in voting age population.”).

      Dr. Handley testified that white voters voted as a bloc against Black-

preferred candidates in all the 16 general elections that she analyzed. Tr. 862:4-

14, 877:14-21. As Dr. Handley concluded and Defendant stipulated, Black-

preferred candidates typically received only 11.2% of the white vote. Stip. ¶¶ 321,

322. Similarly, in the State legislative elections Dr. Handley analyzed, the Black-

preferred candidate on average secured the support of only 10.1% of white voters

in State Senate races and 9.8% of white voters in State House races. Stip. ¶ 328.

      This pattern of white bloc voting against Black-preferred candidates is not

contested. In fact, the Parties stipulated that white voters were “very cohesive”

in their support for their preferred candidates in both statewide and State

legislative general elections (Stip. ¶¶ 332, 336), and that the candidates preferred

by white voters in the seven areas of interest are voting against the candidates

preferred by Black voters (Stip. ¶ 337).




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      Defendant’s expert, Dr. Alford, similarly agreed that “with small

exceptions, white voters are highly cohesive” in “the general elections that

Dr. Handley analyzed across the areas of interest in Georgia,” and that, in these

general elections, “large majorities of Black and white voters are supporting

different candidates.” Tr. 2224:25-2225:9; see also DX 8, 6.

      Due to the low level of white support for Black-preferred candidates,

Dr. Handley found that blocs of white voters in the areas of interest were able to

consistently defeat Black-preferred candidates in State legislative general

elections, except where the districts were majority Black. APAX 5, 22; Tr. 891:5-7

(“Black-preferred Black candidates were successful only in districts that were

majority Black in the elections that I looked at.”). As Dr. Handley testified and

Defendant stipulated, all but one of the successful Black State legislative

candidates in the contests that Dr. Handley analyzed were elected from majority

Black districts—the one exception being a district that was majority minority in

composition. Stip. ¶ 329; Tr. 891:13-21.

      “Because voting is starkly polarized in general elections,” Dr. Handley

concluded that “without drawing districts that provide Black voters with an


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opportunity to elect [their candidate of choice] districts in the areas examined

will not elect Black-preferred candidates.” Tr. 906:5-8. The Court finds that the

uncontested evidence shows white voters in the relevant areas only vote for the

Black-preferred candidate between 9.8% to 11.2% of the time. White voters in

Georgia vote in opposition to the Black-preferred candidate at a higher rate than

in Alabama (where 15.4% of white voters supported the Black-preferred

candidate) where the Supreme Court affirmed the three-judge court’s finding of

“very clear” racial polarization. Allen, 599 U.S. at 22. Accordingly, the Court finds

that the Alpha Phi Alpha Plaintiffs have met their burden and proved that white

voters bloc vote in opposition to the Black-preferred candidate. In other words,

in the relevant areas, the Black-preferred candidate will typically be defeated by

white voters in majority-white districts.

                     b)     Grant

        The Court also finds that the Grant Plaintiffs carried their burden on the

third    Gingles   precondition.    The    Grant   Plaintiffs’   expert,   Dr. Palmer,

demonstrated that white voters in the legislative focus area usually vote as a bloc

to defeat Black-preferred candidates. This too has been stipulated by the Parties.


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Stip. ¶¶ 271–74. In each legislative district examined and in the focus areas as a

whole, white voters had clearly identifiable candidates of choice for every

election examined. GX 2 ¶ 18 & fig.2; Tr. 404:20–405:18.

      In the elections Dr. Palmer examined, white voters were highly cohesive in

voting in opposition to the Black-preferred candidate. Stip. ¶ 271. On average,

Dr. Palmer found that white voters supported Black-preferred candidates with

only 8.3% of the vote. Id. ¶ 272; see also GX 2 ¶ 18. In other words, on average,

91.7% of the time white voters voted against the Black-preferred candidate.

      Dr. Palmer then calculated in the success of Black preferred candidates in

districts under the Enacted Plan. GX 2 ¶ 21. In the races examined, Dr. Palmer

concluded that the Black-preferred candidate was only successful in majority-

Black districts. GX 2 ¶ 21 & fig.4.




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GX 2 ¶ 18 & fig.4. When he performed the same analysis with Mr. Esselstyn’s

illustrative majority-Black districts, he found that the Black-preferred candidate

would have been successful in all of the elections that he analyzed. GX 2 ¶¶ 23,

25 & fig.5.


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      Overall, Dr. Palmer found “strong evidence of racially polarized voting

across the areas . . . examined.” GX 2 ¶ 7; see also GX ¶¶ 18–19; Tr. 398:10–16,

407:17–21. As a result of this racially polarized voting, candidates preferred by

Black voters have generally been unable to win elections in the focus areas if not

in a majority-Black district. Tr. 408:9–409:12; GX 2 ¶¶ 20–21 & fig.4. Dr. Palmer

concluded that “Black-preferred candidates win almost every election in the

Black-majority districts, but lose almost every election in the non-Black-majority

districts.” GX 2 ¶ 21. Defendants’ expert Dr. Alford does not dispute Dr. Palmer’s

conclusions as to the third Gingles precondition. DX 8, 2–3; Tr. 2251:6–9.

However, Dr. Alford opined once more that in all of the elections that Dr. Palmer

reviewed, the Black-preferred candidate was a Democrat and the white-preferred

candidate was a Republican. DX 8, 3–5. The Court does not find Dr. Alford’s

conclusion relevant to the Gingles preconditions because it relates to the causes

and not the effects of voter behavior. See Section II(D)(1)(b)(2) supra.

      Using the returns from the 31 statewide elections, Dr. Palmer also analyzed

whether Black voters in Mr. Esselstyn’s additional majority-Black State Senate

and House districts could elect their candidates of choice. GX 2 ¶¶ 22, 24, 25. He


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specifically concluded that “[i]n House Districts 64, 74, and 149, and Senate

Districts 23, 25, and 28, the Black-preferred candidate won a larger share of the

vote in all 40 statewide elections. In House District 117, the Black-preferred

candidate won all 19 elections since 2018.” GX 2 ¶ 24 & tbl.9. Dr. Alford does not

dispute Dr. Palmer’s performance analysis of Esselstyn’s Legislative Plan.

Tr. 2250:20–22.




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PX 2 ¶ 25 & fig.5.

      Again, the evidence of polarization is stronger in this case than it was in

Allen: in the focus areas the highest average support of white voters for the Black-

preferred candidate was 10.7%, whereas in Alabama 15.4% of white voters


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supported the Black-preferred candidates—which was “very clear” evidence of

racially polarized voting. Allen, 599 U.S. at 22. Based on the stipulated facts,

expert reports, and testimony provided in this case, the Court concludes that

white voters in Esselstyn SD-25, SD-28, HD-64, HD-74, HD-145, and HD-149

“very clearly” vote as a bloc to defeat Black-preferred candidates. Accordingly,

the Court finds that the Grant Plaintiffs have satisfied their burden in proving the

third Gingles precondition.

                                       ****

             The Court finds that in Cooper SD-17, SD-28, HD-74, HD-117 and

Esselstyn SD-25, SD-28, HD-64, HD-117, HD-145, and HD-149, the Alpha Phi

Alpha and Grant Plaintiffs, respectively, have proven all three Gingles

preconditions by a preponderance of the evidence. Thus, the Court will evaluate

whether, under the totality of the circumstances, the political process is equally

open to Black voters in these areas.

             4.    Totality of the Circumstances

      The Court now turns to the totality of the circumstances inquiry to

determine if Georgia’s political process is equally open to the affected Black


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voters. Wright, 979 F.3d at 1288 (“[I]n the words of the Supreme Court, the district

court is required to determine, after reviewing the ‘totality of the circumstances’

and, ‘based upon a searching practical evaluation of the past and present reality,

whether the political process is equally open to minority voters.’” (quoting

Gingles, 478 U.S. at 79)).

      For the proposed districts where Plaintiffs satisfied the Gingles

preconditions, the Court must now determine if the electoral system is equally

open to them. Put differently, the Court must determine if the Black voters in

these areas have less of an opportunity to elect a candidate of their choice based

on race. Wright, 979 F.3d at 1288.

      Again, the Court notes that Georgia has made great strides since the

passage of the Voting Rights Act to give Black voters more of an equal

opportunity to participate in the political process. For example, Georgia’s current

congressional delegation has five Black representatives to the U.S. House of

Representatives and one Black senator. However, the Court acknowledges that

as far as the State General Assembly’s representation is concerned, the numbers




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are less proportional. 90 See GX 1 ¶¶ 22 (indicating the Enacted State Senate Plan

contains 14 majority-Black districts out of 56 districts, or 25%), 45 (indicating the

Enacted State House Plan contains 49 majority-Black districts out of 180

districts, 91 or approximately 27.2%).

      Like the Pendergrass case, however, the whole of the evidence in the Alpha

Phi Alpha and Grant Plaintiffs’ case for the totality of the circumstances inquiry

shows that, while promising gains have been made in the State of Georgia, the

political process is not currently equally open to Black Georgians. When

evaluating the Senate Factors, the evidence shows that Black voters have less of

opportunity to partake in the political process than white voters. Thus, the Court

determines that the totality of the circumstances inquiry supports finding a

Section 2 violation in the Alpha Phi Alpha and the Grant Plaintiffs’ case.




90 The Court’s reference to proportionality here is only to support a general observation

regarding the trajectory of minority voters’ equal access to the political system in
Georgia.
91 The Georgia Legislative Black Caucus, however, only has 41 members in the Georgia

House of Representatives. Stip. ¶ 348.
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                     a)    Alpha Phi Alpha

      The Court finds that the Alpha Phi Alpha Plaintiffs have proven that,

under the totality of the circumstances, Georgia’s electoral system is not equally

open to Black voters in the districts meeting the Gingles preconditions (i.e.,

Cooper SD-17, SD-28, SD-74).

                              (1)   Totality of circumstances inquiry: purpose
                                    and framework

      To reiterate, for a Section 2 violation to be found, the Court must conduct

“an intensely local appraisal” of the electoral mechanism at issue, as well as a

“searching practical evaluation of the ‘past and present reality.’” Allen, 599 U.S.

at 19 (citing Gingles, 478 U.S. at 79). The purpose of this appraisal is to determine

the “essential inquiry” of a Section 2 case, which is “whether the political process

is equally open to minority voters.” Ga. State Conf. of the NAACP, 775 F.3d at 1342

(emphasis added) (quoting Gingles, 478 U.S. at 79). Put differently, the totality of

the circumstances inquiry ensures that violations of Section 2 may only be found

when “members of the protected class have less opportunity to participate in the

political process.” Chisom, 501 U.S. at 397 (emphasis added).




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      The legal framework for the totality of the circumstances inquiry is the

same applied in the Pendergrass case. In short, in this analysis the Court

considers the relevant Senate Factors—Georgia’s history of discrimination and

its voting practices enhancing the opportunity for discrimination, racial

polarization in elections, socioeconomic factors, use racial appeals, Black-

candidate success in elections, elected officials’ responsiveness to the Black

community, and the State’s policy justification for the enacted map. Gingles, 478

U.S. at 44–45. The Court also considers the proportionality achieved by the

Enacted Legislative Plans. The Court ultimately concludes that the totality of the

circumstances’ inquiry weighs in favor of finding a Section 2 violation in the

Alpha Phi Alpha case.

                            (2)     Senate Factors One and Three: historical
                                   evidence of discrimination and State’s use of
                                   voting procedures enhancing opportunity to
                                   discriminate

      The Court first turns to Georgia electoral practices, both past and present,

that bear on discrimination against Black voters under Senate Factors One and




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Three. 92 Senate Factor One focuses on “[t]he extent of any history of official

discrimination in the state . . . that touched the right of the members of minority

group to register, to vote, or otherwise to participate in the democratic process[.]”

Gingles, 478 U.S. at 36–37. Senate Factor Three “considers ‘the extent to which

the State or political subdivision has used voting practices or procedures that

tend to enhance the opportunity for discrimination against the minority group,

such as unusually large election districts, majority vote requirements, and

prohibitions against bullet voting.’” Wright, 979 F.3d at 1295 (quoting Gingles,

478 U.S. at 44–45).

       The Court finds that the Alpha Phi Alpha Plaintiffs have presented

evidence of both past and present history in Georgia that the State’s voting

practices disproportionately effect Black voters. Like in the Pendergrass case, the

Court is careful in this analysis to assess both past and present efforts that have

caused a disproportionate impact on Black voters. Allen, 599 U.S. at 19. Both




92 Like in the Pendergrass case, the Court considers both Senate Factors One and Three

together because there is significant overlap in the trial evidence for the two factors. Cf.,
e.g., Singleton, 582 F. Supp. 3d at 1020 (considering Senate Factors One, Three, and Five
together).
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types of evidence are relevant because certainly “past discrimination cannot, in

the manner of original sin, condemn governmental action that is not itself

unlawful.” Greater Birmingham Ministries, 992 F.3d at 1325 (quoting Bolden, 446

U.S. at 74). But past discrimination and disproportionate effects cannot be

completely overlooked. See Allen, 599 U.S. at 14, 19 (assessing a history of

discrimination in Alabama following Reconstruction); League of Women Voters,

81 F.4th at 1333 (asserting that “[p]ast discrimination is relevant” and citing to

Allen). Accordingly, taking these statements from recent Supreme Court and

Eleventh Circuit cases, the Court and evaluates Georgia’s practices of

discrimination past and present as relevant evidence in the totality of the

circumstances inquiry.

                                     (a)     historical evidence of discrimination
                                             broadly

      Courts have continuously found that Georgia has a history of

discrimination. Wright, 301 F. Supp. 3d at 1310 (“Georgia has a history chocked

full of racial discrimination at all levels. This discrimination was ratified into state

constitutions, enacted into state statutes, and promulgated in state policy. Racism

and race discrimination were apparent and conspicuous realities, the norm rather

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than the exception.”); Cofield, 969 F. Supp. at 767 (“African-Americans have in

the past been subject to legal and cultural segregation in Georgia[.]”); id. (“Black

residents did not enjoy the right to vote until Reconstruction. Moreover, early in

this century, Georgia passed a constitutional amendment establishing a literacy

test, poll tax, property ownership requirement, and a good-character test for

voting. This act was accurately called the ‘Disfranchisement Act.’ Such devices

that limited black participation in elections continued into the 1950s.”).

      During the trial, Defendant stipulated that “up until 1990 we had historical

discrimination in Georgia.” Tr. 1524:14–15. Alpha Phi Alpha Plaintiffs’ experts

conclusions are consistent with this assertion. Plaintiffs’ expert Dr. Ward

concluded that “Georgia has a long history of state-sanctioned discrimination

against Black voters that extended beyond written law to harassment,

intimidation and violence.” APAX 4, 1. 93 Another expert in these cases,




93 The numbering in Dr. Ward’s report resets after the first two pages. As the substance

of Dr. Ward’s report starts on the second page 1, the Court intends for its citations to
refer to the pages of Dr. Ward’s substantive findings and conclusions.
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Dr. Burton 94 opined that “[t]hroughout the history of the state of Georgia, voting

rights have followed a pattern where after periods of increased nonwhite voter

registration and turnout, the state has passed legislation, and often used

extralegal means, to disenfranchise minority voters.” PX 4 at 10; see also

Tr. 1428:3–24. The Alpha Phi Alpha Plaintiffs’ expert, Dr. Jones, also testified that

Georgia has “used basically every expedient . . . associated with Jim Crow to

prevent Black voters from voting in the state of Georgia.” Tr. 1162:9–11.

       This unrebutted testimony and the extensive accounts of Georgia’s history

of discrimination in Alpha Phi Alpha Plaintiffs’ expert reports demonstrate that

Georgia’s history—including its voting procedures— spans from the end of the

Civil War onward. See, e.g, Tr. 1431:13–17; APAX 2, 7; APAX 4, 3–13. This history

has uncontrovertibly burdened Black Georgians. Id.




94 The Parties agreed and the Court permitted Alpha Phi Alpha Plaintiffs to incorporate

Dr. Burton’s trial testimony and portions of his expert report that were directly testified
about into the Alpha Phi Alpha case. Tr. 1464:11-25.
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                                    (b)     Georgia practice from the passage of
                                            the VRA to 2000

      Congress enacted the Voting Rights Act of 1965 to address these

discriminatory practices. One of the Voting Rights Act’s provisions was the

preclearance   requirement,     which      mandated   certain   jurisdictions   with

well-documented practices of discrimination (including Georgia) to get approval

from the federal government before making changes to their voting laws. 52

U.S.C. § 10304 .

      The Voting Rights Act, however, did not instantly translate into equal

voting in Georgia. In fact, Dr. Jones opined that “Georgia resisted the VRA from

its inception.” APAX 2, 8. In the early years following the passage of the VRA,

“Georgia refused to submit new laws for preclearance.” Id. Specifically, between

1965 and 1967, Georgia submitted only one proposed change to DOJ for

preclearance. Id. Among states subject to preclearance in their entirety, Georgia

ranked second only to Alabama in the disparity in voter registration between its

Black and white citizens in 1976. Tr. 1437:10–1438:3. These continued disparities

following the VRA were at least caused because “Georgia resisted the Voting

Rights Act [and] for a period, it refused to comply.” Tr. 1163:9–17. Even still, from

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1965 to 1981, the Department of Justice objected to more than 200 changes

submitted by Georgia, which accounted for almost one-third of DOJ’s objections

for all states during that period. APAX 2, 8–9.

      Georgia’s history of discrimination against Black voters did not end in 1981.

When the VRA was reauthorized in 1982, the Senate Report specifically cited to

Georgia’s discriminatory practices that diminished the voting power of Black

voters. S. Rep. 97-417, 9th Cong. 2d Sess. 10, 13 (1982). During the 2006

reauthorization process of the Voting Rights Act, Georgia legislators “took a

leadership position in challenging the reauthorization of the [A]ct.” Tr. 1164:2–

17. As Dr. Jones reminds us, “Georgia’s resistance to the VRA is consistent with

its history of resisting the expansion of voting rights to Black citizens at every

turn.” APAX 2, 9. Even following the 2000 Census, the district court in the District

of Columbia refused to preclear the General Assembly’s Senate plan because the

court found “the presence of racially polarized voting” and that “the State ha[d]

failed to demonstrate by a preponderance of the evidence that the

reapportionment plan for the State will not have a retrogressive effect.” Ashcroft,

195 F. Supp. 2d at 94.


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                                      (c)     more recent voting practices with a
                                              disproportionate impact on Black
                                              voters

       The Court moreover concludes that the Alpha Phi Alpha Plaintiffs

submitted evidence of more recent practices in Georgia which disproportionately

impact Black voters and have resulted in a discriminatory effect. These practices

include county at-large voting sytems, polling place closures, voter purges, and

the Exact Match requirement. The Alpha Phi Alpha Plaintiffs also rely on the

Georgia General Assembly’s passage of SB 202 following the 2020 presidential

election as evidence of recent and present practice disproportionally affecting

Black voters. 95




95 The Court reiterates that Dr. Burton clearly denied that the General Assembly or

Georgia Republicans are racist. Tr. 1473:18–1474:9. As articulated by Dr. Burton, “I am
not saying that the legislature is [racist]—I am saying that some of the legislation that
comes out has a disparity—it affects Black citizens differently than white citizens to the
disadvantage on Black citizens, but I am not saying that they are racist. But the effect
has a disparate impact among whites and Blacks and other minorities.” Tr. 1474:4–9.
Section 2 of the VRA does not require the Court to find that the General Assembly
passed the challenged maps to discriminate against Black voters, or that the General
Assembly is racist in any way. Nothing in this Order should be construed to indicate
otherwise.
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      As in Pendergrass, the evidence in the Alpha Phi Alpha case shows that

following Shelby County and the end of pre-clearance, the U.S. Commission on

Civil Rights found that Georgia had adopted five of the most common

restrictions that impose roadblocks to the franchise for minority voters: (1) voter

ID laws, (2) proof of citizenship requirements, (3) voter purges, (4) cuts in early

voting 96, and (5) widespread polling place closures. Tr. 1442:3–12 (referencing PX

4, 48–49). No other State has engaged in all five practices. Id. (referencing PX 4,

48–49).

      The Court ultimately weighs the evidence submitted and determines that

the evidence of Georgia’s present voting practices disproportionately impact

Black voters. The Court proceeds by assessing the Alpha Phi Alpha Plaintiffs’

evidence of (i) at-large voting practices, (ii) Georgia’s practice of closing polling

places, (iii) Georgia’s Exact Match requirement, (iv) the General Assembly’s

passage of SB 202, and (v) the State’s rebuttal evidence of open and fair election




96 While it may have been true at the time of this report that Georgia had made cuts to

early voting, the Court acknowledges Mr. Germany’s trial testimony was that SB 202
increased early voting opportunities by adding two mandatory Saturdays and expressly
permitted counties to hold early voting on Sundays at their discretion. Tr. 2269:8–21.
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procedures. 97 The Court finally (vi) renders its conclusion of law on this Senate

Factor.

                                               i)     at-large voting

       One example of a recent discriminatory practice that Dr. Jones relied on

was recent use of at-large voting systems in Georgia. APAX 2, 10–12. It is

undisputed that as a state, Georgia does not use at-large voting systems.

However, some counties do. In fact, as recently as 2015, a federal court, under

Section 2, enjoined Fayette County’s use of at-large voting methods for electing

members to the Fayette County Board of Commissioners and Board of Education.

Id. (citing Ga. State Conf. of NAACP v. Fayette Cnty. Bd. of Comm’rs, 118 F.

Supp. 3d 1338, 1339 (N.D. Ga. 2015)). Following the enactment of the remedial

maps, a Black candidate was elected for the first time to the Fayette County Board




97 The Court may evaluate statewide evidence to determine whether Black voters have

an equal opportunity in the election process. LULAC, 548 U.S. at 438 (“[S]everal of the
[ ] factors in the totality of circumstances have been characterized with reference to the
State as a whole.”); see also Allen, 599 U.S. at 22 (crediting the three-judge court’s
finding lack of equal openness with respect to state wide evidence (citing Singleton, 582
F. Supp. 3d at 1018–24); Gingles, 478 U.S. at 80 (crediting district court’s findings of lack
of equal opportunity that was supported by statewide evidence).
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of Commissioners. APAX 2, 11. This evidence was unrebutted. The Court notes

that Cooper SD-28 even contains a portion of Fayette County. APAX 1 ¶ 99. The

Court finds that the 2015 district court opinion finding that Fayette County’s use

of at-large voting violated Section 2 is particularly persuasive in showing recent

discriminatory practices in voting given that this county is a part of one of the

challenged areas.

                                          ii)      polling place closures

      The Court finds that there is also compelling evidence that Georgia’s recent

closure of numerous polling places disproportionately impacts Black voters.

Between 2012 and 2018, Georgia closed 214 voter precincts, “decreasing the

number of precincts in many minority majority neighborhoods.” APAX 2, 29

(citing Patrik Jonsson, “Voting After Shelby: How a 2013 Supreme Court Ruling

Shaped the 2018 Election,” Christian Science Monitor, November 21, 2018,

https://www.csrnonitor.com/USAlJustice/2018/1121/Voting-after-Shelby-

How-a-2013-Supreme-Court-ruling-shaped-the-2018-election; The Leadership

Conference on Civil and Human Rights, "Democracy Diverted: Polling Place

Closures    and     the   Right    to     Vote,"     at   32,    September   2019,


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https://civilrights.org/democracy-diverted/). In five of the counties where the

polls were closed Black turnout was under 50% in 2020, when it had been

between 61.36% and 77.50% in the 2018 election. APAX 2, 29–30 (citing Mark

Niesse and Maya T. Prabhu, “Voting Locations Closed across Georgia after

Supreme Court Ruling," The Atlanta Journal-Constitution, April 31, 2018,

https://www.ajc.com/news/state--regional-govt--politics/votingprecincts-

closed-across-georgia-since-election-oversight-1iftedJ

bBkHxpflirn0Gp9pKu7dfrN/; Georgia Secretary of State, “Elections,” 2018.

https://sos.ga.gov/index.php/elections.)

      A 2020 study found that “about two-thirds of the polling places that had

to stay open late for the June primary to accommodate waiting voters were in

majority-Black neighborhoods, even though they made up only about one-third

of the state’s polling places.” APAX 2, 30 (citing Stephen Fowler, “Why Do

Nonwhite Georgia Voters Have to Wait in Line for Hours?,” ProPublica (Oct. 17,

2020), https://www.propublica.org/article/why-do-nonwhite-georgia-voters-

have-to-wait-in-line-for-hours-their-numbers-have-soared-and-their-polling-

places-have-dwindled). Additionally, on average, the “wait time after 7 p.m.


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across Georgia was 51 minutes in polling places that were 90% or more nonwhite,

but only 6 minutes in polling places that were 90% white.” Id. The study that

Dr. Jones cited for these statements is the same as the one cited by Dr. Burton that

found that “[i]n 2020, the nine counties in metro Atlanta that had nearly half of

the registered voters (and the majority of the Black voters in the state)[, but] had

only 38% of the state’s polling places.” PX 4, 50 n.173. Notably, at trial, both Drs.

Jones and Burton testified consistently about polling place closures and that they

disproportionately impacted Black voters. Tr. 1432:21–25; 1440:16–1441:21;

1347:10–1348:9.

      The Court concludes that the Alpha Phi Alpha Plaintiffs’ evidence of

polling place closures—and, notably, in metro-Atlanta where some of the

challenged districts are located—is recent evidence of a voting practice with a

disproportionate impact on Black voters.

                                           iii)   exact match

      The Alpha Phi Alpha Plaintiffs’ evidence also shows Georgia’s voting

practices include roadblocks to the voting efforts of minority voters in the form




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of the Exact Match system and the State’s purging of voter registration

lists.,98APAX 2, 23–28.

      These practices, however, have been determined in prior decisions by the

Court to not be illegal under federal law. The prior decisions upholding the Exact

Match requirement and registration list purges certainly impact the weight to

afford these voting practices. However, in this case, the evidence shows—

without contradicting the prior legal determinations—that these practices have a

disproportionate effect on Black voters for purposes of the instant totality of the

circumstances’ inquiry. Specifically, when these prior decisions are considered in

the light of the legal frameworks at issue, the Court finds that these practices can

be used as evidentiary support of a disproportionate discriminatory impact on

Black voters in Georgia without contradicting or minimizing the prior decisions

upholding Georgia’s laws.




98 In light of the Court’s ruling allowing Dr. Burton’s testimony and specific references

to is report to be incorporated into the Alpha Phi Alpha case (1464:11-25), the Court may
rely on Dr. Burton’s report’s analysis of the Commission’s report in the Alpha Phi Alpha
case. See Tr. 1441:25–1442:15 (Dr. Burton referencing his report and testifying about the
U.S. U.S. Commission on Civil Rights, An Assessment of Minority Voting Rights Access
in the United States: 2018 Statutory Enforcement Report (Washington, 2018), 369).
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      Specifically, Georgia’s Exact Match procedure was determined to not

violate VRA’s Section 2 because when the burden on voters, the disparate impact,

and the State’s interest in preventing fraud were considered together, the

weighing of these considerations counseled against finding a violation. Fair Fight

Action, 634 F. Supp. 3d at 1246. The Exact Match ruling in Fair Fight relied on the

Brnovich decision and emphasized that “the modest burdens allegedly imposed

by [the Exact Match law], the small size of the disparate impact, and the State’s

justifications” did not support a Section 2 violation. Id. at 1245–46 (quoting

Brnovich, 141 S. Ct. at 2346). Even without a Section 2 violation, however, the

Court found that the Exact Match requirement disproportionately impacted

Black voters given that: Black voters were a smaller portion of the electorate but

as of January 2020, 69.4% of individuals flagged as “missing identification

required” were African American, and 31.6% of the voters flagged for pending

citizenship 31.6% were African American, whereas white voters only accounted

for 20.9%. Fair Fight Action, 634 F. Supp. 3d at 1160, 1162; Tr. 1283:3–10. Thus,

the Court’s decision in Fair Fight itself acknowledged that the Exact Match

practice in Georgia has a discriminatory impact on Black voters—which is the


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inquiry specifically at issue here. When the Court considers Fair Fight’s

determination in the light of the Civil Rights’ Commission’s report that generally

Exact Match practices are a roadblock to minority voters, the Court concludes

that this modern practice in Georgia supports that Georgia’s modern voting

practices have a discriminatory effect on Black voters.

                                              iv)     SB    202’s       disproportionate
                                                      impact

       The Alpha Phi Alpha Plaintiffs also cite to Georgia’s passage of SB 202 as

evidence of modern discrimination. The General Assembly passed SB 202

following the 2020 Presidential election. APAX 2, 28–29; Tr. 1182:1–9. A challenge

to SB 202 is pending in the Northern District of Georgia and has not been resolved

at the time the Court enters this Order. 99 In re SB 202, 1:21-mi-55555 (N.D. Ga.




99 The Court notes that on October 11, 2023, the district court assigned the SB 202 case

ruled on a pending motion for preliminary injunction that involves Section 2 and
constitutional challenges to several provisions in SB 202. In re SB 202, 1:21-mi-55555,
ECF No. 686 (N.D. Ga. Oct. 11, 2023). The court denied the plaintiffs’ motions for
preliminary injunction and found that there was not a substantial likelihood of success
on the merits of any of their claims. Id. at 61. No rulings in that case are binding on this
Court. McGinley, 361 F.3d at 1331 (“[A] district judge’s decision neither binds another
district judge[.]”). However, the Court is cautious in its discussion of SB 202 to avoid
inconsistent rulings and creating confusion.
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Dec. 23, 2021). The Court acknowledges that the evidence presented in that case

is not presently before this Court. 100 Given this pending challenge to SB 202, the

Court proceeds cautiously in an effort of judicial restraint, which counsels against

the Court preemptively making any findings that could lead to inconsistent

rulings with decisions already made or implicating the ultimate determination of

the legality of the law.

       With these qualifications in mind, the Court cannot ignore that evidence

on SB 202 has been presented by the Plaintiffs as proof of present discriminatory

practices in Georgia’s treatment of Black voters. See, e.g., APAX 2, 28–29. 101

Defendants likewise provided rebuttal testimony. See generally Tr. 2261–2307.

The Court, treading cautiously, tethers its findings regarding SB 202 to the




100 To be abundantly clear, this Court does not have a challenge to SB 202 before it.

Plaintiffs’ experts have provided evidence regarding potential motivations behind SB
202 and the impact that its passage had on Black voters. See APAX 2, PX 4, GX 4. And
Defendants provided counter evidence. See generally Tr. 2261–2307 (testimony of Ryan
Germany). The Court evaluates solely the evidence adduced in this case.
101 Drs. Burton and Jones concluded that certain portions of SB 202 have an actual or

perceived negative impact on Black voters. See Tr. 1185:17–1186:16 (Dr. Jones opining
that Black voters increased use of absentee ballots and their use of drop boxes correlated
with the passage of SB 202); Tr. 1445: 1–25 (Dr. Burton opining that certain provisions
of SB 202 were put in place because of the gains made by Black voters in the electorate).
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testimony and evidence advanced by the Alpha Phi Alpha Plaintiffs’ experts for

purposes of the totality of the circumstances inquiry on the Senate Factors. Namely, the

Court considers the passage of SB 202, once again, as some evidence of practices

with a disproportionate impact on Black voters. This conclusion is made with the

expert conclusion of Dr. Burton in mind that “in Georgia [it] was the pattern that

every time . . . that Black citizens made gains in some way or another or were

being successful, that the party in power in the state, whether it’s Democrat or

Republican, found ways or came up with ways to either disenfranchise, but

particularly dilute or in some way make less effective the franchise of Black

citizens than those of white citizens.” Tr. 1428:9–21. Dr. Burton specifically cites

the passage of SB 202 as evidence of this pattern in his trial testimony

(Tr. 1442:16–1444:25), which was incorporated by the Alpha Phi Alpha Plaintiffs

in their case (Tr. 1464:10–25).

      Accordingly, the Court considers SB 202 as evidence of a current

manifestation of a historical pattern that following an election, the General

Assembly responsively passes voting laws that disproportionately impact Black

voters in Georgia.


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                                       (d)     Defendant’s rebuttal evidence

       The Court now turns to Defendants’ rebuttal evidence. Defendants do not

affirmatively rebut the Alpha Phi Alpha Plaintiffs’ expert evidence with their

own expert evidence. Instead, Defendants cross-examined Drs. Jones and Burton

on the prior legal determinations upholding some of the voting practices raised.

See, e.g., Tr. 1251:16–19. The Court, however, has already determined that it is

not inconsistent with these prior rulings to now find that these voting practices

have a discriminatory impact on Black voters for purposes of the instant totality

of the circumstances. See Section II(D)(4)(a)(2)(iii) supra exact match section.

       Defendants instead, through lay witness testimony, submitted that

Georgia has implemented legislation to make it easier for all voters to

participate. 102 In favor of Defendants on these factors, the Court considers

Mr. Germany’s testimony about SB 202. Mr. Germany indicates that the motive




102 The Court notes that on cross-examination Mr. Germany explained that SB 202

received numerous complaints; however, he is unable to quantify whether those
complaints primarily came from Black voters because the Secretary of State’s Office does
not analyze the impact of the legislation on particular categories of voters—i.e., white
voters v. Black voters. In his opinion, that analysis is not helpful to the overall goal to
“make it easy for everyone, regardless of race.” Tr. 2283:2–2285:5.
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for passing the law was to alleviate stress on the electoral system and increase

voter confidence. Tr. 2265:3–23. Moreover, SB 202, among other things, expanded

the number of early voting days in Georgia. Tr. 1476:7–9, 2269:8–21.

Mr. Germany testified that Georgia employs no-excuse absentee voting

(Tr. 2268:9–16) and was the second state in the country to implement automatic

voter registration through the Department of Driver Services, which also allows

voters to register the vote using both paper registration and online voter

registration (Tr. 2263:12–20). Georgia furthermore offers free, state-issued,

identification cards that voters can use to satisfy Georgia’s photo ID laws.

Tr. 2264:15–22.

      The Court has also been presented additional evidence that immediately

prior to Shelby County, the DOJ precleared Georgia’s 2011 Congressional Plan.

Tr. 1471:14–20. Moreover, following the passage of SB 202, Georgia experienced

record voter turnout in the 2022 midterm election cycle. Tr. 1480:3–8.

                                   (e)     conclusion on Senate Factors One and
                                           Three

      In sum, the majority of the evidence before the Court shows that Georgia

has a long history of discrimination against Black minority voters. This history

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has persisted in the wake of the VRA and even into the present through various

voting practices that disproportionately affect Black voters. The Alpha Phi Alpha

Plaintiffs have provided concrete recent examples of the discriminatory impact

of recent Georgia practices, some specifically in the area of the districts proposed.

       Defendants conversely have submitted some recent evidence of Georgia

increasing the access and availability of voting. The evidence even shows that

overall voter turnout has increased in the most recent national election. 103 These

efforts are commendable, and the Court encourages these developments. In the

Court’s view, however, it is insufficient rebuttal evidence. Thereby, in toto, the

Court concludes that Georgia has a history—uncontrovertibly in the past, and

extending into the present—of voting practices that disproportionately impact

Black voters. Thus, Senate Factors One and Three on the whole weigh in favor of

finding a Section 2 violation.




103 As discussed in greater detail, infra, Black voter turnout rate decreased by 15 points

from the 2020 election cycle to the 2022 election cycle and recorded the lowest voter
turnout rate in a decade. See Section II(D)(4)(e)(1) infra.
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                             (3)    Senate Factor Two: racial polarization

      The second Senate Factor assesses “the extent to which voting in the

elections of the State or political subdivision is racially polarized.” Wright,

979 F.3d at 1305 (quoting LULAC, 548 U.S. at 426). As indicated in the Alpha Phi

Alpha Summary Judgment Order, polarization is a factor to be considered in the

totality of circumstances inquiry, in addition to the second and third Gingles

preconditions. Alpha Phi Alpha Doc. No. [268], 44. Pursuant to persuasive

authority, the Court finds that when a Defendant has raised a race-neutral reason

for the polarization, the Court must look beyond the straight empirical

conclusions of polarization. See Nipper, 39 F.3d at 1524 (plurality opinion)

(finding that Defendants may rebut evidence of polarization by showing racial

bias is based on nonracial circumstances); Uno, 72 F.3d at 983 (asserting the

evidence of racial polarization on the second and third Gingles preconditions

“will endure unless and until the defendant adduces credible evidence tending to

prove the detected voting patterns can most logically be explained by factors

unconnected to the intersection of race with the electoral system.”).




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      Defendants have consistently argued that partisanship is a race-neutral

explanation for polarization of voters in Georgia. See, e.g., Tr. 2410:18–2411:14. In

an intentional discrimination context, the Eleventh Circuit cautioned courts

“against conflating discrimination on the basis of party affiliation with

discrimination on the basis of race . . . . [e]vidence of race-based discrimination is

necessary to establish a constitutional violation.” League of Women Voters, 66

F.4th at 924.

      The Court acknowledges that whether voter polarization is on account of

partisanship or race is a difficult question to disentangle. During an extended

colloquy with the Court, Dr. Alford testified that “voting behavior is very

complicated” and that in his view democracy is about “voting for a person that

follows their philosophy or they think is going to respond to their needs.”

Tr. 2182:4–5; 2183:4–8. He went on to clarify that party identity and affiliation is

exceptionally strong in this country and starts at a young age. Tr. 2183:8–2184:6.

      Dr. Alford concluded that, from the empirical evidence presented by the

Alpha Phi Alpha Plaintiffs, one cannot causally determine whether the data is

best explained by party affiliation or racial polarization. He specifically testified:


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               [T]he kind of data that we use here, which is, you know
               ecological and highly abstract data, cannot demonstrate
               cohesion in sort of its natural form.

               Much of the work on things like individual-level surveys,
               exit polls, et cetera, also make it very difficult in a non-
               experimental setting to demonstrate causation. It really
               takes an experimental setting. So there is some work
               done in experimental settings, but this is not an area of
               inquiry that is—scientific causation in the social sciences
               is very difficult to establish. This is not an area where
               there has been any work that’s established that.

Tr. 2226:7–18.

      The Court is not in a position to resolve the global question of what causes

voter behavior. Such question is empirically driven, and one in which expert

political scientists and statisticians do not agree. The Court can, however, assess

the evidence of polarization presented at trial. In doing so, the Court determines

that the Alpha Phi Alpha Plaintiffs have shown sufficient evidence of racial

polarization in Georgia voting for this factor to weigh in favor of finding a Section

2 violation.

      First, the Alpha Phi Alpha Plaintiffs present Dr. Handley’s report,

indicating strong evidence of racial polarization in voting. APAX 5. Plaintiffs also

offered testimony about the strong connection between race and partisanship as
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it currently exists in Georgia. Dr. Handley testified that Black and white voters

have, for over decades, realigned their partisan affiliations based on the political

parties’ positions with respect to racial equality and civil rights. See Tr. 885:1-

886:7. See also APAX 10, 4 (“Researchers have traced Southern realignment—the

shift of white voters from overwhelming support for the Democratic party to

nearly equally strong support for the Republican party—to the Democratic

party’s support for civil rights legislation beginning in the 1960s.”).

      This testimony was supported by various experts in the case. Dr. Burton

testified that in the 1960s there was a “huge shift of African-Americans from the

party of Lincoln, the Republican party, to the Democratic party and the shift of

white conservatives from the Democratic party to the Republican party.”

Tr. 1445:4-7. Dr. Ward testified that race has consistently been the best predictor

of partisan preference since the end of the Civil War. Tr. 1343:14-25. Dr. Ward

explained that racially polarized voting has “been the predominant trend

through political eras and political cycles” and even though “Black party

preference has shifted dramatically from reconstruction to the present, [] more




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often than not, that party preference is dramatic and demonstrable.” Tr. 1343:17-

20.

       Moreover, Dr. Ward described how the composition and positions of

political parties in Georgia were forged in response to the history of Black

political participation. APAX 4, 3, 19-20. Dr. Burch’s testimony regarding

political science studies of the Black Belt is consistent: “living in Black belt areas

with . . . legacies of slavery predict white partisan identification and racial

attitudes.” APAX 6, 33.

       Empirically, Dr. Burton testified about the success of Black candidates in

the light of the percentage of white voters in the district. 104 The following chart

was displayed during the trial and presents his findings:



104 Race of a candidate is not dispositive for a polarization inquiry. DeGrandy, 512 U.S.

at 1027 (“The assumption that majority-minority districts elect only minority
representatives, or that majority-white districts elect only white representatives, is false
as an empirical matter. And on a more fundamental level, the assumption reflects the
demeaning notion that members of the defined racial groups ascribe to certain minority
views that must be different from those of other citizens.” (Kennedy, J, concurring in
part) (citation omitted)). The Court, however, finds that an assessment of the success of
Black candidates in reference to different percentages of white voters, is good evidence
that partisanship is not the best logical explanation of racial voting patterns in Georgia.



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PX 4, 56 (footnote content omitted).

      Clearly there is a meaningful difference in Black candidate success

depending on the percentage of white voters in a district. When the white voter




Cf. Johnson, 196 F.3d at 1221–22 (“We do not mean to imply that district courts should
give elections involving [B]lack candidates more weight; rather, we merely note that in
light of existing case law district courts may do so without committing clear error.”).
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percentage is lowest, Black Democratic candidates have the most success. This

effect inverts as the percentage of white voters increases, culminating in no Black

Democrat candidate success (regardless of party) when the white voter

percentage reaches 47% (for the State Senate) or 55% (for the State House). PX 4,

56. These findings are consistent with Dr. Palmer’s unrebutted findings about the

challenged districts: Black voters voted for the same candidate, on average, 98.4%

of the time and white voters voted for a different candidate, on average, 87.6% of

the time. Stip. ¶¶ 219, 223.

      In contrast to this evidence, Defendants’ expert, Dr. Alford, provided the

Court with data from the most recent Republican primary election where

Herschel Walker was a candidate and received 60% of both Black and white

voters votes. DX 8, 9 & tbl. 1; Tr. 2209:3–13. He qualified that the number of Black

voters who voted in the Republican primary was small, therefore, he could not

conclude that Mr. Walker was the Black-preferred candidate. Tr. 2237:18–19. But

rather, the data showed that white voters did not vote as a bloc to defeat Walker’s

candidacy. Tr. 2237:19–21. His remaining analysis involved descriptive

conclusions based on Dr. Handley’s data set and, most importantly, did not offer


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additional support for a conclusion that voter behavior caused by partisanship

rather than race. See generally DX 8.

      In light of the foregoing evidence, the Court finds that Senate Factor Two

weighs heavily in favor of finding a Section 2 violation.

                               (4)    Senate Factor        Five:   105   socioeconomic
                                      disparities

       Senate Factor Five considers socioeconomic disparities between Black and

white voters and these disparities’ impact on Black voter participation. The

Eleventh Circuit recognized in binding precedent that “disproportionate

educational, employment, income level, and living conditions arising from past

discrimination tend to depress minority political participation.’” Wright, 979 F.3d

at 1294 (quoting Marengo Cnty. Comm’n, 731 F.2d at 1568). “Where these

conditions are shown, and where the level of black participation is depressed,

plaintiffs need not prove any further causal nexus between their disparate socio-

economic status and the depressed level of political participation.” Id. (quoting




105 Senate Factor Four—a history of candidate slating—is not at issue because Georgia

does not use a slating process. Alpha Phi Alpha Fraternity, Inc, 587 F. Supp. 3d at 1317.
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Marengo Cnty., 731 F.2d at 1568-69); Dallas Cnty. Comm’n, 739 F.2d at 1537

(“Once lower socio-economic status of [B]lacks has been shown, there is no need

to show the causal link of this lower status on political participation.”)).

                                      (a)     Black voter participation

      The Court finds that the Alpha Phi Alpha Plaintiffs have shown that Black

voters have lower voter turnout rates than white voters. Dr. Burch testified that

in the 2020 statewide general election that white voters had a turnout rate of

67.4%. Tr. 1051:7–12. Depending on whether she calculated the voting age

population for SR Black 106 or Black alone and in combination 107 , or registered

Black voter turnout 108 ranged between 53.7% to 55.8%. Meaning, that that the

disparity between white and Black voter turnout ranged from 11.6 to 13.7%.

APAX 6, 6–7; Tr. 1051:7–18. Specifically, in the metro Atlanta clusters, Dr. Burch

calculated that in the 2020 election, the east Atlanta cluster had a voter turnout



106 Voter turnout for SR BVAP is 55.8%. APAX 6, 6–7. The white voting age population’s

turnout rate was 67.4%; thus, there was a 11.6% turnout gap. Id.; Tr. 1051:13–16.
107 Voter turnout for SR BVAP is 53.7%. APAX 6, 6–7. The white voting age population’s

turnout rate was 67.4%; thus, there was a 13.7% turnout gap. Id.
108 Black registered voter turnout was 60.0% and white registered voter turnout was

72.6%; thus, there was a 12.6% turnout gap. Id.; Tr. 1051:16–18.
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gap between 11.8% and 14.6%, the southwest Atlanta cluster had a voter turnout

gap between 9.2% and 12.4%, and southeast Atlanta cluster had a voter turnout

gap between 10.1% and 13.0%. APAX 6, 10 & figs. 1–3.

      In the 2022 general election, again, statewide white voter turnout exceeded

Black voter turnout between 11.1% and 13.3%. 109 Tr. 1052:6–13. Dr. Burch

determined that the turnout gap also persisted across the county clusters at issue

in this case for both 2020 and 2022 general election data. Tr. 1051:22-1052:2 (“So

with respect to the county clusters, I saw a pretty sizable turnout gap in 2020 for

almost all of the county clusters that I analyzed no matter how I calculated it.

And I think the lowest gap was I think – in 2020 was 8.9 percentage points. So

even with those county clusters it was a sizable gap.”); id. at 1052: 16-18 (“Again,

in 2022, we still see gaps even in all of the turnout clusters—in all of the county




109 Voter turnout for SR BVAP was 42.3%. APAX 6, 10. The white voting age
population’s turnout rate was 53.4%; thus, there was a 11.1% turnout gap. Id. Voter
turnout for SR BVAP was 41.4%. Id. The white voting age population’s turnout rate was
53.4%; thus, there was a 12.0% turnout gap. Id. Black registered voter turnout was 45.0%
and white registered voter turnout was 58.3%; thus, there was a 13.3% turnout gap. Id.
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clusters, Black voters still vote less than white voters in those clusters.”) 110; APAX

6, 7–10, 11–13.

       Defendants did not put forth rebuttal evidence contesting that Black voter

participation in the political process was lower than white voters. Defendants

also did not challenge or rebut the accuracy of Dr. Burch’s findings on voter

turnout, but rather questioned the choices that she made when considering

which elections to consider and what counties were included in which clusters.

Tr. 1106:16–1115:6. On cross-examination, Defendant did not rebut that there is a

voter turnout gap between white and Black voters in Georgia.

       The Court also understands Defendant to argue that Black voter turnout is,

at least, in part motivated by voter excitement for the candidate. Tr. 1114:1–22.

The Court is not persuaded by this argument. Even assuming that Defendant’s

theory of voter mobilization could be a valid legal argument rebutting statistical




110 Specifically,in the metro Atlanta clusters, Dr. Burch calculated that in the 2022
election, the east Atlanta cluster had a voter turnout gap between 10.8% and 13%, the
southwest Atlanta cluster had a voter turnout gap between 3.2% and 9.1%, and
southeast Atlanta cluster had a voter turnout gap between 5.7% and 10.1%. APAX 6, 11–
13 & figs. 4–6.
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evidence of depressed Black voter turnout, Defendants submitted no evidence

connecting lower Black voter turnout to a lack of motivation to vote. Some

nonempirical testimonial evidence on cross examination that the candidates on a

ballot impact voter turnout is insufficient to rebut the expert statistical evidence

presented by the Alpha Phi Alpha Plaintiffs that Black voter turnout is, on the

whole and across elections, disproportionately lower than white voter turnout,

and that Black voters participate less in the political process than white voters.

Thus, the Court concludes that the Alpha Phi Alpha Plaintiffs submitted evidence

that Black Georgians participate in the political process, both generally and in

voter turnout, less than white voters.

                                    (b)     socio-economic disparities

      The Court also concludes that there is sufficient evidence in the Record to

show disproportionate educational, employment, income level, and living

conditions arising from past discrimination. Black Georgians suffer disparities in

socioeconomic status, including in the areas of education, employment, and

income. APAX 6, 13-21. As Defendant acknowledged, with respect to

“[s]ocioeconomic disparities[,] I don’t think you’ll find a lot of disagreement from


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the parties here. The census numbers are what they are.” Tr. 49:4-6. According to

Census estimates, the unemployment rate among Black Georgians is 8.7% and

the unemployment rate among white Georgians is 4.4%. Stip. ¶ 342.

         The Census estimates that 21.5% of Black Georgians are living below the

poverty compared to 10.1% of white Georgians. Stip. ¶ 344. Black Georgians also

receive SNAP benefits at a higher rate than white Georgians, with 22.7% of Black

Georgians receiving SNAP benefits compared to 7.7% of white Georgians. Id.

¶ 345.

         According to Census estimates, 13.3% of Black adults in Georgia lack a

high school diploma, compared to 9.4% of white adults in Georgia. Stip. ¶ 346.

35% of white Georgians over the age of 25 have obtained a bachelor’s degree or

higher, compared to only 24% of Black Georgians over the age of 25. Id. ¶ 347.

The rate of poverty for Black Georgians is more than twice that of white

Georgians. Tr. 1059:2-4. The median income for Black Georgian households is

about $25,000 less than that of white Georgian households. Tr. 1059:4–6. Black

Georgians experience poverty rates more than double those of white Georgians.

APAX 6, 19.


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      Black Georgians fare worse than white Georgians in terms of various

health outcomes, such as infant mortality, hypertension, diabetes, obesity, overall

mortality rates, and cancer. APAX 6, 31–33; Tr. 1063:22-1064:7. Black Georgians

between the age of 19-64 years old are more likely to lack health insurance than

white Georgians in the same age demographic, which affects access to health care

and health outcomes. APAX 6, 32; Tr. 1064:11-16.

      The Court concludes that the Alpha Phi Alpha Plaintiffs have adduced

sufficient evidence to show that socio-economic disparities between white and

Black Georgians, where Black Georgians are generally impacted more negatively

than white Georgians on a number of metrics.

                                   (c)     conclusions on Senate Factor Five

      Under binding precedent, the Alpha Phi Alpha Plaintiffs have proven that

rates of Black voter political participation are depressed as compared to white

voters participation. The aforementioned evidence also shows that Black

Georgians   suffer   from significant socioeconomic        disparities,   including

educational attainment, unemployment rates, income levels, and healthcare

access. When both of these showings have been made, the law does not require a


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causal link be proven between the socioeconomic status and Black voter

participation. Wright, 979 F.3d at 1294. 111 Accordingly, the Court concludes that

the socioeconomic evidence and the lower rates of Black voter participation

support a finding that Senate Factor Five weighs heavily in favor of a Section 2

violation.

                                (5)    Senate Factor Six: racial appeals in Georgia’s
                                       political campaigns

       Senate Factor Six “asks whether political campaigns in the area are

characterized by subtle or overt racial appeals.” Wright, 979 F.3d at 1296. Courts

have continually affirmed district courts’ findings of “overt and blatant” as well

as “subtle and furtive” racial appeals. Gingles, 478 U.S. at 40; see also Allen, 599

U.S. at 22–23. However, in the Alabama district court proceedings, preceding the

Allen appeal, the trial court assigned less weight to the evidence of racial appeals

because the plaintiffs had only shown three examples of racial appeals in recent

campaigns, but did not submit “any systematic or statistical evaluation of the




111 While not required as a matter of law, as a matter of social science, Dr. Burch’s report

indicates that the academic literature demonstrates a strong and consistent link between
socioeconomic status and voter turnout. Tr. 1055:4–10.
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extent to which political campaigns are characterized by racial appeals” and thus

the court could not be evaluate if these appeals “occur frequently, regularly,

occasionally, or rarely.” Singleton, 582 F. Supp. 3d at 1024 (emphasis added).

      Similarly here, the Court finds that there is evidence of isolated racial

appeals in recent Georgia statewide campaigns. However, there is no evidence

for the Court to determine if these appeals characterize political campaigns in

Georgia. Thus, while the Alpha Phi Alpha Plaintiffs submitted evidence of

discrete instances 112 in recent elections where racial appeals were invoked—




112 The Alpha Phi Alpha Plaintiffs have provided the following evidence of racial
appeals used in recent Georgia elections across the past few election cycles:
In the 2018 gubernatorial election, then-Secretary of State Kemp, (now twice-elected
Governor) used a social media campaign to associate Stacey Abrams with the Black
Panther Party and ran a commercial advertisement where he discussed rounding up
illegal immigrants in his pickup truck. APAX 2, 38; Tr. 1364:12–16.
In the 2020 U.S. Senatorial election, then-Senator Kelly Loeffler ran a campaign ad
against “a dangerous Raphael Warnock,” whose skin had been darkened, and who was
also associated with communism, protests, and civil unrest. Tr. 1193:19–1195:5; APAX
31; APAX 2, 39.
In 2022, during the senatorial race between Senator Warnock and Herschel Walker,
Mr. Walker ran an advertisement that aimed to distinguish “between the Black
candidate and himself” as the Republican candidate, in order to “associate himself with
the white voter [and] mak[e] the Black candidate look menacing and problematic . . . .”



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which is “some evidence” of political campaigns being characterized by racial

appeals—the Court cannot meaningfully evaluate whether these appeals “occur

frequently, regularly, occasionally, or rarely” and thereby does not afford great

weight to this factor. Singleton, 582 F. Supp. 3d at 1024.

                              (6)    Senate Factor Seven: minority candidate
                                    success

       Senate Factor Seven “focuses on ‘the extent to which members of the

minority group have been elected to public office in the jurisdiction.’” Wright,

979 F.3d at 1295 (quoting LULAC, 548 U.S. at 426). Unlike the second and third

Gingles preconditions, the Court now must specifically look at the success of

Black candidates, not just the success of Black preferred candidates. Assessing the

results of Georgia’s recent elections, the Court finds that Black candidates have

achieved little success, particularly in majority-white districts.




Tr. 1198:9–1199:4; APAX 2, 43–44.
Also in 2022, in the Republican primary for governor, former Senator David Purdue
stated in an interview, that Abrams was “demeaning her own race” and to let her “go
back where she came from.” APAX 2, 38 (quoting Reid J. Epstein, “David Perdue Makes
Racist Remarks about Stacey Abrams as He Ends a Lackluster Campaign, N.Y. Times,
(May 23, 2022), https://www.nytimes.com/2022/05/23/us/politics/david-perdue-
staceyabrams-racist-remarks.html.).
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      As a population, Black Georgians have historically been and continue to

be underrepresented by Black elected officials across Georgia’s statewide offices.

Georgia has never elected a Black governor (Stip. ¶ 349) and Black candidates

have otherwise only had isolated success in statewide partisan elections in the

last 30-years. Specifically, in 2000, David Burgess was elected Public Service

Commissioner, in 2002 and 2006 Mike Thurmond was elected to Labor

Commissioner, and in 1998, 2002, and 2006 Thurbert Baker was elected Georgia

Attorney General. 113 Stip. ¶ 361. Most recently, after 230 years of exclusively

white Senators, Senator Raphael Warnock was twice elected to U.S. Senate and

in his most recent election he defeated a Black candidate. APA Doc. No. [284], 11.

Finally, nine Black individuals have been elected to statewide nonpartisan office

in Georgia. Stip. ¶ 362.

      In Georgia’s congressional elections, only 12 Black candidates have ever

been elected to the Congress. Tr. 1201:1–5. Five Black individuals serve in the




113The Court takes judicial notice of the specific elections that each candidate
successfully won. See Scott, 2019 WL 4200400, at *3 n. 4 (taking judicial notice of the
publicly filed election results); see also n.65 supra.
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United States House of Representatives from Georgia’s current congressional

districts. Stip. ¶ 359. Four of these Black congresspersons are elected in majority-

Black districts. PX 1, K-1. The other Black Representative, congresswoman Lucy

McBath, represents Congressional District 7.

      In State legislative districts, the Georgia Legislative Black Caucus has only

14 members in the Georgia State Senate (25%) and 41 members in the Georgia

House of Representatives (less than 23%). 114 Stip. ¶ 348. As incorporated in the

Alpha Phi Alpha case, Dr. Burton’s testimony referred to the 2020 and 2022

legislative elections, where Black candidates had little to no success when they

did not make up the majority of a district. 115 Specifically, Black candidates in the

2020 legislative elections did not have any success when they did not make up at

least 45.1% of a House District or 53.8% of a Senate District.




114 The Enacted Senate Plan contains 14 majority-Black districts. Stip. ¶¶ 176, 186; APAX

1, M-1. The Enacted House Plan contains 49 majority-Black districts. Stip. ¶¶ 183, 186,
APAX 1, Z-1.
115 Erick Allen was elected to Georgia House District 40 in 2018 and re-elected in 2020,

even though House District 40 was not a majority-Black district in 2018 or 2020.
Tr. 1012:2–12.
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PX 4, 56.

      Although the Court finds that Black candidates have achieved some

success in statewide elections following 2000, the Court ultimately concludes

Senate Factor Seven weighs heavily in favor of the Alpha Phi Alpha Plaintiffs.

The Supreme Court in Gingles, when discussing the success of a select few Black



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candidates, cautioned courts in conflating the success of a few minority

candidates as dispositive. Gingles, 478 U.S. at 76.

      In short, since Reconstruction, Georgia has only elected four Black

candidates in statewide partisan elections: Mike Thurmond, Thurbert Baker,

David Burgess, and Raphael Warnock. Stip. ¶ 361. For statewide non-partisan

elections, Georgia has elected nine successful Black candidates: Robert Benham,

Leah Ward-Sears, Harold Melton, Verda Colvin, John Ruffin, Clarence Cooper,

Herbert Phipps, Yvette Miller, Clyde Reese. Stip. ¶ 362. Georgia has sent twelve

successful Black candidates to the U.S. House of Representatives. Tr. 1201:1–5.

Currently, there are 55 members of the Georgia General Assembly that are in

Georgia’s Legislative Black Caucus (of 236 total members), and all are elected

from majority-minority districts. Stip. ¶ 348; APA Doc. No. [284], 8–9. The Court

concludes that these isolated successes of Black candidates show that the Black

population is underrepresented in Georgia’s statewide elected offices. This

conclusion is even stronger in majority-white districts.

      To be sure, Dr. Burton acknowledged, and even affirmed that some

academic scholarship indicates that “the future electoral prospects of African-


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American statewide nominees in growth states such as Georgia are indeed

promising.” Tr. 1470:2–24. The Court likewise is hopeful about the prospects

increased enfranchisement of all voters and for the potential success of minority

candidates in Georgia. However, Dr. Burton also emphasized that, specifically in

Georgia, dating back to Reconstruction increased minority success led to “more

legislation from whichever party is in power [to] disenfranchise or at least dilute

or make the vote count less.” Tr. 1470:14–16. Accordingly, the optimism about

Georgia’s future elections does not rebut the contrary evidence of the present

success of Black candidates; accordingly, the Court finds that Senate Factor Seven

weighs heavily in favor of finding a Section 2 violation.

                              (7)     Senate Factor Eight: responsiveness to Black
                                     residents

       Senate Factor Eight considers whether elected officials are responsive to

the particularized needs of Black voters. A lack of responsiveness is “evidence

that minorities have insufficient political influence to ensure that their desires are

considered by those in power.” Marengo Cnty. Comm’n, 731 F.2d at 1572. The

Eleventh Circuit noted that “although a showing of unresponsiveness might

have some probative value a showing of responsiveness would have very little.”

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Id. Alpha Phi Alpha Plaintiffs’ expert, Dr. Burch, discussed the existence of

significant socioeconomic disparities between Black and white Georgians, which

he concluded contributed to the lower rates at which Blacks engage their elected

representatives. APAX 6, 36. Id.

      The Court cannot from the evidence before it find that its passage was due

to the responsiveness or lack thereof to Black voters. There is no evidence that

shows that a particular legislator received a complaint about pieces of legislation

and ignored it. Accordingly, the Court finds that evidence about legislation is not

persuasive.

      Dr. Burch also concluded that socioeconomic disparities such as: education,

residential conditions, incarceration rates, and healthcare concerns demonstrate

that the Georgia legislature is not responsive to the Black community. APAX 6,

34.A number of lay witnesses testified about socioeconomic issues affecting Black

voters. Tr. 639:24-640:25, Eric Woods Dep. Tr. 53:8-54:1; Phil Brown Dep.




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Tr. 67:12-68:1. 116 However, there is evidence that concerns about healthcare

access, education, property taxes, and gun safety are not unique to Black citizens.

Tr. 639:24–640:25.

       The Court finds that the arguments regarding socioeconomic disparities

are not particularly helpful in determining whether Georgia’s elected officials are

responsive to Black Georgians. The Court finds that although there is evidence

about concerns that Black voters have, there is not sufficient evidence that their

representatives are not responsive to their needs. 117




116 The  Parties submitted designations, counter designations, and objections to the
named Plaintiffs’ depositions to the Court prior to the start of the Trial. APA Doc. No.
[275], Pendergrass Doc. No. [223], Grant Doc. No. [232]. At the Pretrial Conference, the
Parties agreed to the admission of these depositions following the Court’s ruling on the
objections. APA Doc. No. [285], Pendergrass Doc. No. [274], Grant Doc. No. [247]. The
Court issued rulings on the deposition objections and they are part of the Record. APA
Doc. No. [292], Pendergrass Doc. No. [243], Grant Doc. No. [254].
117 The Court notes that Dr. Evans testified that she attempted to call her State Senator,

Representative, and county commissioner about redistricting concerns and her calls
were generally unanswered. Tr.637:7–19. The Court acknowledges that Dr. Evans’s
representatives were unresponsive in this instance; however, the Court cannot
extrapolate from this isolated occurrence that, as a whole, Georgia’s elected officials are
unresponsive to Black voters.
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      Ultimately, there is an absence of evidence regarding the level of

responsiveness of Georgia’s elected representatives to Black voters and white

voters. Due to the lack of evidence, the Court finds that Senate Factor Eight does

not weigh in favor of finding a Section 2 violation. See Greater Birmingham

Ministries, 992 F.3d at 1334 (finding that failure to consider amendments to a

particular piece of legislation does not show that legislatures were unresponsive

to the needs of minority voters).

                             (8)    Senate Factor Nine: justification for the
                                    Enacted Congressional Plan

      The Court finds that the State’s justification for the Enacted State

Legislature Plans factor favors Defendants and thus weighs against finding a

Section 2 violation.

      At the trial, Ms. Wright testified that the Enacted Congressional Plan began

with the creation of a blank map that largely balanced population that then could

be modified based on input from legislators. Tr. 1622:11–13. Ms. Wright also

relied on information obtained from the public hearings on redistricting.

Tr. 1668:24–1670:5. Political performance was an important consideration in the

design of the Enacted Congressional Plan. Tr. 1669:20–23. In Enacted CD-6

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specifically, Ms. Wright justified that the four-way split of Cobb Count by

asserting that Cobb County was better able to handle a split of a congressional

district than a smaller nearby county. Tr. 1672:9–1673:4. She further testified that

the inclusion of parts of west Cobb County in Enacted CD-14 was because of

population and political considerations, namely putting a democratic area into

District 14 instead of District 11 (which was more political competitive).

Tr. 1674:6–1675:2.

      Similarly, for the Enacted House Plan, Ms. Wright started with a blank

map and the ideal district size given the population changes. Tr. 1642:7–23.

Initially, she did not consider incumbency and instead drew a map based solely

on population. Tr. 1642:15–18. Ms. Wright then integrated information from

public hearings regarding the public’s preferences. Tr. 1643–46. In the Macon-

Bibb area, specifically, she testified that there were comments about wanting to

keep House Districts 142 and 143, majority-Black districts, in Macon-Bibb

because the representatives were well-liked in the community. Tr. 1659:6–15.

Eventually, she drafted the maps to avoid incumbency pairings and county splits.

Tr. 1448:9–21. Ms. Wright testified that the growth in Georgia was concentrated


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in the north (i.e., metro-Atlanta), which caused districts to be moved from the

south into that area. Tr. 1469:16–19. Again, political performance was an

important consideration in drafting the Enacted State House Plan. Tr. 1468:5–8.

       The Alpha Phi Alpha Plaintiffs do not challenge that this is the process the

State used to draw the Enacted Legislative Plans. Accordingly, the Court finds

Defendants’ evidence that the Enacted Legislative Plans were drawn to further

partisan goals to be a sufficient, non-tenuous justification. Accordingly, Senate

Factor Nine does not weigh in favor of a Section 2 violation. 118

                               (9)    Proportionality

       Finally, the Court determines that proportionality does not weigh against

finding a Section 2 violation in the Alpha Phi Alpha Plaintiffs’ case. Currently,

25% of the State Senate and 27.2% of the State House elect members from

majority-Black districts and the AP Black population is 33.03% of the State. APAX

1 ¶¶ 15, 17, 41




118 As in the Pendergrass case, however, this factor will be accorded less weight given

that, in Alpha Phi Alpha Plaintiffs’ Section 2 case, a legislature’s intent in drawing map
is irrelevant.
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      Defendant argued, however, that Black voters have proportional

representation in the General Assembly because 43% of the State House and 41%

of the State Senate are Democrats, which is the Black-preferred candidate. Tr.

36:16–23. The Court categorically rejects Defendant’s argument. First, the Court

finds that there is no empirical evidence to suggest that every Democrat member

of the General Assembly is a Black-preferred candidate. 119 This suggestion,

absent supporting empirical evidence, leans dangerously close to “the

demeaning notion that members of the defined racial group ascribes to certain

minority views that must be different from those of other citizens.” DeGrandy,

512 U.S. at 1027.

      Furthermore, the number of Black-preferred candidates who are

successfully elected is not the proper consideration for proportionality. As the

Court’s summary judgment order in the Pendergrass case reflects, the proper

metric for determining proportionality is the number of majority-Black districts




119 Although the Black-preferred candidate in all of the races examined by Dr. Handley

were Democrats, Dr. Handley’s research was confined to specific areas of the State and
she did not evaluate whether all current Democrat members of the General Assembly
were the Black-preferred candidate. Stip. ¶¶ 309–15.
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in proportion to the Black population, not the number of Black-preferred

candidates elected. Pendergrass Doc. No. [215], 72; see also De Grandy, 512 U.S.

at 1014 n.11 (“‘Proportionality’ as the term is used here links the number of

majority-minority voting districts to minority members’ share of the relevant

population . . . This proviso speaks to the success of minority candidates, as

distinct from the political or electoral power of minority voters.”).

      Here, therefore, the relevant numbers to consider in the proportionality

analysis are the number of majority-minority districts in the Enacted Legislative

Plans. Only 25% of the State Senate districts are majority-Black (14 districts of 56

districts total). APAX 1 ¶ 15. In the State House, 27.2% of the districts are

majority-Black (49 districts of the 180 districts total). 120 APAX 1 ¶ 17. The Alpha

Phi Alpha Plaintiffs’ additional two State Senate districts that survive the Gingles

preconditions bring the proportion of majority-Black Senate districts only to

28.6% of the total districts. 121 And the Alpha Phi Alpha Plaintiffs’ additional one




120 However, the Georgia Legislature’s Black Caucus has only 41 members in the State

House. Stip. ¶ 348.
121 16/56 = approximately 28.6%.


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House district similarly only increases the proportion of majority-Black districts

to be 27.8% of the total. 122 These proportions fall below both the AP Black

population in the State (33.03% (Stip. ¶ 97)) and the AP Black voting age

population (31.73% (Stip. ¶ 104)). Thus, proportionality is not achieved in the

State House or State Senate, under the Enacted Plan or with the addition of two

State Senate districts and one State House district. Thus, the Court concludes that

proportionality does not weigh against the Alpha Phi Alpha Plaintiffs.

                             (10)   Conclusions of law

      The Court finds that the Alpha Phi Alpha Plaintiffs have met their burden

in establishing that (1) the Black community in south-metro Atlanta is sufficiently

numerous and compact to constitute two additional majority-Black Senate

districts and one additional majority-Black House district; (2) the Black

community is politically cohesive in this area; and (3) that the white majority

votes as a bloc to typically defeat the Black communities’ preferred candidate in

these areas. The Court also finds that in evaluating the Senate Factors, Georgia’s




122 50/180 = approximately 27.8%


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electoral system is not equally open to Black voters in these regions of the State.

Specifically, the Court finds that Senate Factors One, Two, Three, Five, and Seven

weigh in favor of showing the present realities of a lack of opportunity for Black

voters. The Court also finds that Senate Factor Six weighs slightly in favor finding

a Section 2 violation. Thereby, only Senate Factors Four, Eight 123 and Nine did

not weigh in favor of finding a Section 2 violation. The Court also found that

proportionality does not weigh against the Alpha Phi Alpha Plaintiffs. In sum,

the Court finds that a majority of the totality of the circumstances evidence

weighs in favor of finding a Section 2 violation in the proposed districts in metro

Atlanta. Because the Alpha Phi Alpha Plaintiffs have carried their burden of

proof on all of the legal requirements, the Court concludes that SB 1EX and HB

1EX violate Section 2 of the Voting Rights Act.




123 Senate Factor Eight is given little weight. Marengo Cnty. Comm’n, 731 F.2d at 1572.


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                     b)     Grant

                               (1)   Totality of circumstances inquiry standards
                                     and incorporation of the Pendergrass Case’s
                                     Analysis on Senate Factors One, Three, Five124,
                                     Six, Seven, and Eight

      The standards governing the Court’s totality of the circumstances inquiry

are the same in Grant Plaintiffs’ case as they were in Pendergrass Plaintiffs’ case.

See Section II(C)(4) supra. Hence, the Court considers the aforementioned Senate

Factors to determine if Grant Plaintiffs met their burden to show that the political

process is not equally open to minority voters in Georgia.

      Moreover, the totality of the circumstances evidence in both the

Pendergrass case and the Grant case is largely the same. The expert reports




124 The evidence on Senate Factor Five is largely the same for the Atlanta and Macon-

Bibb region. However, Dr. Collingwood did provide specific evidence that he
concluded that the “trend” in the Black Belt region “is very similar to the overall
statewide trend for both the 2020 and 2022 general elections.” Rep at 20.
Dr. Collingwood furthermore determined that “whites vote at higher rates than [ ]
Blacks in the clear majority of the precincts.” Rep at 22. These findings are consistent
with his findings in the metro Atlanta region where Black voters, generally, had lower
turnout rates than white voters. Accordingly, the Court finds that Senate Factor Five
weighs in favor of a Section 2 violation in Macon-Bibb region with the same force as the
districts in the metro Atlanta region.
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submitted (i.e., Dr. Burton 125 and Dr. Collingwood 126 ) are identical in the two

cases. At trial, Pendergrass Plaintiffs and Grant Plaintiffs simultaneously

questioned and cross-examined the totality of circumstances witnesses. For a

number of the Senate Factors, moreover, the evidence submitted would be

considered by the Court in an identical manner. Accordingly, to avoid needless

duplication, the Court hereby incorporates in toto its analysis in the Pendergrass

case, supra, on Senate Factors Three, Five 127, Six, Seven, and Eight. 128

       The Court also incorporates Senate Factor One, see Section II(C)(4)(a) supra,

with the following alterations to its analysis regarding polling place closures:



125 In Pendergrass, Dr. Burton’s report is designated PX 4. In Grant, it is designated GX

4. The report’s content and page numbers, however, do not change between the cases.
126 In Pendergrass, Dr. Collingwood’s report is designated PX 5. In Grant, it is
designated GX 5. Again, the content and pages numbers in the report are identical in
the cases.
127 As noted in the Pendergrass case, for Senate Factor Five’s consideration of minority

voter participation in the political process, in 2022, voter turnout in Clayton, Henry, and
Rockdale counties “slightly exceeded” white voter turnout. GX 5, 16. While these
counties are directly implicated in the districts satisfying the Gingles preconditions in
Grant Plaintiffs’ Illustrative plan, the Court does not find this “slight” evidence to
outweigh the strong evidence otherwise that Black Georgians participate less than white
Georgians in the political process. See Section II(C)(4)(d) supra.
128 Again, Senate Factor Four—a history of candidate slating for elections—is not at issue

because Georgia’s elections do not use a slating process.
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      With respect to the legislative districts in the metro Atlanta region, the

Court in Pendergrass credited Dr. Burton’s findings discussing polling place

closures in Union City, Georgia. GX 4, 51. Union City, Georgia is located in the

southwestern portion of the Fulton County. Both Esselstyn HD-64, and SD-28

have portions of their districts that are in southwest Futon County. GX 1 ¶ 31 &

fig.7; ¶ 49 & fig.14. Unlike Illustrative CD-6, which clearly shows city

designations, Esselstyn HD-64 and SD-28 do not delineate which cities are

contained within a specific district. Compare PX 1 ¶ 46 & fig.10, with GX 1 ¶ 31

& fig.7; ¶ 49 & fig.14. Thus, the Court will not rely on the specific evidence of

polling place closures in Union City as evidence of discrimination in the specific

districts. However, this evidence is relevant because it shows disproportionate

impact of polling place closures in the vicinity of the illustrative districts. Thus,

the evidence of the polling place closures in Union City is relevant, but less

persuasive with respect to Mr. Esselstyn’s Atlanta districts then it was with

respect to Illustrative CD-6.




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      The Court also finds that there is evidence that 38% of the State’s polling

places are in metro Atlanta, meanwhile nearly half of Georgia’s voters and the

majority of Black voters are registered to vote in metro Atlanta. GX 4, 51.

      In the Macon-Bibb region, Dr. Burton discusses the number of polling

places dropping in Macon-Bibb county from forty to thirty-two. GX 4, 49. These

closures took place in primarily Black neighborhoods. Id. He also cites to a 2020

study that found that “about two-thirds of the polling places that had to stay

open late for the June primary to accommodate waiting voters were in majority-

Black neighborhoods, even though they made up only about one-third of the

state’s polling places.” GX 4, at 50 (citing Fowler, “Why Do Nonwhite Georgia

Voters Have to Wait in Line for Hours?”). Defendants did not rebut this evidence.

      The Court finds that a reasonable inference can be drawn to find that

within the last decade that polling place closures, like those in Macon-Bibb

County disproportionately impacted Black voters. Macon-Bibb closed 20% of

their polling places, primarily in majority-Black neighborhoods. Also, in the June

2020 primary, polling places that were in predominately Black neighbors

disproportionately were forced to stay open late.


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        Accordingly, the Court finds that there is evidence supporting the

reasonable inference that the large number of closed polling places in the metro

Atlanta and the Macon-Bibb regions disproportionately impacts Black voters.

Thus, the Court finds that the evidence of polling place closures supports a

conclusion that there are present realities of discrimination in voting for Senate

Factor One.

        The Court will separately address Senate Factors Two (racial polarization)

and Nine (justification for the Enacted State House and Senate Plans) as well as

the proportionality analysis, because the evidence presented on these factors

differ, even if ever-so-slightly, between the cases. Ultimately, like in the

Pendergrass case, the Court concludes that the totality of the circumstances

inquiry weighs in favor of finding a Section 2 violation in the Grant Plaintiffs’

case.

                              (2)   Senate Factor Two: racial polarization

        The evidence presented in Grant Plaintiffs’ case on racial polarization

again draws on the cause of polarization: race or partisanship. Defendants have

consistently argued that partisanship is a race-neutral explanation for


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polarization of voters in Georgia. See, e.g., Tr. 2410:18–2411:14. Like in the

Pendergrass case, the Court acknowledges that whether voter polarization is on

account of partisanship and race is a difficult question to answer and again the

Court focuses on the evidence before it of polarization in the Grant Plaintiffs’ case.

See Section II(C)(4)(b) supra.

         Grant Plaintiffs’ polarization expert indicated that “there is . . . strong

evidence of racially polarized voting within the districts comprising the five

focus areas [(i.e., the areas near-and-around the proposed Illustrative districts)].”

GX 2 ¶ 19; see also id. (“There is consistent evidence of racially polarized voting

in every House district analyzed, and in 12 of the 14 Senate districts. Voting is

generally less polarized in Senate District 44, and not polarized in Senate District

39.”).

         In addressing Defendants’ polarization argument, Plaintiffs also offered

testimony about the strong connection between race and partisanship as it




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currently exists in Georgia. 129 Tr. 424:5–8 (affirming that “race and party cannot

be separated for the purpose of [Dr. Palmer’s] racial polarization analysis”);

1460:11–15 (“[O]ne party is highly supporting . . . issues that are most important

to minorities, particularly African Americans. And another party is not getting a

good grade on how they’re voting for them.”); GX 4, 75–76 (indicating the

“opposing positions that members of Georgia’s Democratic and Republican

parties take on issues inexplicably linked to race.”).

      In contrast to Grant Plaintiffs’ evidence, Defendants’ expert, Dr. Alford,

only rendered descriptive conclusions based on Dr. Palmer’s data set and, most

importantly, did not offer additional support for a conclusion that voter behavior

was caused by partisanship rather than race. DX 8. To be sure, Defendants did

not offer any quantitative or qualitative evidence to support their theory that

partisanship, not race, is controlling voting patterns in Georgia. Based on this




129 The Court also finds Dr. Burton’s assessment that the success of Black candidates

depends on the percentage of white voters in a district to be persuasive in Grant
Plaintiffs’ case on this Senate Factor. See supra Pendergrass.
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evidence, the Court finds that Senate Factor Two weighs in favor of finding a

Section 2 violation.

                              (3)   Senate Factor Nine: justification for the
                                    Enacted Legislative Plans

The Court finds that the State’s justification for the Enacted State Legislature

Plans factor weighs in favor of Defendants and thus weighs against finding a

Section 2 violation.

      At the trial, Ms. Wright testified that she began drawing the Enacted Senate

Plan by determining the new ideal district size given the population changes and

then starting with a blank map. Tr. 1621. She used a visual layer of existing

districts in an attempt to retain the core districts. Tr. 1621. From here, Ms. Wright

collapsed and built districts based on the population changes. Tr. 1623. She did

not pair incumbents seeking reelection and avoided county splits. Tr. 1627. She

tried to accommodate elected officials’ requests. Tr. 1631. Admittedly, political

performance was an important consideration in drafting the Enacted State Senate

Plan. Tr. 1626.

      Similarly, for the Enacted House Plan, Ms. Wright started with a blank

map and the ideal district size given the population changes. Tr. 1641. Initially,

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she did not consider incumbency and instead drew a map based solely on

population. Tr. 1641. Ms. Wright then integrated information from public

hearings regarding the public’s preferences. Tr. 1643–46. In the Macon-Bibb area,

specifically, she testified that there were comments about wanting to keep House

districts 142 and 143, majority-Black districts, in Macon-Bibb because the

representatives were well-liked in the community. Tr. 1658:6–15. Eventually, she

drafted the maps to avoid incumbency pairings and county splits. Tr. 1467. Ms.

Wright testified that the growth in Georgia was concentrated in the north (i.e.,

metro-Atlanta), which caused districts to be moved from the south into that area.

Tr. 1468. Again, political performance was an important consideration in drafting

the Enacted State House Plan. Tr. 1467.

      Grant Plaintiffs do not contest Ms. Wright’s testimony on the process the

State used to draw the Enacted maps and the Court has found Ms. Wright to be

highly credible. Accordingly, the Court finds Defendants’ evidence that the

Enacted State House and Senate Plans were drawn to further partisan goals to be




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a sufficient, non-tenuous justification. Accordingly, Senate Factor Nine does not

weigh in favor of a Section 2 violation. 130

                                 (4)    Proportionality

       Finally, the Court determines that, even more so than in Pendergrass

Plaintiffs’ case, proportionality does not weigh against finding a Section 2

violation in Grant Plaintiffs’ case. In the Grant case, Defendants focus on the

representation of Black preferred candidates as part of their proportionality

analysis, submitting that both of Georgia’s U.S. Senators are Black-preferred (and

one himself is Black) and that 35.7% of the U.S. House of Representatives from

Georgia are Black and Black-preferred. In the Georgia General Assembly, 43% of

the members of the House of Representatives are Black-preferred (i.e.,

Democrats) and 41% of the Senators are Black-preferred (i.e., Democrats).

       The argument about proportionality and the evidence submitted relate

equally to Alpha Phi Alpha and Grant. Accordingly, the Court incorporates its

analysis of proportionality in Alpha Phi Alpha (Section II(D)(4)(a)(9)) as fully set




130 As in the Pendergrass case, however, this factor will be accorded less weight given

that, in Grant Plaintiffs’ Section 2 case, a legislature’s intent in drawing map is irrelevant.
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forth herein. Ultimately, the Court concludes that proportionality does not weigh

against a Section 2 violation in the Grant Plaintiffs’ case.

                              (5)    Conclusions of Law

      The Court finds that Grant Plaintiffs have met their burden in establishing

that (1) the Black community in the western-Atlanta metro area is sufficiently

numerous and compact to constitute an additional majority-Black House district,

in the Black community in southwestern Atlanta metro area is sufficiently

numerous and compact to create one additional majority-Black House districts

and two additional majority-Black Senate districts, and the Black community in

the Macon-Bibb region is sufficiently numerous and compact to create two

additional majority-Black House districts; (2) the Black community is politically

cohesive in these areas; and (3) that the white majority votes as a bloc to typically

defeat the Black communities’ preferred candidate in these areas. The Court also

finds that in evaluating the Senate Factors, Georgia’s electoral system is not

equally open to Black voters in these regions of the State. Specifically, the Court

finds that Senate Factors One, Two, Three, Five, and Seven weigh in favor of

showing the present realities of lack of opportunity for Black voters. The Court


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also finds that Senate Factor Six weighs slightly in favor finding a Section 2

violation. Accordingly, only Senate Factors Four, Eight 131 and Nine did not weigh

in favor of finding a Section 2 violation. The Court also found that proportionality

does not weigh against Grant Plaintiffs. In sum, the Court finds that a majority

of the totality of the circumstances evidence weighs in favor of finding a Section

2 violation in the proposed districts in the metro Atlanta and Macon-Bibb regions.

Because Grant Plaintiffs have carried their burden of proof on all of the legal

requirements, the Court concludes that SB 1EX and HB 1EX violate Section 2 of

the Voting Rights Act.

      E.     Injunction Factors

      To obtain a permanent injunction, Plaintiffs must demonstrate (1) that they

have suffered an irreparable injury; (2) that remedies available at law are

inadequate to compensate for that injury; (3) that, considering the balance of

hardships between Plaintiffs and Defendants, a remedy in equity is warranted;

and (4) that the public interest would not be disserved by a permanent injunction.




131 The Eleventh Circuit found that Senate Factor Eight is given little weight. Marengo

Cnty. Comm’n, 731 F.2d at 1572.
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eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006). “[W]hether a

permanent injunction is appropriate . . . turns on whether [Plaintiffs] can

establish by a preponderance of the evidence that this form of equitable relief is

necessary.” Sheely v. MRI Radiology Network, P.A., 505 F.3d 1173, 1182 n.10

(11th Cir. 2007). “The decision to grant or deny permanent injunctive relief is an

act of equitable discretion by the district court.” eBay Inc., 547 U.S. at 391.

However, the Supreme Court has held that “[a]n injunction should issue only if

the traditional four-factor test is satisfied.” Monsanto Co. v. Geertson Seed Farms,

561 U.S. 139, 157 (2010).

             1.    Irreparable Harm and Inadequate Remedies at Law

      The Eleventh Circuit has explained that an injury is irreparable “if it cannot

be undone through monetary remedies.” Cunningham v. Adams, 808 F.2d 815,

821 (11th Cir. 1987) (citation omitted). It has also been held that “[a]bridgement

or dilution of a right so fundamental as the right to vote constitutes irreparable

injury.” Cardona v. Oakland Unified Sch. Dist., 785 F. Supp. 837, 840 (N.D. Cal.

1992); see also League of Women Voters of N.C. v. North Carolina, 769 F.3d 224,




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247 (4th Cir. 2014) (“Courts routinely deem restrictions on fundamental voting

rights irreparable injury.”) (citations omitted).

       In view of this Court’s finding, supra, that the Enacted Plans violate

Section 2 of the Voting Rights Act, 132 this Court further finds that Plaintiffs have

met their burden of establishing by the preponderance of the evidence that the

resulting injury of having to vote under unlawful plans cannot be undone

through any form of monetary or post-election relief. See League of Women

Voters, 769 F.3d at 247 (“[O]nce the election occurs, there can be no do-over and

no redress.”). Defendants also do not contend that adequate legal remedies are

available.

              2.     Balance of Hardships and Public Interest

       The last two requirements for a permanent injunction involve a balancing

of the equities between the Parties and the public. eBay Inc., 547 U.S. at 391.

       “Where the government is the party opposing the . . . injunction, its

interest and harm—the third and fourth elements—merge with the public




132 See generally Section II(D)–(F) supra.


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interest.” Florida v. Dep’t of Health & Hum. Servs., 19 F.4th 1271, 1293 (11th Cir.

2021). (citation omitted). 133 All Defendants in each of the cases at issue were

named in their official capacities as governmental actors and oppose the

permanent injunction. Therefore, the Court will address the third and fourth

permanent injunction factors together in a merged format in accordance with

applicable authority. See Swain v. Junior, 961 F.3d 1276, 1293 (11th Cir. 2020)

(indicating that the balance of the equities and public interest factors “‘merge’

when, as here, ‘the Government is the opposing party’” (quoting Nken v. Holder,

556 U.S. 418, 435 (2009))).




133 The Court recognizes that the Florida case, cited above, involved a preliminary

injunction determination and that a permanent, rather than preliminary injunction is at
issue in the cases sub judice. Nevertheless, considering the overlapping language in the
permanent injunction and preliminary injunction standards (as set forth in the Court’s
preliminary injunction order), it appears to the Court that this principle of merging the
government’s interest and harm with the public interest applies equally in the
permanent injunction context. See Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S.
531, 546 n.12 (1987) (“The standard for a preliminary injunction is essentially the same
as for a permanent injunction with the exception that the plaintiff must show a
likelihood of success on the merits rather than actual success.”).
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      Thus, the Court proceeds to the issue of whether the threatened injuries to

Plaintiffs outweigh the harm that the permanent injunction would cause

Defendants and the public.

      As an initial matter, the Court notes that Defendants offered little to no

evidence or argument at trial regarding what harm, if any, the public would

suffer if a permanent injunction were to be issued. The State also offered no

evidence or argument of what hardships it would suffer if it was enjoined from

using the redistricting plans at issue. However, it is without doubt that the State

would have to endure the cost of a special session of the General Assembly to

create new redistricting plans. Nevertheless, placing an actual value on the

monetary hardship would be a matter of speculation because the State has not

specified its anticipated costs.

      At the preliminary injunction phase, the State did offer specific evidence

of harm and hardship. “More specifically, the evidence at the preliminary

injunction hearing showed that elections are complex and election calendars are

finely calibrated processes, and significant upheaval and voter confusion can

result if changes are made late in the process.” Alpha Phi Alpha Fraternity, 587


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F. Supp. 3d at 1324. This Court found that based upon that evidence “the public

interest of the State of Georgia would be significantly undermined by altering the

election calendar and unwinding the electoral process at this point.” Id. Similar

temporal concerns are not at issue at the present stage of these cases.

      This Court acknowledges that the Supreme Court has held that court

orders affecting elections “can themselves result in voter confusion and

consequent incentive to remain away from the polls[,]” and that “[a]s an election

draws closer, that risk will increase.” Purcell, 549 U.S. at 4–5 (per curiam). But

even by issuing an injunction in October 2023 in these three cases, this Court is

not “alter[ing] the election rules on the eve of an election” for the Congressional,

State House, and Senate districts subject to elections set for November 2024.

Republican Nat’l Comm. v. Democratic Nat’l Comm., 598 U.S. ----, 140 S. Ct. 1205,

1207 (2020). Therefore, the risk articulated in the Purcell jurisprudence is de

minimis where, as here, the State has not alleged any harm which would result

due to a shortly impending election. The Court also notes when the Court

inquired as to if there is a “cutoff date” for the Secretary of State to prepare for

the 2024 General Election in the event of an injunction, Defense Counsel


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represented in a pretrial conference call that there is no “magic day.” Grant Doc.

No. [255], Tr. 16:15–16. Counsel further indicated that to give the “county officials

time to get information entered into the voter registration database,” the new

maps should be in place by “late January, early February.” APA Doc. No. [293],

Tr. 16:15–22; see also Doc. No. [285], Pendergrass, Doc. Nos. [285], [296], Grant

Doc. Nos. [247], [255].

      Where, as here, a permanent injunction would require a government

defendant merely to comply with federal law, both the balance of hardships

between the parties and the public interest weigh in favor of its issuance. See,

e.g., Project Vote/Voting For Am., Inc. v. Long, 813 F. Supp. 2d 738, 744 (E.D. Va.

2011), aff’d and remanded, 682 F.3d 331 (4th Cir. 2012) (“The balance of hardships

does not weigh in favor of the defendants, as a permanent injunction will simply

compel the defendants to comply with their responsibilities under the NVRA

and, thus, will prevent them from denying the public of a statutory right.”).

      Further, an injunction issued to prevent the continuous denial by the State

of a statutorily-guaranteed right is necessarily in the public interest. “[I]t would

not be equitable or in the public’s interest to allow the state to violate the


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requirements of federal law, especially when there are no adequate remedies

available.” Montana Med. Ass’n v. Knudsen, 591 F. Supp. 3d 905, 917 (D. Mont.

2022) (cleaned up); see also id. (noting that “it is inherently against the public

interest” to allow any State’s laws to violate federal law).

      Congress has also recognized that the public is benefitted when voting

rights are enforced. Cf. Torres v. Sachs, 69 F.R.D. 343, 347 (S.D. N.Y. 1975)

(construing 42 U.S.C. § 1973l(e), voting rights enforcement proceedings).

      Lacking direct evidence of how the State faces a legally cognizable

hardship, or how its enjoinment would be contrary to the public interest, the

balance of the final two factors weighs in favor of permanently enjoining the

State’s usage of the redistricting plans at issue in these three cases.

      F.     Affirmative Defenses

      In this section, the Court addresses Defendants’ affirmative defenses.

While these defenses were not specifically argued by Defendants during the

bench trial, they were set forth in the Pretrial Order. Grant Doc. No. [243], 26;

Pendergrass Doc. No. [231], 28-29; APA Doc. No. [280], 23-24. The affirmative

defenses raised in each case are the same: (1) that Eleventh Amendment and


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sovereign immunity bars these cases, (2) that there is no private right of action

under Section 2, (3) that these cases should be heard by a three-judge court, and

(4) that to afford the Plaintiffs the requested relief requires interpreting the VRA

in a way that violates the Constitution. 134 As notated below, the Court has

previously rejected Defendants’ affirmative defenses regarding Section 2’s

private right of action and that a three-judge court is required in these cases. APA

Doc. No. [65], 6-34; Grant Doc. No. [43], 7-33; Pendergrass Doc. No. [50], 6-20. The

Court now considers each of these affirmative defenses below.

             1.     Eleventh Amendment Immunity and Sovereign Immunity

      The Eleventh Amendment to the United States Constitution prohibit suits

against a State by a citizen of that State. Hans v. Louisiana, 134 U.S. 1, 10–15

(1890)). Under the Fourteenth and Fifteenth Amendments, however, Congress

can abrogate States’ sovereign immunity to redress discriminatory state action

when Congress unequivocally expresses the intent to do so. Ala. State Conference




134 Defendants also raised affirmative defenses regarding constitutional and statutory

standing. Grant Doc. No. [243] at 26; Pendergrass Doc. No. [231] at 28; APA Doc. No.
[280] at 23. However, these issues have been addressed above. See Section I(A)supra.
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of the Nat’l Ass’n for the Advancement of Colored People v. Alabama, 949 F.3d

647, 649–50, 654–55 (11th Cir. 2020), judgment vacated as moot, 141 S. Ct. 2618

(2021) (hereinafter “Alabama NAACP”). The Eleventh Circuit held that the VRA

does just that:

             By design, the VRA was intended to intrude on state
             sovereignty to eradicate state-sponsored racial
             discrimination in voting. Because the Fifteenth
             Amendment permits this intrusion, [the State] is not
             immune from suit under § 2 of the VRA. Nor is § 2 any
             great indignity to the State. Indeed, “it is a small thing
             and not a great intrusion into state autonomy to require
             the [S]tates to live up to their obligation to avoid
             discriminatory practices in the election process.”

Id. at 655 (footnote omitted) (second alteration in original) (quoting Marengo

Cnty. Comm’n, 731 F.2d at 1561).

      Alabama NAACP also noted that the Fifth and Sixth Circuits, and a three-

judge panel in this district, have reached the same conclusion. Id. at 651 (citing

OCA-Greater Houston v. Texas, 867 F.3d 604, 614 (5th Cir. 2017); Mixon v. Ohio,

193 F.3d 389, 398–99 (6th Cir. 1999); Ga. State Conf. of NAACP v. Georgia, 269 F.

Supp. 3d 1266, 1274-75 (N.D. Ga. 2017)).




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      Of course, the Court recognizes that Alabama NAACP is no longer

controlling because the judgment was ultimately vacated as moot. Ala. State Conf.

of the NAACP, 141 S. Ct. 2618. Nevertheless, the analysis contained in the

opinion is persuasive. See, e.g., Friends of the Everglades v. S. Fla. Water Mgmt.

Dist., 570 F.3d 1210, 1218 (11th Cir. 2009) (“We are free to give statements in a

vacated opinion persuasive value if we think they deserve it.”); Tallahassee

Branch of NAACP v. Leon Cnty., 827 F.2d 1436, 1440 (11th Cir. 1987) (noting that

court was free to consider a vacated opinion as persuasive even though not

binding).

      In Kimel v. Florida Board of Regents, the Supreme Court held that, to

abrogate a State’s sovereign immunity, Congress must (1) make its intention to

do so “unmistakably clear in the language of the statute” and (2) act pursuant to

a valid Grant of constitutional authority. 528 U.S. 62, 73 (2000) (cleaned up);

accord Alabama NAACP, 949 F.3d at 650 (citing Bd. of Trs. of Univ. of Ala. v.

Garrett, 531 U.S. 356, 363 (2001)). However, “an express abrogation clause is not

required. Instead, a court may look to the entire statute, and its amendments, to

determine whether Congress clearly abrogated sovereign immunity.” Alabama


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NAACP, 949 F.3d at 650 (citing, inter alia, Kimel, 528 U.S. at 76 (“[O]ur cases have

never required that Congress make its clear statement in a single section or in

statutory provisions enacted at the same time.”)).

      Alabama NAACP concluded that the first part of this test was met because

the VRA explicitly permits private parties to sue to enforce its provisions, which

prohibit States and political subdivisions from imposing practices or procedures

that abridge a citizen’s right to vote on account of race. 949 F.3d at 651–52.

Specifically, the Eleventh Circuit stated:

             The VRA, as amended, clearly expresses an intent to
             allow private parties to sue the States. The language of
             § 2 and § 3, read together, imposes direct liability on
             States for discrimination in voting and explicitly
             provides remedies to private parties to address
             violations under the statute. . . . It is implausible that
             Congress designed a statute that primarily prohibits
             certain state conduct, made that statute enforceable by
             private parties, but did not intend for private parties to
             be able to sue States.

Id. at 652. This Court agrees.

      As to the second part of the Kimel test, Alabama NAACP concluded that

Congress can abrogate a State’s sovereign immunity pursuant to its powers

under the Fourteenth Amendment to “redress discriminatory state action.” 949
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F.3d at 649; see also id. at 654 (“While Congress may not abrogate a State’s

immunity when acting pursuant to its Article I powers, it may do so under its

enforcement powers pursuant to § 5 of the Fourteenth Amendment. . . . [I]f § 5 of

the Fourteenth Amendment permits Congress to abrogate state sovereign

immunity, so too must § 2 of the Fifteenth Amendment.”).

      Notably, even though no longer controlling, Alabama NAACP was not the

first Eleventh Circuit case to conclude that Congress acted pursuant to a valid

Grant of authority under the Fourteenth and Fifteenth Amendments in adopting

Section 2. In determining that Section 2 was a proper exercise of that Grant of

authority, Alabama NAACP relied on the prior Eleventh Circuit decision in

Marengo County. In Marengo County, the United States and private citizens

challenged a county’s at-large system of electing commissioners under the

Fourteenth and Fifteenth Amendments, as well as Section 2. 731 F.2d at 1552. In

considering the Section 2 claims, the Eleventh Circuit made clear that “[t]he Civil

War Amendments overrode state autonomy apparently embodied in the Tenth

and Eleventh Amendments.” Id. at 1560–61 (citations omitted). The Fourteenth

and Fifteenth Amendments thus provided direct authority for Congress to


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abrogate any sovereign immunity to which States might otherwise have been

entitled under the Eleventh Amendment.

      Given the aforementioned, the Court comfortably concludes that Section 2

is a valid expression of congressional enforcement power under the Fourteenth

and Fifteenth Amendments. Hence Defendants affirmative defenses asserting

sovereign immunity and Eleventh Amendment immunity are without merit.

            2.    Section 2 Private Right of Action

      In adjudicating Defendants’ Motions to Dismiss, the Court rejected their

contentions that there is no private right of action under Section 2 of the VRA.

APA Doc. No. [65], 31-34; Grant Doc. No. [43], 30-33; Pendergrass Doc. No. [50],

17-20. Defendants maintain their contentions to perfect the record on appeal, but

otherwise have offered no new arguments or evidence in favor of this defense.

Thereby, the Court incorporates in this Order its prior conclusions of law from

the Orders on Defendants’ Motions to Dismiss. APA Doc. No. [65], 31-34; Grant

Doc. No. [43], 30-33; Pendergrass Doc. No. [50], 17-20. The Court also

acknowledges that recently, the Supreme Court affirmed an Alabama three-judge

court’s preliminary injunction, which found that the private plaintiffs had a


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substantial likelihood of success in proving that Alabama congressional map

violated Section 2. Allen, 143 S. Ct. 1487. 135 Accordingly, the Court rejects

Defendants’ argument and affirmative defense that Section 2 does not contain a

private right of action.

              3.     28 U.S.C. § 2284: Three-Judge Court

       In the Court’s Orders denying Defendants’ Motions to Dismiss the Court

also addressed in great detail Defendants’ affirmative defenses that Plaintiffs’

claims require adjudication by a three-judge court. APA Doc. No. [65], 6-31; Grant

Doc. No. [43], 7-28; Pendergrass Doc. No. [50], 6-17. Defendants maintain their

assertions for purposes of appeal, but again have not raised new arguments or

evidence in support of this affirmative defense. Thus, the Court incorporates its

prior analysis from its Orders on the Motions to Dismiss into this Order and

rejects Defendants’ contentions and affirmative defense that these cases ought to




135 Although the Supreme Court did not comment on the private right of action issue, it

affirmed a preliminary injunction order that analyzed whether Section 2 created a
private right of action. Allen, 143 S. Ct. at 1517; Singleton, 582 F. Supp. 3d at 1031–32.
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have been heard by a three-judge court. APA Doc. No. [65], 6-31; Grant Doc. No.

[43], 7-28], Pendergrass Doc. No. [50], 6-17.

             4.    Section 2’s Constitutionality

      In Attachment D to the Pretrial Order, Defendants assert as an affirmative

defense in each case that “[t]o Grant the relief Plaintiffs seek, the Court must

interpret the Voting Rights Act in a way that violates the U.S. Constitution.” APA

Doc. No. [280], 24; Grant Doc. No. [243], 26; Pendergrass Doc. No. [231], 29.

Defendants offered no argument or support for this assertion through motion

practice or at trial. To the extent that Defendants are arguing generally that

Section 2 of the VRA is unconstitutional, the Supreme recently rejected the same

argument urged by the State of Alabama in Allen v. Milligan, 599 U.S. 1, 41, (2023).

Accordingly, the Court concludes that there is no merit to the affirmative

defenses challenging the constitutionality of Section 2 in the cases pending in this

Court.

      G.     Remedy

      As correctly noted by Defense Counsel in his closing argument at trial, the

parameters and the instructions around what the State of Georgia is supposed to

do to comply with Section 2 of the VRA is a critical part of this Court’s order, now
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that the Court has found in favor of Plaintiffs. Tr. 2394:1–14. The remedy involves

an additional majority-Black congressional district in west-metro Atlanta; two

additional majority-Black Senate districts in south-metro Atlanta; two additional

majority-Black House districts in south-metro Atlanta, one additional majority-

Black House district in west-metro Atlanta, and two additional majority-Black

House districts in and around Macon-Bibb. 136

       The Court is conscious of the powerful concerns for comity involved in

interfering with the State’s legislative responsibilities. As the Supreme Court has

repeatedly recognized, “redistricting and reapportioning legislative bodies is a

legislative task with the federal courts should make every effort not to preempt.”

Wise v. Lipscomb, 437 U.S. 535, 539 (1978). As such, it is “appropriate, whenever

practicable, to afford a reasonable opportunity for the legislature to meet” the

requirements of Voting Rights Act “by adopting a substitute measure rather than

for the federal court to devise . . . its own plan.” Id. at 540. The State cannot




136 The Court notes that there is significant overlap in the metro Atlanta districts drawn

by Mr. Cooper and Mr. Esselstyn. The Court ORDERS the above remedy collectively
for Alpha Phi Alpha and Grant Plaintiffs.
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remedy the Section 2 violations described herein by eliminating minority

opportunity districts elsewhere in the plans.

      The Court also recognizes that Plaintiffs and other Black voters in Georgia

whose voting rights have been injured by the violation of Section 2 of the Voting

Rights Act have suffered significant harm. Those citizens are entitled to vote as

soon as possible for their representatives under a lawful apportionment plan.

Therefore, the Court will require that new legislative maps be drawn forthwith

to remedy the Section 2 violation.

      The Court will provide the General Assembly the opportunity to adopt a

remedial Congressional plan, Senate plan, and House plan by December 8, 2023,

and consistent with, this Order.

      This Court retains jurisdiction to determine whether the remedial plans

adopted by the General Assembly remedy the Section 2 violations by

incorporating additional legislative districts in which Black voters have a

demonstrable opportunity to elect their candidates of choice.

      An acceptable remedy must “completely remed[y] the prior dilution of

minority voting strength and fully provide[] equal opportunity for minority


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citizens to participate and to elect candidates of their choice.” United States v.

Dallas Cnty. Comm’n, 850 F.2d 1433, 1437–38 (11th Cir. 1988) (quoting S.REP. No.

97-417, at 31 (1982)); see also Dillard v. Crenshaw Cnty., 831 F.2d 246, 252–53

(11th Cir. 1987) (“This Court cannot authorize an element of an election proposal

that will not with certitude completely remedy the Section 2 violation.”). This

will require the Court to evaluate a remedial proposal under the Gingles

standard to determine whether it provides Black voters with an additional

opportunity district. Id.

       In the event that the State is unable or unwilling to enact remedial plans by

December 8, 2023 that satisfy the requirements set forth above, the Court will

proceed to draw or adopt remedial plans.

III.   CONCLUSION

       Having held a non-jury trial and considered the evidence and arguments

of the Parties, based on the Court’s holistic analysis and searching local appraisal

of the facts under the Section 2 standard of the Voting Rights Act, the Court finds

and concludes that:




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      Pendergrass and Grant Plaintiffs lack standing to bring suit against the

      members of the State Election Board; thus, Sarah Tindall Ghazal, Janice W.

      Johnston, Edward Lindsey, and Matthew Mashburn are DISMISSED

      from this case. 137



      Alpha Phi Alpha Plaintiffs have carried their burden of demonstrating a

      lack of equal openness in Georgia’s election system as a result of the

      challenged redistricting plans, SB 1EX and HB 1EX, SB 1EX and HB 1EX,

      as to the following enacted districts/areas: Enacted Senate Districts 10, 16,

      17, 34, 43, 44, and Enacted House Districts 74 and 78. 138 Alpha Phi Alpha

      Plaintiffs have not met their burden as to the remaining challenged

      districts.




137 As stated herein, the Clerk is DIRECTED to terminate William Duffey, Jr. as a named

party based upon his September 1, 2023 resignation from the State Election Board.
138 These districts are derived from Alpha Phi Alpha Plaintiffs’ Complaint (APA Doc.

No. [141]) and Mr. Cooper’s expert report (APAX 1).
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      Pendergrass Plaintiffs have carried their burden of demonstrating a lack of

      equal openness in Georgia’s election system as a result of the challenged

      redistricting plan, SB 2EX, as to the following enacted district/ areas:

      Enacted Congressional Districts 3, 6, 11, 13, and 14.



      Grant Plaintiffs have carried their burden of demonstrating a lack of equal

      openness in Georgia’s election system as a result of the challenged

      redistricting plans, SB 1EX and HB 1EX, SB 1EX and HB 1EX, as to the

      following enacted districts/areas: Enacted Senate Districts 10, 16, 17, 25,

      28, 30, 34, 35, 44, and Enacted House Districts 61, 64, 78, 117, 133, 142, 143,

      145, 147, and 149. 139 Grant Plaintiffs have not met their burden as to the

      remaining challenged districts.




139 These districts are derived from Grant Plaintiffs’ Complaint (Grant Doc. No. [118])

and Mr. Esselstyn’s expert report (GX 1).
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      This Court further concludes that declaratory and permanent injunctive

relief are appropriate. The Court, therefore, DECLARES the rights of the parties

as follows.

      SB 2EX violates Section 2 of the Voting Rights Act as to the following

districts/areas: Enacted Congressional Districts 3, 6, 11, 13, and 14.

      SB 1EX violates Section 2 of the Voting Rights Act as to the following

areas/districts: Enacted Senate Districts 10, 16, 17, 25, 28, 30, 34, 35, 43, and 44.

      HB 1EX violates Section 2 of the Voting Rights Act as to the following

areas/districts: Enacted House Districts 61, 64, 74, 78, 117, 133, 142, 143, 145, 147,

and 149.



      The Court PERMANENTLY ENJOINS Defendant Raffensperger, as well

as his agents and successors in office, from using SB 2EX, SB 1EX, and HB 1EX in

any future election.

      The Court’s injunction affords the State a limited opportunity to enact new

plans that comply with the Voting Rights Act by DECEMBER 8, 2023. This

timeline balances the relevant equities and serves the public interest by providing


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the General Assembly with its rightful opportunity to craft a remedy in the first

instance, while also ensuring that, if an acceptable remedy is not produced, there

will be time for the Court to fashion one—as the Court will not allow another

election cycle on redistricting plans that the Court has determined on a full trial

record to be unlawful.

      The Court is confident that the General Assembly can accomplish its task

by DECEMBER 8, 2023: the General Assembly enacted the Plans quickly in 2021;

the Legislature has been on notice since at least the time that this litigation was

commenced nearly 22 months ago that new maps might be necessary; the

General Assembly already has access to an experienced cartographer; and the

General Assembly has an illustrative remedial plan to consult.

      Pursuant to Federal Rule of Civil Procedure 58, the Clerk is DIRECTED to

enter judgment in favor of the Alpha Phi Alpha Plaintiffs (in Civil Action No.

1:21-cv-05337), Pendergrass Plaintiffs (in Civil Action No. 1:21-cv-05339), and

Grant Plaintiffs (in Civil Action No. 1:22-cv-00122) and against Brad

Raffensperger. Attorneys’ fees and costs are also awarded to each set of Plaintiffs

pursuant to 52 U.S.C. § 10310(e) and 42 U.S.C. § 1988.


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      After entry of judgment, the Clerk is DIRECTED to close these three cases.

The Court will retain jurisdiction over these matters for oversight and further

remedial proceedings, if necessary.

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      The Court reiterates that Georgia has made great strides since 1965

towards equality in voting. However, the evidence before this Court shows that

Georgia has not reached the point where the political process has equal openness

and equal opportunity for everyone. Accordingly, the Court issues this Order to

ensure that Georgia continues to move toward equal openness and equal

opportunity for everyone to participate in the electoral system.



      IT IS SO ORDERED this 26th day of October, 2023.




                                      ________________________________
                                      HONORABLE STEVE C. JONES
                                      UNITED STATES DISTRICT JUDGE




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